 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                               District of New Mexico

 Case number (if known):                                           Chapter      11                                                  ❑ Check if this is an
                                                                                                                                        amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                    06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              ADB Enterprises LLC, a New Mexico Limited Liability Company


    2. All other names debtor used                Shipz Now
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                  4       7 – 2   9   3    9    8    0   7
       Identification Number (EIN)



    4. Debtor's address                            Principal place of business                              Mailing address, if different from principal place of
                                                                                                            business




                                                   5842 Osuna Rd Ne
                                                   Number         Street                                    Number        Street

                                                   Albuquerque, NM 87109-2526
                                                   City                                  State   ZIP Code   City                              State      ZIP Code

                                                                                                            Location of principal assets, if different from principal
                                                   Bernalillo                                               place of business
                                                   County




                                                                                                            Number        Street



                                                                                                            City                              State      ZIP Code




    5. Debtor's website (URL)



    6. Type of debtor                             ❑ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                  ❑ Partnership (excluding LLP)
                                                  ✔ Other. Specify:
                                                  ❑                            A New Mexico LLC




               Case 24-11214-j11
Official Form 201                                     Doc  1 Filed
                                                        Voluntary        11/13/24
                                                                  Petition                Entered
                                                                           for Non-Individuals         11/13/24
                                                                                               Filing for Bankruptcy14:38:12 Page 1 of 181                          page 1
Debtor     ADB Enterprises LLC, a New Mexico Limited Liability Company                                        Case number (if known)
          Name
                                               A. Check one:
   7. Describe debtor's business
                                               ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                               ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                               ✔ None of the above
                                               ❑
                                               B. Check all that apply:
                                               ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                               ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                               ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                               C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                  http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                  4     4           -

   8. Under which chapter of the               Check one:
      Bankruptcy Code is the                   ❑ Chapter 7
      debtor filing?
                                               ❑ Chapter 9
                                               ✔ Chapter 11. Check all that apply:
                                               ❑
                                                  ❑ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                            are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                      ✔ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                      ❑
                                                            business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                            statement, and federal income tax return or if all of these documents do not exist, follow the
                                                            procedure in 11 U.S.C. § 1116(1)(B).
                                                      ✔ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                      ❑
                                                            proceed under Subchapter V of Chapter 11.
                                                      ❑ A plan is being filed with this petition.
                                                      ❑ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                            accordance with 11 U.S.C. § 1126(b).
                                                      ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                            Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                            Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                            (Official Form 201A) with this form.
                                                      ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                               ❑ Chapter 12
   9. Were prior bankruptcy cases filed        ✔ No
                                               ❑
      by or against the debtor within the
      last 8 years?
                                               ❑ Yes. District                                      When                    Case number
                                                                                                           MM / DD / YYYY
    If more than 2 cases, attach a                       District                                    When                    Case number
    separate list.
                                                                                                            MM / DD / YYYY

  10. Are any bankruptcy cases pending         ✔ No
                                               ❑
      or being filed by a business partner
      or an affiliate of the debtor?           ❑ Yes. Debtor                                                                Relationship

    List all cases. If more than 1, attach a             District                                                            When
    separate list.                                                                                                                         MM / DD / YYYY
                                                         Case number, if known




               Case 24-11214-j11
Official Form 201                               Doc  1 Filed
                                                  Voluntary        11/13/24
                                                            Petition                Entered
                                                                     for Non-Individuals         11/13/24
                                                                                         Filing for Bankruptcy14:38:12 Page 2 of 181                           page 2
Debtor        ADB Enterprises LLC, a New Mexico Limited Liability Company                                Case number (if known)
             Name


  11. Why is the case filed in this   Check all that apply:
      district?
                                      ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                      ❑
                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                         district.

                                      ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have     ✔ No
                                      ❑
      possession of any real
      property or personal property
                                      ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?                                ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?


                                                ❑ It needs to be physically secured or protected from the weather.
                                                ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                      (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                      options).
                                                ❑ Other
                                                Where is the property?
                                                                          Number        Street




                                                                          City                                         State    ZIP Code
                                                Is the property insured?
                                                ❑ No
                                                ❑ Yes.        Insurance agency
                                                              Contact name
                                                              Phone


          Statistical and administrative information

         13. Debtor’s estimation of   Check one:
             available funds?         ❑ Funds will be available for distribution to unsecured creditors.
                                      ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                      ❑
                                         creditors.

         14. Estimated number of
                                       ✔ 1-49 ❑ 50-99
                                       ❑                                  ❑ 1,000-5,000 ❑ 5,001-10,000             ❑ 25,001-50,000 ❑ 50,000-100,000
             creditors                 ❑ 100-199 ❑ 200-999                ❑ 10,001-25,000                          ❑ More than 100,000

         15. Estimated assets          ❑ $0-$50,000                          ❑ $1,000,001-$10 million                  ❑ $500,000,001-$1 billion
                                       ✔ $50,001-$100,000
                                       ❑                                     ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                       ❑ $100,001-$500,000                   ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                       ❑ $500,001-$1 million                 ❑ $100,000,001-$500 million               ❑ More than $50 billion




               Case 24-11214-j11
Official Form 201                           Doc  1 Filed
                                              Voluntary        11/13/24
                                                        Petition                Entered
                                                                 for Non-Individuals         11/13/24
                                                                                     Filing for Bankruptcy14:38:12 Page 3 of 181                             page 3
Debtor        ADB Enterprises LLC, a New Mexico Limited Liability Company                                      Case number (if known)
             Name



                                            ❑ $0-$50,000                              ✔ $1,000,001-$10 million
                                                                                      ❑                                        ❑ $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑ $50,001-$100,000                        ❑ $10,000,001-$50 million                ❑ $1,000,000,001-$10 billion
                                            ❑ $100,001-$500,000                       ❑ $50,000,001-$100 million               ❑ $10,000,000,001-$50 billion
                                            ❑ $500,001-$1 million                     ❑ $100,000,001-$500 million              ❑ More than $50 billion

           Request for Relief, Declaration, and Signatures


WARNING --            Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                               I declare under penalty of perjury that the foregoing is true and correct.

                                                   Executed on     11/13/2024
                                                                   MM/ DD/ YYYY



                                               ✘ /s/ Aaron Boyd                                                                        Aaron Boyd
                                                   Signature of authorized representative of debtor                 Printed name



                                                   Title           Owner / Managing Member



         18. Signature of attorney
                                               ✘                      /s/ Jason M Cline                             Date      11/13/2024
                                                   Signature of attorney for debtor                                           MM/ DD/ YYYY




                                                    Jason M Cline
                                                   Printed name


                                                    Jason Cline, LLC
                                                   Firm name


                                                    2601 Wyoming Blvd. NE 108
                                                   Number          Street


                                                    Albuquerque                                                        NM              87112
                                                   City                                                               State            ZIP Code



                                                    (505) 595-0110                                                      jason@attorneyjasoncline.com
                                                   Contact phone                                                       Email address



                                                    149941                                                              NM
                                                   Bar number                                                          State




               Case 24-11214-j11
Official Form 201                                Doc  1 Filed
                                                   Voluntary        11/13/24
                                                             Petition                Entered
                                                                      for Non-Individuals         11/13/24
                                                                                          Filing for Bankruptcy14:38:12 Page 4 of 181                               page 4
 Fill in this information to identify the case:

  Debtor Name       ADB Enterprises LLC, a New Mexico Limited Liability Company

  United States Bankruptcy Court for the: District of      New Mexico
                                                              (State)
  Case number (If
  known):                                                                                                                                   ❑ Check if this is an
                                                                                                                                                amended filing


Official Form 206A/B

Schedule A/B: Assets — Real and Personal Property                                                                                                                12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all
property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book
value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list
them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is
attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
 depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not
 deduct the value of secured claims. See the instructions to understand the terms used in this form.

      Part 1:      Cash and cash equivalents

 1.      Does the debtor have any cash or cash equivalents?

         ❑ No. Go to Part 2.
         ✔ Yes. Fill in the information below.
         ❑
         All cash or cash equivalents owned or controlled by the debtor                                                                     Current value of
                                                                                                                                            debtor’s interest

 2.      Cash on hand

 3.      Checking, savings, money market, or financial brokerage accounts (Identify all)

         Name of institution (bank or brokerage firm)           Type of account                           Last 4 digits of account number

         3.1. PNC Bank                                           Checking account                          7    4    1    3                              $2,500.00

         3.2. PNC Bank                                           Checking account                          2    7    0    2                                     $15.00

         3.3. New Mexico Bank & Trust                            Checking account                          2    8    0    6                              $1,500.00

         3.4. Wells Fargo                                        Checking account                          1    4    6    4                               ($368.98)

 4.      Other cash equivalents (Identify all)

         4.1

         4.2


 5.      Total of Part 1
                                                                                                                                                       $3,646.02
         Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.


      Part 2:      Deposits and prepayments

 6.      Does the debtor have any deposits or prepayments?

         ❑ No. Go to Part 3.
         ✔ Yes. Fill in the information below.
         ❑
                                                                                                                                            Current value of
                                                                                                                                            debtor’s interest




Official Form 206A/B                                    Schedule A/B: Assets — Real and Personal Property                                                       page 1

               Case 24-11214-j11                  Doc 1      Filed 11/13/24             Entered 11/13/24 14:38:12 Page 5 of 181
Debtor          ADB Enterprises LLC, a New Mexico Limited Liability Company                               Case number (if known)
                Name




 7.      Deposits, including security deposits and utility deposits

         Description, including name of holder of deposit

         7.1    Harris Properties                                                                                                                     $2,701.00

         7.2    J.S Harvey Trust                                                                                                                      $1,845.00


 8.      Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

         Description, including name of holder of prepayment

         8.1

         8.2


 9.      Total of Part 2
                                                                                                                                                    $4,546.00
         Add lines 7 through 8. Copy the total to line 81.


      Part 3:      Accounts receivable

 10.     Does the debtor have any accounts receivable?

         ✔ No. Go to Part 4.
         ❑
         ❑ Yes. Fill in the information below.
                                                                                                                                         Current value of
                                                                                                                                         debtor’s interest

 11.     Accounts receivable

         11a. 90 days old or less:                                    -                                               ➔
                                                                                                                 =.....
                                     face amount                          doubtful or uncollectible accounts

         11b. Over 90 days old:                                       -                                               ➔
                                                                                                                 =.....
                                     face amount                          doubtful or uncollectible accounts


 12.     Total of Part 3
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.


      Part 4:      Investments

 13.     Does the debtor own any investments?

         ✔ No. Go to Part 5.
         ❑
         ❑ Yes. Fill in the information below.
                                                                                                                 Valuation method used   Current value of
                                                                                                                 for current value       debtor’s interest

 14.     Mutual funds or publicly traded stocks not included in Part 1

         Name of fund or stock:

         14.1

         14.2


 15.     Non-publicly traded stock and interests in incorporated and unincorporated businesses,
         including any interest in an LLC, partnership, or joint venture

         Name of entity:                                                                     % of
                                                                                             ownership:


Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                     page 2


               Case 24-11214-j11                 Doc 1        Filed 11/13/24              Entered 11/13/24 14:38:12 Page 6 of 181
Debtor           ADB Enterprises LLC, a New Mexico Limited Liability Company                       Case number (if known)
                 Name




         15.1.

         15.2.

 16.     Government bonds, corporate bonds, and other negotiable and non-negotiable
         instruments not included in Part 1

         Describe:

         16.1

         16.2


 17.     Total of Part 4
         Add lines 14 through 16. Copy the total to line 83.


   Part 5:           Inventory, excluding agriculture assets

 18.     Does the debtor own any inventory (excluding agriculture assets)?

         ❑ No. Go to Part 6.
         ✔ Yes. Fill in the information below.
         ❑
         General description                                   Date of the last     Net book value of     Valuation method used   Current value of
                                                               physical inventory   debtor's interest     for current value       debtor’s interest

                                                                                    (Where available)

 19.     Raw materials


                                                               MM / DD / YYYY


 20.     Work in progress


                                                               MM / DD / YYYY


 21.     Finished goods, including goods held for resale

         Various Inventory in Amazon's
         Possession - See Attached                                10/26/2024                 unknown      Sales Value                          $8,776.24
                                                               MM / DD / YYYY

         Inventory - In Warehouse - See
         Attached                                                 10/26/2024                 unknown      Sales Value                         $19,632.24
                                                               MM / DD / YYYY

         Inventory - At Walmart - See
         Attached                                                 09/30/2024                 unknown      Sales Value                         $23,378.49
                                                               MM / DD / YYYY


 22.     Other inventory or supplies


                                                               MM / DD / YYYY


 23.     Total of Part 5
                                                                                                                                            $51,786.96
         Add lines 19 through 22. Copy the total to line 84.


 24.     Is any of the property listed in Part 5 perishable?

         ✔ No
         ❑
         ❑ Yes
Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                               page 3
            Case 24-11214-j11                    Doc 1         Filed 11/13/24         Entered 11/13/24 14:38:12 Page 7 of 181
Debtor         ADB Enterprises LLC, a New Mexico Limited Liability Company                        Case number (if known)
              Name




 25.     Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         ✔ No
         ❑
         ❑ Yes. Book value                           Valuation method                     Current value

 26.     Has any of the property listed in Part 5 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 6:         Farming and fishing-related assets (other than titled motor vehicles and land)

 27.     Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

         ✔ No. Go to Part 7.
         ❑
         ❑ Yes. Fill in the information below.
         General description                                                       Net book value of      Valuation method used   Current value of
                                                                                   debtor's interest      for current value       debtor’s interest

                                                                                   (Where available)

 28.     Crops—either planted or harvested




 29.     Farm animals Examples: Livestock, poultry, farm-raised fish




 30.     Farm machinery and equipment (Other than titled motor vehicles)




 31.     Farm and fishing supplies, chemicals, and feed




 32.     Other farming and fishing-related property not already listed in Part 6




 33.     Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.


 34.     Is the debtor a member of an agricultural cooperative?

         ✔ No
         ❑
         ❑ Yes. Is any of the debtor’s property stored at the cooperative?
            ❑ No
            ❑ Yes
 35.     Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

         ✔ No
         ❑
         ❑ Yes. Book value                           Valuation method                     Current value

 36.     Is a depreciation schedule available for any of the property listed in Part 6?

         ✔ No
         ❑
         ❑ Yes



Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                               page 4

            Case 24-11214-j11                    Doc 1         Filed 11/13/24        Entered 11/13/24 14:38:12 Page 8 of 181
Debtor          ADB Enterprises LLC, a New Mexico Limited Liability Company                          Case number (if known)
                Name




 37.     Has any of the property listed in Part 6 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 7:         Office furniture, fixtures, and equipment; and collectibles

 38.     Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         ❑ No. Go to Part 8.
         ✔ Yes. Fill in the information below.
         ❑
         General description                                                          Net book value of     Valuation method used   Current value of
                                                                                      debtor's interest     for current value       debtor’s interest

                                                                                      (Where available)

 39.     Office furniture




 40.     Office fixtures

         2 Old Pallet Jacks, Shelving, Step stools                                             unknown                                           $1,200.00


 41.     Office equipment, including all computer equipment and
         communication systems equipment and software

         Computers, Printers, General supplies                                                 unknown                                           $1,000.00


 42.     Collectibles Examples: Antiques and figurines; paintings, prints, or other
         artwork; books, pictures, or other art objects; china and crystal; stamp,
         coin, or baseball card collections; other collections, memorabilia, or
         collectibles

         42.1

         42.2

         42.3


 43.     Total of Part 7
                                                                                                                                               $2,200.00
         Add lines 39 through 42. Copy the total to line 86.


 44.     Is a depreciation schedule available for any of the property listed in Part 7?

         ✔ No
         ❑
         ❑ Yes
 45.     Has any of the property listed in Part 7 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 8:         Machinery, equipment, and vehicles

 46.     Does the debtor own or lease any machinery, equipment, or vehicles?

         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
         General description                                                          Net book value of     Valuation method used   Current value of
                                                                                      debtor's interest     for current value       debtor’s interest
         Include year, make, model, and identification numbers (i.e., VIN, HIN, or
         N-number)                                                                    (Where available)


Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                                 page 5
            Case 24-11214-j11                    Doc 1         Filed 11/13/24           Entered 11/13/24 14:38:12 Page 9 of 181
Debtor          ADB Enterprises LLC, a New Mexico Limited Liability Company                          Case number (if known)
                Name




 47.     Automobiles, vans, trucks, motorcycles, trailers, and titled farm
         vehicles

         47.1

         47.2

         47.3

         47.4


 48.     Watercraft, trailers, motors, and related accessories Examples:
         Boats, trailers, motors, floating homes, personal watercraft, and fishing
         vessels

         48.1

         48.2


 49.     Aircraft and accessories

         49.1

         49.2


 50.     Other machinery, fixtures, and equipment (excluding farm
         machinery and equipment)




 51.     Total of Part 8
         Add lines 47 through 50. Copy the total to line 87.


 52.     Is a depreciation schedule available for any of the property listed in Part 8?

         ✔ No
         ❑
         ❑ Yes
 53.     Has any of the property listed in Part 8 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 9:         Real property

 54.     Does the debtor own or lease any real property?

         ✔ No. Go to Part 10.
         ❑
         ❑ Yes. Fill in the information below.
 55.     Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

         Description and location of property                  Nature and extent      Net book value of     Valuation method used   Current value of
         Include street address or other description such      of debtor’s interest   debtor's interest     for current value       debtor’s interest
         as Assessor Parcel Number (APN), and type of          in property
         property (for example, acreage, factory,                                     (Where available)
         warehouse, apartment or office building), if
         available.

         55.1

         55.2

         55.3



Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                page 6
           Case 24-11214-j11                     Doc 1         Filed 11/13/24          Entered 11/13/24 14:38:12 Page 10 of 181
Debtor          ADB Enterprises LLC, a New Mexico Limited Liability Company                           Case number (if known)
                Name




         55.4

         55.5

         55.6


 56.     Total of Part 9
         Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.


 57.     Is a depreciation schedule available for any of the property listed in Part 9?

         ✔ No
         ❑
         ❑ Yes
 58.     Has any of the property listed in Part 9 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
  Part 10:          Intangibles and intellectual property

 59.     Does the debtor have any interests in intangibles or intellectual property?

         ✔ No. Go to Part 11.
         ❑
         ❑ Yes. Fill in the information below.
         General description                                                          Net book value of        Valuation method used   Current value of
                                                                                      debtor's interest        for current value       debtor’s interest

                                                                                      (Where available)

 60.     Patents, copyrights, trademarks, and trade secrets




 61.     Internet domain names and websites




 62.     Licenses, franchises, and royalties




 63.     Customer lists, mailing lists, or other compilations




 64.     Other intangibles, or intellectual property




 65.     Goodwill




 66.     Total of Part 10
         Add lines 60 through 65. Copy the total to line 89.


 67.     Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?

         ✔ No
         ❑
         ❑ Yes

Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                   page 7
           Case 24-11214-j11                     Doc 1         Filed 11/13/24          Entered 11/13/24 14:38:12 Page 11 of 181
Debtor         ADB Enterprises LLC, a New Mexico Limited Liability Company                             Case number (if known)
               Name




 68.     Is there an amortization or other similar schedule available for any of the property listed in Part 10?

         ✔ No
         ❑
         ❑ Yes
 69.     Has any of the property listed in Part 10 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
  Part 11:         All other assets

 70.     Does the debtor own any other assets that have not yet been reported on this form?
         Include all interests in executory contracts and unexpired leases not previously reported on this form.

         ❑ No. Go to Part 12.
         ✔ Yes. Fill in the information below.
         ❑
                                                                                                                                        Current value of
                                                                                                                                        debtor’s interest

 71.     Notes receivable

         Description (include name of obligor)

                                                                                      –                                         =   ➔
                                                              Total face amount           doubtful or uncollectible amount


 72.     Tax refunds and unused net operating losses (NOLs)

         Description (for example, federal, state, local)

         ERC Tax refund $143,026.49 - Debtor is not anticipating receiving this.                                                                            $0.00
                                                                                                         Tax year


 73.     Interests in insurance policies or annuities




 74.     Causes of action against third parties (whether or not a lawsuit has
         been filed)



         Nature of claim

         Amount requested


 75.     Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims



         Nature of claim

         Amount requested


 76.     Trusts, equitable or future interests in property




 77.     Other property of any kind not already listed Examples: Season
         tickets, country club membership




Official Form 206A/B                                    Schedule A/B: Assets — Real and Personal Property                                                   page 8
           Case 24-11214-j11                     Doc 1      Filed 11/13/24                Entered 11/13/24 14:38:12 Page 12 of 181
Debtor           ADB Enterprises LLC, a New Mexico Limited Liability Company                                                         Case number (if known)
                Name




 78.     Total of Part 11
                                                                                                                                                                                 $0.00
         Add lines 71 through 77. Copy the total to line 90.


 79.     Has any of the property listed in Part 11 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
  Part 12:            Summary


 In Part 12 copy all of the totals from the earlier parts of the form.


         Type of property                                                                                        Current value of                         Current value
                                                                                                                 personal property                        of real property

 80.     Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                                      $3,646.02

 81.     Deposits and prepayments. Copy line 9, Part 2.                                                                          $4,546.00

 82.     Accounts receivable. Copy line 12, Part 3.

 83.     Investments. Copy line 17, Part 4.

 84.     Inventory. Copy line 23, Part 5.                                                                                       $51,786.96

 85.     Farming and fishing-related assets. Copy line 33, Part 6.

 86.     Office furniture, fixtures, and equipment; and collectibles.
                                                                                                                                 $2,200.00
         Copy line 43, Part 7.

 87.     Machinery, equipment, and vehicles. Copy line 51, Part 8.


 88.     Real property. Copy line 56, Part 9..........................................................................................   ➔
 89.     Intangibles and intellectual property. Copy line 66, Part 10.

 90.     All other assets. Copy line 78, Part 11.                                                           +                            $0.00


 91.     Total. Add lines 80 through 90 for each column............................91a.                                        $62,178.98        + 91b.


 92.     Total of all property on Schedule A/B. Lines 91a + 91b = 92. .....................................................................................................   $62,178.98




Official Form 206A/B                                                 Schedule A/B: Assets — Real and Personal Property                                                            page 9
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                                                    In House Inventory 10/26/24 - VERIFIED

  SKU         GTIN/UPC       Description                                                                           Cost Ea. In Stock   Total
231-3501   00029892051587    12/3 50'sjtw Madeusa Rd/Wh (2548SWUSA1)                                                  26.66     5        133.30
231-3686   00029892035310    14/3 3' A/C Spt-3 Beige (035313323)                                                        2.03   24         48.72
231-3634   00078693016028    16/2 12'cube Tap Wht Crd (0602w)                                                           1.77    0          0.00
231-3633   00078693016011    16/2 9' Cube Tap Wht Crd (0601w)                                                           1.45   32         46.40
231-3438   00078693002618    16/3 15' Sjtw Black Workshop Extension Cord (990261)                                       4.50    8         36.00
231-3455   00029892018634    16/3 20' Sjtw Wht Ext (023528801)                                                          6.50   16        104.00
232-9996   00014173375643    Ad Mrkr Fp Black                                                                           3.67    6         22.02
310-5204   00017754331434    Aleene's Always Ready Original Tacky Glue-4oz                                              1.03   15         15.45
310-5206   00017754331472    Aleene's Always Ready Quick Dry Tacky Glue-4oz                                             1.31    2          2.62
175-6713   00017754322531    Aleene's Clear Gel Tacky Glue-8oz                                                          2.34    3          7.02
175-6712   00017754321404    Aleene's Fabric Fusion Permanent Adhesive 3/Pkg-.66oz                                      1.87   36         67.32
506-0055   00017754331717    Aleene's Felt & Foam Glue 4oz-                                                             3.16    0          0.00
506-0038   00017754243553    Aleene's Original Tacky Glue 18pc Display-.66oz                                            0.43   17          7.31
359-9910   00017754156006    Aleene's Original Tacky Glue-2oz                                                           0.82    5          4.10
359-9899   00017754156037    Aleene's Original Tacky Glue-4oz                                                           0.99   20         19.80
359-9909   00017754159793    Aleene's Quick Dry Tacky Glue-4oz                                                          1.22    4          4.88
509-1034   00750557008089    Allary Safety Pins 175/Pkg-Brass, Assorted Sizes                                           0.95   11         10.45
175-6775   00040232000553    Amazing Clear Cast Kit 16oz-                                                             13.60     6         81.60
241-7275   00025217007901    American Plastic Toys 16" Dump Truck (Assorted Colors)                                     6.90    0          0.00
211-5745   00016455147306    Americana Acrylic Paint 2oz-Bluegrass Green-Opaque                                         1.12   15         16.80
213-2494   00766218028976    Americana Acrylic Paint 2oz-Bubblegum Pink - Opaque                                        1.12    4          4.48
211-5760   00016455163306    Americana Acrylic Paint 2oz-Burnt Sienna - Opaque                                          1.12   27         30.24
211-5761   00016455164303    Americana Acrylic Paint 2oz-Burnt Umber - Opaque                                           1.12    7          7.84
212-6209   00766218011961    Americana Acrylic Paint 2oz-Canyon Orange - Opaque                                         1.12   33         36.96
213-2503   00766218029263    Americana Acrylic Paint 2oz-Cocoa - Opaque                                                 1.12    8          8.96
213-9028   00766218051516    Americana Acrylic Paint 2oz-Coral Blush - Opaque                                           1.12   63         70.56
211-7187   00016455228302    Americana Acrylic Paint 2oz-Deep Burgundy - Opaque                                         1.12    8          8.96
211-5766   00016455177303    Americana Acrylic Paint 2oz-Desert Sand - Opaque                                           1.12   26         29.12
211-5763   00016455167304    Americana Acrylic Paint 2oz-Ebony Black - Opaque                                           1.09   22         23.98
211-5710   00016455111307    Americana Acrylic Paint 2oz-Lemon Yellow - Semi-Opaque                                     1.12   19         21.28
211-7267   00016455274309    Americana Acrylic Paint 2oz-Milk Chocolate - Opaque                                        1.12    8          8.96
211-7416   00016455299302    Americana Acrylic Paint 2oz-Primary Red - Semi-Opaque                                      1.09    5          5.45
213-4449   00766218034250    Americana Acrylic Paint 2oz-Turquoise Blue - Opaque                                        1.12   10         11.20
211-5776   00016455187302    Americana Acrylic Paint 2oz-Turquoise-Opaque                                               1.12   28         31.36

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  SKU         GTIN/UPC       Description                                                                                   Cost Ea. In Stock   Total
211-6097   00016455200308    Americana Acrylic Paint 2oz-Ultra Blue Deep - Transparent                                          1.12    8          8.96
212-6210   00766218011978    Americana Acrylic Paint 2oz-Warm White - Semi-Opaque                                               1.12    9         10.08
211-5738   00016455140307    Americana Acrylic Paint 2oz-Williamsburg Blue - Opaque                                             0.91   12         10.92
237-0991   03700417134868    Arches W/C Pad HP 10x14 12sh                                                                     13.83     0          0.00
237-2732   03700417114709    Arches Watercolor Block 140 Pound Hot Press Paper - 9 x 12 20 Sheets **MAP** Arches (A1795072) 29.39       4        117.56
326-3012   00762048100103    Art Institute Glitter Designer Dries Clear Adhesive 2oz-                                           2.83    3          8.49
231-8803   00762048100172    Art Institute Glitter Designer Dries Clear Adhesive 4oz-                                           4.61    0          0.00
503-5649   00762048101018    Art Institute Glitter Ultrafine Metal Tip-                                                         2.16    7         15.12
221-8642   00090672240187    Artist Set For Beginners-Sketching & Drawing                                                     11.25     8         90.00
504-2024   00073650767937    Aunt Lydia's Classic Crochet Thread Size 10-Natural                                                1.92    0          0.00
504-2045   00073650907913    Aunt Lydia's Classic Crochet Thread Size 10-Pastels                                                1.92    0          0.00
228-1311   00043272004079    Aunt Martha's Iron-On Transfer Book-Sunbonnet Days                                                 2.38    0          0.00
504-3536   00043272004130    Aunt Martha's Iron-On Transfer Book-Tea Time                                                       2.38    0          0.00
241-6613   08057252091685    Aurifil - (04555) 50wt Thread Cone Beige - 6452 Yards - (MK50CO-2314)                            26.93     3         80.79
241-6616   08057252092460    Aurifil - (04555) 50wt Thread Cone Dark Navy - 6452 Yards - (MK50CO-2784)                        26.93     4        107.72
241-6617   08057252092248    Aurifil - (04555) 50wt Thread Cone Dove (2600) - 6452 Yards - (MK50CO-2600)                      26.93     0          0.00
241-6619   08057252091302    Aurifil - (04555) 50wt Thread Cone Light Sand - 6452 Yards - (MK50CO-2000)                       26.93     9        242.37
241-6620   08057252091654    Aurifil - (04555) 50wt Thread Cone Lt Beige (2310) - 6452 Yards - (MK50CO-2310)                  26.93    10        269.30
241-6621   08057252092859    Aurifil - (04555) 50wt Thread Cone Marrakesh - 6452 Yards - (MK50CO-3817)                        26.93     4        107.72
241-6622   08057252091661    Aurifil - (04555) 50wt Thread Cone Muslin (2311) - 6452 Yards - (MK50CO-2311)                    26.93     4        107.72
241-6623   08057252091319    Aurifil - (04555) 50wt Thread Cone Natural - 6452 Yards - (MK50CO-2021)                          26.93     8        215.44
241-6625   08057252091326    Aurifil - (04555) 50wt Thread Cone White - 6452 Yards - (MK50CO-2024)                            26.93     3         80.79
503-6374   08057252099858    AURIFIL 50WT COTTON ALUMINIUM (2615)                                                               7.37    7         51.59
503-6337   08057252099483    AURIFIL 50WT COTTON BABY PINK (2423)                                                               7.37   21        154.77
503-6260   08057252098714    AURIFIL 50WT COTTON BARK (1140)                                                                    7.37   16        117.92
503-6378   08057252099896    AURIFIL 50WT COTTON BLACK (2692)                                                                   7.37    0          0.00
503-6255   08057252098660    AURIFIL 50WT COTTON BLUE GREY (1126)                                                               7.37   12         88.44
503-6278   08057252098899    AURIFIL 50WT COTTON CHALK (2026)                                                                   7.37   42        309.54
503-6326   08057252099377    AURIFIL 50WT COTTON CHOCOLATE (2360)                                                               7.37    7         51.59
503-6269   08057252098806    AURIFIL 50WT COTTON DARK GREY (1246)                                                               7.37   13         95.81
503-6391   08057252100028    AURIFIL 50WT COTTON DK NAVY (2784)                                                                 7.37   28        206.36
503-6369   08057252099803    AURIFIL 50WT COTTON DOVE (2600)                                                                    7.37    0          0.00
503-6268   08057252098790    AURIFIL 50WT COTTON DUSTY LAVENDER (1243)                                                          6.21    9         55.89
503-6312   08057252099230    AURIFIL 50WT COTTON ERMINE (2312)                                                                  7.37   16        117.92

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  SKU         GTIN/UPC       Description                                                                            Cost Ea. In Stock   Total
503-6407   08057252100189    AURIFIL 50WT COTTON GREEN (2870)                                                            7.37    9         66.33
503-6370   08057252099810    AURIFIL 50WT COTTON GREY (2605)                                                             7.37    7         51.59
503-6478   08057252100899    AURIFIL 50WT COTTON GREY SMOKE (5004)                                                       7.37   12         88.44
503-6275   08057252098868    AURIFIL 50WT COTTON LIGHT SAND (2000)                                                       7.37   12         88.44
503-6310   08057252099216    AURIFIL 50WT COTTON LT BEIGE (2310)                                                         7.37   12         88.44
503-6379   08057252099902    AURIFIL 50WT COTTON LT ROBINS (2710)                                                        7.37    8         58.96
503-6430   08057252100417    AURIFIL 50WT COTTON MARRAKESH (3817) 1422 yards                                             7.37   10         73.70
503-6390   08057252100011    AURIFIL 50WT COTTON MED DELFT (2783)                                                        7.37   12         88.44
503-6371   08057252099827    AURIFIL 50WT COTTON MIST (2606)                                                             7.37   16        117.92
503-6311   08057252099223    AURIFIL 50WT COTTON MUSLIN (2311)                                                           7.37   25        184.25
503-6276   08057252098875    AURIFIL 50WT COTTON NATURAL WH (2021)                                                       7.37   10         73.70
503-6333   08057252099445    AURIFIL 50WT COTTON OYSTER (2405)                                                           7.37   28        206.36
503-6334   08057252099452    AURIFIL 50WT COTTON PALE PINK (2410)                                                        7.37   13         95.81
503-6327   08057252099384    AURIFIL 50WT COTTON SANDSTONE (2370)                                                        7.37   12         88.44
503-6439   08057252100509    AURIFIL 50WT COTTON SILVER MOON (4060)                                                      7.37    5         36.85
503-6309   08057252099209    AURIFIL 50WT COTTON SILVER WHT (2309)                                                       7.37   14        103.18
503-6449   08057252100608    AURIFIL 50WT COTTON SMOKE BLUE (4644)                                                       7.37    6         44.22
503-6287   08057252098981    AURIFIL 50WT COTTON SPUN GOLD (2134)                                                        7.37   17        125.29
503-6375   08057252099865    AURIFIL 50WT COTTON STAINLESS (2620)                                                        7.37   16        117.92
503-6317   08057252099285    AURIFIL 50WT COTTON STONE (2324)                                                            7.37   11         81.07
503-6429   08057252100400    AURIFIL 50WT COTTON STONEWASHE (3770)                                                       7.37    6         44.22
503-6458   08057252100691    AURIFIL 50WT COTTON STORM AT S (4655)                                                       7.37    8         58.96
503-6319   08057252099308    AURIFIL 50WT COTTON Thread - SAND (2326)                                                    7.37   11         81.07
503-6277   08057252098882    AURIFIL 50WT COTTON WHITE (2024)                                                            7.37   34        250.58
503-6785   00811568024625    Avery Elle Stamp & Die Storage Pockets 50/Pkg-Extra Large 6.75"x9.25"                       7.20    0          0.00
328-9464   00734343397502    Basswood Thick Round-7" To 9"                                                               6.50    0          0.00
241-7148   00630509277780    Battleship Grab & Go Game (Travel Size)                                                     4.00   52        208.00
127-6829   00035926100756    Beeswax Thread Conditioner-                                                                 1.36   30         40.80
508-0812   00057355330092    Bernat Baby Blanket Yarn-Baby Pink                                                          2.52    0          0.00
508-0808   00057355367135    Bernat Baby Blanket Yarn-Vanilla                                                            2.52    9         22.68
508-0819   00057355330146    Bernat Baby Blanket Yarn-Yellow                                                             2.52   16         40.32
508-1218   00057355393172    Bernat Handicrafter Cotton Yarn - Solids-Hot Orange                                         1.14    0          0.00
508-1207   00057355393066    Bernat Handicrafter Cotton Yarn - Solids-Jute                                               1.14    0          0.00
334-8965   00057355466586    Bernat Handicrafter Cotton Yarn - Solids-Meadow                                             1.14    0          0.00

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  SKU         GTIN/UPC       Description                                                                            Cost Ea. In Stock   Total
508-1201   00057355385511    Bernat Handicrafter Cotton Yarn - Solids-Off White                                          1.14    0          0.00
508-1219   00057355393189    Bernat Handicrafter Cotton Yarn - Solids-Tangerine                                          1.14    0          0.00
333-6162   00057355431348    Bernat Handicrafter Cotton Yarn 340g - Ombres-Salt & Pepper Print                           7.49    0          0.00
508-1462   00057355246119    Bernat Softee Baby Yarn - Solids-Soft Lilac                                                 3.45    0          0.00
508-0894   00057355351455    Bernat Softee Chunky Yarn-Baby Pink                                                         1.94    3          5.82
508-0887   00057355351356    Bernat Softee Chunky Yarn-Dark Green                                                        1.94    0          0.00
508-0891   00057355351417    Bernat Softee Chunky Yarn-Dark Mauve                                                        1.94    8         15.52
508-0883   00057355351318    Bernat Softee Chunky Yarn-Emerald                                                           1.94    0          0.00
508-0899   00057355351554    Bernat Softee Chunky Yarn-Pumpkin                                                           1.94    6         11.64
508-0877   00057355351240    Bernat Softee Chunky Yarn-True Grey                                                         1.94   12         23.28
508-0896   00057355351523    Bernat Softee Chunky Yarn-Wine                                                              1.94    6         11.64
508-1350   00057355339330    Bernat Super Value Solid Yarn-Lush                                                          3.13    3          9.39
231-6905   00026521019819    Berwick Splendorette 3/16" x 500yds - Azalea (1-27)                                         1.24   43         53.32
231-6906   00026521354019    Berwick Splendorette 3/16" x 500yds - Baby Blue (1-77)                                      1.24   10         12.40
231-6907   00026521354132    Berwick Splendorette 3/16" x 500yds - Baby Pink (1-75)                                      1.24   30         37.20
359-9879   00026521027456    Berwick Splendorette 3/16" x 500yds - Beauty (1-41) Crimped Curling Ribbon                  1.24   48         59.52
359-9871   00026521019826    Berwick Splendorette 3/16" x 500yds - Black (1-26)                                          1.24   69         85.56
241-7028   00091869380624    Berwick Splendorette 3/16" x 500yds - Black Lacquer                                         0.17  600        102.00
231-6910   00026521826226    Berwick Splendorette 3/16" x 500yds - Caribbean Blue (1-32)                                 1.24   56         69.44
241-2773   00026521143866    Berwick Splendorette 3/16" x 500yds - Celadon (1-30)                                        1.24   72         89.28
231-6951   00026521691824    Berwick Splendorette 3/16" x 500yds - Chocolate (1-18)                                      1.24   19         23.56
359-9881   00026521204970    Berwick Splendorette 3/16" x 500yds - Citrus (1-19)                                         2.80   60        168.00
231-6908   00026521019970    Berwick Splendorette 3/16" x 500yds - Daffodil (1-65)                                       1.24   72         89.28
359-9882   00026521019789    Berwick Splendorette 3/16" x 500yds - Emerald (1-22)                                        1.24   42         52.08
324-7150   00026521019956    Berwick Splendorette 3/16" x 500yds - Gold (1-15)                                           1.24   47         58.28
241-7160   00026521962221    Berwick Splendorette 3/16" x 500yds - Hot Red (1-252)                                       1.24   78         96.72
231-6912   00026521019840    Berwick Splendorette 3/16" x 500yds - Hunter Green (1-64)                                   1.24   93        115.32
359-9876   00026521019864    Berwick Splendorette 3/16" x 500yds - Lavender (1-08)                                       1.24    0          0.00
359-9874   00026521019888    Berwick Splendorette 3/16" x 500yds - Light Blue (1-03)                                     1.24   48         59.52
241-7203   00026521962818    Berwick Splendorette 3/16" x 500yds - Marsala (1-262)                                       1.24   60         74.40
231-6914   00026521019741    Berwick Splendorette 3/16" x 500yds - Mint (1-06)                                           1.24   60         74.40
231-6915   00026521019918    Berwick Splendorette 3/16" x 500yds - Navy (1-62)                                           1.24   45         55.80
241-2774   00026521019987    Berwick Splendorette 3/16" x 500yds - Orange (1-35)                                         1.24   68         84.32
231-6916   00026521496276    Berwick Splendorette 3/16" x 500yds - Orchid (1-28)                                         1.24   42         52.08

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  SKU         GTIN/UPC       Description                                                                             Cost Ea. In Stock   Total
231-6917   00026521954417    Berwick Splendorette 3/16" x 500yds - Pastel Yellow (1-610)                                  1.24   60         74.40
231-6918   00026521127248    Berwick Splendorette 3/16" x 500yds - Periwinkle (1-54)                                      1.24   72         89.28
359-9873   00026521019994    Berwick Splendorette 3/16" x 500yds - Purple (1-09)                                          1.24   45         55.80
241-7027   00091869380617    Berwick Splendorette 3/16" x 500yds - Red Lacquer                                            0.17  434         73.78
359-9867   00026521019857    Berwick Splendorette 3/16" x 500yds - Royal Blue (1-12)                                      1.24   51         63.24
359-9875   00026521019796    Berwick Splendorette 3/16" x 500yds - Silver (1-20)                                          1.24   81        100.44
359-9877   00026521784502    Berwick Splendorette 3/16" x 500yds - Sunshine (1-14)                                        1.24   50         62.00
241-2772   00026521019895    Berwick Splendorette 3/16" x 500yds - Teal (1-33) Crimped Curling Ribbon                     1.24   60         74.40
359-9872   00026521353654    Berwick Splendorette 3/16" x 500yds - Tropical Orange (1-11)                                 1.24   44         54.56
231-6919   00026521019901    Berwick Splendorette 3/16" x 500yds - Turqoise (1-10)                                        1.24   26         32.24
231-6952   00026521019772    Berwick Splendorette 3/16" x 500yds - Vanilla (1-95)                                         1.24   60         74.40
359-9868   00026521019758    Berwick Splendorette 3/16" x 500yds - White (1-01)                                           1.24  193        239.32
359-9870   00026521019925    Berwick Splendorette 3/16" x 500yds - Yellow (1-05)                                          1.24   48         59.52
241-6679   00026521028477    Berwick Splendorette Keg - 3/16" X 66' - Beauty (bce12-41)                                   0.26   42         10.92
241-6680   00026521028453    Berwick Splendorette Keg - 3/16" X 66' - Black (bce12-26)                                    0.26   72         18.72
241-6683   00026521227856    Berwick Splendorette Keg - 3/16" X 66' - Citrus (bce12-19)                                   0.26   39         10.14
241-6684   00091869205583    Berwick Splendorette Keg - 3/16" X 66' - Daffodil (bce12-65) -DISC                           0.26  100         26.00
241-6685   00026521028446    Berwick Splendorette Keg - 3/16" X 66' - Emerald (bce12-22)                                  0.26   24          6.24
241-6686   00026521028460    Berwick Splendorette Keg - 3/16" X 66' - F Pink (bce12-32)                                   0.26   64         16.64
241-6687   00026521028545    Berwick Splendorette Keg - 3/16" X 66' - Gold Glitter (bce12-81)                             0.26  106         27.56
241-7202   00026521011585    Berwick Splendorette Keg - 3/16" X 66' - Iridescent (BCE-1252)                               0.26   52         13.52
241-6688   00026521954301    Berwick Splendorette Keg - 3/16" X 66' - Lavender (bce12-08)                                 0.26   16          4.16
241-6689   00026521028378    Berwick Splendorette Keg - 3/16" X 66' - Light Blue (bce12-03)                               0.26   11          2.86
241-6691   00026521032146    Berwick Splendorette Keg - 3/16" X 66' - Purple (bce12-09)                                   0.26    0          0.00
241-6692   00026521028408    Berwick Splendorette Keg - 3/16" X 66' - Red (bce12-13)                                      0.26   28          7.28
241-6693   00026521099194    Berwick Splendorette Keg - 3/16" X 66' - Red Lacquer (bce12-91)                              0.26  747        194.22
241-6695   00026521028552    Berwick Splendorette Keg - 3/16" X 66' - Silver Glitter (bce12-82)                           0.26   70         18.20
241-6696   00026521387406    Berwick Splendorette Keg - 3/16" X 66' - Tropical Orange (bce12-11)                          0.26   72         18.72
241-6698   00026521099279    Berwick Splendorette Keg - 3/16" X 66' - Yellow (bce12-05)                                   0.26   20          5.20
241-6697   00026521011578    Berwick Splendorette Keg - 3/16" X 66'-White                                                 0.26   18          4.68
507-6433   00090672011299    Big Kids Angular Arts & Crafts Brush Set-5/Pkg                                               2.85    5         14.25
506-4402   00740482001699    Blending Filaments Easter                                                                    1.27   11         13.97
241-7322   05010993986446    Bo Katan                                                                                     3.50  101        353.50
211-0757   00723325208004    Bo-Nash Iron Clean Cleaning Cloths-10/Pkg                                                    2.25   24         54.00

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  SKU         GTIN/UPC       Description                                                                                         Cost Ea. In Stock         Total
211-2796   00070659887772    Bondex Iron-On Fluorescent Reflective Tape 2"x32"-Yellow                                                 2.17     18              39.06
211-2785   00070659570261    Bondex Iron-On Mending Fabric 6.5"x14"-Black                                                             0.87     44              38.28
508-9481   00070659777547    Boye Steel Crochet Hook 5"-Size 12/1mm                                                                   0.78      0               0.00
510-8002   00760899336542    Brea Reese Liquid Glitter For Inks 20ml-Iridescent                                                       2.97      0               0.00
107-6891   00075353035108    Bright Duck Tape 1.88"x15yd-Island Lime                                                                  2.97     16              47.52
503-8475   00874155004134    Brittany Cable Knitting Needles 3.75" 3/Pkg-Sizes 2.5/3mm, 4/3.5mm & 7/4.5mm                             3.50      5              17.50
334-9637   00644256305573    C&D Visionary Patch-Love Wins (pjsx0006)                                                                 3.18      2               6.36
228-5007   00023535380041    Candy & Baking Flavoring .125oz 2/Pkg-Amaretto                                                           1.67      0               0.00
108-6106   00023535350044    Candy & Baking Flavoring .125oz 2/Pkg-Apple                                                              1.67      0               0.00
228-5014   00023535480048    Candy & Baking Flavoring .125oz 2/Pkg-Blueberry                                                          1.67      0               0.00
355-6723   00023535360043    Candy & Baking Flavoring .125oz 2/Pkg-Bubble Gum                                                         1.67      0               0.00
211-9364   00023535190046    Candy & Baking Flavoring .125oz 2/Pkg-Butter Rum                                                         1.67      0               0.00
213-3770   00023535210041    Candy & Baking Flavoring .125oz 2/Pkg-Butterscotch                                                       1.67      0               0.00
228-5016   00023535680042    Candy & Baking Flavoring .125oz 2/Pkg-Cheesecake                                                         1.67      0               0.00
220-5268   00023535150040    Candy & Baking Flavoring .125oz 2/Pkg-Cherry                                                             1.67      0               0.00
228-5017   00023535080040    Candy & Baking Flavoring .125oz 2/Pkg-Clove Oil                                                          1.67      0               0.00
228-5015   00023535510042    Candy & Baking Flavoring .125oz 2/Pkg-Creme De Menthe                                                    1.67      0               0.00
213-3771   00023535180047    Candy & Baking Flavoring .125oz 2/Pkg-Grape                                                              1.67      0               0.00
228-5006   00023535590044    Candy & Baking Flavoring .125oz 2/Pkg-Marshmallow                                                        1.67      0               0.00
228-5012   00023535450041    Candy & Baking Flavoring .125oz 2/Pkg-Peach                                                              1.67      0               0.00
211-9363   00023535320047    Candy & Baking Flavoring .125oz 2/Pkg-Strawberry                                                         1.67      0               0.00
220-5262   00023535260046    Candy & Baking Flavoring .125oz 2/Pkg-Watermelon                                                         1.67      0               0.00
231-7548   00070896260628    Candy Melts Flavored 12oz-Blue, Vanilla                                                                  3.51      9              31.59
333-8609   00070896060693    Candy Melts Flavored 12oz-Lavender, Vanilla                                                              3.51     11              38.61
231-7554   00070896060716    Candy Melts Flavored 12oz-Orange, Vanilla                                                                3.51     14              49.14
235-2863   03148950103307    Canson 400059772 Artist Series Mix Media Paper Pad, Dual Surface- Fine or Medium, Side Wire Bound, 138   2.59
                                                                                                                                         Pound,18
                                                                                                                                                5.5 x 8.5 Inch,46.62
                                                                                                                                                                30 Sheets
235-3009   03148955723869    Canson Artist Series Universal Paper Sketch Pad, for Pencil and Charcoal, Micro-Perforated, Side Wire Bound,
                                                                                                                                      6.7765 Pound,
                                                                                                                                                3 9 x 12 Inch, 20.31
                                                                                                                                                                  100 She
235-3008   03148955723890    Canson Artist Series Universal Paper Sketch Pad, Micro-Perforated, Side Wire Bound, 65 Pound, 11 x 14 Inch,
                                                                                                                                      8.84100 Sheets
                                                                                                                                                0               0.00
235-2970   03148955726730    Canson Foundation Series Tracing Paper Pad 9"X12"                                                        2.30      0               0.00
235-2857   03148950099242    Canson XL Drawing Pad, 9" x 12", 60 Sheets/Pad, SIDE Wirebound                                           3.95     15              59.25
235-2685   03148955725894    Canson XL Series Mix Media Paper Pad, Heavyweight, Fine Texture, Heavy Sizing for Wet and Dry Media,10.83
                                                                                                                                     Side Wire Bound,
                                                                                                                                                6       98 Pound,
                                                                                                                                                               64.9811 x 14
235-2714   03148955726280    Canson XL Series Watercolor Textured Paper Pad, Fold Over, 140 Pound, 11 x 15 Inch, 30 Sheets (7022446)  8.00      0               0.00
235-2668   03148950112156    Canson XL Series Watercolor Textured Paper, Side Wire Bound, 140 Pound, 9 x 12 Inch, 30 Sheets           7.61      6              45.66
235-2683   03148955725832    Canson XL Spiral Multi-Media Paper Pad 7"X10"                                                            5.36      0               0.00

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  SKU         GTIN/UPC       Description                                                                              Cost Ea. In Stock   Total
508-2199   00035613120050    Caron Simply Soft Collection Yarn-Blackberry                                                  3.00    0          0.00
511-1200   00017158049195    Ceramcoat Acrylic Paint 2oz-Boysenberry                                                       1.26    0          0.00
511-1198   00017158049133    Ceramcoat Acrylic Paint 2oz-Candid Coral                                                      1.26   27         34.02
211-7379   00017158253028    Ceramcoat Acrylic Paint 2oz-Caribbean Blue - Opaque                                           1.26   26         32.76
511-1439   00017158048716    Ceramcoat Acrylic Paint 2oz-Palmetto                                                          1.26    7          8.82
511-1440   00017158048723    Ceramcoat Acrylic Paint 2oz-Surfboard                                                         1.26    4          5.04
235-8367   00090672062659    Charcoal/Willow Stick Mini Tin                                                                1.80    0          0.00
121-8677   00014173328793    Chartpak Deco Bright Decorative Tape, 1/8" X 324", Red/Black/Blue/Green/Yellow, 6/Pack      15.37     4         61.48
504-1436   00051221356216    Clover Chibi Darning Needle Set-Size 13/20 3/Pkg                                              3.37    2          6.74
211-0500   00051221523045    Clover Eraser Pen-                                                                            2.55    6         15.30
211-0595   00051221505454    Clover Fusible Bias Tape Maker-3/4"                                                           4.00   12         48.00
211-0598   00051221528033    Clover Fusible Web Tape 5mmx40'-                                                              2.18   17         37.06
103-9655   00051221403187    Clover Gold Eye Tapestry Needles-Size 18/22 6/Pkg                                             0.99    7          6.93
211-0218   00051221500138    Clover Hera Marker-                                                                           2.91    0          0.00
210-9841   00051221523120    Clover Iron-On Transfer Pencil-Blue                                                           1.82    0          0.00
210-9755   00051221508608    Clover Ring Thimble W/Plate-Adjustable                                                        1.43   16         22.88
210-9713   00051221508615    Clover Ring Thimble-Adjustable                                                                1.58    4          6.32
210-9813   00051221503207    Clover Seam Ripper-5"                                                                         2.79    0          0.00
211-0657   00051221868429    Clover Thumb Tacks-.4375" 50/Pkg                                                              1.92    0          0.00
211-0922   00051221523090    Clover Water-Soluble Pencil-Pink                                                              1.82   12         21.84
241-7070   00630509277773    Clue Grab & Go Game (Travel Size) QTY=1                                                       4.00   14         56.00
241-8827   00195166230993    Clue Grab N Go (NEW)                                                                          4.00   23         92.00
210-2666   00073650826986    Coats All-Purpose Plastic Zipper 9"-Sun Yellow                                                0.80   12          9.60
349-9978   00073650138010    Coats All-Purpose Thread 400yd-Black                                                          1.31   71         93.01
349-9979   00073650138003    Coats All-Purpose Thread 400yd-White                                                          1.31   50         65.50
349-9968   00073650806452    Coats Cotton Covered Quilting & Piecing Thread 250yd-Ecru                                     1.66   10         16.60
103-9675   00073650806360    Coats Cotton Covered Quilting & Piecing Thread 250yd-Lime Green                               1.66    6          9.96
349-9969   00073650806308    Coats Cotton Covered Quilting & Piecing Thread 250yd-Navy                                     1.66    0          0.00
103-9678   00073650806261    Coats Cotton Covered Quilting & Piecing Thread 250yd-Purple                                   1.66   13         21.58
200-3392   00073650806223    Coats Cotton Covered Quilting & Piecing Thread 250yd-Red                                      1.66    6          9.96
200-3408   00073650806377    Coats Cotton Covered Quilting & Piecing Thread 250yd-Yellow                                   1.66    2          3.32
200-3377   00073650792779    Coats Dual Duty Plus Button & Carpet Thread 50yd-Slate                                        0.71    8          5.68
349-9980   00073650797521    Coats Dual Duty Plus Denim Thread 125yd-Denim Blue                                            0.95   92         87.40
349-9988   00073650792885    Coats Dual Duty Plus Hand Quilting Thread 325yd-Black                                         1.61    6          9.66

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  SKU         GTIN/UPC       Description                                                                                      Cost Ea. In Stock    Total
103-9682   00073650792953    Coats Dual Duty Plus Hand Quilting Thread 325yd-Blue                                                  1.61     19        30.59
350-0002   00073650792984    Coats Dual Duty Plus Hand Quilting Thread 325yd-Navy                                                  1.61     15        24.15
103-9685   00073650792991    Coats Dual Duty Plus Hand Quilting Thread 325yd-River Blue                                            1.61      0         0.00
103-9687   00073650792878    Coats Dual Duty Plus Hand Quilting Thread 325yd-Slate                                                 1.61      0         0.00
350-0005   00073650792861    Coats Dual Duty Plus Hand Quilting Thread 325yd-White                                                 1.61      0         0.00
350-0292   00073650779671    Coats Dual Duty XP General Purpose Thread 500yd-White                                                 2.29      0         0.00
350-0296   00073650780172    Coats Dual Duty XP Heavy Thread 125yd-Black                                                           0.99      7         6.93
226-9487   00073650831614    Coats Dual Duty XP Paper Piecing Thread 225yd-Natural                                                 1.03      5         5.15
324-9621   00073650022623    Coats Eloflex Stretch Thread 225yd-Atom Red                                                           1.61      3         4.83
324-9630   00073650022586    Coats Eloflex Stretch Thread 225yd-Black                                                              1.61     50        80.50
324-9622   00073650022852    Coats Eloflex Stretch Thread 225yd-Dark Brown                                                         1.61      0         0.00
324-9633   00073650022807    Coats Eloflex Stretch Thread 225yd-Natural                                                            1.61      6         9.66
324-9637   00073650022555    Coats Eloflex Stretch Thread 225yd-White                                                              1.61     28        45.08
350-0316   00073650797439    Coats Extra Strong Upholstery Thread 150yd-Natural                                                    1.29      0         0.00
350-0370   00073650794049    Coats Metallic Thread 125yd-Copper                                                                    1.55     10        15.50
310-0827   00073650825422    Coats Outdoor Living Thread 200yd-Black                                                               2.84     46       130.64
310-0820   00073650825460    Coats Outdoor Living Thread 200yd-Caribbean Blue                                                      2.84     12        34.08
310-0822   00073650825484    Coats Outdoor Living Thread 200yd-Chartreuse                                                          2.84      3         8.52
310-0826   00073650825514    Coats Outdoor Living Thread 200yd-Dark Brown                                                          2.84      0         0.00
310-0819   00073650825453    Coats Outdoor Living Thread 200yd-Monaco Blue                                                         2.84      5        14.20
310-0818   00073650825446    Coats Outdoor Living Thread 200yd-Red Cherry                                                          2.84      0         0.00
310-0821   00073650825477    Coats Outdoor Living Thread 200yd-Scots Green                                                         2.84     11        31.24
310-0824   00073650825415    Coats Outdoor Living Thread 200yd-Steel                                                               2.84     47       133.48
310-0823   00073650825491    Coats Outdoor Living Thread 200yd-Tangerine                                                           2.84      8        22.72
310-0816   00073650825408    Coats Outdoor Living Thread 200yd-White                                                               2.84     23        65.32
200-3044   00073650776366    Coats Thread & Zippers Coats Thread & Zippers Dual Duty XP General Purpose Thread 125 Yards-Bright Red0.71
                                                                                                                                     (s900-9225)
                                                                                                                                             0         0.00
200-3385   00073650792854    Coats Thread & Zippers Dual Duty Plus Button & Carpet Thread 50 Yards - Chona Brown (s920-8960)       0.71      4         2.84
200-3383   00073650792830    Coats Thread & Zippers Dual Duty Plus Button & Carpet Thread 50 Yards-Cream (s920-8020) - [3-Pack] 0.71        13         9.23
200-3384   00073650792847    Coats Thread & Zippers Dual Duty Plus Button & Carpet Thread 50 Yards-Dogwood (s920-8530)             0.71      0         0.00
200-3382   00073650792823    Coats Thread & Zippers Dual Duty Plus Button & Carpet Thread 50 Yards-Natural (s920-8010) - [3-Pack] 0.71      11         7.81
200-3380   00073650792809    Coats Thread & Zippers Dual Duty Plus Button & Carpet Thread 50 Yards-Navy (s920-4900)                0.71     12         8.52
200-3379   00073650792793    Coats Thread & Zippers Dual Duty Plus Button & Carpet Thread 50 Yards-Red (s920-2250)                 0.71     15        10.65
200-3376   00073650792762    Coats Thread & Zippers Dual Duty Plus Button & Carpet Thread 50 Yards-White (s920-0100) - [3-Pack]    0.71     20        14.20
200-3057   00073650776489    Coats Thread Dual Duty XP General Purpose Neon Orange Thread 125 Yards (s900-9278)                    0.71      0         0.00

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  SKU         GTIN/UPC       Description                                                                                   Cost Ea. In Stock   Total
200-3041   00073650776335    Coats Thread Dual Duty XP General Purpose Neon Pink Thread 125 Yards (s900-9213)                   0.71    0          0.00
200-3052   00073650776434    Coats Thread Dual Duty XP General Purpose Neon Yellow Thread 125 Yards- (s900-9271)                0.71    7          4.97
231-3802   00032886997341    Coleman Cable 12/3 100' Sjtw (3 outlet) Yellow Jacket Lighted End Extension Cord (2820)          54.50     5        272.50
231-3805   00032886997365    Coleman Cable 12/3 2' Sjtw (3 outlet) Yellow Jacket Lighted End Extension Cord (64824501)          4.94   41        202.54
231-3803   00032886997358    Coleman Cable 12/3 50' Sjtw (3 outlet) Yellow Jacket Lighted End Extension Cord (2827)           31.50     5        157.50
231-3687   00029892035327    Coleman Cable 3532 14/3 General-Use Appliance Extension Cord, 6Ft A/C Spt-3 Beige 035323323        3.50   17         59.50
228-8104   00078693016004    Coleman Cable 6' Cube Tap Extension Cord (0600w)                                                   1.21   36         43.56
231-3245   00078693069918    Coleman Cable 6991 Power Strip Liberator, 8-Inch Extension Cord, 3-Pack                            3.98    0          0.00
231-3239   00029892299019    Coleman Cable 9901 3-Prong To 2-Prong Grounding Outlet Adapter (2-Pack)                            1.24   58         71.92
213-8489   00090672062581    Color Stick Drawing Set W/Tin-                                                                     1.80    3          5.40
120-0095   00051131659889    Command Small Poster Strips-White 16/Pkg                                                           1.81   18         32.58
241-7312   00630509886081    Connect 4 Card Game                                                                                2.85   27         76.95
241-7149   00630509277797    Connect 4 Grab & Go Game (Travel Size)                                                             4.00   66        264.00
237-0895   00300263303833    Conte à Paris "B" 2 Count Sketching Crayons, White                                                 2.25   39         87.75
127-9552   00016321489837    Cord Basics Gossamer Stretch Cord .5mmx48'-Clear                                                   1.05    0          0.00
334-8195   00191648095616    Cousin Plastic Canvas Shape 7 Count 9"-Circle Clear                                                0.68    4          2.72
211-7240   00016455545768    Crafter's Acrylic All-Purpose Paint 2oz-Black                                                      0.66   24         15.84
213-1676   00766218024534    Crafter's Acrylic All-Purpose Paint 2oz-Bright Blue                                                0.66   14          9.24
213-1673   00766218024497    Crafter's Acrylic All-Purpose Paint 2oz-Bright Orange                                              0.66    9          5.94
211-7225   00016455545515    Crafter's Acrylic All-Purpose Paint 2oz-Bright Red                                                 0.65   23         14.95
211-7537   00016455545782    Crafter's Acrylic All-Purpose Paint 2oz-Bright Yellow                                              0.66    5          3.30
211-7221   00016455545454    Crafter's Acrylic All-Purpose Paint 2oz-Burnt Umber                                                0.65    6          3.90
213-4660   00766218037336    Crafter's Acrylic All-Purpose Paint 2oz-Buttercream                                                0.66    4          2.64
213-4659   00766218037329    Crafter's Acrylic All-Purpose Paint 2oz-Cafe Mocha                                                 0.65   16         10.40
211-7227   00016455545539    Crafter's Acrylic All-Purpose Paint 2oz-Cherry Blossom Pink                                        0.66    3          1.98
211-7223   00016455545492    Crafter's Acrylic All-Purpose Paint 2oz-Christmas Red                                              0.65    6          3.90
213-4667   00766218037411    Crafter's Acrylic All-Purpose Paint 2oz-Grasshopper Green                                          0.66    9          5.94
211-7214   00016455545386    Crafter's Acrylic All-Purpose Paint 2oz-Natural Beige                                              0.66   69         45.54
211-7213   00016455545379    Crafter's Acrylic All-Purpose Paint 2oz-Pure Pumpkin                                               0.65   18         11.70
212-3946   00766218005755    Crafter's Acrylic All-Purpose Paint 2oz-Purple Passion                                             0.66   18         11.88
213-2505   00766218032140    Crafter's Acrylic All-Purpose Paint 2oz-Sun Yellow                                                 0.66    8          5.28
212-3952   00766218005823    Crafter's Acrylic All-Purpose Paint 2oz-Truly Blue                                                 0.65   13          8.45
211-7206   00016455545300    Crafter's Acrylic All-Purpose Paint 2oz-White                                                      0.65    6          3.90
213-7146   00766218047083    Crafter's Acrylic All-Purpose Specialty Paints 2oz-Green Neon                                      0.70   12          8.40

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  SKU         GTIN/UPC       Description                                                                            Cost Ea. In Stock   Total
213-7144   00766218047069    Crafter's Acrylic All-Purpose Specialty Paints 2oz-Orange Neon                              0.70   12          8.40
213-7142   00766218047045    Crafter's Acrylic All-Purpose Specialty Paints 2oz-Pink Neon                                0.70   10          7.00
213-7143   00766218047502    Crafter's Acrylic All-Purpose Specialty Paints 2oz-Red Neon                                 0.70   24         16.80
212-3961   00766218005984    Crafter's Acrylic All-Purpose Specialty Paints 2oz-Silver Morning                           0.70    0          0.00
212-3962   00766218005991    Crafter's Acrylic All-Purpose Specialty Paints 2oz-Spun Gold                                0.70    3          2.10
213-7145   00766218047076    Crafter's Acrylic All-Purpose Specialty Paints 2oz-Yellow Neon                              0.70   27         18.90
121-4723   00071662040246    Crayola Colored Pencils-24/Pkg Long                                                         3.20    0          0.00
121-4318   00071662000165    Crayola Crayons-16/Pkg                                                                      1.24    0          0.00
121-4315   00071662000080    Crayola Crayons-8/Pkg                                                                       0.65   20         13.00
228-1660   00071662003890    Crayola Jumbo Crayons-8/Pkg                                                                 2.64    0          0.00
121-4324   00071662032807    Crayola Large Washable Crayons-8/Pkg                                                        1.84    8         14.72
241-8821   00071662209384    Crayola Minions Color & Sticker Book W/50+Stickers                                          2.00   18         36.00
368-0347   00071662544423    Crayola Model Magic 4oz-Blue                                                                2.65   33         87.45
326-6857   00071662024055    Crayola Model Magic 6/Pkg White                                                             4.59    0          0.00
500-3367   00071662303129    Crayola Modeling Clay .6oz 8/Pkg-Basic                                                      1.38    3          4.14
368-0041   00071662993443    Crayola Sketchbook 9"x9"-40 Sheets                                                          1.18    0          0.00
332-0784   00071662353001    Crayola Special Fx Neon Sidewalk Chalk-5/Pkg                                                2.71    6         16.26
509-8048   00071662173128    Crayola Sprinkle Art Activity Kit-Unicreatures                                              3.54    8         28.32
231-9432   00071662078515    Crayola Ultra-Clean Color Max Broad Line Washable Markers-Classic Colors 10/Pkg             3.20    0          0.00
231-9433   00071662078522    Crayola Ultra-Clean Fine Line Washable Markers-Classic Colors 10/Pkg                        3.20    2          6.40
121-4669   00071662078324    Crayola Washable Markers, Broad Point, Bold Colors, 8/Set                                   3.33    0          0.00
326-6967   00499992478124    Creative Expressions Cosmic Shimmer Glitter Kiss-Frosty Sparkle                             4.84   18         87.12
326-7036   05055260903177    Creative Expressions Cosmic Shimmer Glue 30ml-                                              2.25   26         58.50
326-7155   05055305933831    Creative Expressions Craft Dies By Sue Wilson-Mini Expressions-Congratulations              2.59   20         51.80
128-1580   00737092008118    Creative Paperclay 16 Ounces-White                                                          6.68    4         26.72
128-1583   00737092008132    Creative Paperclay 4 Ounces-White                                                           1.80   42         75.60
128-1582   00737092008125    Creative Paperclay 8 Ounces-White                                                           3.89   71        276.19
336-0895   00070896393562    Cupcake Toppers 24/Pkg-Bunny Ear Glitter                                                    1.53    3          4.59
241-7318   05010993986422    Darth Vader                                                                                 3.50    5         17.50
334-5641   08000144007028    Das Air Hardening Clay, 2.2 lbs. Stone                                                      7.48    9         67.32
332-1775   00016455097403    Decoart Americana Glow-In-The-Dark Paint 4oz-Glo Green                                      1.43    3          4.29
332-1811   00766218110954    Decoart Crafter's Acrylic Value Pack 6/Pkg-Halloween                                        3.24    3          9.72
504-7118   00766218074546    Decoart Dazzling Metallics Acrylic Paint 2oz-Amethyst                                       1.26   32         40.32
504-7117   00766218074539    Decoart Dazzling Metallics Acrylic Paint 2oz-Berry                                          1.18   19         22.42

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  SKU         GTIN/UPC       Description                                                                            Cost Ea. In Stock   Total
211-7163   00016455227305    Decoart Dazzling Metallics Acrylic Paint 2oz-Black Pearl                                    1.26   14         17.64
500-3681   00766218090850    Decoart Dazzling Metallics Acrylic Paint 2oz-Bright Brass                                   1.26   30         37.80
500-3680   00766218090843    Decoart Dazzling Metallics Acrylic Paint 2oz-Bright Copper                                  1.18   11         12.98
211-7585   00766218000200    Decoart Dazzling Metallics Acrylic Paint 2oz-Champagne Gold                                 1.26   32         40.32
211-7587   00766218000231    Decoart Dazzling Metallics Acrylic Paint 2oz-Copper                                         1.26    0          0.00
211-5795   00016455176306    Decoart Dazzling Metallics Acrylic Paint 2oz-Crystal Green                                  1.26    0          0.00
211-7165   00016455248300    Decoart Dazzling Metallics Acrylic Paint 2oz-Emperor's Gold                                 1.26    5          6.30
213-2511   00766218029546    Decoart Dazzling Metallics Acrylic Paint 2oz-Festive Green                                  1.26   19         23.94
213-2512   00766218029553    Decoart Dazzling Metallics Acrylic Paint 2oz-Festive Red                                    1.26   20         25.20
211-5779   00016455171301    Decoart Dazzling Metallics Acrylic Paint 2oz-Glorious Gold                                  1.18    0          0.00
211-5794   00016455175309    Decoart Dazzling Metallics Acrylic Paint 2oz-Ice Blue                                       1.26    8         10.08
211-5396   00766218060365    Decoart Dazzling Metallics Acrylic Paint 2oz-Mink Pearl                                     1.18   21         24.78
211-7586   00766218000217    Decoart Dazzling Metallics Acrylic Paint 2oz-Oyster Pearl                                   1.26   24         30.24
211-6707   00766218065148    Decoart Dazzling Metallics Acrylic Paint 2oz-Peacock Pearl                                  1.18   28         33.04
211-7162   00016455224304    Decoart Dazzling Metallics Acrylic Paint 2oz-Purple Pearl                                   1.18    0          0.00
213-2506   00766218027740    Decoart Dazzling Metallics Acrylic Paint 2oz-Rich Espresso                                  1.26   16         20.16
500-3679   00766218090836    Decoart Dazzling Metallics Acrylic Paint 2oz-Rose Gold                                      1.18   49         57.82
211-5778   00016455170304    Decoart Dazzling Metallics Acrylic Paint 2oz-Shimmer Silver                                 1.26   23         28.98
211-5780   00016455172308    Decoart Dazzling Metallics Acrylic Paint 2oz-Venetian Gold                                  1.26   39         49.14
211-7159   00016455217306    Decoart Dazzling Metallics Acrylic Paint 2oz-White Pearl                                    1.26   28         35.28
326-7998   00766218097835    Decoart Extreme Sheen Paint 2oz-Amethyst                                                    1.54    2          3.08
326-7987   00766218096937    Decoart Extreme Sheen Paint 2oz-Antique Bronze                                              1.54    2          3.08
326-7995   00766218097811    Decoart Extreme Sheen Paint 2oz-Aquamarine                                                  1.58    6          9.48
326-7984   00766218096913    Decoart Extreme Sheen Paint 2oz-Bronze                                                      1.58   11         17.38
326-7978   00766218096876    Decoart Extreme Sheen Paint 2oz-Champagne Gold                                              1.58   12         18.96
326-7990   00766218096951    Decoart Extreme Sheen Paint 2oz-Copper                                                      1.58    0          0.00
241-4045   00766218113306    Decoart Extreme Sheen Paint 2oz-Emerald                                                     1.54    7         10.78
326-7977   00766218096869    Decoart Extreme Sheen Paint 2oz-Pearl                                                       1.54    3          4.62
241-4044   00766218113290    Decoart Extreme Sheen Paint 2oz-Peridot                                                     1.54    6          9.24
326-7992   00766218096975    Decoart Extreme Sheen Paint 2oz-Pewter                                                      1.58   31         48.98
326-7994   00766218097804    Decoart Extreme Sheen Paint 2oz-Pink Tourmaline                                             1.54    0          0.00
326-7980   00766218096883    Decoart Extreme Sheen Paint 2oz-Rose Gold                                                   1.54   14         21.56
241-4046   00766218113313    Decoart Extreme Sheen Paint 2oz-Rose Quartz                                                 1.54   19         29.26
241-4043   00766218113283    Decoart Extreme Sheen Paint 2oz-Ruby                                                        1.54    6          9.24

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  SKU         GTIN/UPC       Description                                                                                             Cost Ea. In Stock   Total
326-7996   00766218097828    Decoart Extreme Sheen Paint 2oz-Sapphire                                                                     1.58   25         39.50
241-4048   00766218113337    Decoart Extreme Sheen Paint 2oz-Sky Blue Topaz                                                               1.54   19         29.26
326-7986   00766218096920    Decoart Extreme Sheen Paint 2oz-Sterling Silver                                                              1.58   15         23.70
326-7989   00766218096944    Decoart Extreme Sheen Paint 2oz-Tin                                                                          1.54    9         13.86
508-8505   00070896042002    Decorating Tip-#1 Round                                                                                      0.91   25         22.75
508-8525   00070896042217    Decorating Tip-#102 Petal                                                                                    0.91    6          5.46
508-8526   00070896042224    Decorating Tip-#103 Petal                                                                                    0.91   31         28.21
228-5679   00070896255693    Decorating Tip-#1a Round                                                                                     1.30    3          3.90
508-8506   00070896042019    Decorating Tip-#2 Round                                                                                      0.91   57         51.87
508-8515   00070896042101    Decorating Tip-#21 Star                                                                                      0.91   29         26.39
213-3296   00070896042316    Decorating Tip-#352 Leaf                                                                                     1.22    0          0.00
508-8523   00070896042194    Decorating Tip-#81 Curved Ribbon                                                                             0.91   25         22.75
508-8528   00070896096166    Decorating Tip-Grass                                                                                         2.30    2          4.60
134-4352   00079916201023    deflect-o Deflecto Universal Bird Guard (UBGWL)                                                              3.44   10         34.40
211-5247   00017158206826    Delta Ceramcoat Acrylic Paint 2oz-Christmas Green/Semi-Opaque (2000-2068)                                    1.26    0          0.00
213-1825   00017158020743    Delta Ceramcoat Acrylic Paint 8oz-Ocean Reef Blue/Opaque (2800-2074)                                         3.80    3         11.40
213-4632   00088677733537    Dimensions Feltworks Felt Roll 12"x12"-Aqua                                                                  2.57    9         23.13
213-4624   00088677733452    Dimensions Feltworks Felt Roll 12"x12"-Black                                                                 2.57    4         10.28
213-4633   00088677733544    Dimensions Feltworks Felt Roll 12"x12"-Midnight Blue                                                         2.57    6         15.42
213-4625   00088677733469    Dimensions Feltworks Felt Roll 12"x12"-Nutmeg                                                                2.57    8         20.56
210-8938   00088677731007    Dimensions Punch Needle Tool 5"-                                                                             2.20    0          0.00
241-7336   00630509799350    Disney Princess - Rapunzel - Royal Clips Collectible Doll with Glittery Purple One-Clip Dress, Fashion Toy 4.25      0          0.00
241-8695   00630509868124    Disney Princess - Royal Clips - 3.5-inch ARIEL Doll                                                          2.95    8         23.60
241-8696   00630509868131    Disney Princess - Royal Clips - 3.5-inch BELLE Doll                                                          2.95   12         35.40
504-9854   00077540050949    Dmc 6-Strand Embroidery Cotton 8.7yd-Christmas Red                                                           0.51    3          1.53
505-0034   00077540052707    Dmc 6-Strand Embroidery Cotton 8.7yd-Dark Beige Brown                                                        0.51    7          3.57
505-0007   00077540052448    Dmc 6-Strand Embroidery Cotton 8.7yd-Dark Coffee Brown                                                       0.51    8          4.08
505-0112   00077540053483    Dmc 6-Strand Embroidery Cotton 8.7yd-Dark Electric Blue                                                      0.51   19          9.69
505-0055   00077540052912    Dmc 6-Strand Embroidery Cotton 8.7yd-Dark Emerald Green                                                      0.51   60         30.60
505-0013   00077540052493    Dmc 6-Strand Embroidery Cotton 8.7yd-Dark Garnet                                                             0.51   10          5.10
505-0021   00077540052578    Dmc 6-Strand Embroidery Cotton 8.7yd-Dark Navy Blue                                                          0.51    0          0.00
505-0100   00077540053360    Dmc 6-Strand Embroidery Cotton 8.7yd-Deep Canary                                                             0.51    0          0.00
504-9983   00077540052226    Dmc 6-Strand Embroidery Cotton 8.7yd-Light Peach 117-754                                                     0.51   18          9.18
504-9886   00077540051267    Dmc 6-Strand Embroidery Cotton 8.7yd-Medium Brown                                                            0.51    3          1.53

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  SKU         GTIN/UPC       Description                                                                                     Cost Ea. In Stock   Total
505-0091   00077540053285    Dmc 6-Strand Embroidery Cotton 8.7yd-Medium Seagreen                                                 0.51   45         22.95
505-0003   00077540052400    Dmc 6-Strand Embroidery Cotton 8.7yd-Royal Blue                                                      0.51    7          3.57
504-9801   00077540050482    Dmc 6-Strand Embroidery Cotton 8.7yd-Variegated Avocado                                              0.51    9          4.59
504-9816   00077540810505    Dmc 6-Strand Embroidery Cotton 8.7yd-Very Dark Grape-Darker Than 3834                                0.51   33         16.83
505-0121   00077540053575    Dmc 6-Strand Embroidery Cotton 8.7yd-Very Dark Mocha Brown                                           0.51   14          7.14
504-9888   00077540051281    Dmc 6-Strand Embroidery Cotton 8.7yd-Very Light Brown                                                0.51   21         10.71
504-9987   00077540052264    Dmc 6-Strand Embroidery Cotton 8.7yd-Very Light Pearl Grey                                           0.51    7          3.57
200-5938   00077540382569    Dmc Embroidery Hand Needles-Size 3/9 16/Pkg                                                          0.66    0          0.00
200-5940   00077540382576    Dmc Embroidery Hand Needles-Size 5/10 16/Pkg                                                         0.66    0          0.00
505-2286   00077540386154    Dmc Floss Number Stickers-640 Labels                                                                 0.90   15         13.50
505-2285   00077540386147    Dmc Plastic Floss Bobbins-28/Pkg                                                                     0.84    0          0.00
505-2293   00077540817221    Dmc Stitchbow Floss Holders-10 Pieces                                                                0.84   15         12.60
508-6193   00846550011680    DO NOT BUY - Tulip Etimo Steel Crochet Hook Set-                                                    55.05    0          0.00
508-1453   00057355124639    DO NOT BUY *** read note on master sku Bernat Softee Baby Yarn - Solids-Pink                         3.45    6         20.70
241-6694   00026521028392    DO NOT BUY 2/5/2023 - Berwick Splendorette Keg - 3/16" X 66' - Royal Blue (bce12-12)                 0.26  157         40.82
241-7068   00630509399666    DONT BUY sux on WAL and AMZ - Play-Doh B6508 4 Pack Classic Colors, 16 oz, Small (White,Red , Yellow,Blue)
                                                                                                                                  2.20   19         41.80
213-1679   00766218024428    Dont buy, massiver turd 11/30/23 Crafter's Acrylic All-Purpose Paint 2oz-Holiday Green               0.65    5          3.25
506-8453   00000772053754    Dont buy, On The Go Water Wow!-Vehicles                                                              5.29    4         21.16
235-2969   03148955729045    Dont order 4/23/23 - Canson Artist Series Pro-Layout Marker Pads 9x12                                6.74   34        229.16
129-8639   00090672062574    Drawing Art Set W/Tin-                                                                               1.80   10         18.00
211-3327   00072879256253    Dritz 1/4" Covered All-Purpose Shoulder Pads 2/Pkg-Black                                             2.37    0          0.00
211-2733   00072879150858    Dritz Adult Knitted Cuffs 2/Pkg-Black                                                                2.37    8         18.96
210-8839   00072879100761    Dritz Ball Point Hand Needles 10/Pkg-Size 5/10                                                       1.40    0          0.00
200-7319   00072879095319    Dritz Braided Elastic 3/8" X 6yd-White                                                               1.89   10         18.90
507-4391   00072879111484    Dritz Class 66 Bobbins 4/Pkg-Plastic                                                                 0.74   12          8.88
211-2276   00072879116694    Dritz Cord Stops 1-1/4" 2/Pkg-White                                                                  1.36   12         16.32
210-9600   00072879276190    Dritz Corsage & Boutonniere Pins 40/Pkg-Size 32                                                      2.02    0          0.00
211-1946   00072879260977    Dritz Covered Hooks & Eyes 2/Pkg-Black                                                               1.49    0          0.00
210-8829   00072879100921    Dritz Crewel Hand Needles 12/Pkg-Size 2                                                              1.36   27         36.72
210-9501   00072879110661    Dritz Deluxe Seam Ripper-                                                                            1.84    0          0.00
210-8715   00072879101812    Dritz Doll Needles 5/Pkg-Size 2.5" To 3.75"                                                          1.93    0          0.00
210-9875   00072879110753    Dritz Dressmaker's Marking Pencil-White                                                              1.40    3          4.20
210-8902   00072879104493    Dritz Glovers/Leather Hand Needles 3/Pkg-Size 3/7                                                    1.27    6          7.62
211-2322   00072879104363    Dritz Grommets 3/8" 8/Pkg-Nickel                                                                     2.72   12         32.64

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  SKU         GTIN/UPC       Description                                                                                     Cost Ea. In Stock   Total
211-2254   00072879113525    Dritz Half-Ball Cover Buttons-Size 60 1-1/2" 2/Pkg                                                    2.46   0          0.00
211-3282   00072879442281    Dritz Home Brass Upholstery Zipper 30"-Beige                                                          2.62   0          0.00
210-9681   00072879440089    Dritz Home T-Pins 100/Pkg-Size 2                                                                      2.85   0          0.00
211-3292   00072879443233    Dritz Home Traverse Pleater Hooks 10/Pkg (4 Ends)-                                                    2.16   0          0.00
500-4710   00072879443127    Dritz Home Wood Cord Pulls 2/Pkg-White                                                                1.27   6          7.62
211-2951   00749737202140    Dritz Iron-On Letters Soft Flock Block 1"-White                                                       2.22   3          6.66
211-3027   00072879150056    Dritz Iron-On Mending Fabric-Black 6"x13"                                                             1.49   6          8.94
211-3003   00072879251876    Dritz Iron-On Mending Fabric-Primary Assortment 3"x8" 3/Pkg                                           1.49   6          8.94
211-3011   00072879150179    Dritz Iron-On Patches 2"x3" 8/Pkg-Light Twill Assortment                                              1.40   4          5.60
211-2842   00072879251951    Dritz Iron-On Patches 5"x5" 3/Pkg-Assorted Denim                                                      2.24   3          6.72
211-3243   00072879251913    Dritz Iron-On Twill Patches 5"x5" 4/Pkg-Dark Assortment                                               1.84  30         55.20
200-7313   00072879276855    Dritz Knit Elastic 1" X 3yd-Navy                                                                      2.55   2          5.10
210-9478   00072879100747    Dritz Long Ball Point Pins 75/Pkg-Size 24                                                             1.89   3          5.67
210-9568   00072879271621    Dritz Machine Needle Inserter & Threader-                                                             3.74  24         89.76
507-4575   00072879295061    Dritz Metal "d" Rings 1" 4/Pkg-Antique Brass                                                          1.18   7          8.26
211-1238   00072879031539    Dritz Quilting Beeswax W/Holder-                                                                      2.06   0          0.00
210-8801   00072879100853    Dritz Repair Needles 7//Pkg-Assorted                                                                  1.36  19         25.84
211-2241   00072879101447    Dritz Sew-On Snaps 4/Pkg-Black Size 4                                                                 1.27  28         35.56
211-1910   00072879100198    Dritz Snap Fasteners 7/Pkg-Nickel                                                                     1.62   7         11.34
210-8848   00072879101089    Dritz Tapestry Hand Needles 6/Pkg-Size 18/22 6/Pkg                                                    1.14   6          6.84
211-0621   00072879114126    Dritz Water-Soluble Marking Pencil-Light Blue                                                         1.27   0          0.00
241-7069   00038805230100    Drybranch - Wet Products - Pack of Three Prokadima/Smashball Replacement Balls In Net Pac - Assorted Colors
                                                                                                                                   1.05  99        103.95
177-5507   00038805230100    Drybranch 3 Kadima Balls in Polybag w Header                                                          1.21  90        108.90
241-7112   00038805916127    Drybranch Inflating Pump with Pin and Raft Nozzle                                                     2.33  37         86.21
241-7109   00038805161954    Drybranch Mini Pail & Shovel - Assorted colors                                                        0.86  31         26.66
241-8707   00038805181365    Drybranch Pro Kadima Balls-3 On Card                                                                  1.85  67        123.95
349-9990   00073650793134    Dual Duty Plus Hand Quilting Thread 325yds Chona Brown s960-8960 Coats Thread & Zippers (S960-8960)1.61     21         33.81
349-9991   00073650793097    Dual Duty Plus Hand Quilting Thread 325yds Cream s960-8020 Coats Thread & Zippers (S960-8020)         1.61   0          0.00
349-9995   00073650793103    Dual Duty Plus Hand Quilting Thread 325yds Ecru s960-8030 Coats Thread & Zippers (S960-8030)          1.61  10         16.10
349-9996   00073650793028    Dual Duty Plus Hand Quilting Thread 325yds Field Green s960-6670 Coats Thread & Zippers (S960-6670) 1.61    31         49.91
349-9998   00073650793110    Dual Duty Plus Hand Quilting Thread 325yds Golden Tan s960-8140 Coats Thread & Zippers (S960-8140) 1.61     21         33.81
350-0000   00073650793059    Dual Duty Plus Hand Quilting Thread 325yds Mine Gold s960-7570 Coats Thread & Zippers (S960-7570) 1.61       3          4.83
350-0001   00073650793080    Dual Duty Plus Hand Quilting Thread 325yds Natural s960-8010 Coats Thread & Zippers (S960-8010)       1.61   0          0.00
350-0007   00073650793042    Dual Duty Plus Hand Quilting Thread 325yds Yellow s960-7330 Coats Thread & Zippers (S960-7330)        1.61   8         12.88

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  SKU         GTIN/UPC       Description                                                                                    Cost Ea. In Stock   Total
200-3017   00073650776151    Dual Duty XP General Purpose NAVY Thread 125 Yards (s900-4900)                                      0.71   23         16.33
241-2885   00073650777110    Dual Duty XP General Purpose Thread 250yds Atom Red s910-2160 Coats Thread & Zippers (S910-2160) 1.35      57         76.95
350-0039   00073650777219    Dual Duty XP General Purpose Thread 250yds Bayberry Red s910-2820 Coats Thread & Zippers (S910-2820)1.35   32         43.20
350-0046   00073650777844    Dual Duty XP General Purpose Thread 250yds Blue Jay s910-4560 Coats Thread & Zippers (S910-4560) 1.35       0          0.00
350-0054   00073650778551    Dual Duty XP General Purpose Thread 250yds Bright Green s910-6450 Coats Thread & Zippers (S910-6450)1.24    3          3.72
350-0082   00073650779503    Dual Duty XP General Purpose Thread 250yds Cocoon s910-8650 Coats Thread & Zippers (S910-8650) 1.35         5          6.75
350-0095   00073650779619    Dual Duty XP General Purpose Thread 250yds Dark Brown s910-8890 Coats Thread & Zippers (S910-8890)1.31      3          3.93
350-0098   00073650778667    Dual Duty XP General Purpose Thread 250yds Dark Forest s910-6780 Coats Thread & Zippers (S910-6780)1.35     9         12.15
350-0099   00073650778315    Dual Duty XP General Purpose Thread 250yds Dark Jade s910-5870 Coats Thread & Zippers (S910-5870) 1.35     16         21.60
350-0102   00073650778018    Dual Duty XP General Purpose Thread 250yds Dark Navy s910-4940 Coats Thread & Zippers (S910-4940) 1.35     34         45.90
241-2890   00073650776717    Dual Duty XP General Purpose Thread 250yds Dark Silver s910-0520 Coats Thread & Zippers (S910-0520) 1.35    8         10.80
504-2190   00073650827532    Dual Duty XP General Purpose Thread 250yds Dark Slate (S910-0870)                                   1.35   27         36.45
350-0116   00073650778575    Dual Duty XP General Purpose Thread 250yds Emerald s910-6530 Coats Thread & Zippers (S910-6530) 1.35        8         10.80
350-0121   00073650778629    Dual Duty XP General Purpose Thread 250yds Field Green s910-6670 Coats Thread & Zippers (S910-6670)1.35    17         22.95
241-2891   00073650778650    Dual Duty XP General Purpose Thread 250yds Forest Green s910-6770 Coats Thread & Zippers (S910-6770)1.35    2          2.70
350-0131   00073650778421    Dual Duty XP General Purpose Thread 250yds Green Linen s910-6180 Coats Thread & Zippers (S910-6180)1.35    56         75.60
350-0135   00073650777134    Dual Duty XP General Purpose Thread 250yds Hero Red s910-2200 Coats Thread & Zippers (S910-2200) 1.35       9         12.15
241-2893   00073650778643    Dual Duty XP General Purpose Thread 250yds Hunter Green s910-6750 Coats Thread & Zippers (S910-6750)1.35   68         91.80
241-2894   00073650776724    Dual Duty XP General Purpose Thread 250yds Light Slate s910-0600 Coats Thread & Zippers (S910-0600) 1.35   29         39.15
350-0164   00073650778162    Dual Duty XP General Purpose Thread 250yds Light Teal Blue s910-5360 Coats Thread & Zippers (S910-5360)
                                                                                                                                 1.35   61         82.35
350-0165   00073650778469    Dual Duty XP General Purpose Thread 250yds Light Tourmaline s910-6260 Coats Thread & Zippers (S910-6260)
                                                                                                                                 1.35   19         25.65
350-0172   00073650778933    Dual Duty XP General Purpose Thread 250yds Maize s910-7520 Coats Thread & Zippers (S910-7520)       1.31    3          3.93
504-2191   00073650827563    Dual Duty XP General Purpose Thread 250yds Med Coral (s910-1495)                                    1.35    6          8.10
350-0185   00073650777707    Dual Duty XP General Purpose Thread 250yds Monaco Blue s910-4270 Coats Thread & Zippers (S910-4270) 1.35   11         14.85
350-0188   00073650779473    Dual Duty XP General Purpose Thread 250yds Mushroom s910-8540 Coats Thread & Zippers (S910-8540)1.35        7          9.45
241-2897   00073650777998    Dual Duty XP General Purpose Thread 250yds Navy s910-4900 Coats Thread & Zippers (S910-4900)        1.35   11         14.85
350-0193   00073650778537    Dual Duty XP General Purpose Thread 250yds Nile Green s910-6420 Coats Thread & Zippers (S910-6420) 1.35    16         21.60
350-0199   00073650779008    Dual Duty XP General Purpose Thread 250yds Orange s910-7640 Coats Thread & Zippers (S910-7640)      1.35   76        102.60
350-0212   00073650777783    Dual Duty XP General Purpose Thread 250yds Pilot Blue s910-4450 Coats Thread & Zippers (S910-4450) 1.35    26         35.10
350-0213   00073650776878    Dual Duty XP General Purpose Thread 250yds Pink s910-1220 Coats Thread & Zippers (S910-1220)        1.35   10         13.50
350-0215   00073650778872    Dual Duty XP General Purpose Thread 250yds Pongee s910-7410 Coats Thread & Zippers (S910-7410) 1.31        12         15.72
241-2899   00073650777486    Dual Duty XP General Purpose Thread 250yds Purple s910-3690 Coats Thread & Zippers (S910-3690)      1.35   59         79.65
504-2198   00073650827594    Dual Duty XP General Purpose Thread 250yds Seafoam (S910-5845)                                      1.35    8         10.80
241-2900   00073650776731    Dual Duty XP General Purpose Thread 250yds Slate s910-0620 Coats Thread & Zippers (S910-0620)       1.35   27         36.45

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  SKU         GTIN/UPC       Description                                                                                     Cost Ea. In Stock   Total
350-0249   00073650777837    Dual Duty XP General Purpose Thread 250yds Soldier Blue s910-4550 Coats Thread & Zippers (S910-4550)1.35     8         10.80
241-2901   00073650776748    Dual Duty XP General Purpose Thread 250yds Stone s910-0630 Coats Thread & Zippers (S910-0630)        1.35    0          0.00
350-0257   00073650779381    Dual Duty XP General Purpose Thread 250yds Summer Brown s910-8360 Coats Thread & Zippers (S910-8360) 1.35   19         25.65
350-0258   00073650778810    Dual Duty XP General Purpose Thread 250yds Sun Yellow s910-7250 Coats Thread & Zippers (S910-7250)1.35      84        113.40
350-0267   00073650778063    Dual Duty XP General Purpose Thread 250yds Treasure Blue s910-5050 Coats Thread & Zippers (S910-5050)1.35   36         48.60
350-0268   00073650777653    Dual Duty XP General Purpose Thread 250yds True Blue s910-4150 Coats Thread & Zippers (S910-4150) 1.35      16         21.60
241-2903   00073650776670    Dual Duty XP General Purpose Thread 250yds Winter White s910-0150 Coats Thread & Zippers (S910-0150) 1.35    0          0.00
350-0295   00073650780202    Dual Duty XP Heavy Thread 125yds Barberry Red s950-2820 Coats Thread & Zippers (S950-2820)           0.99   14         13.86
350-0297   00073650780332    Dual Duty XP Heavy Thread 125yds Chona Brown s950-8960 Coats Thread & Zippers (S950-8960)            0.99    0          0.00
350-0298   00073650780295    Dual Duty XP Heavy Thread 125yds Cream s950-8020 Coats Thread & Zippers (S950-8020)                  0.99    0          0.00
103-9736   00073650780318    Dual Duty XP Heavy Thread 125yds Dark Khaki s950-8450 Coats Thread & Zippers (S950-8450)             0.99   32         31.68
350-0299   00073650780325    Dual Duty XP Heavy Thread 125yds Dogwood s950-8530 Coats Thread & Zippers (S950-8530)                0.99    0          0.00
350-0300   00073650780264    Dual Duty XP Heavy Thread 125yds Forest Green s950-6770 Coats Thread & Zippers (S950-6770)           0.99   44         43.56
350-0301   00073650780257    Dual Duty XP Heavy Thread 125yds Green Linen s950-6180 Coats Thread & Zippers (S950-6180)            0.99    0          0.00
350-0302   00073650780219    Dual Duty XP Heavy Thread 125yds Maroon s950-2980 Coats Thread & Zippers (S950-2980)                 0.99   96         95.04
350-0303   00073650780226    Dual Duty XP Heavy Thread 125yds Monaco Blue s950-4270 Coats Thread & Zippers (S950-4270)            0.99   10          9.90
350-0304   00073650780288    Dual Duty XP Heavy Thread 125yds Natural s950-8010 Coats Thread & Zippers (S950-8010)                0.99    0          0.00
350-0305   00073650780240    Dual Duty XP Heavy Thread 125yds Navy s950-4900 Coats Thread & Zippers (S950-4900)                   0.99    5          4.95
350-0307   00073650780165    Dual Duty XP Heavy Thread 125yds Slate s950-0620 Coats Thread & Zippers (S950-0620)                  0.99    0          0.00
350-0308   00073650780233    Dual Duty XP Heavy Thread 125yds Soldier Blue s950-4550 Coats Thread & Zippers (S950-4550)           0.99    0          0.00
103-9737   00073650780301    Dual Duty XP Heavy Thread 125yds Spice s950-8150 Coats Thread & Zippers (S950-8150)                  0.99    9          8.91
350-0309   00073650780271    Dual Duty XP Heavy Thread 125yds Temple Gold s950-7450 Coats Thread & Zippers (S950-7450)            0.99    7          6.93
351-4385   00078484056066    Dual-Tip Stylus-W/2 Tip Sizes                                                                        2.10    8         16.80
129-9063   00075353047965    Duck Tape 1.88"x10yd-Gold                                                                            2.97    7         20.79
359-9595   00075353035061    Duck Tape 1.88"x20yd-Cha Cha Cherry                                                                  2.97    0          0.00
359-9594   00075353035078    Duck Tape 1.88"x20yd-Winking White                                                                   2.97    0          0.00
241-8703   00632468008795    Endless Games - Jeopardy Card Game - Travel Sized Quiz Competition - Fast Paced Party Game           3.70   14         51.80
213-8497   00090672058102    Essentials(tm) Artist Sketching Pencils 12/Pkg-                                                      1.65    0          0.00
350-0311   00073650797408    Extra Strong Upholstery Thread 150yds Black s964-0900 Coats Thread & Zippers (S964-0900)             1.29    9         11.61
350-0312   00073650797460    Extra Strong Upholstery Thread 150yds Chona Brown s964-8960 Coats Thread & Zippers (S964-8960)       1.29    0          0.00
350-0314   00073650797422    Extra Strong Upholstery Thread 150yds Green Linen s964-6180 Coats Thread & Zippers (S964-6180)       1.29   71         91.59
350-0315   00073650797446    Extra Strong Upholstery Thread 150yds Hemp s964-8240 Coats Thread & Zippers (S964-8240)              1.29    0          0.00
350-0317   00073650797415    Extra Strong Upholstery Thread 150yds Soldier Blue s964-4550 Coats Thread & Zippers (S964-4550)      1.29    0          0.00
505-5499   00810787024201    Eyelet Outlet Adhesive Pearl Swirls 468/Pkg-Black                                                    1.31    4          5.24

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  SKU         GTIN/UPC       Description                                                                              Cost Ea. In Stock   Total
327-2486   00044974213233    Factis Pen Style Mechanical Eraser Refills 3/Pkg-                                             2.14   11         23.54
213-7538   00070896514424    Fancy Standard Baking Cups-Petal Lavender 24/Pkg                                              2.90    0          0.00
508-2383   04007817009550    Fimo Professional Soft Polymer Clay 2oz-Leaf Green                                            1.52    5          7.60
241-8794   00887961715996    Fisher-Price Disney Pixar Toy Story 4 Bunny and Buzz Lightyear                                2.75    0          0.00
241-8793   00887961716047    Fisher-Price Disney/Pixar Toy Story 4, Woody & Forkey                                         2.75    0          0.00
507-2351   00028995022418    Folkart Acrylic Paint 2oz-Apple Orchard                                                       1.16    6          6.96
310-3947   00028995025693    Folkart Acrylic Paint 2oz-Ash                                                                 1.16   12         13.92
211-7693   00028995004766    Folkart Acrylic Paint 2oz-Asphaltum Artist Pigment                                            1.16   35         40.60
333-2831   00028995026393    Folkart Acrylic Paint 2oz-Blue Echo                                                           1.16    0          0.00
325-5338   00028995027406    Folkart Acrylic Paint 2oz-Fire Coral                                                          1.16    3          3.48
333-2833   00028995024368    Folkart Acrylic Paint 2oz-French Lilac                                                        1.16   15         17.40
310-3951   00028995025792    Folkart Acrylic Paint 2oz-Fresh Cut Grass                                                     1.16   24         27.84
333-2832   00028995024351    Folkart Acrylic Paint 2oz-Gentle Violet                                                       1.16   19         22.04
310-3959   00028995026218    Folkart Acrylic Paint 2oz-Green Sea                                                           1.16    9         10.44
310-3961   00028995026232    Folkart Acrylic Paint 2oz-Ink Spot                                                            1.16   12         13.92
310-3934   00028995025532    Folkart Acrylic Paint 2oz-Lime Green                                                          1.16   14         16.24
507-2359   00028995024962    Folkart Acrylic Paint 2oz-Midnight Garden                                                     1.16    6          6.96
511-1253   00028995992575    Folkart Acrylic Paint 2oz-Navajo Turquoise                                                    1.16    0          0.00
325-5336   00002899502748    Folkart Acrylic Paint 2oz-Ocean View Blue                                                     1.16   12         13.92
310-3929   00028995025471    Folkart Acrylic Paint 2oz-Pink Melon                                                          1.16   20         23.20
310-3956   00028995025969    Folkart Acrylic Paint 2oz-Sky Mist                                                            1.16    2          2.32
310-3942   00028995025617    Folkart Acrylic Paint 2oz-Steel Gray                                                          1.16   14         16.24
333-2828   00028995026362    Folkart Acrylic Paint 2oz-Villa Green                                                         1.16   22         25.52
211-7644   00028995006944    Folkart Crackle Medium-2oz                                                                    1.63    9         14.67
212-7746   00028995040078    Folkart Enamel Paint 2oz-Berry Wine                                                           1.78    2          3.56
231-7397   00028995041334    Folkart Enamel Paint 2oz-Lipstick Red                                                         1.78    0          0.00
511-1215   00028995992353    Folkart Enamel Paint 2oz-Metallic Blue Cascade                                                1.78   12         21.36
511-1213   00028995992339    Folkart Enamel Paint 2oz-Metallic Cherry Frost                                                1.78   17         30.26
507-2333   00028995028410    Folkart Enamel Paint 2oz-True Blue                                                            1.78    0          0.00
511-1409   00028995059360    Folkart Home Decor Chalk Paint 2oz-White Adirondack                                           1.36   10         13.60
511-1428   00028995992308    Folkart Metallic Acrylic Paint 2oz-Turquoise Shimmer                                          1.64    4          6.56
507-2435   00028995027215    Folkart Multi-Surface Chalkboard Paint 2oz-Black                                              1.71    0          0.00
241-7171   00025725396382    Franklin Sports Birdies Shuttlecock (6-Pack)                                                  2.97   23         68.31
236-8658   04901991052879    Fudenosuke Brush Pen Fine Soft Black                                                          1.53   21         32.13

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  SKU         GTIN/UPC       Description                                                                             Cost Ea. In Stock   Total
212-0307   00016321083097    Fun Pack Acrylic Pony Beads 250/Pkg-Black                                                    1.05    0          0.00
127-9896   00016321082977    Fun Pack Acrylic Sports Beads 1oz-Assorted Balls                                             1.57    0          0.00
351-6205   00044974558020    General Pencil Charcoal White Pencils 2/Pkg-2b                                               2.14    0          0.00
128-5897   00044974000703    General Pencil Learn To Draw & Paint Watercolor Pencils-                                     7.07    0          0.00
323-8264   00044974441421    General Pencil Multipastel (r) Chalk Pencils 2/Pkg-White                                     2.09   42         87.78
233-8284   00044974433358    General's #333S-4BP Cedar Pointe #2/Hb 4pk with Sharpener -1-PACK ONLY!                      2.89    0          0.00
127-5446   00717968511294    Glitter 4oz-Crystal                                                                          1.65   27         44.55
236-6900   00029444916500    Glitter Spectra 4oz Blue                                                                     2.52   31         78.12
236-6902   00029444916609    Glitter Spectra 4oz Green                                                                    2.52    8         20.16
236-6904   00029444916302    Glitter Spectra 4oz Purp                                                                     2.52    0          0.00
236-6901   00029444916401    Glitter Spectra 4oz Red                                                                      2.52   26         65.52
236-6984   00029444916708    Glitter Spectra 4oz Sky Blue                                                                 2.52   26         65.52
505-7808   00634524337948    Glue Dots Clear Dot Roll-Mini .1875" 300/Pkg                                                 3.00    0          0.00
505-7807   00634524288455    Glue Dots Glue Lines Roll-Clear-1" 200pcs                                                    3.39    8         27.12
241-8804   00195166172378    GUESS WHO GRAB AND GO                                                                        4.00   45        180.00
200-9122   00999990250444    Gutermann - Natural Cotton Thread Solids - 800c-1938 - 876yd-Salmon                          4.00    9         36.00
107-5714   04008015678258    Gutermann Natural Cotton Thread Solids 3,281yd-Cream                                       10.76     0          0.00
107-5715   00999990271630    Gutermann Natural Cotton Thread Solids 3,281yd-Egg White                                   10.76    15        161.40
107-5716   04008015678319    Gutermann Natural Cotton Thread Solids 3,281yd-Navy                                        10.76     8         86.08
107-5718   04008015678234    Gutermann Natural Cotton Thread Solids 3,281yd-Sandy Grey                                  10.76    24        258.24
107-5720   04008015678326    Gutermann Natural Cotton Thread Solids 3,281yd-White                                       10.76     0          0.00
107-5721   04008015605711    Gutermann Natural Cotton Thread Solids 876 Yards-Aqua Marine 800c-6745 (800C-6745)           4.00    6         24.00
353-6385   00999990250475    Gutermann Natural Cotton Thread Solids 876 Yards-Black 800C-5201                             4.00   12         48.00
353-6386   00999990250468    Gutermann Natural Cotton Thread Solids 876 Yards-Burgundy 800c-2833 (800C-2833)              4.00   16         64.00
107-5722   00999990269583    Gutermann Natural Cotton Thread Solids 876 Yards-Burlap Beige 800c-927 (800C-927)            4.00   30        120.00
353-6388   04008015553326    Gutermann Natural Cotton Thread Solids 876 Yards-Egg White 800c-919 (800C-919)               4.00   39        156.00
107-5725   00999990250420    Gutermann Natural Cotton Thread Solids 876 Yards-Gold 800c-956 (800C-956)                    4.00   14         56.00
353-6389   00999990253384    Gutermann Natural Cotton Thread Solids 876 Yards-Grey 800c-6206 (800C-6206)                  4.00   17         68.00
353-6391   00999990269552    Gutermann Natural Cotton Thread Solids 876 Yards-Sandy Grey 800c-618 (800C-618)              4.00   46        184.00
107-5732   04008015605674    Gutermann Natural Cotton Thread Solids 876 Yards-Shamrock Green 800c-7880 (800C-7880)        4.00    6         24.00
107-5734   00999990250437    Gutermann Natural Cotton Thread Solids 876 Yards-Taupe 800c-1225 (800C-1225)                 4.00   25        100.00
107-5735   04008015553302    Gutermann Natural Cotton Thread Solids 876 Yards-Vanilla Cream 800C-828                      4.00   26        104.00
107-5736   04008015195557    Gutermann Natural Cotton Thread Solids 876 Yards-White 800c-5709 (800C-5709)                 4.00    0          0.00
200-9127   04008015605834    Gutermann Natural Cotton Thread Solids 876yd-Fuchsia Flowers                                 4.00   12         48.00

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  SKU         GTIN/UPC       Description                                                                                      Cost Ea. In Stock   Total
107-5724   00999990271609    Gutermann Natural Cotton Thread Solids 876yd-Garden Green                                             4.00    0          0.00
107-5727   04008015592011    Gutermann Natural Cotton Thread Solids 876yd-Iron Grey                                                4.00    8         32.00
200-9125   00999990271487    Gutermann Natural Cotton Thread Solids 876yd-Mauve                                                    4.00    4         16.00
107-5729   04008015456146    Gutermann Natural Cotton Thread Solids 876yd-Oak Tan                                                  4.00    3         12.00
200-9144   04008015605773    Gutermann Natural Cotton Thread Solids 876yd-Royal Blue                                               4.00    4         16.00
107-5728   00999990250482    Gutermann Natural Cotton Thread Solids 876yds Navy 800c-5322 (800C-5322)                              4.00    8         32.00
107-5730   00999990250505    Gutermann Natural Cotton Thread Solids 876yds Powder Blue 800c-6217 (800C-6217)                       4.00    5         20.00
107-5733   00999990271531    Gutermann Natural Cotton Thread Solids 876yd-Stormy Grey                                              4.00    5         20.00
353-6403   00077780007598    Gutermann Quilting Thread 220yd-White                                                                 2.16   15         32.40
107-5781   00077780006546    Gutermann Sew-All Thread 1,094yd-Nu White                                                             4.23    0          0.00
353-6439   00077780001596    Gutermann Sew-All Thread 110yd-Crystal Blue                                                           0.92    3          2.76
353-6617   00077780006287    Gutermann Sew-All Thread 547yd-Black                                                                  2.85   47        133.95
107-5940   00077780006317    Gutermann Sew-All Thread 547yd-Mist Grey                                                              2.85    0          0.00
353-6624   00077780006294    Gutermann Sew-All Thread 547yd-Nu White                                                               2.85   37        105.45
107-5943   00077780006324    Gutermann Sew-All Thread 547yd-Slate                                                                  2.85    0          0.00
241-8854   05010993964642    Hasbro - Marvel 6-Inch-Scale Action Figure - Black Panther (Erik Kilmonger)                           2.90   13         37.70
241-7327   05010993656431    Hasbro - Marvel Avengers 3.75 Inch Action Figure - Thor                                               1.88    0          0.00
241-7319   05010993986415    Hasbro - Star Wars 6-inch-Scale Action Figure - Grogu                                                 3.50   59        206.50
241-7121   00630509745104    Hasbro E4867AS00 Play-Doh 4 Pack - Wild Colors 4-Pack of 4-Ounce Cans - Blue, Lime, Turquoise, Orange 2.20    0          0.00
241-7094   00630509875719    Hasbro Gaming Battleship Card Game for Kids Ages 7 and Up, 2 Players Strategy Game                    2.85   33         94.05
241-7355   00630509271009    Hasbro Gaming Bop It! Micro Series Game                                                               9.00    0          0.00
241-7215   00630509858033    Hasbro Gaming CLUE Card Game for Kids Ages 8 & Up                                                     2.85   32         91.20
241-7186   00630509858040    Hasbro Gaming Guess Who? Card Game for Kids Ages 5 and Up, 2 Player Guessing Game                     2.85   29         82.65
241-8857   00195166231075    Hasbro Grab and Go Candy Land Game                                                                    4.00   16         64.00
241-7067   00630509747740    Hasbro Monopoly Deal Card Game                                                                        2.80   19         53.20
241-7224   00630509486557    Hasbro Nerf Sports Pocket Aero Flyer (Orange)                                                         2.65    0          0.00
241-7216   00630509494620    Hasbro Nerf Sports Pocket Vortex Aero Howler ORANGE                                                   4.15   19         78.85
241-7506   00630509732838    Hasbro Nerf Super Soaker Piranha (ffp Packaging)                                                      3.55   24         85.20
241-7089   05010993646388    Hasbro Play-Doh Fundamentals - Nine Shape Tools plus 6 colors of Play Dough                           3.65    0          0.00
241-7219   05010993776849    Hasbro Play-Doh Sand 2-Pack Assortment - 1 tub Pink Sand and 1 tub Blue Sand Ez Stretch               1.75   24         42.00
241-7209   05010993776856    Hasbro Play-Doh Sand 2-Pack Assortment - 1 tub Purple Sand and 1 tub Green Sand Ez Stretch            1.75   39         68.25
241-7220   05010993776832    Hasbro Play-Doh Sand 2-Pack Assortment - 1 tub Teal Sand and 1 tub Orange Sand Ez Stretch             1.75   41         71.75
241-7092   00630509278022    Hasbro Rook Card Game                                                                                 2.85   20         57.00
241-7359   00630509877324    Hasbro UGD Blind Bag Multipack Series 3                                                               1.05  476        499.80

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241-7144   00630509329083    Hasbro Yahtzee Score Pads - 80 Score Cards                                                        2.70    0          0.00
211-2933   00000943372318    Heatnbond Hem Iron-On Adhesive-Super-.75"x8yd                                                     1.03    0          0.00
211-2942   00000943078104    Heatnbond Ultrahold Iron-On Adhesive-.875"x10yd                                                   1.20   91        109.20
358-9211   00000943035053    Heatnbond Ultrahold Iron-On Adhesive-17"x5yd                                                      5.87    0          0.00
241-7350   00195166173221    Hitch Trailblazer - My Little Pony: A New Generation Crystal Ponies                               0.80   55         44.00
237-0660   00079946023602    HOLD on ORDERING ----[NO AMZ or Ebay] - Conte à Paris "B" 2 Count Sketching Crayons, Black        2.25   77        173.25
241-7232   00070616010434    Homeware 5-in-1 MINI Wood Chess Game                                                              3.60   15         54.00
241-7236   00070616015408    Homeware Wooden Tower Large                                                                       3.10   19         58.90
241-7247   00887961738308    Hot Wheels Character Cars Toy Story 4 Woody                                                       2.45    9         22.05
241-7248   00887961738261    Hot Wheels GCY59 Toy Story 4 Car Duke Caboom, Multi                                               2.45   10         24.50
241-8652   00630509277810    HUNGRY HUNGRY HIPPOS - Grab N GO                                                                  4.00   20         80.00
136-7739   00070896612168    Icing Colors 1oz-Buttercup Yellow                                                                 1.77    4          7.08
213-3298   00070896612083    Icing Colors 1oz-Ivory                                                                            1.77   10         17.70
136-7741   00070896612342    Icing Colors 1oz-Juniper Green                                                                    1.77    8         14.16
511-9852   00000943541059    Icraft Deco Foil Specialty Transfer Sheets 6"x12" 5/Pkg-Enchanted Rose                            2.91    3          8.73
358-9155   00000943041016    Icraft Super Tape-.25"x6yd                                                                        2.02   36         72.72
231-4234   00078693590078    Inwall 30 Min Countdonw Wh (59007)                                                                6.58    8         52.64
182-9355   00743772154808    Jacquard Lumiere Metallic Acrylic Paint 2.25oz-Old Brass                                          2.88    0          0.00
354-1167   00743772155607    Jacquard Products Lumiere Metallic Acrylic Paint 2.25 Ounces (LUMIERE-556)                        2.88    3          8.64
354-1176   00743772156901    Jacquard Products Lumiere Metallic Acrylic Paint 2.25 Ounces (LUMIERE-569)                        2.88    2          5.76
227-3565   00743772110705    Jacquard Textile Color Fabric Paint 2.25oz-Ruby Red                                               2.61    0          0.00
227-3581   00743772112709    Jacquard Textile Color Fabric Paint 2.25oz-Russet                                                 2.61    4         10.44
227-3564   00743772110606    Jacquard Textile Color Fabric Paint 2.25oz-True Red                                               2.51    0          0.00
227-3577   00743772112303    Jacquard Textile Color Fabric Paint 2.25oz-White                                                  2.61    0          0.00
507-9571   00029064143324    Janlynn Mini Counted Cross Stitch Kit 2.5" Round-Skating Snowman (18 Count)                       1.08    8          8.64
213-6109   00029064210422    Janlynn Mini Counted Cross Stitch Kit 2.5" Round-Some Bunny Loves You (18 Count)                  1.08    3          3.24
507-9574   00029064143386    Janlynn Mini Counted Cross Stitch Kit 2.75" Oval-Celestial Santa (18 Count)                       1.08    0          0.00
506-8414   00000772007757    Jigsaw Puzzle 16pcs 8"x8"-Farm                                                                  10.47     6         62.82
354-3817   00015586742473    Jolee's Boutique Dimensional Stickers-Concert                                                     2.15   18         38.70
335-6107   00015586549256    Jolee's Boutique Stickers-Graduation                                                              2.64   18         47.52
335-7394   00015586878141    Jolee's Boutique Themed Embellishments-Candy Cane Repeats                                         2.64    9         23.76
335-0802   00015586658842    Jolee's Boutique Title Waves Dimensional Stickers-Puppy Love                                      2.64   11         29.04
354-3556   00015586593426    Jolee's By You Dimensional Stickers-Movie Popcorn                                                 1.58    6          9.48
212-0551   00015586928877    Jolee's Cabochon Dimensional Repeat Stickers-Eiffel Towers                                        2.11   18         37.98

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  SKU         GTIN/UPC       Description                                                                               Cost Ea. In Stock   Total
354-4346   00760164001304    Judikins Diamond Glaze Dimensional Adhesive 2oz-Precision Tip                                  3.89   93        361.77
506-8519   00000772042000    Jumbo Coloring Pad 11"x14" 50 Pages-Animal                                                     5.29    0          0.00
351-6187   00044974140010    Jumbo Kneaded Rubber Eraser-                                                                   1.03    7          7.21
241-7005   00046838074882    JVC Earclip Earbud Sport Earbud Earclip Black (HAEC10B)                                        5.09   32        162.88
357-7878   00090672276346    Keep N' Carry Artist Set-Acrylic Paint                                                         3.75    0          0.00
121-8789   00090672226969    Keep N' Carry Artist Set-Drawing                                                               3.75   20         75.00
357-7876   00090672226952    Keep N' Carry Artist Set-Sketching                                                             3.75    9         33.75
227-0081   00014137787215    Kid's Scented Shimmer Paint Markers 1.4oz 6/Pkg-Assorted Scents & Colors                       6.70    4         26.80
500-8782   08904086268854    Knitter's Pride Knit Blocking & Pins Kit-                                                    15.08    14        211.12
506-3781   08904086282546    Knitter's Pride-Interchangeable Cords 11" (20" W/Tips)-Blue                                    1.54    3          4.62
324-0491   08904086293016    Knitter's Pride-Wool Needles Set Of 3-                                                         1.49    4          5.96
506-4491   00740482030569    Kreinik Very Fine Metallic Braid #4 12yd - Fluorescent Grapefruit - (vf-052f)                  1.96    4          7.84
506-4490   00740482030552    Kreinik Very Fine Metallic Braid #4 12yd - Fluorescent Tangerine - (vf-051f)                   1.96    7         13.72
506-4533   00740482030903    Kreinik Very Fine Metallic Braid #4 12yd - Hi Lustre Garnet - (vf-080hl)                       1.96    6         11.76
506-4526   00740482030859    Kreinik Very Fine Metallic Braid #4 12yd - Hi Lustre Gun Metal - (vf-011hl)                    1.75    6         10.50
506-4463   00740482030347    Kreinik Very Fine Metallic Braid #4 12yd - White - (vf-100)                                    1.96    4          7.84
512-7951   00847340039747    Kuretake Zig Clean Color Real Brush Markers 6/Pkg-Cool Gray                                    8.87    2         17.74
241-8655   03181860235577    Lansay- Blopens Kawaii Activity Set, 23557                                                     5.00    0          0.00
232-1380   00035292670174    Lawn Fawn Glue Tube-                                                                           3.19    5         15.95
508-0731   00057355307629    Lily Sugar'n Cream Yarn - Ombres Super Size-Pink Camo                                          2.26   12         27.12
508-0653   00057355103283    Lily Sugar'n Cream Yarn - Ombres-Denim Blue Print                                              1.47   16         23.52
511-7116   00057355446847    Lily Sugar'n Cream Yarn - Scrub Off-Cream                                                      2.26    0          0.00
511-7114   00057355446786    Lily Sugar'n Cream Yarn - Scrub Off-Spring Blue                                                2.26    0          0.00
508-0632   00057355413641    Lily Sugar'n Cream Yarn - Solids-Teal                                                          1.47    6          8.82
508-0737   00057355296442    Lily Sugar'n Cream Yarn - Stripes-Natural                                                      1.47    0          0.00
357-5332   00789541002062    Liquid Pearls Dimensional Pearlescent Paint .5oz-White Opal                                    1.36    0          0.00
210-8790   00089516109001    Loran Needle Threader-                                                                         1.24   45         55.80
500-9508   00023535998857    Lorann Oils Bakery Emulsions Natural & Artificial Flavor 4oz-Blueberry                         3.05    0          0.00
500-9509   00023535998826    Lorann Oils Bakery Emulsions Natural & Artificial Flavor 4oz-Hazelnut                          3.05    0          0.00
210-0374   00023535762083    Lorann Oils Bakery Emulsions Natural & Artificial Flavor 4oz-Red Velvet Cake                   3.05    0          0.00
500-9507   00023535998888    Lorann Oils Bakery Emulsions Natural & Artificial Flavor 4oz-Strawberry                        3.05    0          0.00
211-9367   00023535810555    Lorann Oils Liquid Food Coloring 1oz-Green                                                     1.24    3          3.72
211-9368   00023535811057    Lorann Oils Liquid Food Coloring 1oz-Red                                                       1.24    2          2.48
241-7320   05010993986439    Luke Skywalker                                                                                 3.50    0          0.00

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  SKU         GTIN/UPC       Description                                                                                          Cost Ea. In Stock       Total
505-7758   00044974000208    Magic White Extra Soft Vinyl Eraser-                                                                       0.63       0          0.00
241-7323   05010993986408    Mandalorian                                                                                                3.50      32        112.00
355-9977   00046909720014    Mbi Page Protectors 12"x12" 6/Pkg-                                                                         2.23       0          0.00
235-2713   00030674170839    MCP-DS - Canson XL Series Watercolor Textured Paper Pad for Paint, Pencil, Ink, Charcoal, Pastel, and Acrylic,
                                                                                                                                        5.04Fold Over,
                                                                                                                                                  61 140 Pound,
                                                                                                                                                            307.44
                                                                                                                                                                9 x 12 I
241-7364   00887961771503    Mega Construx Call of Duty Diego                                                                           5.00      55        275.00
241-7365   00887961771497    Mega Construx Call of Duty General Davis                                                                   5.00      10         50.00
241-7362   00887961771527    Mega Construx Call of Duty Ruin                                                                            5.00      10         50.00
508-8713   00070896383006    Metal Cookie Cutter 3"-Star                                                                                0.71       4          2.84
136-7507   00070896521231    Mini Baking Cups-Pastels 100/Pkg                                                                           1.42       0          0.00
176-4102   00789541040972    Mini Ink Blending Foam 1" 20/Pkg-For Ibt40965                                                              3.15       0          0.00
501-2321   00048533140695    Mini Perler Beads 2000/Pkg-Black                                                                           1.37      20         27.40
510-9897   00048533141166    Mini Perler Beads 2000/Pkg-Gray                                                                            1.37       4          5.48
510-9896   00048533141159    Mini Perler Beads 2000/Pkg-Light Gray                                                                      1.37       0          0.00
235-3003   00300263301884    Mi-Teintes Pastel Pad, Assorted Colors 9"X12" Fold Over 98lb/160gsm - 24shts                               5.99       0          0.00
176-3327   00028995150593    Mod Podge Dishwasher Safe-8oz                                                                              4.62      11         50.82
357-1975   00028995113055    Mod Podge Matte Finish-4oz                                                                                 2.48      14         34.72
357-1973   00028995113017    Mod Podge Matte Finish-8oz                                                                                 3.47      26         90.22
333-4827   00071641149403    Mr.Sketch Scented Marker Set 22/Pkg-Chisel                                                               12.51        0          0.00
128-5900   00044974940849    Multipastel Compressed Chalk Sticks 4/Pkg-Gray Tones                                                       2.50       0          0.00
241-8684   05010993661190    My Little Pony - Pinkie Pie - Potion Pony Figure -- 3-Inch Pink Pony Toy with Brushable Hair, Comb, and 4 Surprise
                                                                                                                                        3.90 Accessories
                                                                                                                                                   3         11.70
241-8799   05010993849611    My Little Pony - Pipp Petals of the Mane 5 - Pale Magenta Coat with Medium Purple Mane                     2.00      50        100.00
241-8693   00630509610174    My Little Pony Friendship is Magic - Pinkie Pie Mini Pony Loves To Party                                   2.72       2          5.44
241-7351   00195166173214    My Little Pony Izzy Moonbow                                                                                0.80     110         88.00
241-7243   00630509911011    My Little Pony Magical Potion Surprise Blind Bag Batch 1: Collectible Toy with Water-Reveal Surprise, 1.5"0.85
                                                                                                                                         Scale Figure
                                                                                                                                                 250        212.50
241-7353   00195166173207    My Little Pony Sunny Starscout                                                                             0.80      92         73.60
241-8715   00195166110103    NERF ALPHA STRIKE CLAW DUAL QS-4                                                                           5.08       0          0.00
241-7263   00630509877379    NERF Alpha Strike Stinger SD-1 Targeting Set                                                               3.25      82        266.50
241-7346   00195166162072    NERF Elite 2.0 Ace SD-1 Blaster, 2 Official Elite Darts, Onboard 1-Dart Storage, Stealth-Sized             1.90      35         66.50
241-7338   00195166155418    Nerf Elite 2.0 Tetrad                                                                                      5.40       6         32.40
241-8711   00630509780600    NERF MICRO SHOTS FLIPFURY                                                                                  4.40      20         88.00
241-8776   00630509359271    Nerf N-Strike Jolt Blaster (blue)                                                                          2.85       0          0.00
241-7190   00630509603435    Nerf N-Strike NanoFire (blue)                                                                              3.10       2          6.20
241-7191   00630509603442    Nerf N-Strike NanoFire (green)                                                                             3.10      30         93.00
241-8778   00630509619795    Nerf Super Soaker Breach Blast                                                                             5.16       0          0.00

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241-8718   05010993682898    NERF SUPER SOAKER SCATTER BLAST                                                                      5.80    0         0.00
241-7348   00630509619818    Nerf Super Soaker Scatterblast Blaster                                                               6.95    0         0.00
241-7189   00195166122700    NERF Vortex Aero Howler Foam Ball - BLUE                                                             7.20    0         0.00
241-7188   00195166122717    NERF Vortex Aero Howler Foam Ball - RED                                                              7.20    4        28.80
241-8829   00195166231020    NEW Version (Blue Box) - Connect 4 Grab and Go Game for Ages 6 and Up, Portable Game for 2 Players, Travel
                                                                                                                                  4.00 Game
                                                                                                                                         49       196.00
236-6933   00029444919709    NMC-DISC - Glitter Spectra 4oz Mgta                                                                  2.30   16        36.80
241-7375   05010993948383    NOT ON AMZ - Hasbro - Marvel 6-Inch-Scale Action Figure - Captain America(8383)                      2.90    0         0.00
241-7372   05010993948369    NOT ON AMZ - Hasbro - Marvel 6-Inch-Scale Action Figure - Hulk                                       2.90    0         0.00
241-7374   05010993948376    NOT ON AMZ - Hasbro - Marvel 6-Inch-Scale Action Figure - Iron Man                                   2.90    5        14.50
241-7373   05010993948390    NOT ON AMZ - Hasbro - Marvel 6-Inch-Scale Action Figure - Spider-Man                                 2.90    0         0.00
241-8720   05010993846757    NOT ON AMZ - My Little Pony EQUESTRIA GIRL RAINBOW_DASH - F2909 - 5 Fashion Accessories              2.96   17        50.32
241-8722   00300263307091    NOT ON AMZ - My Little Pony Equestria Girl - PINKIE PIE - F2909 - 5 Fashion Accessories              2.96    5        14.80
241-8721   00300263307084    NOT ON AMZ - My Little Pony Equestria Girl - Twilight Sparkle - F2909 - 5 Fashion Accessories        2.96   24        71.04
241-8654   00195166156514    NOT ON AMZ - Transformers Authentics Figures - Alpha Series - WHEELJACK                              7.25    0         0.00
241-8657   00630509642144    NOT ON AMZ ** Play-Doh Animal Shapes                                                                 1.10   39        42.90
210-9523   00091511500424    Olfa Rotary Blade 45mm-                                                                              4.24   22        93.28
236-7482   00029444585362    Pacon Art Tissue 20" x 30" 20shts - Cool Colors                                                      2.85   20        57.00
124-9832   00084001034318    Pacon Tru-Ray Construction Paper, 76 Lbs., 9 X 12, Festive Red, 50 Sheets/Pack                       2.30    5        11.50
124-9607   00084001030129    Pacon Tru-Ray Construction Paper, 76 Lbs., 9 X 12, Pink, 50 Sheets/Pack                              2.08    3         6.24
211-5397   00766218055859    Paint Pots 18/Pkg-.125oz                                                                             1.96   37        72.52
508-1884   00057355334472    Patons Canadiana Yarn - Solids-Dark Green Tea                                                        2.94    0         0.00
511-7356   00057355450943    Patons Classic Wool Yarn-Gray Plum                                                                   4.72    0         0.00
351-6206   00044974563031    Peel & Sketch Charcoal Pencils 3/Pkg-                                                                2.89    8        23.12
509-9875   00088677916886    Pencil Works Color By Number Kit 9"x12"-Puppies                                                      4.39    0         0.00
510-9866   00048533228515    Perler Avengers Fused Bead Pattern Pad-                                                              4.18    6        25.08
221-9750   00048533190188    Perler Beads 1,000/Pkg-Black                                                                         1.96    0         0.00
221-9736   00048533190805    Perler Beads 1,000/Pkg-Bright Green                                                                  1.96    0         0.00
232-4234   00048533152070    Perler Beads 1,000/Pkg-Charcoal                                                                      1.96    6        11.76
232-4224   00048533152001    Perler Beads 1,000/Pkg-Cobalt                                                                        1.96    6        11.76
221-9754   00048533190102    Perler Beads 1,000/Pkg-Dark Green                                                                    1.96    8        15.68
129-6909   00048533190393    Perler Beads 1,000/Pkg-Glitter Mix                                                                   1.96    0         0.00
129-6915   00048533190676    Perler Beads 1,000/Pkg-Glow Mix                                                                      1.96   15        29.40
221-9734   00048533190850    Perler Beads 1,000/Pkg-Gold                                                                          1.96    7        13.72
129-6911   00048533190591    Perler Beads 1,000/Pkg-Hot Coral                                                                     1.96    0         0.00

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129-6913   00048533190614    Perler Beads 1,000/Pkg-Kiwi Lime                                                            1.96    3          5.88
221-9737   00048533190799    Perler Beads 1,000/Pkg-Light Pink                                                           1.96    7         13.72
232-4225   00048533152018    Perler Beads 1,000/Pkg-Midnight                                                             1.96    0          0.00
210-0103   00048533190881    Perler Beads 1,000/Pkg-Raspberry                                                            1.96   22         43.12
210-0097   00048533190201    Perler Beads 1,000/Pkg-Rust                                                                 1.96   29         56.84
232-4231   00048533152049    Perler Beads 1,000/Pkg-Salmon                                                               1.96   22         43.12
232-4223   00048533151998    Perler Beads 1,000/Pkg-Shamrock                                                             1.96   33         64.68
510-9955   00048533152186    Perler Beads 1,000/Pkg-Teal                                                                 1.96    3          5.88
510-9948   00048533152117    Perler Beads 1,000/Pkg-Tomato                                                               1.96    0          0.00
210-0102   00048533190621    Perler Beads 1,000/Pkg-Turquoise                                                            1.96   45         88.20
221-9759   00048533190034    Perler Beads 1,000/Pkg-Yellow                                                               1.96    6         11.76
221-9731   00048533190935    Perler Fun Fusion Beads 1000/Pkg - BlueBerry Creme                                          1.96    9         17.64
335-9995   00048533543182    Perler Fused Bead Activity Kit-Space Shuttle                                                7.31   12         87.72
123-7262   00048533427697    Perler Fused Bead Bucket Kit-Bead Mania                                                   10.49     0          0.00
328-9629   00048533429448    Perler Fused Bead Bucket Kit-Dinosaur                                                       7.31    0          0.00
335-9989   00048533429684    Perler Fused Bead Bucket Kit-Harry Potter                                                 11.66     0          0.00
123-7241   00048533427895    Perler Fused Bead Bucket Kit-Sunny Days                                                     7.31    0          0.00
335-9988   00048533429653    Perler Fused Bead Bucket Kit-Tie Dye                                                        7.31    9         65.79
368-0788   00048533559640    Perler Fused Bead Kit-Pet Fancy                                                             5.83   12         69.96
187-7193   00048533176045    Perler Fused Bead Tray 4,000/Pkg-Stripes 'n Pearls                                          7.84    7         54.88
510-9867   00048533228522    Perler Harry Potter Fused Bead Pattern Pad-                                                 4.18   36        150.48
510-9940   00048533111381    Perler Pattern Bag-Harry Potter                                                             5.83   10         58.30
129-6798   00048533227853    Perler Pattern Pad-                                                                         4.92   14         68.88
227-6380   00048533227976    Perler Pattern Pad-Striped Beads                                                            4.92    0          0.00
510-9856   00048533228690    Perler Star Wars Fused Bead Pattern Pad-Star Wars                                           4.18    8         33.44
328-9624   00048533159611    Perler Striped Beads 1,000/Pkg-Cherry                                                       1.96   12         23.52
122-9826   00070896154507    Petite Loaf Cups-White 50/Pkg 1.25"x3.25"                                                   1.18    0          0.00
357-1607   00023602611238    Photo Glue Stick Triangular Edge-                                                           1.54    0          0.00
357-1599   00023602601062    Pioneer Universal Top-Loading Page Protectors 5/Pkg-8.5"x11" (w/White Inserts)              2.47    0          0.00
231-7335   00028995169267    Plaid Enterprises, Inc. (6140) Folk Art Marbling Pt Aqua                                    1.65    4          6.60
241-7383   05010993655250    Play-Doh Brand Slime Compound 3-Pack - Blue, Metallic Orange, and Metallic Pink             2.70    0          0.00
241-8658   00630509641680    Play-Doh Fruit Shapes                                                                       1.10    3          3.30
241-7150   00630509277834    Pop-O-Matic Trouble Grab & Go Game (Travel Size)                                            4.00   39        156.00
328-8733   00063562529990    Pot Drainer 12"-Red                                                                         2.42    7         16.94

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  SKU         GTIN/UPC       Description                                                                              Cost Ea. In Stock   Total
507-3417   00024904006036    Pres-On Mounting Board 16"x20"-                                                               5.06    0          0.00
507-3413   00024904006012    Pres-On Mounting Board 5"x7"-                                                                 1.28    4          5.12
507-3415   00024904006609    Pres-On Mounting Board 8"x10"-                                                                1.47    0          0.00
507-3416   00024904006623    Pres-On Self-Stick Mounting Board 11"x14"-                                                    2.76   83        229.08
241-7156   00021853030105    Pressman Charades For Kids Peggable                                                           4.00    0          0.00
241-7197   00021853019001    Pressman Checkers in square Box                                                               3.65    0          0.00
241-7140   00021853015218    Pressman Toy Double Six Wooden Dominoes, 28 Pieces                                            2.80   44        123.20
128-1709   00014137000956    Primo Bingo Calling Cards 75/Pkg-                                                             2.00    0          0.00
241-7352   00195166173252    Princess Petals - My Little Pony: A New Generation Crystal Ponies                             0.80  109         87.20
241-8878   00300263307749    Pro Kadima Beach Paddles - Artifact Prints #1                                                 4.50    5         22.50
241-8879   00300263307756    Pro Kadima Beach Paddles - Artifact Prints #2                                                 4.50    5         22.50
241-8880   00300263307763    Pro Kadima Beach Paddles - Artifact Prints #3                                                 4.50    5         22.50
108-6108   00023535301046    Pure Madagascar Vanilla Extract-2oz                                                           5.98    3         17.94
325-6012   00789541058939    Ranger Archival Ink Cleaner 2oz-                                                              2.73    3          8.19
176-4057   00789541000709    Ranger Embossing Powder-Holographic                                                           2.73    0          0.00
176-4067   00789541036630    Ranger Embossing Powder-Red                                                                   2.73    2          5.46
176-4083   00789541037415    Ranger Embossing Powder-Super Fine Silver                                                     2.73   68        185.64
357-5211   00789541017042    Ranger Inkssentials Glossy Accents 2oz-Clear                                                  2.73    6         16.38
176-4103   00789541041511    Ranger Multi Medium .5oz-Matte                                                                1.36   71         96.56
357-5468   00789541030683    Ranger Perfect Pearls Pigment Powder .25oz-Biscotti                                           2.27    4          9.08
357-5456   00789541017875    Ranger Perfect Pearls Pigment Powder .25oz-Forever Red                                        2.27    3          6.81
227-7503   00789541043140    Ranger Pigment Pad Reinker .5oz-Glacier White                                                 2.04    0          0.00
241-8697   00630509868148    RAPUNZEL                                                                                      2.95   18         53.10
504-2628   00073650909313    Red Heart Super Saver Yarn-Coffee                                                             3.74    0          0.00
504-2626   00073650851728    Red Heart Super Saver Yarn-Lavender                                                           3.74    2          7.48
504-2609   00073650846403    Red Heart Super Saver Yarn-White                                                              3.74    0          0.00
211-2887   00885967883206    Rit Dye Liquid 8oz-Kelly Green                                                                2.75   10         27.50
211-2886   00885967883008    Rit Dye Liquid 8oz-Navy Blue                                                                  2.75    0          0.00
211-2878   00885967880700    Rit Dye Liquid 8oz-Petal Pink                                                                 2.75    0          0.00
227-7706   00885967024920    Rit Dye More Synthetic 7oz-Royal Purple                                                       3.21   12         38.52
235-7761   00090672004093    Royal & Langnickel(r) Essentials(tm) Color Pencils 12/Pkg-3t                                  1.80   12         21.60
351-2598   00036346317939    Schmetz Topstitch Machine Needles-Size 14/90 5/Pkg                                            3.48    0          0.00
213-5511   00718122660612    Scor-Tape-.25"x27yd                                                                           2.55    2          5.10
213-5512   00718122660711    Scor-Tape-.5"x27yd                                                                            3.82    5         19.10

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  SKU         GTIN/UPC       Description                                                                                     Cost Ea. In Stock   Total
212-5552   00051141928586    Scotch Wrinkle-Free Glue Sticks 2/Pkg-.27oz                                                          2.07    0          0.00
348-0096   00093616016251    Scrapbook Adhesives Paper Photo Corners Self-Adhesive 108/Pk-.5" Gold                                1.87    3          5.61
348-0111   00093616016695    Scrapbook Adhesives Photo Corners Self-Adhesive .375" 250/Pk-Black                                   1.87    0          0.00
212-3437   00093616016176    Scrapbook Adhesives Thin 3d Adhesive Foam Squares 217/Pkg-Black (63) .43"x.47" & (154) .25"x.25"     1.87    0          0.00
211-6165   00017754543059    Scribbles 3d Fabric Paint 1oz-Glittering-Silver (sc-1-305)                                           1.19    0          0.00
211-6158   00017754542236    Scribbles 3d Fabric Paint 1oz-Iridescent-Charcoal Grey (sc-1-223)                                    1.19    3          3.57
211-6159   00017754542243    Scribbles 3d Fabric Paint 1oz-Iridescent-Gold (sc-1-224)                                             1.19    3          3.57
211-6908   00017754543592    Scribbles 3d Fabric Paint 1oz-Neon-Yellow (sc-1-359u)                                                1.19   41         48.79
211-6132   00017754541123    Scribbles 3d Fabric Paint 1oz-Shiny - Bright Yellow                                                  1.19    4          4.76
211-6145   00017754541390    Scribbles 3d Fabric Paint 1oz-Shiny-Black (sc-1-139)                                                 1.19    3          3.57
211-6140   00017754541284    Scribbles 3d Fabric Paint 1oz-Shiny-Medium Blue (sc-1-128)                                           1.19   15         17.85
211-6130   00017754541109    Scribbles 3d Fabric Paint 1oz-Shiny-White (sc-1-110)                                                 1.19    6          7.14
351-6186   00044974125628    Scribe-All Pencils 2/Pkg-Black & White                                                               2.43   17         41.31
129-7266   00715891140666    Sculpey Bake & Bond 2oz-                                                                             4.00    0          0.00
368-0274   00715891116128    Sculpey III Oven-Bake Clay 2oz 10/Pkg-Bright Ideas                                                 13.50    11        148.50
187-8701   00715891116111    Sculpey III Oven-Bake Clay 2oz 10/Pkg-Classic Collection                                           13.50    23        310.50
129-7435   00715891116173    Sculpey III Oven-Bake Clay 2oz 10/Pkg-Naturals                                                     12.00     3         36.00
357-2147   00715891111420    Sculpey III Oven-Bake Clay 2oz-Candy Pink                                                            1.47    9         13.23
212-2348   00715891113233    Sculpey III Oven-Bake Clay 2oz-Emerald                                                               1.47    4          5.88
357-2142   00715891111130    Sculpey III Oven-Bake Clay 2oz-Glow-In-The-Dark                                                      1.47   27         39.69
368-0262   00715891162927    Sculpey III Oven-Bake Clay 2oz-Granny Smith                                                          1.47   24         35.28
368-0216   00715891165720    Sculpey III Oven-Bake Clay 2oz-Hazelnut                                                              1.47   32         47.04
368-0218   00715891115138    Sculpey III Oven-Bake Clay 2oz-Purple                                                                1.47   51         74.97
357-2144   00715891111444    Sculpey III Oven-Bake Clay 2oz-Sky Blue                                                              1.47   10         14.70
357-2140   00715891111093    Sculpey III Oven-Bake Clay 2oz-Suede Brown                                                           1.47    9         13.23
368-0203   00715891110010    Sculpey III Oven-Bake Clay 2oz-White                                                                 1.47   17         24.99
368-0211   00715891110720    Sculpey III Oven-Bake Clay 2oz-Yellow                                                                1.47   56         82.32
357-2125   00715891112434    Sculpey III Polymer Clay 8oz-White                                                                   5.50   52        286.00
357-2173   00715891112588    Sculpey III Polymer Clay Multipack 1oz 12/Pkg-Naturals                                               9.18   24        220.32
368-0250   00715891112335    Sculpey Original Polymer Clay 1.75lb-Terra Cotta                                                     8.00    0          0.00
368-0230   00715891112328    Sculpey Original Polymer Clay 1.75lb-White                                                           8.50   40        340.00
324-4468   00715891111659    Sculpey Original Polymer Clay 1lb-Terra Cotta                                                        5.67   54        306.18
129-7433   00715891112441    Sculpey Original Polymer Clay 3.75lb-White                                                         17.50     3         52.50
176-3499   00715891075098    Sculpey Souffle Multipack .9oz 12/Pkg-                                                               9.01    0          0.00

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  SKU         GTIN/UPC       Description                                                                                         Cost Ea. In Stock   Total
357-2135   00715891140758    Sculpey Transparent Liquid 2oz-                                                                          4.00    14        56.00
368-0269   00715891200193    Sculpey Ultralight Polymer Clay 8oz-White                                                                6.50     8        52.00
241-7177   00630509975013    Sesame Street Little Laughs Tickle Me Elmo, Talking, Laughing 10-Inch Plush Toy for Toddlers, Kids 12 Months
                                                                                                                                      6.72& Up 6        40.32
122-0535   00075691601102    Singer All-Purpose Polyester Thread 150yd-Black                                                          1.29     0         0.00
358-2333   00075691602567    Singer All-Purpose Polyester Thread 150yd-Natural                                                        1.29     7         9.03
122-0541   00075691600136    Singer All-Purpose Polyester Thread 150yd-Navy                                                           1.29     0         0.00
358-2334   00075691601003    Singer All-Purpose Polyester Thread 150yd-White                                                          1.29     3         3.87
211-1420   00075691020569    Singer Nylon Angled-Edge Lint Brush W/Comfort Grip-                                                      1.48     5         7.40
358-2341   00075691002602    Singer Nylon Thread 135yd-Clear                                                                          1.10   182       200.20
210-9911   00075691002183    Singer Vinyl Tape Measure-60"                                                                            1.59    22        34.98
128-5913   00044974588027    Sketch & Wash Pencils 2/Pkg-                                                                             1.91     0         0.00
231-3236   00078693022326    SlimLine 2232 16/3 White - 13' Slimline Extension Cord (2232)                                            3.99     0         0.00
231-3235   00078693022357    SlimLine 2235 16/2 White - 3' Slimline Extension Cord (2235)                                             1.20    82        98.40
231-3646   00078693022371    SlimLine 2237 Flat Plug Extension Cord, 2-Wire, 13-Foot, White                                           3.02    12        36.24
231-3649   00078693022432    SlimLine 2243 Flat Plug 8-Foot Extension Cord, 3-Wire, Black                                             3.14    24        75.36
231-3223   00078693022548    SlimLine 2254 16/3 BEIGE - 8' Slimline Extension Cord (2254)                                             3.96    26       102.96
241-8818   00194735004768    small Push Along Neon Thomas, redh                                                                       1.80    99       178.20
241-7371   00630509611232    Soa Splash Mouth Suppersoaker                                                                            7.54     9        67.86
241-7306   00630509858279    Sorry Grab And Go                                                                                        4.00    31       124.00
509-9404   00766218116703    Sosoft Fabric Acrylic Metallic Paint 2oz-Silver Platinum                                                 2.07     3         6.21
241-7071   00733353362128    Southwire 28827426 14/2 15' NMW/G WIRE, White                                                            4.24     0         0.00
213-5042   00070896741110    Sparkle Decorating Gel 3.5oz-Green                                                                       2.13     3         6.39
136-7834   00070896703569    Sparkle Decorating Gel 3.5oz-Pink                                                                        2.13     5        10.65
511-6731   00879216008915    Spellbinders Glimmer Foil-Fuchsia Flower                                                                 2.50     4        10.00
511-6730   00879216008908    Spellbinders Glimmer Foil-Tangerine                                                                      2.50     3         7.50
211-5399   00766218055880    Squeeze Writer Bottles 3/Pkg-2oz                                                                         1.98     0         0.00
241-7307   00195166119137    Star Wars The Child                                                                                      3.50    38       133.00
507-5393   00789541053699    Stickles Glitter Glue .5oz-Confetti                                                                      1.13     7         7.91
211-1474   00789541038443    Stickles Glitter Glue .5oz-Cranberry                                                                     1.13     3         3.39
511-3071   00789541065692    Stickles Glitter Glue .5oz-Grapefruit                                                                    1.13    12        13.56
357-5502   00789541001942    Stickles Glitter Glue .5oz-Yellow                                                                        1.13     9        10.17
310-4708   00012017480096    Strathmore Assorted Color Pastel Paper Pad 9"x12"-24 Sheets                                              3.69     0         0.00
129-7738   00012017365119    Strathmore Bristol Vellum Paper Pad 11"x14"-20 Sheets                                                    6.18     0         0.00
507-8197   00012017455117    Strathmore Sketch Spiral Paper Pad 11"x14"-100 Sheets                                                    8.52     0         0.00

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507-8170   00012017571350    Strathmore Watercolor Paper Pack 8"x10"-10 Sheets                                                 5.72        0              0.00
507-8168   00012017571220    Strathmore Watercolor Paper Pack 8"x10"-10 Sheets                                                 5.72        0              0.00
176-3081   00725879210168    Stretch Band Ez Looper Bracelet Maker-                                                            0.80        3              2.40
235-7744   00090672115133    Stylus Set Soft Grip 3 per pack                                                                   1.86       40            74.40
201-7176   00727072457029    Sulky Sticky Fabri-Solvy Stabilizer 12/Pkg-8.5"x11"                                               7.68        0              0.00
358-7176   00727072751127    Sulky Tear-Easy Stabilizer Roll-12"x11yd                                                          7.68        0              0.00
368-0282   00715891114322    Super Sculpey Living Doll Clay 1lb-Beige                                                         10.92        7            76.44
368-0207   00715891114315    Super Sculpey Polymer Clay 1lb-Beige                                                              9.82       18          176.76
324-2823   00715891114384    Super Sculpey Polymer Clay 8lb-Beige                                                             63.00        3          189.00
504-0937   00077216007062    Susan Bates Silvalume Aluminum Crochet Hook 5.5"-Size G6/4mm                                      1.09        3              3.27
504-0938   00077216007086    Susan Bates Silvalume Aluminum Crochet Hook 5.5"-Size H8/5mm                                      1.09        5              5.45
504-1063   00077216003194    Susan Bates Silvalume Handi Tool-4"                                                               0.80       36            28.80
504-1029   00077216000292    Susan Bates Silvalume Soft Handle Aluminum Crochet Hook 5.5"-Size G6/4mm                          1.50        9            13.50
504-1030   00077216000308    Susan Bates Silvalume Soft Handle Aluminum Crochet Hook 5.5"-Size H8/5mm                          1.50        2              3.00
504-1054   00077216040854    Susan Bates Steel Weaving Needle-5" 1/Pkg                                                         0.74       10              7.40
231-3806   00078693028861    SWR-NO-AMZ 14/3 25'sjtw Yljkt Ext Crd (2886 )                                                    10.44        7            73.08
231-3435   00078693031304    SWR-NO-AMZ 14/3 9' Stw Blk Multi-Out (3130)                                                      10.60       18          190.80
161-7469   00029892023096    SWR-NO-AMZ Coleman Cable 100' Sjtw Orange Exten. Cord (023098803)                                23.50       10          235.00
161-7534   00078693028854    SWR-NO-AMZ Coleman Cable 12/3 100' Sjtw Yellow Jacket Lighted End Extension Cord (2885)          48.10        3          144.30
161-7536   00008855325552    SWR-NO-AMZ Coleman Cable/Woods Outdoor Outlet Wireless Remote Control (32555)                     7.53        0              0.00
241-6927   00029892825881    SWR-NO-AMZ Southwire 2588SW0002 Outdoor Extension Cord- 12/3 American Made SJTW Heavy Duty33.84   3 Prong Extension
                                                                                                                                           9      Cord304.56
                                                                                                                                                        - 50 Foot- Y
241-6928   00032886263040    SWR-NO-AMZ Southwire 28827423 100' 14/2 with ground Romex brand SIMpull residential indoor electrical
                                                                                                                              46.58wire type
                                                                                                                                           5 NM-B, White
                                                                                                                                                      232.90
241-6954   00032886263088    SWR-NO-AMZ Southwire 28828222 50' 12/2 with ground Romex brand SIMpull residential indoor electrical
                                                                                                                              34.51wire type
                                                                                                                                           7 NM-B, Yellow
                                                                                                                                                      241.57
241-6951   00032886263095    SWR-NO-AMZ Southwire 28828228 100' 12/2 with ground Romex brand SIMpull residential indoor electricial
                                                                                                                              66.23 wire type
                                                                                                                                           4 NM-B, Yellow
                                                                                                                                                      264.92
241-6544   00032886860478    SWR-NO-AMZ Southwire 55213243 14/2 Low Voltage Outdoor Landscape Lighting Cable, 100-Feet        27.32        3            81.96
241-6628   00032886860485    SWR-NO-AMZ Southwire 55213443 100-Feet 12-Gauge 2 Conductor 12/2 Low-Voltage Underground Direct  29.95Burial Landscape
                                                                                                                                           8        Lighting
                                                                                                                                                      239.60Cable
231-3585   00024098902145    SWR-NO-AMZ TRC 26020008-6 12/3 Gauge Shockshield GFCI Protected In-line Tri-Cord Set with 3-Outlets,
                                                                                                                              21.42
                                                                                                                                  2-Feet, 15-Amp,
                                                                                                                                           5      Yellow
                                                                                                                                                      107.10
231-3403   00078693002601    SWR-NO-AMZ Woods 0260 - 8 Foot Workshop Black Extension Cords - 16/3 SJT                          3.13        0              0.00
231-4276   00078693173219    SWR-NO-AMZ Woods 17321WD Outdoor Plug-In Yard Stake Timer with Photocell, 3 Grounded Outlets, Weatherproof
                                                                                                                              11.69        6 Design 70.14
507-6444   00090672021175    Synthetic Artist Sponges 3/Pkg-                                                                   0.48       28            13.44
504-1645   00051221251603    Takumi Bamboo Circular Knitting Needles 16"-Size 10/6mm                                           4.24        0              0.00
501-9350   00966152214033    Taylor Seville Thread Magic Round-                                                                5.50        6            33.00
211-1167   00856349000122    That Purple Thang-                                                                                1.90        0              0.00
358-9152   00000943040514    Thermoweb Sticky Dot Die-Cut Adhesive Sheets-4.25"x5.5" 12/Pkg                                    2.25        0              0.00

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  SKU         GTIN/UPC       Description                                                                                  Cost Ea. In Stock   Total
241-8819   00194735004683    Thomas & Friends Salty Metal Engine                                                               1.80    0          0.00
241-8820   00194735004690    Thomas Small Push Along Neon Ashima, red                                                          1.80    0          0.00
511-3147   00789541073031    Tim Holtz Distress Collage Medium 2oz-                                                            2.67    2          5.34
357-5684   00789541019541    Tim Holtz Distress Ink Pad-Black Soot                                                             3.11    0          0.00
357-5790   00789541027119    Tim Holtz Distress Ink Pad-Chipped Sapphire                                                       3.11    0          0.00
357-5693   00789541020233    Tim Holtz Distress Ink Pad-Peeled Paint                                                           3.11    0          0.00
357-5731   00789541021490    Tim Holtz Distress Ink Pad-Shabby Shutters                                                        3.11    0          0.00
227-9456   00789541039839    Tim Holtz Distress Mini Ink Pad-Aged Mahogany                                                     1.55    0          0.00
227-9457   00789541039846    Tim Holtz Distress Mini Ink Pad-Antique Linen                                                     1.55   20         31.00
227-9460   00789541039877    Tim Holtz Distress Mini Ink Pad-Broken China                                                      1.55    4          6.20
227-9466   00789541039938    Tim Holtz Distress Mini Ink Pad-Dusty Concord                                                     1.55    6          9.30
227-9468   00789541039952    Tim Holtz Distress Mini Ink Pad-Faded Jeans                                                       1.55    3          4.65
227-9471   00789541039983    Tim Holtz Distress Mini Ink Pad-Forest Moss                                                       1.55    8         12.40
227-9476   00789541040033    Tim Holtz Distress Mini Ink Pad-Mowed Lawn                                                        1.55   15         23.25
227-9477   00789541040040    Tim Holtz Distress Mini Ink Pad-Mustard Seed                                                      1.55    8         12.40
511-3140   00789541071297    Tim Holtz Distress Texture Paste 3oz-Opaque                                                       3.11    3          9.33
310-9522   00789541042013    Tim Holtz Mini Distress Ink Storage Tin-Holds 12                                                  4.45   15         66.75
213-1767   00016321495111    Tool Basics Mini Hammer-6"                                                                        2.36   25         59.00
127-9524   00016321487864    Tool Basics Nylon Jaw Pliers-5.5"                                                                 2.10    0          0.00
231-3258   00085407209898    Top Corrosion Pads 2/CD ( 989 )                                                                   0.20  126         25.20
241-7249   00887961738322    Toy Story Hot Wheels 4 Character Car Bo Peep                                                      2.45    3          7.35
241-7250   00887961738254    Toy Story Hot Wheels 4 Character Car Bunny                                                        2.45   24         58.80
241-7246   00887961738285    Toy Story Hot Wheels 4 Character Car Forky                                                        2.45    8         19.60
241-7253   00630509778164    Transformers TRA Authentics Alpha Megatron                                                        7.25    0          0.00
212-9579   00766218019967    Triple Thick Brilliant Brush-On Gloss Glaze 8oz-                                                  4.68    0          0.00
241-8826   00195166231013    Trouble Grab N Go BLUE Box (NEW, Blue)                                                            4.00   36        144.00
128-9010   00084001029420    Tru-Ray Heavyweight Construction Paper, COOL Assorted Colors, 9" x 12", 50 Sheets (102942)        2.85   14         39.90
359-1500   00712353239005    Tsukineko Memento Dye Reinker - Tuxedo Black (RM000-900)                                          3.41    3         10.23
212-3759   00017754153999    Tulip Dimensional Fabric Paint 1.25oz-Glow In The Dark - Yellow                                   1.45   23         33.35
211-7330   00035862651015    Tulip Dimensional Fabric Paint 1.25oz-Puffy - White                                               1.42    7          9.94
213-2729   00035862419042    Tulip Dimensional Fabric Paint 4oz-Glitter - Crystal Sparkle                                      2.25   10         22.50
211-6255   00035862413019    Tulip Dimensional Fabric Paint 4oz-Glitter - Gold                                                 2.25   12         27.00
213-2728   00035862413033    Tulip Dimensional Fabric Paint 4oz-Glitter - Red                                                  2.25    9         20.25
211-6253   00035862414016    Tulip Dimensional Fabric Paint 4oz-Slick - Black                                                  2.25    7         15.75

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  SKU         GTIN/UPC       Description                                                                                   Cost Ea. In Stock   Total
211-6268   00035862414023    Tulip Dimensional Fabric Paint 4oz-Slick - Deep Red                                                2.25   10         22.50
211-6251   00035862414078    Tulip Dimensional Fabric Paint 4oz-Slick - Leaf Green                                              2.25    4          9.00
211-6252   00035862414139    Tulip Dimensional Fabric Paint 4oz-Slick - Royal Blue                                              2.25    9         20.25
508-6190   00846550011857    Tulip Etimo Crochet Hook -Size I9/5.5mm                                                            6.43    2         12.86
508-6220   00846550012281    Tulip Etimo Rose Crochet Hook-Size 4/2.5mm                                                         7.09    7         49.63
213-2756   00017754160652    Tulip Glitter Dimensional Fabric Paint 4oz-Diamond (flg-14-4)                                      2.25   15         33.75
213-2755   00017754173737    Tulip Metallics Dimensional Fabric Paint 4oz-Black (flmt-10-4)                                     2.25   16         36.00
213-2753   00017754173713    Tulip Metallics Dimensional Fabric Paint 4oz-Silver (flmt-8-4)                                     2.25   39         87.75
213-2750   00017754173645    Tulip Metallics Dimensional Fabric Paint 4oz-White (flmt-1-4)                                      2.25    3          6.75
505-9915   00017754325549    Tulip One-Step Mini Tie-Dye Kit-Neon                                                               2.28    2          4.56
188-0091   00017754316653    Tulip One-Step Tie-Dye Kit-Moody Blues                                                             6.48    0          0.00
188-0096   00017754316707    Tulip One-Step Tie-Dye Kit-Vibrant                                                                 6.48    0          0.00
338-0051   00017754444967    Tulip One-Step Tie-Dye Kit-Wildflower                                                              6.48    0          0.00
213-6213   00017754265265    Tulip Slick Dimensional Fabric Paint 4oz-Blazin' Blue (fls-26526)                                  2.25    7         15.75
213-2775   00035862414221    Tulip Slick Dimensional Fabric Paint 4oz-Brown (fls-22-4)                                          2.25   10         22.50
213-6211   00017754265234    Tulip Slick Dimensional Fabric Paint 4oz-Lectric Lime (fls-26523)                                  2.25    3          6.75
213-2726   00035862414092    Tulip Slick Dimensional Fabric Paint 4oz-Orange (fls-9-4)                                          2.25   17         38.25
213-2727   00035862414054    Tulip Slick Dimensional Fabric Paint 4oz-Purple (fls-5-4)                                          2.25    0          0.00
310-4871   00017754290984    Tulip Soft Fabric Paint 4oz-Glow - Natural                                                         4.12    7         28.84
310-4866   00017754204059    Tulip Soft Fabric Paint 4oz-Matte - Crimson Red                                                    4.12   18         74.16
310-4865   00017754204042    Tulip Soft Fabric Paint 4oz-Matte - Ebony                                                          4.12   10         41.20
310-4867   00017754204066    Tulip Soft Fabric Paint 4oz-Matte - Sunshine Yellow                                                4.12    4         16.48
213-2780   00017754207449    Tulip Sparkles Dimensional Fabric Paint 4oz-Blueberry (flsk-8-4)                                   2.25   22         49.50
213-2777   00017754207401    Tulip Sparkles Dimensional Fabric Paint 4oz-Cotton Candy (flsk-4-4)                                2.25    7         15.75
213-2781   00017754207418    Tulip Sparkles Dimensional Fabric Paint 4oz-Hawaiian Fizz (flsk-5-4)                               2.25   22         49.50
213-2776   00017754207388    Tulip Sparkles Dimensional Fabric Paint 4oz-Sour Apple (flsk-2-4)                                  2.25   13         29.25
176-6102   00017754320353    Tulip Writer Fabric Markers 2/Pkg-Black                                                            1.51    5          7.55
514-2927   00074427858346    Ultra-Pro - One-Touch Magnetic Holders : Uv 200pt                                                  2.31   21         48.51
241-8798   00194735081776    UNO Disney Pixar Buzz Lightyear Card Game in Storage Tin, Movie-Themed Deck & Special Rule,        2.75  128        352.00
211-2271   00075967900755    Velcro(r) Brand Sticky Back Tape .75"x3.5" 4/Pkg-Black                                             1.60    4          6.40
122-8407   00712353400542    Versafine Pigment Mini Ink Pad-Vintage Sepia                                                       1.47    6          8.82
123-6876   00725879222055    Wacky Whirly Straw Kit-                                                                            1.45    0          0.00
188-0480   00753705055102    Warm Company Steam-A-Seam 2 Fusible Web-.5"x20yd                                                   2.70    0          0.00
213-8493   00090672062666    Watercolor Painting Set W/Tin-                                                                     1.80    3          5.40

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  SKU         GTIN/UPC       Description                                                                          Cost Ea. In Stock     Total
241-7152   00072133063931    Wiffle Ball - Plastic Baseball - Boxed                                                    1.30    0            0.00
241-8814   00300263306353    Wiffle Ball Softball-Boxed                                                                1.45    0            0.00
176-6358   00732204008031    Wikki Stix 8" 48/Pkg-Primary                                                              4.92    0            0.00
213-7537   00070896513755    Wilton Fancy Standard Baking Cups 24/Pkg-Petal Pink (w4151375)                            2.90    8           23.20
231-3591   00078693132704    Woods 13270 Yardmaster Outdoor 3-Outlet Right Angle Tap                                   2.17   20           43.40
231-3593   00078693075636    Woods 277563 8-Foot Outdoor Extension Cord with Power Block, White                        3.04   25           76.00
228-8106   00078693022418    Woods/Coleman Cable 16/3 White - 8' Slimline Extension Cord (2241)                        3.32   20           66.40
211-2791   00070659571237    Wrights Bondex Iron-On Patches 5"x7" 2/Pkg-Black (230 008-31)                             0.87    6            5.22
329-0051   00070659924750    Wrights Double Fold Quilt Binding .875"x3yd-Radiant Orchid                                2.17    0            0.00
202-0092   00070659539411    Wrights Medium Rickrack .5" X 2.5yd-Hot Pink                                              1.25    6            7.50
368-5653   05706831236759    Xyron 2"x2" Adhesive Eraser-                                                              1.74    0            0.00
241-7347   00630509257287    Yahtzee To G0                                                                             4.60  155          713.00
508-1209   00057355393073    Yarn Handicrafter Classc Nav (Solids)                                                     1.14    0            0.00
508-1217   00057355393165    Yarn Handicrafter Country Rd (Solids)                                                     1.14    0            0.00
508-1225   00057355402676    Yarn Handicrafter Emerald (Solids)                                                        1.14    0            0.00
508-1226   00057355413726    Yarn Handicrafter Teal (Solids)                                                           1.14    0            0.00
186-8562   00046941797883    Zig 2-Way Glue Pen Bulk-Squeeze & Roll (msb10m)                                           1.27    0            0.00
241-8825   00195166173191    Zipp Storm - My Little Pony: A New Generation Crystal Ponies                              0.80   54           43.20

                                                                                                                                      $39,264.47




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snapshot-date     sku           asin    product-name                                                                                    Avail    COST         Total
 10/26/2024     700-1504    B07S7ZDVH8 2-Pack Bundle - Deco Art Crafter's Acrylic All Purpose Paint - Flesh (dca-09) - 2-Ounces Each 20              0.20        4.00
 10/26/2024     700-1748    B010EY7LOO AURIFIL USA Aurifil 50wt Cotton Thread 6,452yd-Muslin, Muslin                                      1          0.26        0.26
 10/26/2024     700-1956    B001TD462U Berwick Offray BCE1226 Curl Keg Splendorette Ribbon, One Size, Crimped Black                       7          0.26        1.79
 10/26/2024     700-2032    B07YRZGVSM 2-Pack - Berwick-Offray - Silver Glitter - Splendorette Crimped Curling Ribbon - BCE12-82 - Bundle17 of 2 Mini0.26
                                                                                                                                                      Kegs - Each4.34
                                                                                                                                                                   is 66 ft p
 10/26/2024     700-3343   B004BPWQSY Tulip 41407 Dimensional Fabric Paint 4oz Slick Leaf Green                                          20          0.33        6.67
 10/26/2024     700-5490   B004AM83DU Forever Toys Large Wood Tower Game 48 Pieces                                                       19          0.38        7.30
 10/26/2024     700-0379   B01N94AMS1 2-PACK - Road Power 989 Anti-Corrosion Fiber Washers, 2-Pack, 6 and 12-Volt                        26          0.40       10.40
 10/26/2024     700-6762   B011Q0MWGC Red Heart Crochet Thread Yarn, 4 Spool Assortment-Blacks                                            7          0.43        3.00
 10/26/2024     700-1962    B004JPNM20 Berwick Offray BCE1219 Curl Keg Splendorette Ribbon, Crimped Citrus                               23          0.51       11.73
 10/26/2024     700-2028    B07YRZ2MLR 2-Pack - Berwick-Offray - Red Lacquer - Splendorette Crimped Curling Ribbon - BCE12-91 - Bundle   76 of 2 Mini0.51
                                                                                                                                                      Kegs - Each
                                                                                                                                                                38.76
                                                                                                                                                                  is 66 ft p
 10/26/2024     700-2035    B007L9N636 Berwick Offray BCE1201 Curl Keg Splendorette Ribbon, No Size, Crimped White                        1          0.51        0.51
 10/26/2024     700-2036    B07YRYGFQ1 2-Pack - Berwick-Offray - White - Splendorette Crimped Curling Ribbon - BCE12-01 - Bundle of 25Mini Kegs -0.51 Each is 66 2.55
                                                                                                                                                                 ft per Keg
 10/26/2024     700-6110     B001NI45I6 Coats Thread & Zippers Dual Duty XP General Purpose Thread, 250-Yard, Hero Red                    3          0.51        1.53
 10/26/2024     700-2772    B085BLDJDX Bernat Super Value Yarn - 7 oz - Lilac - 2 Skein Bundle - Total of 2 Skeins                       12          0.51        6.16
 10/26/2024     700-2779     B007L9ZFK8 Bernat Super Value Yarn, 7 oz, Gauge 4 Medium Worsted, Cherry Red                                 5          0.51        2.57
 10/26/2024     700-2914    B0001DTLYW DMC 117-413 Six Stranded Cotton Embroidery Floss, Dark Pewter Gray, 8.7-Yard                       2          0.51        1.03
 10/26/2024     700-2923    B002EJMJYK Dmc 6-Strand Embroidery Cotton 8.7yd-Very Dark Blue Green                                         20          0.51       10.26
 10/26/2024     700-2926   B000XZVOWU DMC 117-648 Six Stranded Cotton Embroidery Floss, Light Beaver Gray, 8.7-Yard                       5          0.51        2.57
 10/26/2024     700-2928   B002EKLM4W DMC 117-699 Six Stranded Cotton Embroidery Floss, Christmas Green, 8.7-Yard                        31          0.51       15.90
 10/26/2024     700-2938    B001E5U54G DMC 117-742 Six Strand Embroidery Cotton Floss, Light Tangerine, 8.7-Yard                          1          0.51        0.51
 10/26/2024     700-1672    B000XZVPAG DecoArt Crafter's Acrylic Paint, 2-Ounce, Cherry Blossom Pink                                      6          0.65        3.90
 10/26/2024     700-1676   B07SHN7QN4 2-Pack Bundle - Deco Art Crafter's Acrylic All Purpose Paint - Bright Red (dca-22) - 2-Ounces Each  4          0.65        2.60
 10/26/2024     700-1686     B07SLT6ZSZ 2-Pack Bundle - Deco Art Crafter's Acrylic All Purpose Paint - Daffodil Yellow (dca-53) - 2-Ounces4 Each     0.65        2.60
 10/26/2024     700-1692    B07SGMZPC7 2-Pack Bundle - Deco Art Crafter's Acrylic All Purpose Paint - Sun Yellow (dca-113) - 2-Ounces Each
                                                                                                                                         10          0.65        6.50
 10/26/2024     700-1695   B009PHAM8Y DecoArt Acrylic Paint, 2 Fl Oz (Pack of 1), HOL Green                                              34          0.65       22.10
 10/26/2024     700-3890     B0062JIAPA Pres-On Mounting Board, 9-Inch x 2-Inch                                                           3          0.65        1.95
 10/26/2024     700-2959    B07CNDK362 DMC 117-842 Embroidery Floss Very Light Beige Brown 1 Skein                                       14          0.66        9.23
 10/26/2024     700-1618   B0018N9DYM DecoArt Crafter's Acrylic Paint, 2-Ounce, Purple Passion                                            3          0.66        1.98
 10/26/2024     700-1667    B07SJMBXKZ 2-Pack Bundle - Deco Art Crafter's Acrylic All Purpose Paint - Bright Yellow (dca-49) - 2-Ounces Each
                                                                                                                                          7          0.66        4.62
 10/26/2024     700-1684   B07SMWJ5R2 2-Pack Bundle - Deco Art Crafter's Acrylic All Purpose Paint - Truly Blue (dca-79) - 2-Ounces Each2            0.66        1.32
 10/26/2024     700-1687   B001R4YU2M DecoArt DCA37-3 Crafter's Acrylic Paint, 2-Ounce, Christmas Green                                   9          0.66        5.94
 10/26/2024     700-3597   B0014VM3NG Small Pail & Shovel Set                                                                             6          0.66        3.96
 10/26/2024     700-3657    B001GJJHWQ Coats Thread & Zippers Dual Duty XP General Purpose Thread, 250-Yard, Treasure Blue                1          0.66        0.66
 10/26/2024     700-5470    B0768R1ZFR American Crafts 377347 Craft Supplies, Multi                                                       1          0.66        0.66

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10/26/2024   700-1608   B06WWRTFYD Bulk Buy: Red Heart Soft Yarn (2-pack) (Tangerine)                                              12          0.66       7.94
10/26/2024   700-6099    B0058V9KMK Alumilite Amazing Casting Resin, 16-Ounce(8 Ounce each)                                         5          0.70       3.49
10/26/2024   700-1459    B07SHB38QB 2-Pack Bundle - Deco Art Crafter's Acrylic All Purpose Paint - White (dca-01) - 2-Ounces Each 14           0.71       9.94
10/26/2024   700-3348   B00114M5AM Tulip 41413 Dimensional Fabric Paint 4oz Slick Royal Blue                                        7          0.71       4.97
10/26/2024   700-3385    B08CY3Z2FC 2-Pack - Berwick Splendorette Crimped Curling Ribbon, 3/16-Inch Wide by 500-Yard Spools, Black  1 Lacquer 0.71        0.71
10/26/2024   700-7401   B0049NDWXG Clubhouse Crafts Wood Pony Beads 90/Pkg-                                                         8          0.74       5.95
10/26/2024   700-3527    B010EYSZVM 2-Pack - Aurifil 50WT - Dark Grey (1246) Solid - Mako Cotton Thread - 1422 Yards Each           1          0.86       0.86
10/26/2024   700-5211    B005IQGZBO Pony Beads 6mmX9mm 415/Pkg, Warm Sparkle Multicolor                                             7          0.95       6.62
10/26/2024   700-5018    B002SL3TGQ Royal Brush Color Pencil by Number Kit 8.75"X11.75"-Dinosaur Fun, Multicolor                    3          0.95       2.84
10/26/2024   700-7374    B07QZ9CRFC Patons Classic Wool Yarn, Softened Pansy                                                        1          1.00       1.00
10/26/2024   700-4694   B08C1YQ7M3 Perler Star Wars Boba Fett Introductory Fused Bead Craft Activity Kit, Finished Project Sizes Vary,
                                                                                                                                    5 Multicolor
                                                                                                                                               1.05
                                                                                                                                                 227 Pieces
                                                                                                                                                          5.23
10/26/2024   700-3086     B005P1X0II Creative Paperclay 8 Ounces White (2-Pack)                                                    17          1.09      18.53
10/26/2024   700-5778    B083241MCR Hasbro - Marvel Avengers 3.75 Inch Action Figure - Thor                                         9          1.10       9.90
10/26/2024   700-5875    B0B4F54S7T Play-Doh Scoopable Sand - 6oz Can Plus Mini Shovel (Teal)                                      19          1.10      20.90
10/26/2024   700-3163   B000C37NDW DMC 1765-5/10 Embroidery Hand Needles, 16-Pack, Size 5/10,Silver                                 1          1.12       1.12
10/26/2024   700-5421   B004ALQMFM Dritz 16-65 Snap Fasteners, Nickel, Size 16 (7/16-Inch) 7-Count                                 16          1.14      18.24
10/26/2024   700-7410    B0040Y5N6S Best Creation Glitter Tape, 15mm by 5m, White                                                   2          1.14       2.28
10/26/2024   700-3230   B000HWY6EM Mod Podge Matte Sealer, Glue & Finish: All-in-One Craft Solution- Quick Dry, Easy Clean, for Wood,
                                                                                                                                    6 Paper, 1.19
                                                                                                                                               Fabric & More.
                                                                                                                                                          7.16Non-
10/26/2024   700-3302    B004BQ01CQ TULIP Dimensional Fabric Paint 41401 Dfpt 4Oz Slick Black, 4 Fl Oz (Pack of 1), Packaging may vary
                                                                                                                                    9          1.19      10.74
10/26/2024   700-2084     B0033PEJB0 Coats & Clark Dual Duty XP Heavy Thread 125 Yards Green Linen S950-6180 (3-Pack)3              6          1.20       7.17
10/26/2024   700-2492    B00YZOF67O Bernat Softee Chunky 3-Pack Yarn - (6) Gauge 100% Acrylic - 2.8 oz - Taupe Grey - Machine Wash  3 & Dry 1.21          3.63
10/26/2024   700-0788   B001S1ZQWW Berwick Splendorette Crimped Curling Ribbon, 3/16-Inch Wide by 500-Yard Spool, Black            22          1.24      27.28
10/26/2024   700-0830    B000R4PW16 Berwick 242077 1 22 Splendorette Crimped Curling Ribbon, 3/16-Inch Wide by 500-Yard Spool,22    Emerald 1.24         27.28
10/26/2024   700-0831   B000R4MU3Y Berwick 250336 1 11 Splendorette Crimped Curling Ribbon, 3/16-Inch Wide by 500-Yard Spool,1Tropical Orange  1.24       1.24
10/26/2024   700-3412     B08DL6BJFB Coats Dual Duty Plus Button and Carpet Thread 50 Yards - Chona Brown (s920-8960)50            12          1.24      14.88
10/26/2024   700-7526    B07YP7TKQ1 EK Success Characters Stickers, Multi                                                           4          1.24       4.96
10/26/2024   700-5358    B000VKLX3W Décopatch - Ref AP583O - Small Cat - Papier Maché Object to Decorate - 11 x 3.5 x 12cm - Decorate
                                                                                                                                    1   with Décopatch
                                                                                                                                               1.26      Papers
                                                                                                                                                          1.26 & P
10/26/2024   700-5405    B000A86FFQ Dritz BL100HWT Iron-on Letters, Soft Flock, Block, 1-Inch, White (1-Sheet)                      1          1.26       1.26
10/26/2024   700-5876    B0B4F65QQ5 Play-Doh Scoopable Sand - 6oz Can Plus Mini Shovel (Lime Green)                                 9          1.26      11.37
10/26/2024   700-7405   B01LW6W4M8 Avery Elle SS-5002 Embossing Tools, 1 Pack, White                                                1          1.26       1.26
10/26/2024   700-2375    B082BGH713 2-Pack Bundle Coats & Clark Dual Duty Plus Hand Quilting Thread 325yds Pink s960-1210           8          1.29      10.32
10/26/2024   700-1405   B000R4KMAC Berwick 1 20 Splendorette Crimped Curling Ribbon, 3/16-Inch Wide by 500-Yard Spool, Silver 9                1.30      11.70
10/26/2024   700-1675   B00DD395W0 DecoArt Acrylic Paint, 1 Count (Pack of 1), Bright Red, 2 Fl Oz                                  8          1.30      10.40
10/26/2024   700-1679    B007XD41GG DecoArt Acrylic Paint, 2 Fl Oz (Pack of 1), Burnt Umber                                         2          1.30       2.60
10/26/2024   700-1680    B07SHN9BY4 2-Pack Bundle - Deco Art Crafter's Acrylic All Purpose Paint - Burnt Umber (dca-16) - 2-Ounces Each
                                                                                                                                    1          1.30       1.30

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10/26/2024   700-1666    B0018N91CG DecoArt DCA49-3 Crafter's Acrylic Paint, 2-Ounce, Bright Yellow                              16          1.32      21.12
10/26/2024   700-1685    B0018N7LYQ DecoArt Crafter's Acrylic Paint, 2-Ounce, Daffodil Yellow                                     7          1.32       9.24
10/26/2024   700-1691   B007WUNYR2 DecoArt Crafter's Acrylic Paint, 2-Ounce, Sun Yellow                                           6          1.32       7.92
10/26/2024   700-1463    B004BP5S34 jbr1065 Dual Duty Plus Button Thread 50yds - Red                                              6          1.32       7.94
10/26/2024   700-1498   B07MT1T2MW Darice Hand Form Display 3.5 X 5 X 7 Inches Black Polyresin (2 Pack)                           1          1.32       1.32
10/26/2024   700-2291    B0821VZXJ3 Coats 2-Pack Bundle - Dual Duty XP General Purpose Thread 250yds Each - Dark Jade (S910-5870) 5          1.35       6.77
10/26/2024   700-2408   B011Q0NW7K Red Heart Crochet Thread Yarn, 4 Spool Assortment-Basics                                       1          1.35       1.35
10/26/2024   700-2409   B011Q0OQWA Red Heart Crochet Thread Yarn, 4 Spool Assorment-Neutrals                                      5          1.35       6.77
10/26/2024   700-2440    B001ELD20O Coats Thread & Zippers Dual Duty XP 250yds 3/Box, Dark Silver Notion                          4          1.35       5.42
10/26/2024   700-2459     B001EL9A2I Coats Thread & Zippers S910-0150 Dual Duty XP General Purpose Thread, 250-Yard, Winter White 8          1.35      10.83
10/26/2024   700-3530    B0762SQ3ZP Berwick 1 610 Offray Splendorette Crimped Curling Ribbon, 3/16" W X 500 yd, Pastel Yellow 13             1.35      17.60
10/26/2024   700-6094    B0017TMGHI SHARPIE Magnum Permanent Markers, Chisel Tip, Black, (Pack of 1)                             19          1.35      25.73
10/26/2024   700-5432   B003W0ORRC Dritz Iron, 3 x 8-Inch, 3 Count, Primary Colors Mending Tape                                   3          1.36       4.08
10/26/2024   700-5349    B0013AKA9C Ranger PPP-17745 Perfect Pearls Pigment Powder, Bronze, 1 oz                                 21          1.37      28.67
10/26/2024   700-7398    B000Y00678 Pepperell, 3/32", White Rexlace Plastic Craft Lace                                           10          1.37      13.72
10/26/2024   700-5055   B0049NDWXG Clubhouse Crafts Wood Pony Beads 90/Pkg-                                                       9          1.42      12.74
10/26/2024   700-7474    B00T6R994Q Delta Creative Delta Ceramcoat Acrylic Paint, 2 oz, Parsley,2000-2716                         9          1.45      13.05
10/26/2024   700-5420    B004BPG03G Dritz 14-24 Cover Button Kit with Tools, Size 24 (5/8-Inch), 6-Piece, Nickel                 93          1.49     138.76
10/26/2024   700-7316    B07HCV6PGP Perler Beads Girl's Crafts 'Unicorn' Fuse Bead Pattern Kit, 3500pc                           10          1.50      14.95
10/26/2024   700-5075    B010PUC2E6 WIKKI STIX Arts & Crafts for Kids Primary Park of 48 Reusable Waxed Yarn Strands; Perfect Teaching
                                                                                                                                  2    Tool and
                                                                                                                                             1.52
                                                                                                                                                Fidget Toy;
                                                                                                                                                        3.03Made
10/26/2024   700-7524    B00VN0NYY0 Heidi Swapp 370616 Accessory Mink-Toner Seat-Four Sizes (6 Piece)                             2          1.60       3.19
10/26/2024   700-5416   B001B2W4N2 Delta Creative Ceramcoat Acrylic Paint in Assorted Colors (2 oz), 2530, Caribbean Blue         6          1.62       9.74
10/26/2024   700-7487   B003WMHF2E Dritz 56T1822 Tapestry Hand Needles, Size 18/22 (6-Count), Nickel                              4          1.63       6.50
10/26/2024   700-5438   B00A2GFMTQ Dritz 56B-39 Quilting Betweens Hand Needles, Size 3/9 (20-Count)                               7          1.63      11.39
10/26/2024   700-5027    B000YQK4FG ACTIVA Scenic Sand, 1-Pound, Forest Green                                                     4          1.65       6.58
10/26/2024   700-7329    B08B722497 Perler 80-11149 The Mandalorian Baby Yoda Star Wars Fuse Bead Kit, 3503pcs, 3500 Pieces 1                1.65       1.65
10/26/2024   700-4142    B003ZDZR9S Royal & Langnickel Mini Tin Charcoal and Pastel Drawing Set                                   4          1.68       6.72
10/26/2024   700-4143    B003ZDZVEY Royal & Langnickel Mini Tin Color Stick Drawing Set                                           1          1.68       1.68
10/26/2024   700-4144    B005D0L9F2 ROYAL BRUSH Magenta 120ml Essentials Acrylic                                                  8          1.68      13.44
10/26/2024   700-4148    B004DTR8QS Royal & Langnickel Essentials Acrylic Tube Paint, 120ml, Mars Black                           8          1.68      13.44
10/26/2024   700-4151    B0037YBFJQ ROYAL BRUSH Cadmium Green 120ml Essentials Acrylic                                           10          1.68      16.80
10/26/2024   700-4156   B005D03HMU Royal & Langnickel Essentials Acrylic Tube Paint, 120ml, Gold                                  2          1.68       3.36
10/26/2024   700-4158   B0092QDTWO Royal & Langnickel Essentials Acrylic Tube Paint, 120ml, Cadmium Orange                        4          1.68       6.72
10/26/2024   700-4166    B005CZUPVC Royal & Langnickel Essentials Acrylic Tube Paint, 120ml, Aqua                                 1          1.68       1.68
10/26/2024   700-4170    B00373JTVS Royal & Langnickel Essentials Acrylic Tube Paint, 120ml, Raw Sienna                           5          1.68       8.40

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10/26/2024   700-4172    B0092QE0RC Royal & Langnickel Essentials Acrylic Tube Paint, 120ml, Primary Cyan                        4           1.68         6.72
10/26/2024   700-7001   B07V3GM5VR Perler PBB80-19-204 Salmon Perler Bead Bag, Pack of 1000                                      6           1.68        10.08
10/26/2024   700-7004    B07V2BQTK6 Perler PBB80-19-207 Charcoal Perler Bead Bag, Pack of 1000                                   87          1.68      146.16
10/26/2024   700-7013    B009PLMX6Y Royal & Langnickel Artist Tube Paint, 75ml, 6-Pack                                           1           1.68         1.68
10/26/2024   700-7020     B0062JIAPA Pres-On Mounting Board, 9-Inch x 2-Inch                                                     28          1.68        47.04
10/26/2024   700-0611    B07563327H 1/3 Pack - Darice Mesh Plastic Canvas - Clear (Total of 4 sheets)                            11          1.70        18.70
10/26/2024   700-5353    B00KOCAJGE Paper Doilies 10.5" Round 16/Pkg"-White6                                                     12          1.73        20.71
10/26/2024   700-0479    B06XZG78FG Bondex Iron-On Mending Fabric 6-1/2"X14"-Black                                               1           1.73         1.73
10/26/2024   700-5201    B001K53KQA Coats Thread & Zippers F4314-256 Sport Separating Zipper, 14", Natural                       13          1.75        22.69
10/26/2024   700-4400   B00DH0QM7K Shaggy Latch Hook Kit 12 Inch X 12 Inch -Flower Power                                         1           1.75         1.75
10/26/2024   700-5448   B00539YCWU Dritz, Cord Stops for Drawstrings on Garment and Bags, White, 2                               1           1.78         1.78
10/26/2024   700-3826   B008DI0Q3W Royal Brush Artist Acrylic Paint Set, 2.53 Ounces, Assorted Color, Set of 12                  1           1.80         1.80
10/26/2024   700-3931   B0765W7F2H DohVinci 6-Pack Drawing Compound - Pastel                                                     27          1.80        48.60
10/26/2024   700-4038   B0044OFU7Q Lily Sugarn Cream Yarn Bulk Buyolids Super Size (6-Pack) Rose Pink 102018-180466              17          1.80        30.60
10/26/2024   700-5015    B002SL3QJQ Royal and Langnickel Colour by Number Pencil, Jaguar by Pool                                 1           1.80         1.80
10/26/2024   700-5770   B09Z75HX4M Hasbro - Star Wars 6-inch-Scale Action Figure - Grogu                                         29          1.88        54.52
10/26/2024   700-5773    B09Z7469B7 Hasbro - Star Wars 6-inch-Scale Action Figure - Bo Katan                                     11          1.88        20.68
10/26/2024   700-5409    B00AQGJFE0 Learn-A-Craft Cupcake Counted Cross Stitch Kit-3" Round 11 Count                             2           1.89         3.78
10/26/2024   700-4665    B0887GLVXX Perler 80-16090 Solid-Top Cap Fuse Beads, 750pcs, Magenta Purple                             7           1.90        13.32
10/26/2024   700-1184    B00172Z460 Aunt Lydia Coats Crochet Crochet, Cotton Classic Size 10, White                              4           1.92         7.68
10/26/2024   700-3661     B001B9I2E0 DecoArt Crafter's Acrylic Paint, 2-Ounce, Grasshopper Green                                 2           1.96         3.91
10/26/2024   700-3664    B001B9G0Q2 DecoArt DCA120-3 Crafter's Acrylic Paint, 2-Ounce, Tutti Fruitti                             13          1.96        25.43
10/26/2024   700-3776   B07V2BQ8D5 Perler PBB80-19-200 Cobalt Perler Bead Bag, Pack of 1000                                      20          1.96        39.12
10/26/2024   700-6822    B015TKG6OY Spinrite Yarn, 1-Pack, Burgundy                                                              3           1.96         5.87
10/26/2024   700-6928    B000JONZ9U Scribbles 1oz 3D Fabric Paint, Shiny Black                                                   12          1.96        23.47
10/26/2024   700-6930   B0018NCOWK Aleene's Original Tacky Glue Mini Tacky .66 fl. oz. (24355)                                   1           1.96         1.96
10/26/2024   700-6232    B07YK1CYGF 2-Pack - Berwick-Offray - Beauty - Splendorette Crimped Curling Ribbon - BCE12-41 - Bundle of10
                                                                                                                                  2 Mini Kegs2.00
                                                                                                                                              - Each is 66
                                                                                                                                                         20.00
                                                                                                                                                           ft per Ke
10/26/2024   700-6254    B0825F8DL1 Coats 2-Pack Bundle - Dual Duty XP General Purpose Thread 250yds Each - Orange (S910-7640)30             2.00        60.00
10/26/2024   700-6288    B09BFHPQJ2 My Little Pony - Mane 5 - Best Movie Friends (Pipp Petals)                                   18          2.00        36.00
10/26/2024   700-6289    B09BFHPQJ2 My Little Pony - Mane 5 - Best Movie Friends (Pipp Petals)                                   4           2.00         8.00
10/26/2024   700-6290    B09BFHPQJ2 My Little Pony - Mane 5 - Best Movie Friends (Pipp Petals)                                   6           2.00        12.00
10/26/2024   700-3827    B009PLMX6Y Royal & Langnickel Artist Tube Paint, 75ml, 6-Pack                                           4           2.02         8.08
10/26/2024   700-7000   B07V2BQ8D5 Perler PBB80-19-200 Cobalt Perler Bead Bag, Pack of 1000                                      7           2.02        14.13
10/26/2024   700-2085    B00114LZX0 HeatnBond UltraHold Iron-On Adhesive, 3/8 Inch x 10 Yards                                    38          2.06        78.20
10/26/2024   700-7466   B004KYVMHW Dritz Class 66 Reusable, 4 Count, Clear Plastic Bobbins                                       2           2.07         4.13

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10/26/2024   700-4737   B000GZGE3Q    Melissa & Doug Deluxe Chomp and Clack Alligator Push Toy and Activity Walker - Wooden Baby1Push Walker 2.11For Ages2.11
                                                                                                                                                         1+
10/26/2024   700-4748    B007P573IK   Cousin 34734135 Fun Packs 250-Piece Black Pony Beads                                         6         2.11       12.65
10/26/2024   700-5364    B000YQIADY   Panacea Candle Cups 1" 2/Pkg, Green                                                          3         2.22        6.67
10/26/2024   700-3229   B000HWY6EW    MOD PODGE Matte Sealer, Glue & Finish: All-in-One Craft Solution- Quick Dry, Easy Clean, for Wood,
                                                                                                                                   17    Paper,
                                                                                                                                             2.25
                                                                                                                                                Fabric &38.25
                                                                                                                                                        More. No
10/26/2024   700-3322    B004BQ40P0   Scribbles 14699 Dimensional Fabric Paint, Sunny Yellow                                       6         2.25       13.50
10/26/2024   700-3336   B003W0GFOU    TULIP Puff Paint Metallic Silver 4 Fl Oz (Pack of 1)                                         4         2.25        9.00
10/26/2024   700-3318    B004BPUFIW   Scribbles 13903 3D Fabric Paint Shiny                                                        2         2.25        4.51
10/26/2024   700-3891    B0033P55KO   Pres-On Pres On Mounting Board 5 inch x 7 inch B5 (3-Pack)                                   84        2.26      189.84
10/26/2024   700-5255    B00PL28YM8   Brass Plated Safety Pins. Assorted Size. Pack of 175 Pcs                                     1         2.27        2.27
10/26/2024   700-5345   B003W0BN38    Jolee's Boutique Dimensional Sticker - Tools                                                 3         2.27        6.81
10/26/2024   700-5451    B000FKNNBS   FolkArt Medium (2-Ounce), 694 Crackle, White                                                 15        2.27       34.08
10/26/2024   700-5016    B001CU09F8   Royal and Langnickel Colour by Number Pencil, Jungle Animals                                 2         2.34        4.67
10/26/2024   700-5254    B07GLF4J7Z   Buttons Galore Sparkletz Embellishment Pack 10g-Crystal Stars                                2         2.40        4.79
10/26/2024   700-7508    B08X52RDBX   Ranger Tim Holtz Mini Ink Blend Foam, White                                                  1         2.44        2.44
10/26/2024   700-0727   B079RM2QTF    Splendorette Crimped Curling Ribbon .1875"X500yd-Silver                                      4         2.48        9.92
10/26/2024   700-0728    B079RLHKVR   Splendorette Crimped Curling Ribbon .1875"X500yd-Purple                                      5         2.48       12.40
10/26/2024   700-0757    B07B4JZ3SY   2-Pack - Berwick Splendorette Crimped Curling Ribbon, 3/16-Inch Wide by 500-Yard Spools, Emerald
                                                                                                                                   8         2.48       19.84
10/26/2024   700-0762   B07B6GWHBH    Splendorette Crimped Curling Ribbon .1875"X500yd-Tropical Orange                             12        2.48       29.76
10/26/2024   700-0814   B07CN5CN78    2-Pack - Berwick Splendorette Crimped Curling Ribbon, 3/16-Inch Wide by 500-Yard Spool, Orchid
                                                                                                                                   3         2.48        7.44
10/26/2024   700-0996    B07G6FJ4PT   2-Pack - Berwick Splendorette Crimped Curling Ribbon, 3/16-Inch Wide by 500-Yard Spools, Orange
                                                                                                                                   5         2.48       12.40
10/26/2024   700-3185    B000XZVP0Q   DecoArt Americana Acrylic Paint, 2-Ounce, Lamp Black (DAO67-3)                               26        2.48       64.48
10/26/2024   700-5165    B00794I76Y   Wilton Baking Cups - Pastel - Mini100                                                        3         2.50        7.49
10/26/2024   700-4487    B007F10BNS   Perler Bead Mix 2,000/Pkg-Multicolor                                                         2         2.50        5.00
10/26/2024   700-4649    B0887J4Z78   Perler 80-16106 Solid-Top Cap Fuse Beads, 750pcs, Brown                                      9         2.50       22.50
10/26/2024   700-2379    B082BJVGK6   2-Pack Bundle Coats & Clark Dual Duty Plus Hand Quilting Thread 325yds White s960-0100       8         2.58       20.64
10/26/2024   700-7527   B08C6NDQT9    EK SUCCESS/AMERICAN CRAFTS PAW Patrol Nickelodeon FLT STKR                                   2         2.58        5.16
10/26/2024   700-1088   B07GM4NY38    Dual Duty Xp General Purpose Thread 250yd-Light Slate                                        5         2.71       13.54
10/26/2024   700-1095   B07GM74D2Q    Dual Duty Xp General Purpose Thread 250yd-Stone                                              3         2.71        8.12
10/26/2024   700-2209    B081TLD61Y   Berwick-Offray 2-Pack Bundle - Double Faced Satin Ribbon - 1.5 Inch x 10 Yds Each - Grappa 1           2.71        2.71
10/26/2024   700-2283   B0821R9MWZ    Coats 2-Pack Bundle - Dual Duty XP General Purpose Thread 250yds Each - Emerald (S910-6530)2           2.71        5.42
10/26/2024   700-2284    B0821SZD1P   Coats 2-Pack Bundle - Dual Duty XP General Purpose Thread 250yds Each - Dark Forrest (S910-6780)
                                                                                                                                   8         2.71       21.66
10/26/2024   700-2294    B001N733U8   Coats Thread & Zippers Dual Duty XP General Purpose Thread, 250-Yard, Mushroom               1         2.71        2.71
10/26/2024   700-2299    B0821XXFGB   Coats 2-Pack Bundle - Dual Duty XP General Purpose Thread 250yds Each - Pale Yellow (S910-7100)
                                                                                                                                   15        2.71       40.62
10/26/2024   700-6220   B003MZT5D8    Crafter's Acrylic All Purpose Paint 2 Ounces-Orange Neon                                     13        2.71       35.20
10/26/2024   700-4404    B00G48T5XK   Wonderart Butterfly Latch Hook Kit, 12" X 12"                                                3         2.76        8.28

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10/26/2024   700-5776    B08323GVNY Hasbro - Marvel Avengers 3.75 Inch Action Figure - Iron Man                                     1         2.80     2.80
10/26/2024   700-7542    B001CMX4SA Berwick 1 77 1 77 Splendorette Crimped Curling Ribbon, 3/16-Inch Wide by 500-Yard Spool, Baby  13 Blue    2.88    37.38
10/26/2024   700-7624    B079M11Y9J Coats Extra Strong Upholstery Thread 150yd Black & White Bundle                                 8         2.88    23.00
10/26/2024   700-4489   B000MWQG3Q Perler Fuse Activity Bucket for Arts and Crafts, 8500 Beads, One Size, Multicolor                3         2.88     8.65
10/26/2024   700-4652    B0887TXV67 Perler 80-16103 Solid-Top Cap Fuse Beads, 750pcs, Plum Purple                                   9         2.88    25.94
10/26/2024   700-4660   B0887CKMM2 Perler 80-16095 Solid-Top Cap Fuse Beads, 750pcs, Yellow                                         2         2.88     5.76
10/26/2024   700-5365    B00T6R994Q Delta Creative Delta Ceramcoat Acrylic Paint, 2 oz, Parsley,2000-2716                           6         2.88    17.30
10/26/2024   700-4471    B08L6R6NQY Perler Everyday Heroes Fuse Beads, Multi                                                        2         2.91     5.82
10/26/2024   700-5997    B001B2LB2W Delta Creative Ceramcoat Acrylic Paint in Assorted Colors (2 oz), 2068, Christmas Green         6         2.92    17.52
10/26/2024   700-7122    B004DTWFNE Royal & Langnickel Essentials Acrylic Tube Paint, 120ml, Cadmium Red                            9         2.94    26.45
10/26/2024   700-0715    B079K7TYNY 3-PACK - Coats & Clark - Dual Duty XP Heavy Weight Thread - 3 Color Bundle - (Green Linen + Dark1 Khaki + Forest
                                                                                                                                              2.97 Green)
                                                                                                                                                       2.97
                                                                                                                                                          125yd
10/26/2024   700-2048    B002NQ5P36 Canson XL Series Mixed Media Pad, Side Wire, 11x14 inches, 60 Sheets – Heavyweight Art Paper1 for Watercolor,
                                                                                                                                              2.97 Gouache,
                                                                                                                                                       2.97 Mar
10/26/2024   700-2082    B0033PCUGG Coats+%26+Clark+Dual+Duty+XP+Heavy+Thread+125+Yards+Chona+Brown+S950-8960+(3-Pack)3             4         2.97    11.87
10/26/2024   700-2088    B078YC1HCX Thermoweb 3723 (2)                                                                              6         2.97    17.80
10/26/2024   700-2098    B07XB8VVBC Royal Brush Taklon Hair Classroom Value Pack, Assorted Size, Pack of XX-XXXXXXX (Тhrее Расk)2             2.97     5.93
10/26/2024   700-5882    B08V8RX7BL Play-Doh Fruit Shapes (Play-Doh Night Sky Shapes)                                              22         2.97    65.34
10/26/2024   700-5462   B003WMIQ4K Assorted 60/Pkg - Hand Needles                                                                   6         3.10    18.60
10/26/2024   700-7528    B08B4Y491V EK SUCCESS/AMERICAN CRAFTS Disney LG Flat STCKR BDG, Mickey Head Badges                         4         3.10    12.40
10/26/2024   700-7450    B0074VVIHM Staedtler FIMO Effects Polymer Clay - -Oven Bake Clay for Jewelry, Sculpting, Ice Blue Quartz 8020-306
                                                                                                                                    1         3.11     3.11
10/26/2024   700-2666    B085DBP4W8 Bernat Super Value Yarn - 7 oz - Royal - 2 Skein Bundle - Total of 2 Skeins                     4         3.13    12.53
10/26/2024   700-2669    B085DCY27X Bernat Super Value Yarn - 7 oz - Carrot - 2 Skein Bundle - Total of 2 Skeins                    2         3.13     6.27
10/26/2024   700-2709    B083BFZT6M Woods 990824 12/3 Outdoor Multi-Outlet Extension Cord, 2-Foot, Orange (3 Pack)                  1         3.13     3.13
10/26/2024   700-5828    B08V8S13V1 Play-Doh Fruit Shapes (Play-Doh Sweet Shapes)                                                  24         3.15    75.60
10/26/2024   700-5841   B0033PEMM6 Dritz Jean A Ma Jig 915 (3-Pack)                                                                 1         3.15     3.15
10/26/2024   700-5872    B0B4F42WP2 Play-Doh Scoopable Sand - 6oz Can Plus Mini Shovel (Magenta)                                   28         3.15    88.20
10/26/2024   700-5873     B0B4F6RJJH Play-Doh Scoopable Sand - 6oz Can Plus Mini Shovel (Purple)                                   28         3.15    88.20
10/26/2024   700-5874    B0B4F3TLDH Play-Doh Scoopable Sand - 6oz Can Plus Mini Shovel (Pink)                                      32         3.15   100.80
10/26/2024   700-2319    B0825GSLDM Coats 2-Pack Bundle - Dual Duty XP General Purpose Thread 250yds Each - Monaco Blue (S910-4270)10         3.22    32.22
10/26/2024   700-2330    B08288P29Q [2-Pack] Coats & Clark Dual Duty Plus Hand Quilting Thread 325yds River Blue s960-5450          5         3.22    16.11
10/26/2024   700-2344    B0829F1D6S Coats & Clark - 2-Pack Bundle - Dual Duty Plus Hand Quilting Thread 325 Yards Bronze Green s960-6360
                                                                                                                                    5         3.22    16.11
10/26/2024   700-2357    B0829H5W42 2-Pack Bundle Coats & Clark Dual Duty Plus Hand Quilting Thread 325yds Ecru s960-8030          15         3.22    48.33
10/26/2024   700-2360     B0829JJYR4 2-Pack Bundle Coats & Clark Dual Duty Plus Hand Quilting Thread 325yds Field Green s960-66705            3.22    16.11
10/26/2024   700-5543    B07DBD2BNP Wilton Candy melts, Dark cocoa, 12 Oz                                                           1         3.25     3.25
10/26/2024   700-0526     B00EUIYUBI Singer food, 3 Pack                                                                           38         3.29   125.17
10/26/2024   700-5350    B001681VF8 Ranger PPP-17875 Perfect Pearls Pigment Powder, Forever Red, 1 oz                               7         3.30    23.10

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10/26/2024   700-0564 B073Q917RJ Metallic Curling Ribbon .187"X100yd Spool-Gold                                               1        3.31      3.31
10/26/2024   700-3216 B000XZTKB2 DecoArt Acrylic Paint, 2 Fl Oz (Pack of 1), Lemon Yellow                                    18        3.47     62.46
10/26/2024   700-5694 B06XP6KW6S Sticko Sticker Alpha-Futura-Extra Large-Pattern-Cool 52-90200, Other                         3        3.50     10.50
10/26/2024   700-5707 B07X3L9FC5 NERF Alpha Strike Stinger SD-1 Targeting Set                                                22        3.50     77.00
10/26/2024   700-5752 B095RJB18J Star Wars The Mandalorian 5.5-Inch Scale Action Figure 2021 Value Series                     8        3.50     28.00
10/26/2024   700-5523 B0018N4K54 DecoArt Acrylic Paint, 2 Fl Oz (Pack of 1), Bright Purple                                    6        3.51     21.08
10/26/2024   700-6763 B011Q0NW7K Red Heart Crochet Thread Yarn, 4 Spool Assortment-Basics                                     9        3.58     32.20
10/26/2024   700-2107 B07QW96V3F Big Kids Choice Chubby Arts & Crafts Brush Set-5/Pkg                                         3        3.74     11.23
10/26/2024   700-0155 B01E6BG1XI Braided Elastic 3/8"X6yd-Black pack of 2                                                     6        3.78     22.66
10/26/2024   700-1183 B07GJZ5GH3 Aunt Lydia'S Classic Crochet Thread Size 10-Wasabi                                           2        3.84      7.68
10/26/2024   700-3828 B003ZIW7UK Royal & Langnickel Mini Tin Drawing Art Set                                                  4        3.85     15.40
10/26/2024   700-1303 B07MD91RMW Deco Art Empty Squeeze Writer Bottles 6/Pkg-2 Ounces (.6-Pack (Writer Bottles))              4        3.95     15.81
10/26/2024   700-0717 B079K64VV6 4-Pack - Coats & Clark - Dual Duty XP Heavy Weight Thread - 4 Color Bundle - (Chona Brown + Dogwood
                                                                                                                              6      + Spice
                                                                                                                                       3.96 + Temple
                                                                                                                                                23.74Gold)
10/26/2024   700-5527 B08VW1ZSMT Dritz Pre-Cut Braided Elastic 1/4"X3yd-White                                                22        4.20     92.31
10/26/2024   700-2461 B001N71ESQ Coats Thread & Zippers Dual Duty XP General Purpose Thread, 250-Yard, Celestial Black        9        4.67     42.03
10/26/2024   700-7279 B08L6R6NQY Perler Everyday Heroes Fuse Beads, Multi                                                    11        4.72     51.88
10/26/2024   700-2384 B001EL5U0E COATS & CLARK Inc S964-8960 Extra Strong Upholstery Thread, 150-Yard, Chona Brown            1        4.83      4.83
10/26/2024   700-2387 B082DPPTZG 2-Pack Bundle COATS & Clark S964-6180 Extra Strong Upholstery Thread, 150-Yard, Green Linen5          4.83     24.17
10/26/2024   700-2407 B011Q0MWGC Red Heart Crochet Thread Yarn, 4 Spool Assortment-Blacks                                    33        4.83    159.52
10/26/2024   700-6292 B09BFHPQJ2 My Little Pony - Mane 5 - Best Movie Friends (Pipp Petals)                                   6        4.83     29.00
10/26/2024   700-6498 B002NQ2K16 Canson XL Series Mixed Media Pad, Side Wire, 9x12 inches, 60 Sheets – Heavyweight Art Paper4for Watercolor,
                                                                                                                                       4.83 Gouache,
                                                                                                                                                19.34Mark
10/26/2024   700-2099 B0033PCU02 Coats & Clark Dual Duty XP Heavy Thread 125 Yards White S950-0100 (3-Pack)3                 11        4.87     53.55
10/26/2024   700-5052 B004KF42AA Sticko ST Patricks Day 52-00609, Other                                                       9        4.92     44.25
10/26/2024   700-7208 B07G6LL5KW Bernat Handicrafter Cotton Yarn, Gauge 4 Medium Worsted, Hippi                               8        4.92     39.39
10/26/2024   700-1291 B07KVSRMDB Advanced Charcoal Art Set W/Tin-                                                             3        5.10     15.30
10/26/2024   700-2539 B08381RFFW Berwick - Offray - Double Faced Satin Ribbon #5-7/8 Inch x 20 Yards Each - Living Coral      1        5.10      5.10
10/26/2024   700-0553 B0737NHBNQ American Crafts Page Protectors Top-Loading 6"X6" 10/Pkg-(1) 6"X6" Pocket                    1        5.30      5.30
10/26/2024   700-0961 B07FZSPDXZ Splendorette Crimped Curling Ribbon .1875"X500yd-Citrus                                      5        5.60     28.00
10/26/2024   700-5817 B099ZZCFWV Play-Doh Color ME Happy                                                                      2        5.66     11.33
10/26/2024   700-0408 B01JZYPN9E Little Foot That Purple Thang- (3)                                                           1        5.69      5.69
10/26/2024   700-0969 B07H2NS8L6 Big Kids Angular Arts & Crafts Brush Set-5/Pkg                                              18        5.70    102.60
10/26/2024   700-7213 B07G6N18PQ Bernat Handicrafter Cotton Yarn, Gauge 4 Medium Worsted, Beach Ball                          9        5.83     52.43
10/26/2024   700-7254 B00G48T8XC Wonderart Patriot Latch Hook Kit, 12" X 12"                                                  6        5.83     34.95
10/26/2024   700-2460 B001IBNC2S Dual Duty XP General Purpose Thread 250 Yards-Slate (S910-0620)                              3        5.83     17.50
10/26/2024   700-1585 B000CQFS0O Road Power 0989 Anti-Corrosion Fiber Washers; 1 Pack (2 Washers); 6 and 12-Volt             30        5.90    176.88

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10/26/2024   700-1601   B01N4WYU0M Bulk Buy: Red Heart Soft Yarn E728-9779 (2-pack) (Lavender)                                        8       5.90    47.17
10/26/2024   700-1606   B01MYH2UTX Bulk Buy: Red Heart Soft Yarn (2-pack) (Guacamole)                                                 3       5.90    17.69
10/26/2024   700-7531    B08C6B4SZH EK SUCCESS/AMERICAN CRAFTS Disney LG Flat STCKR MSE, Mickey Mouse                                 5       6.00    30.00
10/26/2024   700-2171   B003KSOHBM Red Heart Super Saver Economy Yarn, Aran                                                           1       6.02     6.02
10/26/2024   700-0436    B019IKDRPW Coleman Cable 277563 2 Pack 8ft. Outdoor Extension Cord with Power Block, White                   3       6.08    18.24
10/26/2024   700-4394    B00DTV0RIM Wonderart Swingin Latch Hook Kit, 15" X 20"                                                       4       6.13    24.50
10/26/2024   700-7177    B00UY10NX4 Patons Canadiana Yarn, Stone Heather                                                              1       6.13     6.13
10/26/2024   700-2627   B000KKND8Q Woods 0600W 3-Outlet 16/2 Cube Extension Cord w/ Power Tap, 6-Feet, White                          1       6.27     6.27
10/26/2024   700-2646    B00ZYD8HYO Royal & Langnickel RSET-ART2503 Small Tin Charcoal Drawing Art Set (2 Pack)                      39       6.27   244.37
10/26/2024   700-2657    B085D9FH95 Bernat Super Value Yarn - 7 oz - Berry - 2 Skein Bundle - Total of 2 Skeins                       2       6.27    12.53
10/26/2024   700-2699    B007L9SOQA Super Value Solid Yarn-Deep Sea Green Acrylic Blend/#4-Medium                                     7       6.27    43.86
10/26/2024   700-3824    B00274P9DA Royal & Langnickel Large Tin Acrylic Painting Art Set                                            20       6.60   132.00
10/26/2024   700-6993   B004KYXVQW Robison-Anton Super Strong Thread, Eggshell                                                        5       6.60    33.00
10/26/2024   700-1475    B07RX8DRSZ 2-Pack Bundle - Deco Art Crafter's Acrylic All Purpose Paint - Purple Passion (dca-72) - 2-Ounces3Each    6.77    20.30
10/26/2024   700-0524    B01EQLDLPO 2-Pack - Deflecto Universal Bird Guard, Fits 3" to 4" Vents, White (UBGWL)                       18       6.88   123.84
10/26/2024   700-6291    B09BFHPQJ2 My Little Pony - Mane 5 - Best Movie Friends (Pipp Petals)                                       19       7.06   134.14
10/26/2024   700-7361    B08B775KLX Perler 80-63090 The Mandalorian Baby Yoda Star Wars Fuse Bead Blister Kit, 1000pcs                1       7.20     7.20
10/26/2024   700-0755    B07B428QPR 6-Pack - Berwick Splendorette Crimped Curling Ribbon, 3/16-Inch Wide by 500-Yard Spools, Silver   4       7.44    29.76
10/26/2024   700-4174    B0030T0XE6 Royal & Langnickel Essentials Acrylic Tube Paint, 120ml, Dark Ultramarine                         3       7.49    22.46
10/26/2024   700-7124   B005D0CM2Q Royal & Langnickel Essentials Acrylic Tube Paint, 120ml, Violet                                    9       7.49    67.37
10/26/2024   700-7130    B004DTR8U4 Royal & Langnickel Essentials Acrylic Tube Paint, 120ml, Primary Magenta                          3       7.49    22.46
10/26/2024   700-7136   B0030T0XDM Royal & Langnickel Essentials Acrylic Tube Paint, 120ml, Phthalocyanine Blue                       6       7.49    44.92
10/26/2024   700-1156    B07BR73PLN Keep N' Carry Artist Set-Sketching                                                                7       7.50    52.50
10/26/2024   700-3780   B07V3GM5VR Perler PBB80-19-204 Salmon Perler Bead Bag, Pack of 1000                                           4       7.50    30.00
10/26/2024   700-2956   B000XZTM9M DMC 117-823 6 Strand Embroidery Cotton Floss, Dark Navy Blue, 8.7-Yard                             3       7.78    23.34
10/26/2024   700-4352   B07G6GMH29 Bernat HANDI COTTON BB Yarn, Freshly Pressed                                                       2       7.91    15.81
10/26/2024   700-1045    B07GHRH3NJ Gutermann 2-Pack Natural Cotton Thread Solids 876 Yards Each - Iron Grey                          6       7.99    47.96
10/26/2024   700-4663    B0887Z29VN Perler 80-16092 Solid-Top Cap Fuse Beads, 750pcs, Blush Red                                       5       8.40    41.98
10/26/2024   700-4176    B005D0FOCG Royal & Langnickel Essentials Acrylic Tube Paint, 120ml, Bright Purple                            9       9.78    88.06
10/26/2024   700-2687    B007L9SA3C Bernat Yarn, Yellow                                                                               1      10.20    10.20
10/26/2024   700-4430    B09FYB858L Hasbro Play-Doh Sand 2-Pack Assortment - 1 tub Pink Sand and 1 tub Blue Sand Ez Stretch          41      10.49   430.05
10/26/2024   700-4478    B074P7F6CS Perler Beads Super Mario Crafts Mega Activity Kit, 4013 pcs                                       2      10.49    20.98
10/26/2024   700-7205   B07G6DCV6W Bernat HANDI COTTON BB Yarn, Chocolate                                                             4      10.49    41.96
10/26/2024   700-2039    B07YSYVZH6 Berwick Splendorette - Mini-Keg 2-Pack Bundle - Glitter Silver + Glitter Gold - 3/16in x 66 feet Each
                                                                                                                                      9      10.83    97.47
10/26/2024   700-0584    B0762BJSRB Perler Fuse Bead Pegboards 7-Pack-Boy/Girl/Bear/Monkey/Butterfly/2 Flowers 2-Pack                 4      11.01    44.06

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10/26/2024   700-0425 B01NCWT7CE 3-PACK - We R Memory Keepers 12 x 12 inch 3-Ring Album Page Protectors, 10ct / pack             1          11.41       11.41
10/26/2024   700-4432 B09G268482 Play-Doh Confetti Compound - Bundle of 4-Colors - Yellow, Pink, Light Blue and White - One 4oz  31Can of each
                                                                                                                                            11.66
                                                                                                                                               Color 361.31
10/26/2024   700-1011 B07G9YCFC6 6-Pack - Perler Beads Bead Tweezers (Each Pack has 2 Tweezers)                                  6          11.74       70.42
10/26/2024   700-1344 B07LHCXSDL ADAPTER CORD 3PK                                                                                2          11.94       23.88
10/26/2024   700-2093 B0033PAVY4 Coats & Clark Dual Duty XP Heavy Thread 125 Yards Slate S950-0620 (3-Pack)3                     19         12.60      239.40
10/26/2024   700-1361 B07NPJBQQN Woods 20 Ftout. Ext.Cord W/Slim Right Angle Plug Hd Flexible Cord Designed For Ind/Outuse Reinforced
                                                                                                                                 1         Blades
                                                                                                                                            13.00 For Safety
                                                                                                                                                        13.00 Usag
10/26/2024   700-3783 B07V2BQTK6 Perler PBB80-19-207 Charcoal Perler Bead Bag, Pack of 1000                                      2          13.20       26.40
10/26/2024   700-6014 B002TOL3ZG Duck 1265015 1.88" x 20 yd Winking Tape, Single Roll, White                                     1          13.67       13.67
10/26/2024   700-3406 B08DTBV5G8 Coats Dual Duty Plus Button and Carpet Thread 50 Yards - Red (s920-2250)50                      24         14.73      353.52
10/26/2024   700-1342 B07MC55M6W 2-Pack Charcoal Set                                                                             9          17.60      158.40
10/26/2024   700-2095 B07X9CWFXH Royal Brush Taklon Hair Classroom Value Pack, Assorted Size, Pack of XX-XXXXXXX (Тwо Расk) 3               18.90       56.70
10/26/2024   700-0914 B00CEH7WN0 Self-Adhesive Photo Corners Black 252/Pk 6/Pk                                                   10         22.38      223.80
10/26/2024   700-0365 B01M247YU3 Coleman Cable 2254 6 Pack 16/3 8ft. Slimline Household Extension Cord, Beige                    6          23.76      142.56
10/26/2024   700-1697 B007WUNRVA DecoArt Acrylic Paint, 2 Fl Oz (Pack of 1), Pure Pumpkin                                        2          26.93       53.86
10/26/2024   700-4669 B0887F5WKL Perler 80-11147 Solid-Top Cap Fuse Beads, 3505pcs, Zebra Pattern Kit                            2          51.86      103.72
10/26/2024   700-0631 B075SJ7BHK Deflecto Universal Bird Guard, Fits 3" to 4" Vents, White (UBGWL) (20-Pack)                     1          68.80       68.80
10/26/2024   700-7646 B08TF6LZSX PJ Masks Hidden PJ Surprise Spark Series Preschool Toy, Series 1 Collectible Blind Bag Figure and
                                                                                                                                 17Accessory3.10
                                                                                                                                              for Kids Ages
                                                                                                                                                        52.70
                                                                                                                                                            3 and
10/26/2024   700-7647 B0BBSW39F3 Mattel Games UNO Ultimate Marvel Card Game with 4 Character Decks, 4 Collectible Foil Cards1& Special Rules,6.00 2-4 Players,
                                                                                                                                                         6.00 2n
10/26/2024   700-7667 B00USBLGFO Me & My Big Ideas PPS-37 Pocket Pages Stickers 6 Sheets/Pkg-Love Yourself                       2           2.88        5.76
10/26/2024   700-7668 B01BVJ5EKO me & my BIG ideas Good Food Planner Stickers                                                    3           2.88        8.64

                                                                                                                                                   $8,776.24




                          Case 24-11214-j11       Doc 1     Filed 11/13/24     Entered 11/13/24 14:38:12 Page 53 of 181                                Page 9
                                                                                       Inventory on Walmart
  SKU         GTIN/UPC      Description                                                                                                                     On Walmart   Cost Ea.   Total Cost
800-4072   00300263307787   [2-PACK BUNDLE] - Hasbro Classic Family Card Games - Guess Who? and Connect 4, ages 6 and up                                        5            5.70         28.50
800-4075   00300263307817   [2-PACK BUNDLE] - Hasbro Classic Family Card Games - Monopoly and Battleship, ages 8 and Up                                         4            5.65         22.60
800-4074   00300263307800   [2-PACK BUNDLE] - Hasbro Classic Family Card Games - Monopoly and Clue, ages 8 and Up                                               3            5.65         16.95
800-4073   00300263307794   [2-PACK BUNDLE] - Hasbro Classic Family Card Games - Monopoly and Rook, ages 8 and Up                                               4            5.65         22.60
800-4081   00300263307879   [2-PACK BUNDLE] - Hasbro Classic Family Card Games - Rook and Battleship, ages 8 and Up                                             4            5.70         22.80
800-4080   00300263307862   [2-PACK BUNDLE] - Hasbro Classic Family Card Games - Rook and Clue, ages 8 and Up                                                   4            5.70         22.80
800-4048   00300263307619   [2-PACK GRAB AND GO BUNDLE] - Hasbro Classic Family Games - Battleship and Guess Who?                                               12           8.00         96.00
800-4047   00300263307602   [2-PACK GRAB AND GO BUNDLE] - Hasbro Classic Family Games - Candy Land and Hungry Hungry Hippos                                     6            8.00         48.00
800-3934   00300263306933   [2-PACK] - 3L Scrapbook Adhesives Thin 3D Adhesive Foam Squares 217/Pkg - Black                                                     12           3.73         44.76
800-3989   00300263307138   [2-PACK] - Battleship Grab & Go Game (Travel Size)                                                                                  6            8.00         48.00
800-4118   00300263308241   [2-PACK] - Candy Land Grab and Go Game for Ages 3 and Up, Travel Game                                                               4            8.00         32.00
800-3935   00300263306940   [2-PACK] - Clover Double Needle Threader                                                                                            2            5.58         11.16
800-3929   00300263306896   [2-PACK] - Clover Ring Thimble w/ Plate - Adjustable                                                                                3            2.86          8.59
800-3987   00300263307121   [2-PACK] - Clue Grab N Go - Travel Size (NEW)                                                                                       10           8.00         80.00
800-3580   00630509277797   [2-PACK] - Connect 4 Grab & Go Game (Travel Size)                                                                                   10           8.00         80.00
800-3931   00300263306902   [2-PACK] - Despicable Me Minions The Rise of Gru - Splat 'Ems Mystery Pack 1                                                        11           5.48         60.28
800-3937   00300263306964   [2-PACK] - Dritz Home Wood Cord Pulls 2/Pkg - White                                                                                 3            2.54          7.63
800-4121   00300263308272   [2-PACK] - Dritz Quilting Beeswax w / Holder                                                                                        4            4.13         16.51
800-3938   00300263306971   [2-PACK] - Dritz Seam Ripper - Small                                                                                                14           2.63         36.85
800-3918   00300263306810   [2-PACK] - General Pencil Multipastel Chalk Pencils 2/Pkg - White                                                                   16           4.18         66.88
800-3917   00300263306797   [2-PACK] - General Pencil Scribe-All Pencils 2/Pkg (4 total) - Black & White w/Sharpener                                            6            4.86         29.16
800-3919   00300263306827   [2-PACK] - General's #333S-4BP Cedar Pointe #2/Hb 4/pkg (8 total) with Sharpeners                                                   5            5.78         28.90
800-4086   00300263307923   [2-PACK] - Glue Dots Clear Dot Roll - Mini .1875 300/Pkg                                                                            8            6.00         48.00
800-4119   00300263308258   [2-PACK] - Guess Who? Grab and Go, ages 6 and Up, 2 players                                                                         6            8.00         48.00
800-3990   00300263307145   [2-PACK] - Hasbro Trouble Grab & Go Game (Travel Size)                                                                              3            8.00         24.00
800-4120   00300263308265   [2-PACK] - Hungry Hungry Hippos Grab & Go Game, ages 4 and Up, 2 players                                                            4            8.00         32.00
800-4136   00300263308425   [2-PACK] - Pressman Dominoes: Double Six Wooden Dominoes                                                                            6            5.60         33.60
800-4117   00300263308234   [2-PACK] - Sorry! Grab & Go Game, for Kids Ages 6 and Up, for 2-4 Players                                                           3            8.00         24.00
800-4092   00300263307992   [2-PACK] - Southwire Romex Brand Simpull Solid Indoor 14/2 W/G NMB Cable 15ft coil - SW# 28827426 White                             7            8.48         59.36
800-3936   00300263306957   [2-PACK] - That Purple Thang                                                                                                        10           3.79         37.90
800-3920   00300263306834   [2-PACK] - Woods 0602W 3-Outlet 16/2 Cube Extension Cord w/ Power Tap, 12-Feet, White                                               1            3.54          3.54
800-3921   00300263306841   [2-PACK] - Woods 9-foot 16/2 White Cube Tap Extension Cord                                                                          3            2.90          8.70
800-4079   00300263307855   [3-PACK BUNDLE] - Hasbro Classic Family Card Games - Clue, Battleship, and Rook, ages 8 and Up                                      4            8.55         34.20
800-4078   00300263307848   [3-PACK BUNDLE] - Hasbro Classic Family Card Games - Monopoly, Rook, and Clue, ages 8 and Up                                        4            8.50         34.00
800-4130   00300263308364   [3-PACK BUNDLE] - Star Wars 6inch Action Figures - Mandalorian, Grogu, Bo Katan                                                     12          10.50       126.00
800-3999   00300263307213   [3-PACK GRAB AND GO BUNDLE] - Hasbro Classic Family Games - Battleship, Connect 4, and Clue                                         13          12.00       156.00
800-3996   00300263307183   [3-PACK GRAB AND GOCase       24-11214-j11
                                                     BUNDLE] - Hasbro ClassicDoc   1 Games
                                                                               Family   Filed -11/13/24       Entered
                                                                                                 Battleship, Connect 4, 11/13/24  14:38:12 Page 54 of 181
                                                                                                                        and Guess Who?                          2           12.00         24.00
                                                                                  Inventory on Walmart
  SKU         GTIN/UPC      Description                                                                                                                On Walmart   Cost Ea.   Total Cost
800-3998   00300263307206   [3-PACK GRAB AND GO BUNDLE] - Hasbro Classic Family Games - Battleship, Connect 4, and Monopoly                                6           12.00         72.00
800-4000   00300263307220   [3-PACK GRAB AND GO BUNDLE] - Hasbro Classic Family Games - Battleship, Connect 4, and Trouble                                 6           12.00         72.00
800-3995   00300263307176   [3-PACK GRAB AND GO BUNDLE] - Hasbro Classic Family Games - Connect 4, Guess Who? and Trouble                                  5           12.00         60.00
800-3993   00300263308494   [3-PACK GRAB AND GO BUNDLE] - Hasbro Classic Family Games - Connect 4, Monopoly and Clue                                       3           12.00         36.00
800-3994   00300263307169   [3-PACK GRAB AND GO BUNDLE] - Hasbro Classic Family Games - Connect 4, Trouble and Monopoly                                    3           12.00         36.00
800-4049   00300263307626   [3-PACK GRAB AND GO BUNDLE] - Hasbro Classic Family Games - Sorry, Trouble, and Guess Who?                                     2           12.00         24.00
800-4050   00300263307640   [3-PACK GRAB AND GO BUNDLE] - Sorry, Battleship, and Guess Who?                                                                4           12.00         48.00
800-3885   00300263306704   [3-PACK] - Coleman Cable SlimLine 16/3 13' Slimline Ext Cord - Beige (2255)                                                    10          13.38       133.80
800-3940   00300263306988   [3-PACK] - DMC Embroidery Hand Needles - Size 5/10 - 16/Pkg                                                                    19           1.98         37.56
800-3973   00300263306995   [3-PACK] - Singer All-Purpose Polyester Thread 150yd - Black                                                                   1            3.86          3.86
800-3997   00300263307190   [4-PACK GRAB AND GO BUNDLE] - Hasbro Classic Family Games - Battleship, Connect 4, Guess Who? and Trouble                      7           16.00       112.00
800-4051   00300263307657   [4-PACK GRAB AND GO BUNDLE] - Hasbro Classic Family Games - Sorry, Battleship, Guess Who? and Trouble                          3           16.00         48.00
800-3926   00300263306872   [4-PACK] - Beyblade Micros Blind Bags SERIES 3                                                                                 8            6.80         54.40
800-3814   00741498711855   [BUNDLE - 2-PACK] - Coats Dual Duty XP Heavy Thread - Black s950-0900 and Natural s950-8010 - 125 Yards Each                   4            1.98          7.91
800-3831   00741498712555   [BUNDLE - 3-PACK WHITES] - Aurifil 50wt Cotton Thread - White 2024, Natural White 2021, AND Chalk 2026                         2           22.10         44.19
800-3788   00741498712548   [BUNDLE - 3-PACK] - Aurifil 50wt Cotton Threads - Aluminum (2615) + Dove (020119) + Grey (2605) 1422yds per spool              5           22.10       110.48
800-3802   00741498712852   [BUNDLE - 6-PACK] Coats & Clark All-Purpose Thread White (230A-1) + Black (230A-2)- 400 yards each                             2            7.87         15.74
800-3787   00741498712456   [BUNDLE - Metallic Colors] Berwick Splendorette Crimped Curling Ribbon - Gold (1-15), Silver (1-70), White (1-01)              13           3.72         48.36
800-3878   00300263300061   [BUNDLE 2-PACK B/W] - Coats and Clark Outdoor Living Thread - Black and White - 200 yards each                                 6            5.69         34.12
800-3836   00741498712753   [BUNDLE 2-PACK] - Gutermann Sew-All Thread - Eggshell 501-22 AND Nu White 501-20, 547 Yards each                               1            5.69          5.69
800-3866   00300263306629   [BUNDLE 2-PACK] - AURIFIL Cotton Mako 50wt Thread White 2024 and Baby Pink 2423 - 1422 yards each                              3           14.73         44.19
800-3817   00741498711992   [BUNDLE 2-PACK] - Coats Dual Duty XP Heavy Thread - White s950-0100 and Navy s950-4900 - 125 Yards Each                        5            1.98          9.89
800-3882   00300263306681   [BUNDLE 2-PACK] - Fisher-Price Thomas & Friends Metal Engines - One Thomas and One Salty Small Push Along Engines              3            3.60         10.80
800-4039   00300263307527   [BUNDLE 2-PACK] - Marvel 6-inch Action Figures - Iron Man and Black Panther (Erik Killmonger)                                  5            5.80         29.00
800-4037   00300263307510   [BUNDLE 2-PACK] Marvel Avengers 6-inch Action Figures - Hulk and Captain America                                               5            6.37         31.85
800-3839   00741498713071   [BUNDLE 3-COLOR] - AURIFIL 50WT COTTON MAKO THREAD - Stone 2324, Sandstone 2370 AND Grey Smoke 5004 - 1422 Yards each          4           22.10         88.38
800-3819   00741498712104   [BUNDLE 3-PACK] - Aurifil 50WT Cotton Mako Thread - (2) White 2024 and (1) Black 2692 - 1422 Yards Each                        3           22.10         66.29
800-3796   00300263306575   [BUNDLE 3-PACK] - Aurifil 50wt Cotton Mako Thread - Grey 2605, Smoke Blue 4644 and Med Delft Blue 2783 - 1422 yards each       3           22.10         66.29
800-3848   00741498712616   [BUNDLE 3-PACK] - Aurifil 50wt Cotton Mako Thread - MUSLIN 2311, LIGHT BEIGE 2310 and BEIGE 2314 - 1422 yards each             1           22.10         22.10
800-4071   00300263307770   [BUNDLE 3-PACK] - Pro Kadima Beach Paddles - Artifact Prints (Total of 6 Paddles and 3 Balls)                                  4           13.50         54.00
800-4027   00300263307428   [BUNDLE 3-PACK] - Star Wars 6-inch Action Figures - Grogu, Bo Katan, and Darth Vader                                           3           10.50         31.50
800-4041   00300263307541   [BUNDLE 4-PACK] - Marvel 6-inch Action Figures - Captain America, Hulk, Iron Man and Black Panther (Killmonger)                5           12.17         60.85
800-4031   00300263307466   [BUNDLE 4-PACK] - Star Wars 6-inch Action Figures - Grogu, Bo Katan, Mandalorian, and Darth Vader                              4           14.00         56.00
800-4030   00300263307459   [BUNDLE 4-PACK] - Star Wars 6-inch Action Figures - Grogu, Bo Katan, Mandalorian, and Luke Skywalker                           2           14.00         28.00
800-3850   00741498712746   [BUNDLE B/W 2-PACK] - Gutermann Sew-All Thread - Black 501-10 and Nu White 501-20 - 547 yards each                             6            5.69         34.16
800-3781   00300263306421   [BUNDLE] - Coats All-Purpose Thread 400yds Black + 400yds White                                                                11           2.62         28.86
800-3782   00300263306438   [BUNDLE] General PencilCase   24-11214-j11
                                                      - Factis              Doc 1 Eraser
                                                               Pen Style Mechanical  Filed  11/13/24 Entered 11/13/24 14:38:12 Page 55 of 181
                                                                                         + REFILLS                                                         25           5.78       144.50
                                                                                   Inventory on Walmart
  SKU         GTIN/UPC      Description                                                                                                              On Walmart   Cost Ea.   Total Cost
800-3871   00300263306667   [SLIMLINE 3-COLOR BUNDLE] - Woods Slimline 8 ft Extension cords - White 2241, Beige 2254, Black 2243                         6           10.42         62.52
800-3551   00300263304212   18-PACK - Aleene's Original Tacky Glue .66oz. Aleene's Original Tacky Glue                                                   2            7.70         15.41
800-1875   00715891114315   1lb. Super Sculpey® Oven-Bake Clay, Beige                                                                                    7            9.82         68.76
800-3859   00741498713118   2 Pack Bundle - Black + White - Conté à ParisB Sketching Crayons - 2 Count Each Color                                        8            4.50         36.00
800-3612   00300263304809   2-PACK - Berwick Splendorette 3/16 x 500yds - Turqoise (1-10)                                                                3            2.48          7.44
800-3441   00300263303123   2-PACK - Canson XL Series Watercolor Textured Paper, Side Wire Bound, 140 Pound, 9 x 12 Inch, 30 Sheets                      2           15.22         30.44
800-3655   00300263305202   2-PACK - Coats Dual Duty XP General Purpose Thread 250yd - White                                                             3            2.71          8.12
800-3838   00741498713095   2-Pack - Aurifil 50WT - Light Beige + White, Solid - Mako Cotton Thread - 1422 Yards Each                                    3           14.73         44.19
800-3610   00300263304786   2-PACK - Aurifil 50wt Cotton Thread - 1,422yd - Light Beige                                                                  3           14.73         44.19
800-3611   00300263304793   2-PACK - Aurifil 50wt Cotton Thread - 1,422yd - Natural White                                                                4           14.73         58.92
800-3640   00300263305059   2-PACK - Aurifil 50wt Cotton Thread 1,422yd - Dove                                                                           3           14.73         44.19
800-3564   00300263304342   2-PACK - Aurifil 50WT Cotton Thread 1422 yds - Black (2692)                                                                  3           14.73         44.19
800-3688   00300263305523   2-PACK - Aurifil Cotton Thread Mako 50wt 1300m - Aluminum                                                                    2           14.73         29.46
800-3689   00300263305530   2-PACK - Aurifil Cotton Thread Mako 50wt 1300m - Baby Pink                                                                   5           14.73         73.65
800-3690   00300263305547   2-PACK - Aurifil Cotton Thread Mako 50wt 1300m - Ermine                                                                      5           14.73         73.65
800-3658   00300263305233   2-PACK - Avery Elle Stamp & Die Storage Pockets 50/Pkg-Extra Large 6.75X9.25 (total of 100)                                  7           14.40       100.80
800-3548   00300263304182   2-PACK - Beadalon German Style Wire-Gold Round - 24 Gauge, 37.4'                                                             3            4.37         13.11
800-3401   00300263302737   2-PACK - Bernat Handicrafter Cotton Yarn 340g - Ombres-Coral Seas                                                            11          14.97       164.69
800-3392   00300263302584   2-PACK - Berwick Splendorette 3/16 x 500yds - Baby Pink (1-75)                                                               4            2.48          9.92
800-3604   00300263304724   2-PACK - Berwick Splendorette 3/16 x 500yds - Celadon                                                                        3            2.48          7.44
800-3761   00300263306223   2-PACK - Berwick Splendorette 3/16 x 500yds - Hot Red (1-252)                                                                5            2.48         12.40
800-3385   00300263302515   2-PACK - Berwick Splendorette 3/16 x 500yds - Mint (1-06)                                                                    16           2.48         39.68
800-3380   00300263302461   2-Pack - Berwick Splendorette 3/16 x 500yds - Royal Blue (1-12)                                                              21           2.48         52.08
800-3378   00300263302447   2-PACK - Berwick Splendorette 3/16 x 500yds - Teal (1-33) Crimped Curling Ribbon                                             10           2.48         24.80
800-3377   00300263302430   2-Pack - Berwick Splendorette 3/16 x 500yds - Tropical Orange (1-11)                                                         22           2.48         54.56
800-3762   00300263306230   2-PACK - Berwick Splendorette 3/16 x 500yds - Vanilla (1-95)                                                                 3            2.48          7.44
800-3394   00300263302607   2-pack - Berwick Splendorette Crimped Curling Ribbon 3/16 Wide X 500 Yards, Azalea                                           13           2.48         32.24
800-3393   00300263302591   2-PACK - Berwick Splendorette Crimped Curling Ribbon 3/16 Wide X 500 Yards, Baby Blue                                        6            2.48         14.88
800-3389   00300263302553   2-PACK - Berwick Splendorette Crimped Curling Ribbon 3/16 Wide X 500 Yards, Chocolate                                        3            2.48          7.44
800-3387   00300263302539   2-Pack - Berwick Splendorette Crimped Curling Ribbon 3/16 Wide X 500 Yards, Gold                                             6            2.48         14.88
800-3384   00300263302508   2-PACK - Berwick Splendorette Crimped Curling Ribbon 3/16 Wide X 500 Yards, Navy                                             8            2.48         19.84
800-3391   00300263302577   2-PACK - Berwick Splendorette Crimped Curling Ribbon 3/16 Wide X 500 Yards-Beauty                                            18           2.48         44.64
800-3390   00300263302560   2-PACK - Berwick Splendorette Crimped Curling Ribbon 3/16 Wide X 500 Yards-Black                                             12           2.48         29.76
800-3372   00300263302386   2-Pack - Berwick Splendorette Crimped Curling Ribbon 3/16 x 500yds - Black Lacquer                                           1            0.33          0.33
800-3693   00300263305578   2-PACK - Berwick Splendorette Crimped Curling Ribbon 3/16 x 500yds - Caribbean Blue                                          8            2.48         19.84
800-3691   00300263305554   2-PACK - Berwick Splendorette Crimped Curling Ribbon 3/16 X 500yds - Lavender                                                2            2.48          4.96
800-3692   00300263305561                         Case 24-11214-j11
                            2-PACK - Berwick Splendorette    Crimped Curling Doc   1 3/16
                                                                              Ribbon   Filed 11/13/24
                                                                                          x 500yds - PastelEntered
                                                                                                           Yellow 11/13/24 14:38:12 Page 56 of 181       3            2.48          7.44
                                                                                 Inventory on Walmart
  SKU         GTIN/UPC      Description                                                                                                         On Walmart   Cost Ea.   Total Cost
800-3381   00300263302478   2-pack - Berwick Splendorette Crimped Curling Ribbon 3/16 x 500yds - Red Lacquer                                        12           0.33          4.00
800-3379   00300263302454   2-Pack - Berwick Splendorette Crimped Curling Ribbon 3/16 x 500yds - Sunshine (1-14)                                    7            2.48         17.36
800-3376   00300263302423   2-Pack - Berwick Splendorette Crimped Curling Ribbon 3/16 x 500yds - Yellow (1-05)                                      24           2.48         59.52
800-3383   00300263302492   2-PACK - Berwick Splendorette Crimped Curling Ribbon3/16 x 500yds - Orchid (1-28)                                       11           2.48         27.28
800-3621   00300263304892   2-PACK - Berwick Splendorette Curling Ribbon 3/16 x 500yds - Periwinkle                                                 2            2.48          4.96
800-3568   00300263304373   2-PACK - Bondex Iron-On Mending Fabric 6.5x14 - Black                                                                   4            1.73          6.94
800-3443   00300263303147   2-pack - Canson 1795098 Arches Watercolor Hot Pressed Pad, 100% Cotton, Natural White, 140 lb, 10 X 14, 12 sheets       2           27.66         55.32
800-3420   00300263302911   2-PACK - Canson Artist Series Pro-Layout Marker Pad 9 x 12 - 50 Sheets/Pad                                              3           13.48         40.44
800-3422   00300263302935   2-PACK - Canson Foundation Series Tracing Paper Pad 9X12- 50 sheets                                                     5            4.60         23.00
800-3553   00300263304236   2-PACK - Canson Self Adhesive Photo Corners, Peel-Off Archival Quality, Black, 252-Pack                                 24           7.46       179.04
800-3425   00300263302966   2-PACK - Canson Universal 5.5 X 8.5, Side Wire Bound, 65 lb, 100 Sheets, Sketch Paper Pad                               2            8.12         16.24
800-3426   00300263302973   2-PACK - Canson Universal Heavy-Weight Sketch Pad, 9 x 12, 65 lb, Side Wire Bound - 100 Sheets/Pad                      11          13.54       148.94
800-3427   00300263302980   2-PACK - Canson Universal Heavy-Weight Sketch Pad, 11 x 14, Side Wire Bound, 65 lb, 100 sheets                          2           17.68         35.36
800-3433   00300263303048   2-PACK - Canson XL Drawing Pad, 9 x 12- 60 Sheets/Pad, Side Wirebound                                                   3            7.91         23.73
800-3333   00300263302010   2-Pack - Canson XL Series Mix Media Paper Pad, Heavyweight, Wet and Dry Media, 98 Pound, 11 x 14 In, 60 Shts            20          21.66       433.20
800-3770   00300263306315   2-PACK - Canson XL Series Watercolor Paper Pad 140lb Fold Over, 30-Sheet, 9 X 12                                        6           10.08         60.48
800-3981   00300263307060   2-PACK - Clue Card Game for Kids Ages 8 and Up, 3-4 Players Strategy Game                                               11           5.70         62.72
800-3784   00741498711831   2-PACK - Coats & Clark - Dual Duty XP Heavy Weight Thread Black + White 125yds Each                                     15           1.98         29.67
800-3576   00300263304458   2-PACK - Coats Dual Duty All-Purpose Thread 400yd - Black                                                               26           2.62         68.22
800-3618   00300263304861   2-PACK - Coats Dual Duty Plus Hand Quilting Thread 325yd - Almond Pink                                                  1            3.22          3.22
800-3603   00300263304717   2-PACK - Coats Dual Duty Plus Hand Quilting Thread 325yd - Black                                                        3            3.22          9.67
800-3724   00300263305882   2-PACK - Coats Dual Duty Plus Hand Quilting Thread 325yd - Miniature Blue                                               3            3.22          9.67
800-3657   00300263305226   2-PACK - Coats Dual Duty Plus Hand Quilting Thread 325yd - Navy                                                         3            3.22          9.67
800-3656   00300263305219   2-PACK - Coats Dual Duty Plus Hand Quilting Thread 325yd - River Blue                                                   1            3.22          3.22
800-3726   00300263305905   2-PACK - Coats Dual Duty Plus Hand Quilting Thread 325yd - Rum Raisin                                                   3            3.22          9.67
800-3653   00300263305189   2-PACK - Coats Dual Duty Plus Hand Quilting Thread 325yd - Yellow                                                       4            3.22         12.89
800-3620   00300263304885   2-PACK - Coats Dual Duty XP General Purpose Thread 250yd - Black                                                        7            2.71         18.96
800-3704   00300263305684   2-PACK - Coats Dual Duty XP General Purpose Thread 250yd - Light Slate s910-0600                                        4            2.71         10.83
800-3728   00300263305929   2-PACK - Coats Dual Duty XP General Purpose Thread 250yd - Seafoam                                                      6            2.71         16.25
800-3703   00300263305677   2-PACK - Coats Dual Duty XP General Purpose Thread 250yds - Dark Silver s910-0520                                       10           2.71         27.08
800-3705   00300263305691   2-PACK - Coats Dual Duty XP General Purpose Thread 250yds - Pink s910-1220                                              3            2.71          8.12
800-3706   00300263305707   2-PACK - Coats Dual Duty XP General Purpose Thread 250yds - Stone s910-0630                                             3            2.71          8.12
800-3619   00300263304878   2-PACK - Coats Dual Duty XP General Purpose Thread 250yds Mushroom                                                      3            2.71          8.12
800-3537   00300263304076   2-PACK - Coats Dual Duty XP Heavy Thread 125 Yards - Black                                                              2            1.98          3.96
800-3729   00300263305936   2-PACK - Coats Dual Duty XP Heavy Thread 125yd - Dark Khaki                                                             5            1.98          9.89
800-3730   00300263305943   2-PACK - Coats Dual Duty XP Heavy Thread 125yd - Monaco Blue                                                            2            1.98          3.96
800-3616   00300263304847                         Case
                            2-PACK - Coats Dual Duty  XP 24-11214-j11
                                                         Heavy Thread 125ydDoc  1 Filed 11/13/24 Entered 11/13/24 14:38:12 Page 57 of 181
                                                                             - White                                                                3            1.98          5.93
                                                                                Inventory on Walmart
  SKU         GTIN/UPC      Description                                                                                                       On Walmart   Cost Ea.   Total Cost
800-3707   00300263305714   2-PACK - Coats Dual Duty XP Heavy Thread 125yds - Barberry Red s950-2820                                              4            1.98          7.91
800-3709   00300263305738   2-PACK - Coats Dual Duty XP Heavy Thread 125yds - Cream s950-8020                                                     6            1.98         11.87
800-3650   00300263305158   2-PACK - Coats Dual Duty XP Heavy Thread 125yds - Maroon                                                              1            1.98          1.98
800-3700   00300263305646   2-PACK - Coats Dual Duty XP Heavy Thread 125yds - Natural s950-8010                                                   1            1.98          1.98
800-3710   00300263305745   2-PACK - Coats Dual Duty XP Heavy Thread 125yds - Navy s950-4900                                                      2            1.98          3.96
800-3609   00300263304779   2-PACK - Coats Dual Duty XP Heavy Thread 125yds Forest Green s950-6770                                                7            1.98         13.85
800-3615   00300263304830   2-PACK - Coats Dual Duty XP Heavy Thread 125yds Green Linen                                                           4            1.98          7.91
800-3613   00300263304816   2-PACK - Coats Dual Duty XP Heavy Thread 125yds Red                                                                   3            1.98          5.93
800-3695   00300263305592   2-PACK - Coats Dual Duty XP Heavy Weight Thread 125yd - Temple Gold                                                   2            1.98          3.96
800-4115   00300263308210   2-PACK - Coats Extra Strong Upholstery Thread 150yds - Black s964-0900                                                4            2.58         10.32
800-3605   00300263304731   2-PACK - Coats Extra Strong Upholstery Thread 150yds Green Linen s964-6180                                            5            2.58         12.90
800-3699   00300263305639   2-PACK - Coats Outdoor Living Thread 200yd - Black                                                                    13           5.69         73.92
800-3754   00300263306155   2-PACK - Coats Outdoor Living Thread 200yd - Caribbean Blue                                                           4            5.69         22.74
800-3739   00300263306025   2-PACK - Coats Outdoor Living Thread 200yd - White                                                                    3            5.69         17.06
800-3757   00300263306186   2-PACK - Coleman 3531 14/3 General-Use Appliance Extension Cord, 3 foot                                               1            4.06          4.06
800-3336   00300263302041   2-Pack - Coleman Cable 12/3 2' Sjtw (3 outlet) Yellow Jacket Lighted End Extension Cord (64824501)                    21           9.88       207.48
800-3614   00300263304823   2-PACK - Coleman Cable 16/3 20' White SJTW Outdoor Vinyl Extension Cord                                               3           13.00         39.00
800-3740   00300263306032   2-PACK - Coleman Cable 6991 Power Strip Liberator, 8-Inch Extension Cord, 3/pkg (total of 6)                          3            7.96         23.88
800-3579   00300263307022   2-PACK - Connect 4 Card Game                                                                                          12           5.70         68.40
800-3665   00300263305325   2-PACK - Crayola Colored Pencils Set Multi Colors, 12 Ct, Back to School Supplies (total of 24 colored pencils)       2            3.38          6.76
800-3340   00300263302089   2-Pack - Creative Paperclay 4 oz - White                                                                              5            3.60         18.00
800-3388   00300263302546   2-PACK - Crimped Curling Ribbon 3/16 Wide X 500 Yards - Emerald Splendorette                                          11           2.48         27.28
800-3386   00300263302522   2-Pack - Crimped Curling Ribbon 3/16 Wide X 500 Yards-Light Blue Splendorette                                         31           2.48         76.88
800-3382   00300263302485   2-PACK - Crimped Curling Ribbon 3/16 Wide X 500 Yards-Purple Splendorette                                             18           2.48         44.64
800-3374   00300263302409   2-Pack - Crimped Curling Ribbon 3/16 Wide X 500 Yards-Silver Splendorette                                             28           2.48         69.44
800-3637   00300263305028   2-PACK - Deco Art Crafter's Acrylic All-Purpose Paint 2oz - Holiday Green                                             2            1.30          2.60
800-3712   00300263305769   2-PACK - Deco Art Crafter's Acrylic Paint, 2oz., Truly Blue                                                           3            1.30          3.90
800-3714   00300263305783   2-PACK - Deco Art Dazzling Metallics Acrylic Color, 2 oz. - Oyster Pearl                                              2            2.52          5.04
800-3634   00300263304991   2-PACK - Deco Art Dazzling Metallics Acrylic Paint 2oz - Black Pearl                                                  5            2.52         12.60
800-3636   00300263305011   2-PACK - Deco Art Dazzling Metallics Acrylic Paint 2oz - Champagne Gold                                               6            2.52         15.12
800-3716   00300263305806   2-PACK - Deco Art Dazzling Metallics Acrylic Paint 2oz - Rose Gold                                                    3            2.36          7.08
800-3717   00300263305813   2-PACK - Deco Art Dazzling Metallics Acrylic Paint 2oz - Zinc                                                         3            2.36          7.08
800-3362   00300263302294   2-Pack - Decoart Dazzling Metallics Acrylic Paints 2oz-Purple Pearl                                                   1            2.36          2.36
800-3667   00300263305332   2-PACK - Disney Frozen 2, 6-in-1 Game House for Kids and Families                                                     3           15.50         46.50
800-3575   00300263304441   2-PACK - Dritz Braided Elastic 3/8 X 6yd - White                                                                      9            3.78         33.98
800-4020   00300263307336   2-PACK - Dritz Home 44324 Long Neck Pleater Drapery Hooks (14-pcs ea), Silver                                         4            5.79         23.14
800-3573   00300263304427   2-PACK - Dritz Sewing Case
                                                  Gauge 24-11214-j11
                                                          6                   Doc 1 Filed 11/13/24 Entered 11/13/24 14:38:12 Page 58 of 181       2            3.25          6.50
                                                                              Inventory on Walmart
  SKU         GTIN/UPC      Description                                                                                                    On Walmart   Cost Ea.   Total Cost
800-3339   00300263302072   2-Pack - Dritz Snag Nab-It Tool-2.5                                                                                14           2.72         38.08
800-3747   00300263306087   2-PACK - EZ Quilting Glass Head Pins - 150/Pkg (total of 300)                                                      1            3.19          3.19
800-3602   00300263304700   2-PACK - Factis Pen Style Mechanical Eraser Refills 3/Pkg (total of 6 refills)                                     2            4.28          8.56
800-3408   00300263302805   2-PACK - General Pencil - Compressed Charcoal Sticks 4/Pkg-Black - 2b, 4b & 6b (8 total sticks)                    4            4.76         19.04
800-3355   00300263302232   2-Pack - General Pencil Charcoal White Pencils 2/Pkg-2b (Total of 4 Pencils/2 Sharpeners)                          20           4.28         85.60
800-3668   00300263305349   2-PACK - General Pencil Factis Pen-Style Mechanical Eraser                                                         2            7.28         14.56
800-3654   00300263305196   2-PACK - General Pencil Jumbo Compressed Graphite Stick Set, 3/Pkg                                                 7            4.40         30.80
800-3639   00300263305042   2-PACK - General Pencil Sketch & Wash Pencil Kit, 2/Pkg (total of 4)                                               11           3.82         42.02
800-3980   00300263307053   2-PACK - Guess Who? Card Game for Kids Ages 5 and Up, 2 Player Guessing Game                                       11           5.70         62.70
800-3648   00300263305134   2-PACK - Gutermann 876 Yd Natural Cotton Burlap Thread - Beige                                                     7            7.99         55.96
800-3758   00300263306193   2-PACK - Gutermann Natural Cotton Thread Solids 876 Yards - Aqua Marine                                            3            7.99         23.98
800-3649   00300263305141   2-PACK - Gutermann Natural Cotton Thread Solids 876 Yards - Bark Brown                                             8            7.99         63.95
800-3646   00300263305110   2-PACK - Gutermann Natural Cotton Thread Solids 876 Yards - Gold                                                   3            7.99         23.98
800-3645   00300263305103   2-PACK - Gutermann Natural Cotton Thread Solids 876 Yards - Red                                                    2            7.99         15.99
800-3759   00300263306209   2-PACK - Gutermann Natural Cotton Thread Solids 876yd - Carolina Blue                                              3            7.99         23.98
800-3644   00300263305097   2-PACK - Gutermann Natural Cotton Thread Solids 876yd - Royal Blue                                                 2            7.99         15.99
800-3647   00300263305127   2-PACK - Gutermann Natural Cotton Thread Solids, Egg White 876 Yards                                               6            7.99         47.96
800-3606   00300263304748   2-PACK - Gutermann Sew-All Thread 1,094yd - Nu White                                                               1            8.45          8.45
800-3328   00300263301976   2-Pack - Gutermann Sew-All Thread 547yd-Black                                                                      7            5.69         39.86
800-3472   00300263303437   2-PACK - Hasbro Gaming Battleship Card Game for Kids Ages 7 and Up, 2 Players Strategy Game                        10           5.70         57.00
800-3462   00300263303338   2-PACK - Hasbro Nerf Sports Pocket Vortex Aero Howler ORANGE                                                       12           8.30         99.60
800-3416   00300263302874   2-pack - Hasbro Nerf Super Soaker Piranha (Frustration-Free Packaging)                                             26           7.10       184.60
800-3589   00300263304571   2-PACK - Icraft Super Tape - .25x6yd                                                                               5            4.03         20.16
800-3582   00300263304502   2-PACK - JVC Earclip Earbud Sport Earbud Earclip Black (HAEC10B)                                                   8           10.18         81.44
800-3670   00300263305363   2-PACK - Lily Sugar'n Cream The Original Ombre 4 Medium Cotton Yarn 2oz/57g, 95 Yards - Chocolate                  12           2.94         35.33
800-3342   00300263302102   2-Pack - Lily Sugar'n Cream Yarn - Solids Super Size-Yellow                                                        21           4.52         94.92
800-3327   00300263301969   2-Pack - NERF Alpha Strike Stinger SD-1 Targeting Set                                                              40           6.50       260.00
800-3341   00300263302096   2-Pack - Nerf N-Strike NanoFire (Blue)                                                                             54           6.20       334.80
800-3414   00300263302850   2-PACK - Nerf N-Strike NanoFire (Green)                                                                            28           6.20       173.60
800-3746   00300263306070   2-PACK - Patons Canadiana Yarn - Solids - Toasty Grey                                                              3            5.88         17.63
800-3581   00300263304496   2-PACK - Patons Kroy Socks Yarn - Dads Jacquard                                                                    2            7.56         15.12
800-3396   00300263302621   2-PACK - Patons-Kroy Socks Yarn, Coal                                                                              9            7.56         68.04
800-3519   00300263303901   2-PACK - Perler Beads 1,000/Pkg - Blush Pink                                                                       4            3.91         15.65
800-3492   00300263303635   2-PACK - Perler Beads 1,000/Pkg - Cheddar                                                                          3            3.91         11.74
800-3517   00300263303888   2-PACK - Perler Beads 1,000/Pkg - Clear                                                                            1            3.91          3.91
800-3516   00300263303871   2-PACK - Perler Beads 1,000/Pkg - Creme                                                                            4            3.91         15.65
800-3514   00300263303857   2-PACK - Perler Beads Case    24-11214-j11
                                                    1,000/Pkg - Dark Green Doc 1 Filed 11/13/24 Entered 11/13/24 14:38:12 Page 59 of 181       4            3.91         15.65
                                                                                   Inventory on Walmart
  SKU         GTIN/UPC      Description                                                                                                              On Walmart   Cost Ea.   Total Cost
800-3512   00300263303833   2-PACK - Perler Beads 1,000/Pkg - Glow Green                                                                                 2            3.91          7.82
800-3511   00300263303826   2-PACK - Perler Beads 1,000/Pkg - Glow Mix                                                                                   2            3.91          7.82
800-3499   00300263303703   2-PACK - Perler Beads 1,000/Pkg - Gold                                                                                       3            3.91         11.74
800-3495   00300263303666   2-PACK - Perler Beads 1,000/Pkg - Hot Coral                                                                                  5            3.91         19.56
800-3521   00300263303925   2-PACK - Perler Beads 1,000/Pkg - Iris                                                                                       2            3.91          7.82
800-3510   00300263303819   2-PACK - Perler Beads 1,000/Pkg - Kiwi Lime                                                                                  9            3.91         35.21
800-3481   00300263303529   2-PACK - Perler Beads 1,000/Pkg - Light Brown                                                                                2            3.91          7.82
800-3493   00300263303642   2-PACK - Perler Beads 1,000/Pkg - Light Green                                                                                7            3.91         27.38
800-3488   00300263303598   2-PACK - Perler Beads 1,000/Pkg - Light Pink                                                                                 9            3.91         35.21
800-3509   00300263303802   2-PACK - Perler Beads 1,000/Pkg - Magenta                                                                                    4            3.91         15.65
800-3522   00300263303932   2-PACK - Perler Beads 1,000/Pkg - Mint                                                                                       3            3.91         11.74
800-3507   00300263303789   2-PACK - Perler Beads 1,000/Pkg - Pastel Blue                                                                                1            3.91          3.91
800-3506   00300263303772   2-PACK - Perler Beads 1,000/Pkg - Pastel Green                                                                               3            3.91         11.74
800-3494   00300263303659   2-PACK - Perler Beads 1,000/Pkg - Peach                                                                                      3            3.91         11.74
800-3496   00300263303673   2-pack - Perler Beads 1,000/Pkg - Prickly Pear                                                                               2            3.91          7.82
800-3490   00300263303611   2-PACK - Perler Beads 1,000/Pkg - Raspberry                                                                                  3            3.91         11.74
800-3485   00300263303567   2-PACK - Perler Beads 1,000/Pkg - Rust                                                                                       8            3.91         31.30
800-3502   00300263303734   2-PACK - Perler Beads 1,000/Pkg - Turquoise                                                                                  3            3.91         11.74
800-3501   00300263303727   2-PACK - Perler Fun Fusion Beads 1000/Pkg - BlueBerry Creme                                                                  2            3.91          7.82
800-3659   00300263305240   2-PACK - Pioneer Photo Albums Auto Mounting Squares Roller for Photos, Scrapbooks, and Paper Crafts, 350 Permanent           1            4.93          4.93
800-3549   00300263304199   2-PACK - Play-Doh Confetti Compound 4-Color Assortment (8 total)                                                             26           5.52       143.52
800-3287   00300263301891   2-PACK - Polyform Premo - Premium Oven Bake Clay 1 Pound White                                                               31          25.91       803.21
800-3556   00300263304267   2-PACK - PRES ON - Mounting Board 9X12 inch                                                                                  2            4.04          8.08
800-3530   00300263304007   2-PACK - PRES ON-Mounting Board: 14x11in                                                                                     16           5.51         88.16
800-3675   00300263305400   2-PACK - Pres-on, Self-Stick Mounting Board for Art Needlework, 5X7- White                                                   16           2.57         41.06
800-3337   00300263302058   2-Pack - Ranger Embossing Powder - Super Fine Gold                                                                           37           5.45       201.72
800-3979   00300263307046   2-PACK - Rook: Brain-Teasing Family Card Game for Ages 8 and up                                                              2            5.70         11.40
800-3407   00300263302799   2-PACK - Scor-Tape - .25x27yd                                                                                                1            5.10          5.10
800-3335   00300263302034   2-Pack - Sculpey Original Polymer Clay 1.75 Pounds-Terra Cotta                                                               16          16.00       256.00
800-3326   00300263301952   2-Pack - Sculpey Original Polymer Clay 1lb-Terra Cotta                                                                       25          11.33       283.25
800-3677   00300263305424   2-PACK - Singer All-Purpose Polyester Thread 150yd - Navy 60013                                                              6            2.58         15.46
800-3778   00300263306391   2-PACK - SlimLine 2236 Flat Plug, Indoor Extension Cord, 2-Wire, White, 7-Foot                                               11           3.44         37.84
800-3777   00300263306384   2-PACK - SlimLine 2239 Flat Plug Extension Cord, 2-Wire, BEIGE, 7-Foot                                                       1            5.70          5.70
800-3774   00300263306346   2-PACK - SlimLine 2240 Flat Plug Extension Cord, 2-Wire, Beige, 13-Foot                                                      9            5.60         50.40
800-3607   00300263304755   2-PACK - Splendorette Crimped Curling Ribbon .1875x500yd - White                                                             4            2.48          9.92
800-3361   00300263302287   2-Pack - Storage Studios Super Stacker Pencil Boxes-Clear                                                                    17           2.70         45.90
800-3454   00300263303253                         Case 24-11214-j11
                            2-PACK - Strathmore (405-11)  Sheet Tape BoundDoc     1 Filed
                                                                             Calligraphy Pad,11/13/24     Entered 11/13/24 14:38:12 Page 60 of 181
                                                                                              8.5 by 11 x 50shts                                         4            6.54         26.16
                                                                               Inventory on Walmart
  SKU         GTIN/UPC      Description                                                                                                     On Walmart   Cost Ea.   Total Cost
800-3449   00300263303208   2-PACK - Strathmore Assorted Color Pastel Paper Pad 9 x 12- 24 Sheets                                               6            7.38         44.28
800-3457   00300263303284   2-PACK - Strathmore Medium Drawing Spiral Paper Pad 6x8-24 Sheets                                                   2            4.38          8.76
800-3463   00300263303345   2-PACK - Strathmore Sketch Spiral Paper Pad 11 X 14- 100 Sheets                                                     2           17.04         34.08
800-3468   00300263303390   2-PACK - Strathmore Student Watercolor Pad, Cold Press, 90 lb, 9x12 - 15 Sheets                                     6            5.70         34.20
800-3465   00300263303369   2-PACK - Strathmore Watercolor Paper Pack 8 x 10 - 10 Sheets                                                        3           11.44         34.32
800-3466   00300263303376   2-PACK - Strathmore Watercolor Paper Pack, Cold Pressed, 8 x 10 - 10 Sheets                                         2           11.44         22.88
800-3552   00300263304229   2-PACK - Super Sculpey Polymer Clay 1 Pound - Beige                                                                 2           19.65         39.29
800-3321   00300263301914   2-PACK - Taylor Seville Thread Magic Round                                                                          16          10.99       175.84
800-3601   00300263304694   2-PACK - UNO Disney Pixar Lightyear Card Game in Storage Tin, Movie-Themed Deck                                     46           5.50       253.00
800-3683   00300263305479   2-PACK - We R Memory Keepers 12 x 12 - 3-Ring Album Page Protectors 10/PK (total 20)                                5            7.60         38.02
800-3578   00300263304472   2-PACK - Wilton Cookie Sticks 20/Pkg - 8 (total 40 sticks)                                                          3            5.44         16.31
800-3406   00300263302782   2-PACK - Wilton Fancy Standard Baking Cups 24/Pkg-Petal Pink                                                        3            5.79         17.38
800-3617   00300263304854   2-PACK - Wilton Standard Round Piping Decorating Tip #1                                                             5            1.82          9.12
800-3409   00300263302812   2-PACK - Woods 125 ft Heavy Duty Cord Storage Wheel with handle and cord notch E-102WM                              28           9.96       278.88
800-3585   00300263304533   2-PACK - Woods 16/2 White - 3' Slimline Extension Cord (2235)                                                       10           2.40         24.00
800-3766   00300263306278   2-PACK - Woods 277563 8-Foot Outdoor Extension Cord with Power Block, White                                         2            6.08         12.16
800-3679   00300263305431   2-PACK - Woods 3130 14/3 Heavy Duty Outdoor 3 Grounded Outlets Extension Cord 9'                                    3           21.20         63.60
800-3631   00300263304977   2-PACK - Woods SlimLine 2243 Flat Plug 8-Foot Extension Cord, 3-Wire, Black                                         3            6.28         18.84
800-3741   00300263306049   2-PACK - Woods/Coleman Cable 16/3 White - 8' Slimline Extension Cord (2241)                                         21           6.64       139.44
800-3682   00300263305462   2-PACK - Yahtzee Score Cards, Card Game for Kids Ages 8 and Up, for 2 or More Players                               10           5.40         54.00
800-3272   00769923338972   3 Skeins Lily Sugar'N Cream The Original Yarn, Gauge 4 Medium, Hot Orange                                           6            6.78         40.68
800-3274   00769923338859   3 Skeins Lily Sugar'N Cream The Original Yarn, Gauge 4 Medium, Hot Pink                                             9            6.78         61.02
800-1751   00093616016176   3L Scrapbook Adhesives Thin 3D Adhesive Foam Squares 217/Pkg                                                        1            1.87          1.87
800-3257   00726465271839   3-PACK - Aunt Lydia's Classic Crochet Thread Size 10 - Pastels                                                      3            5.76         17.28
800-3818   00741498712098   3-PACK - Aurifil 50WT - White + Dove + Light Beige, Solid - Mako Cotton Thread - 1422Yds EACH                       3           22.10         66.29
800-3627   00300263304953   3-PACK - Aurifil 50wt Cotton Thread 1,422yd - Dove                                                                  2           22.10         44.19
800-3626   00300263304946   3-PACK - Auto Mounts Permanent Mounting Square Roller 350/Pkg                                                       12           7.40         88.78
800-3561   00300263304311   3-PACK - Bernat Super Value Solid Yarn - Aqua                                                                       2            9.40         18.80
800-3534   00300263304045   3-PACK - Coats Extra Strong Upholstery Thread 150 Yards - Black                                                     12           3.87         46.44
800-3533   00300263304038   3-PACK - Coats Thread & Zippers Extra Strong Upholstery Thread 150 Yards - Green Linen                              3            3.87         11.61
800-3559   00300263304298   3-PACK - Darice Foamie Sheet 9x12 - Black                                                                           27           0.84         22.68
800-3546   00300263304168   3-PACK - Drybranch 3 Kadima Balls in Polybag w Header (9 balls total)                                               15           3.63         54.45
800-3399   00300263302713   3-PACK - Folkart Home Decor Chalk Paint 2oz-Glacier                                                                 5            4.07         20.33
800-3470   00300263303413   3-PACK - Gutermann Sew-All Thread 547 Yards-Nu White                                                                2            8.54         17.08
800-3471   00300263303420   3-PACK - Gutermann Sew-All Thread 547yd-Black                                                                       3            8.54         25.62
800-3351   00300263302195   3-Pack - Lily Sugar'n Cream Yarn - Solids Super Size-Cream                                                          2            6.78         13.56
800-3347   00300263302157                          CaseYarn
                            3-Pack - Lily Sugar'n Cream   24-11214-j11
                                                             - Solids-White Doc 1 Filed 11/13/24 Entered 11/13/24 14:38:12 Page 61 of 181       18           4.42         79.49
                                                                                Inventory on Walmart
  SKU         GTIN/UPC      Description                                                                                                        On Walmart   Cost Ea.   Total Cost
800-3469   00300263303406   3-PACK - Pres-On Mounting Board 8x10                                                                                   6            4.40         26.41
800-3350   00300263302188   3-Pack - Singer Nylon Thread 135yd-Clear                                                                               50           3.29       164.70
800-3363   00300263302300   3-Pack - SlimLine 2237 Flat Plug Extension Cord, 2-Wire, 13-Foot, White                                                11           9.06         99.66
800-3364   00300263302317   3-Pack - SlimLine 2243 Flat Plug 8-Foot Extension Cord, 3-Wire, Black                                                  5            9.42         47.10
800-3358   00300263302256   3-Pack - Strathmore Medium Drawing Top Spiral Paper Pads 11x14-24 Sheets                                               3           15.27         45.81
800-3583   00300263304519   3-PACK - Wiffle Ball - Plastic Baseball - Individually Boxed                                                           20           3.90         78.00
800-3557   00300263307275   3-PACK - Woods 0600W Cube Extension Cords with Power Tap, White, 6-Foot                                                3            3.63         10.89
800-3734   00300263305981   3-PACK - Woods Road Power 12 V Terminal Washer Top Corrosion Pads - 2/pkg (989)                                        10           0.60          6.00
800-3586   00300263304540   3-PACK - Woods/Coleman Cable 16/2 White - 3' Slimline Extension Cord (2235)                                            14           3.60         50.40
800-3369   00300263302362   3-Pack - Yarn Canadiana Solid Navy                                                                                     9            8.82         79.35
800-3785   00741498711961   3-Pack BLACK - Coats & Clark Dual Duty All-Purpose Thread White plus 1 Black Spools, Yard Spool each.                  7            3.94         27.55
800-3745   00300263306063   4-PACK - DMC Stitchbow Floss Holders - 10pcs (total of 40)                                                             3            3.36         10.07
800-3907   00300263306780   4-PACK - Hasbro Ugly Dolls Blind Bags Series 3 - One Random Doll per Pack Out of 12 Possible Characters                29           4.20       121.80
800-3978   00300263307039   4-PACK - Yahtzee Score Cards, Card Game for Kids Ages 8 and Up, for 2 or More Players                                  13          10.80       140.40
800-3558   00300263304281   5-PACK - Berwick Splendorette Kegs - 3/16 X 66' - Red Lacquer (bce12-91)                                               6            1.28          7.65
800-3547   00300263304175   5-PACK - Royal Brush Foam Brushes 3/Pkg-1- 2 & 3 Widths                                                                2            2.36          4.72
800-4001   00300263307237   5-PK Grab & Go Battleship, Connect 4, Guess Who?, Trouble, Monopoly                                                    3           20.00         60.00
800-3404   00300263302768   6-PACK - Bernat Super Value Solid Yarn-Grass                                                                           3           18.80         56.39
800-3584   00300263304526   6-PACK - Deco Art Crafter's Acrylic All-Purpose Paint 2oz - White                                                      2            3.90          7.80
800-3367   00300263302348   6-Pack - Patons Grace Yarn 1.75oz/50g - Blush                                                                          1           17.75         17.75
800-3562   00300263304328   6-PACK - Sculpey Glaze 1oz - Gloss                                                                                     2           19.50         39.00
800-3588   00300263304564   6-PACK - Wiffle Ball - Plastic Baseball - Individually Boxed                                                           5            7.80         39.00
800-3371   00300263302379   6-PACK of DohVinci 6-Pack Drawing Compound - Pastel (36 total tubes)                                                   4            3.90         15.60
800-4002   00300263307244   6-PK Battleship, Connect 4, Guess Who?, Trouble, Monopoly, and Clue                                                    2           24.00         48.00
800-0131   00079184350218   A & W Office Supplies Tan - Assorted Sizes                                                                             3            0.48          1.44
800-1732   00036061144896   ACTÍVA 1 lb. Bag of Bright Yellow Colored Sand - Scenic Sand                                                           1            2.34          2.34
800-1731   00036061046107   Activa Scenic Sand-1/2-Pound, 6/Pkg, Vivid (4610A)                                                                     1            7.62          7.62
800-0516                    Adjustable Thimble with Metal Plate from Clover Needlecraft                                                            8            1.43         11.45
800-1842   00091141403096   Advantus Super Stacker Stackable Pencil Box                                                                            7            1.35          9.45
800-0165   00017754331472   Aleene's Always Ready Quick Dry Tacky Glue-4oz                                                                         5            1.31          6.55
800-2660                    Aleene's Clear Gel Tacky Glue 8 fl oz, Dries Clear, Premium All-Purpose Adhesive                                       3            2.34          7.02
800-0170   00017754331717   Aleene's Felt & Foam Glue -4oz                                                                                         2            3.16          6.32
800-0177   00017754156037   Aleene's Original Tacky Glue 4 fl oz, Premium All-Purpose Adhesive, White, Dries Clear                                 8            0.99          7.92
800-2616   00017754156006   Aleenes Original Tacky Glue-2 Ounce                                                                                    3            0.82          2.46
800-0179   00017754159793   Aleene's Quick Dry Tacky Glue                                                                                          2            1.22          2.44
800-3744   00740512000227   Aleene's Tacky Glue Quick Dry 4oz 3pc                                                                                  7            3.93         27.51
800-0162   00017754264251                          Case
                            Aleene's Tacky Glue: Acid      24-11214-j11
                                                        Free, 4 ounces         Doc 1 Filed 11/13/24 Entered 11/13/24 14:38:12 Page 62 of 181       40           2.03         81.20
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  SKU         GTIN/UPC      Description                                                                                                      On Walmart   Cost Ea.   Total Cost
800-0164   00017754331434   Aleene's® Always Ready Original Tacky Glue 4 fl oz, Premium All-Purpose Adhesive                                     3            1.03          3.09
800-0178   00017754155993   Aleene's® Original Tacky Glue 8 fl oz, Premium All-Purpose Adhesive                                                  1            1.72          1.72
800-0182   00750557008089   Allary Safety Pins 175/Pkg-Brass, Assorted Sizes                                                                     2            0.95          1.89
800-0184   00040232000553   Alumilite Amazing Clear Cast Epoxy Resin - 16 oz                                                                     1           13.60         13.60
800-3902   00718813740715   American Crafts SB374071 4 oz Sweet Sugarbelle Icing Bottle&#44; 2 per Pack                                          4            3.54         14.15
800-0191   00016455228302   Americana Acrylic Paint 2oz-Deep Burgundy - Opaque                                                                   4            1.12          4.46
800-2495   00067898030113   Aran -Yarn Classic Wool                                                                                              4            4.72         18.86
800-0146   03700417114624   Arches 140 lb. Watercolor Block, Cold-Pressed, 10 x 14                                                               1           34.96         34.96
800-0150   03700417114617   Arches 140 lb. Watercolor Block, Cold-Pressed, 9 x 12                                                                3           29.39         88.17
800-0149   03700417114709   Arches 140 lb. Watercolor Block, Hot-Pressed, 9 x 12                                                                 5           29.39       146.95
800-0147   03700417950628   Arches Watercolor Block Paper - Cold Press - 140 lb - 12 x 16 inches                                                 3           41.63       124.89
800-0148   03700417134868   Arches Watercolor Pad - 10 x 14- 140 lb, Hot Press, Fold-over, 12 Sheets                                             9           13.83       124.47
800-0203   00762048101018   Art Institute Glitter Ultrafine Metal Tip-                                                                           7            2.16         15.11
800-0627   00766218005984   Art Paints & Pigment Powders                                                                                         8            0.70          5.58
800-3262   00726465262042   Aunt Lydia Classic Hot Pink Crochet - 3 Pack of 350y/320m - Cotton - Gauge 10 - Crochet                              1            5.76          5.76
800-3264   00726465261960   Aunt Lydia Classic Myrtle Green Crochet - 3 Pack of 350y/320m - Cotton - Gauge 10 - Crochet                          6            5.76         34.56
800-3258   00726465261816   Aunt Lydia Classic Shaded Blues Crochet - 3 Pack of 300y/274m - Cotton - Gauge 10 - Crochet                          1            5.76          5.76
800-3266   00726465262059   Aunt Lydia Classic Wasabi Crochet - 3 Pack of 350y/320m - Cotton - Gauge 10 - Crochet                                2            5.76         11.52
800-0207   00073650797224   Aunt Lydia's Classic Crochet Thread Size 10-Antique White                                                            4            1.92          7.68
800-0210   00073650908682   Aunt Lydia's Classic Crochet Thread Size 10-Burgundy                                                                 5            1.92          9.60
800-2259   00073650797217   Aunt Lydia's Classic Crochet Thread Size 10-Copper Mist                                                              5            1.92          9.60
800-0224   00073650907913   Aunt Lydia's Classic Crochet Thread Size 10-Pastels                                                                  3            1.92          5.76
800-0216   00073650907838   Aunt Lydias Crochet Cotton Classic Size 10 - Maize                                                                   5            1.92          9.60
800-2260   00073650767388   Aunt Lydia's Fashion Crochet Thread Size 3-White                                                                     1            1.58          1.58
800-0231   00043272004123   Aunt Martha's Iron-On Transfer Book, In The Line Of Duty                                                             3            2.38          7.13
800-0232   00043272004079   Aunt Martha's Iron-On Transfer Books                                                                                 7            2.38         16.63
800-2279   00043272004130   Aunt Martha's Iron-On Transfer Book-Tea Time                                                                         12           2.38         28.50
800-0237   08057252091302   Aurifil 2000 - Light Sand - Mako 50 Wt 100% Cotton Thread, 6,452 Yard Cone                                           6           26.93       161.59
800-3106   08057252091586   Aurifil 2250 - Red- Mako 50 Wt 100% Cotton Thread, 6,452 Yard Cone                                                   2           26.93         53.86
800-0238   08057252091654   Aurifil 2310 Mako 50 Wt 100% Cotton Thread, 6,452 Yard Cone Light Beige                                              6           26.93       161.59
800-3107   08057252092859   Aurifil 3817 - Marrakesh - Variegated - Mako 50 Wt 100% Cotton Thread, 6,452 Yard Cone                               6           26.93       161.59
800-4090   00300263307978   Aurifil 50wt Cotton 1,422yd - Black (2692)                                                                           2            7.37         14.73
800-4100   08057252099216   Aurifil 50wt Cotton 1,422yd - Light Beige                                                                            7            7.37         51.56
800-2240   08057252099827   Aurifil 50Wt Cotton 1,422Yd - Mist                                                                                   3            7.37         22.10
800-4091   00300263307985   Aurifil 50wt Cotton 1,422yd - Natural White                                                                          4            7.37         29.46
800-4099   00300263308067   Aurifil 50wt Cotton 1,422yd - White                                                                                  4            7.37         29.46
800-0241   08057252099841                           Case 24-11214-j11
                            Aurifil 50wt Cotton 1,422yd-Arctic   Sky         Doc 1 Filed 11/13/24 Entered 11/13/24 14:38:12 Page 63 of 181       3            7.37         22.10
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800-0013   08057252099896   Aurifil 50wt Cotton 1,422yd-Black                                                                                       2            7.37         14.73
800-2238   08057252098660   Aurifil 50wt Cotton 1,422yd-Blue Grey                                                                                   2            7.37         14.73
800-0249   08057252099803   Aurifil 50wt Cotton 1,422yd-Dove                                                                                        2            7.37         14.73
800-0251   08057252100189   Aurifil 50wt Cotton 1,422yd-Green                                                                                       9            7.37         66.29
800-0253   08057252100899   Aurifil 50wt Cotton 1,422yd-Grey Smoke                                                                                  10           7.37         73.65
800-0255   08057252099216   Aurifil 50wt Cotton 1,422yd-Light Beige                                                                                 8            7.37         58.92
800-0256   08057252100417   Aurifil 50wt Cotton 1,422yd-Marrakesh                                                                                   4            7.37         29.46
800-0257   08057252100011   Aurifil 50wt Cotton 1,422yd-Medium Delft Blue                                                                           3            7.37         22.10
800-0259   08057252098875   Aurifil 50wt Cotton 1,422yd-Natural White                                                                               16           7.37       117.84
800-0260   08057252099445   Aurifil 50Wt Cotton 1,422Yd-Oyster                                                                                      5            7.37         36.83
800-0021   08057252098882   Aurifil 50wt Cotton 1,422yd-White                                                                                       12           7.37         88.38
800-2239   08057252098981   Aurifil 50Wt Cotton Thread 1,422Yd - Spun Gold                                                                          7            7.37         51.56
800-0234   08057252091685   Aurifil 50wt Cotton Thread 6,452yd-Beige                                                                                5           26.93       134.66
800-3108   08057252092460   Aurifil 50wt Cotton Thread 6,452yd-Dark Navy                                                                            6           26.93       161.59
800-0267   08057252100608   Aurifil A1050-4644 Mako Cotton Thread Solid 50wt 1422yds, Smoke Blue                                                    2            7.37         14.73
800-0243   08057252098714   Aurifil Cotton Mako Thread Bark 1140 50Wt 1422Yd                                                                        11           7.37         81.02
800-0244   08057252099247   Aurifil Cotton Mako Thread Beige 2314 50wt 1422yd                                                                       6            7.37         44.19
800-2241   08057252099902   Aurifil Cotton Thread Mako 50wt 1300m - Light Robin's Egg MK50SC6 2710                                                  3            7.37         22.10
800-0247   08057252098806   Aurifil Cotton Thread Mako 50wt 1300m Dark Grey                                                                         5            7.37         36.83
800-0248   08057252100028   Aurifil Cotton Thread Mako 50WT 1300M Dark Navy MK50SC6 2784                                                            4            7.37         29.46
800-0258   08057252099223   Aurifil Cotton Thread Mako 50wt 1300m Muslin                                                                            1            7.37          7.37
800-0270   08057252100400   Aurifil Cotton Thread Mako 50wt 1300m Variegated - Stonewash Denim                                                      3            7.37         22.10
800-0265   08057252100509   Aurifil Cotton Thread Mako 50wt 1300m Variegated Silver Moon                                                            5            7.37         36.83
800-0246   08057252099377   Aurifil Ctn Thread Mako 50wt 1300m Chocolate                                                                            2            7.37         14.73
800-0250   08057252099230   Aurifil Ctn Thread Mako 50wt 1300m Ermine                                                                               4            7.37         29.46
800-0252   08057252099810   Aurifil Ctn Thread Mako 50wt 1300m Grey                                                                                 6            7.37         44.19
800-0254   08057252098868   Aurifil Ctn Thread Mako 50wt 1300m Light Sand                                                                           6            7.37         44.19
800-0263   08057252099162   Aurifil Ctn Thread Mako 50wt 1300m Red Wine                                                                             5            7.37         36.83
800-0272   08057252099308   Aurifil Ctn Thread Mako 50wt 1300m Sand                                                                                 3            7.37         22.10
800-0266   08057252099209   Aurifil Ctn Thread Mako 50wt 1300m Silver White                                                                         3            7.37         22.10
800-0268   08057252099865   Aurifil Ctn Thread Mako 50wt 1300m Stainless Steel                                                                      7            7.37         51.56
800-0271   08057252100691   Aurifil Ctn Thread Mako 50wt 1300m Vari Storm/Sea                                                                       4            7.37         29.46
800-3223   00499990207948   Aurifil Designer Thread Collection-Tula Pink, Homemade                                                                  1           63.45         63.45
800-0262   08057252099148   Aurifil Mako Cotton Thread 50 Weight 1422 Yard Spool Color 2250 Red                                                     9            7.37         66.29
800-0269   08057252099285   Aurifil Mako Cotton Thread 50 Weight 1422 Yard Spool Color 2324 Stone                                                   4            7.37         29.46
800-0261   08057252099452   Aurifil Mako Cotton Thread 50 Weight 1422 Yard Spool Color 2410 Pale Pink                                               4            7.37         29.46
800-0240   08057252099858                         Case50
                            Aurifil Mako Cotton Thread   24-11214-j11
                                                            Weight 1422 YardDoc 1 Color
                                                                             Spool  Filed 11/13/24
                                                                                        2615 AluminumEntered 11/13/24 14:38:12 Page 64 of 181       9            7.37         66.29
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  SKU         GTIN/UPC      Description                                                                                                     On Walmart   Cost Ea.   Total Cost
800-0242   08057252099483   Aurifil Mako Cotton Thread Baby Pink 2423 50wt 1422Yd                                                               3            7.37         22.10
800-3109   08057252091326   Aurifil Mako Cotton Thread Bright White 2024 Large Spool 50Wt 6452Yd                                                2           26.93         53.86
800-0235   08057252092248   Aurifil Mako Cotton Thread Dove Light Gray 2600 Large Spool 50Wt 6452Yd                                             4           26.93       107.72
800-0264   08057252099384   Aurifil Mako Cotton Thread Sandstone 2370 50Wt 1422Yd                                                               5            7.37         36.83
800-0239   08057252091319   Aurifil Natural White 2021 Cotton Thread 6452Yd 50Wt                                                                4           26.93       107.72
800-0275   00811568024632   Avery Elle Stamp & Die Storage Pockets 50/Pkg-Large 5.5X7.25                                                        10           5.85         58.50
800-0276   00811568024649   Avery Elle Stamp & Die Storage Pockets 50/Pkg-Small 5X5                                                             2            4.80          9.60
800-0277   00016321457096   Bagettes Heavy-Duty Reclosable Bags, 175/Pkg, Clear                                                                 8            1.73         13.82
800-4153   00300263308586   Battleship Grab & Go Game (Travel Size)                                                                             12           4.00         48.00
800-1102   00630509875719   Battleship Strategy Card Game for Kids and Family Ages 7 and Up, 2 Players                                          11           2.85         31.35
800-4083   00300263307893   Battleship Strategy Family Card Game Ages 7 and Up                                                                  6            2.85         17.10
800-2684   00048533541829   BEAD FUN TRIANGLE BOX                                                                                               9           17.49       157.37
800-0284   00035926100756   Beadalon Beeswax Thread Conditioner                                                                                 11           1.36         14.91
800-3050   00035926048591   Beadalon Crimp Beads, Silver-Plated 2.5mm, 1.5g Bag (Approx. 45/Pkg.)                                               9            1.31         11.78
800-2774   00035926107915   Beadalon German Style Wire-Antique Brass - 20 Gauge, 19.68'                                                         2            2.11          4.21
800-2776   00035926087309   Beadalon German Style Wire-Gold Round - 24 Gauge, 37.4'                                                             7            2.19         15.30
800-1985   00035926095731   Beadalon Wildfire Beading Thread, Frost, .006 Inches, 50 Yard Spool                                                 2            5.25         10.50
800-1422   00057355339583   Beehive Baby Sport Yarn - Solids-Baby Grey Marl                                                                     2            2.71          5.42
800-0288   00057355379312   Bernat Baby Blanket 6 Super Bulky Polyester Yarn, Little Boy Dove 3.5oz/100g, 72 Yards                              2            2.52          5.04
800-0289   00057355379305   Bernat Baby Blanket Small Ball Yarn                                                                                 15           2.52         37.77
800-0310   00057355393028   Bernat Handicrafter 4 Medium Cotton Yarn, French Blue 1.75oz/50g, 80 Yards                                          9            1.14         10.22
800-2030   00057355393042   Bernat Handicrafter 4 Medium Cotton Yarn, Overcast 1.75oz/50g, 80 Yards                                             6            1.14          6.81
800-3082   00057355431539   Bernat Handicrafter Cotton Yarn - Ombres-Beach Ball Blue                                                            3            7.49         22.46
800-3073   00057355431355   Bernat Handicrafter Cotton Yarn - Ombres-By The Sea                                                                 4            7.49         29.94
800-3075   00057355431423   Bernat Handicrafter Cotton Yarn - Ombres-Marble Print                                                               9            7.49         67.37
800-0315   00057355466586   Bernat Handicrafter Cotton Yarn - Solids-Meadow                                                                     4            1.14          4.54
800-2031   00057355413726   Bernat Handicrafter Cotton Yarn - Solids-Teal                                                                       5            1.14          5.68
800-2452   00057355393073   BERNAT HANDICRAFTER COTTON YARN (50G/1.5 OZ), CLASSIC NAVY                                                          9            1.14         10.22
800-2029   00057355402676   Bernat Handicrafter Cotton Yarn (50G/1.5 Oz), Emerald                                                               4            1.14          4.54
800-0311   00057355393196   BERNAT HANDICRAFTER COTTON YARN (50G/1.5 OZ), HOT GREEN                                                             1            1.14          1.14
800-0313   00057355393097   Bernat Handicrafter Cotton Yarn (50G/1.5 Oz), Indigo                                                                8            1.14          9.08
800-2453   00057355393080   Bernat Handicrafter Cotton Yarn (50G/1.5 Oz), Mod Blue                                                              10           1.14         11.35
800-0316   00057355385511   Bernat Handicrafter Cotton Yarn (50G/1.5 Oz), Off White                                                             7            1.14          7.95
800-0317   00057355385528   BERNAT HANDICRAFTER COTTON YARN (50G/1.5 OZ), PALE YELLOW                                                           11           1.14         12.49
800-0319   00057355402669   Bernat Handicrafter Cotton Yarn (50G/1.5 Oz), Red                                                                   7            1.14          7.95
800-2454   00057355385542   Bernat Handicrafter Cotton Yarn (50G/1.5 Oz), Robins Egg                                                            19           1.14         21.57
800-0320   00057355393189                          CaseYarn
                            Bernat Handicrafter Cotton   24-11214-j11       Doc 1 Filed 11/13/24 Entered 11/13/24 14:38:12 Page 65 of 181
                                                             (50G/1.5 Oz), Tangerine                                                            5            1.14          5.68
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  SKU         GTIN/UPC      Description                                                                                                           On Walmart   Cost Ea.   Total Cost
800-0044   00057355393110   Bernat Handicrafter Cotton Yarn (50G/1.5 Oz), Warm Brown                                                                  10           1.14         11.35
800-0322   00057355431607   Bernat Handicrafter Cotton Yarn 340g - Ombres-Creamsicle                                                                  4            7.49         29.94
800-2028   00057355393165   Bernat Handicrafter Cotton Yarn, 1.75 Oz, Country Red                                                                     16           1.14         18.16
800-3081   00057355431522   Bernat Handicrafter Cotton Yarn, Gauge 4 Medium Worsted, Crown Jewles                                                     4            7.49         29.94
800-3076   00057355431430   Bernat Handicrafter Cotton Yarn, Gauge 4 Medium Worsted, Hippi                                                            9            7.49         67.37
800-0323   00057355431669   Bernat Handicrafter Cotton Yarn, Gauge 4 Medium Worsted, June Bug                                                         7            7.49         52.40
800-2480   00057355339248   Bernat Light Acrylic Gray Yarn, 362 yd                                                                                    6            3.45         20.69
800-2482   00057355255845   Bernat Softee Baby Yarn                                                                                                   6            3.45         20.69
800-0009   00057355351189   Bernat Softee Chunky Yarn                                                                                                 1            1.94          1.94
800-0089   00057355351356   Bernat Softee Chunky Yarn (100G/3.5Oz), Dark Green                                                                        7            1.94         13.61
800-0363   00057355351240   Bernat Softee Chunky Yarn (100G/3.5Oz), True Gray                                                                         1            1.94          1.94
800-0360   00057355351196   Bernat Softee Chunky Yarn, 100g, Soft Taupe                                                                               4            1.94          7.78
800-2439   00057355367142   Bernat Super Bulky 100% Polyester Sand Yarn, 72 yd                                                                        1            2.52          2.52
800-2465   00057355097773   Bernat Super Value Yarn, Light Damson, 7oz(197g), Medium, Acrylic                                                         2            3.13          6.27
800-2473   00057355315853   Bernat® Super Value™ #4 Medium Acrylic Yarn, Grass 7oz/197g, 426 Yards                                                    6            3.13         18.80
800-3297   00057355529496   Bernat® Super Value™ #4 Medium Acrylic Yarn, Teal Heather 7oz/197g, 426 Yards (3 Pack)                                    2            9.40         18.80
800-0397   00026521019864   Berwick 1C-08 Crimped Curling Ribbon 3/16 Inch Wide X 500 Yards                                                           11           1.24         13.64
800-0384   00026521354019   Berwick 77 Splendorette Crimped Curling Ribbon, 3/16-Inch Wide by 500-Yard Spool, Baby Blue                               11           1.24         13.64
800-0415   00026521028477   Berwick Crimped Curling Ribbon .1875X66'-Beauty                                                                           7            0.26          1.79
800-0419   00026521028460   Berwick Crimped Curling Ribbon .1875X66'-Pink                                                                             14           0.26          3.57
800-0429   00026521011578   Berwick Crimped Curling Ribbon .1875X66'-White                                                                            5            0.26          1.28
800-0428   00026521099279   Berwick Crimped Curling Ribbon .1875X66'-Yellow                                                                           7            0.26          1.79
800-0420   00026521028545   Berwick Flat Curling Ribbon .1875X66'-Gold Glitter                                                                        12           0.26          3.06
800-0426   00026521028552   Berwick Flat Curling Ribbon .1875X66'-Silver Glitter                                                                      17           0.26          4.34
800-0421   00026521011585   Berwick Flat Curling Ribbon .1875X66'-White Iridescent                                                                    4            0.26          1.02
800-3823   00741498714030   Berwick Holiday Splendorette Mini-Keg Curling Ribbon, Multicolor, 6-Pack, 3/16in x 66 Feet                                10           1.53         15.30
800-0425   00026521099194   Berwick Offray 30212 66 ft. Lacquer Curling Ribbon&#44; Red                                                               2            0.26          0.51
800-0404   00026521954417   Berwick Offray 78294 500 Yard Crimped Ribbon&#44; Yellow                                                                  6            1.24          7.44
800-0812   00026521028392   Berwick Offray Blue (Royal Blue) Curling Ribbon                                                                           2            0.26          0.51
800-0417   00026521227856   Berwick Offray Fresh Lime (Lime Green) Curling Ribbon                                                                     3            0.26          0.77
800-0418   00026521028446   Berwick Offray Green Curling Ribbon                                                                                       3            0.26          0.77
800-0422   00026521028378   Berwick Offray Light Blue Curling Ribbon                                                                                  6            0.26          1.53
800-0423   00026521032146   Berwick Offray Perfect Purple (Purple) Curling Ribbon                                                                     2            0.26          0.51
800-0388   00091869380624   Berwick Splendorette 3/16 x 500yds - Black Lacquer                                                                        14           0.17          2.33
800-0407   00091869380617   Berwick Splendorette 3/16 x 500yds - Red Lacquer                                                                          31           0.17          5.17
800-1827   00026521204970   Berwick Splendorette Crimped Curling Ribbon .1875X500yd-Citrus                                                            4            2.80         11.20
800-0411   00026521353654   Berwick Splendorette Case    24-11214-j11
                                                   Crimped                  Doc 1 Filed 11/13/24
                                                            Curling Ribbon .1875X500yd-Tropical Orange Entered 11/13/24 14:38:12 Page 66 of 181       4            1.24          4.96
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800-0385   00026521354132   Berwick Splendorette Crimped Curling Ribbon, 3/16-Inch Wide by 500-Yard Spool, Baby Pink                            7            1.24          8.68
800-0400   00026521019741   Berwick Splendorette Crimped Curling Ribbon, 3/16-Inch Wide by 500-Yard Spool, Mint Multi-Colored                   4            1.24          4.96
800-0401   00026521019918   Berwick Splendorette Crimped Curling Ribbon, 3/16-Inch Wide By 500-Yard Spool, Navy Multi-Colored                   13           1.24         16.12
800-0403   00026521496276   Berwick Splendorette Crimped Curling Ribbon, 3/16-Inch Wide by 500-Yard Spool, Orchid                               17           1.24         21.08
800-0383   00026521019819   Berwick Splendorette CrimpedCurling Ribbon, 3/16-Inch Wide by 500-Yard Spool, Azalea                                12           1.24         14.88
800-0390   00026521143866   Berwick Splendorette Curling Ribbon 3/16 x 500yds - Celadon                                                         17           1.24         21.08
800-0433   00499994257918   Best Creation Double-Sided Foam Tape-Small Squares                                                                  2            0.60          1.20
800-0434   00813406013303   Best Creation Glitter Tape 15mmX5m-White                                                                            8            1.00          7.96
800-0416   00026521028453   Black Curling Ribbon, 1 Roll                                                                                        8            0.26          2.04
800-2928                    Bo-Nash Iron Clean Cleaning Cloths-10/Pkg                                                                           23           2.25         51.64
800-3048   00070659887772   Bondex 2'x32' Yellow Iron-One Florescent Reflective Tape                                                            17           2.17         36.96
800-2007   00070659571237   Bondex Iron-on Patch Black 5in x 7in                                                                                3            0.87          2.60
800-1103   00630509271009   Bop It! Micro Series Game, for Ages 8+, Play Solo or With Friends                                                   13           9.00       117.00
800-2897   00834875046418   Bosal Polytherm Fleece 100% Poly 31x36 White                                                                        4            5.77         23.08
800-2242   00874155004134   Brittany Cable Knitting Needles 3.75 3/Pkg-Sizes 2.5/3mm, 4/3.5mm & 7/4.5mm                                         2            3.50          7.00
800-1670   00073650785023   C&C Red Heart Soft Yarn 5oz 256yd Navy                                                                              11           2.95         32.43
800-0449   00644256305573   C&D Visionary Love Wins                                                                                             3            3.18          9.53
800-1429   00057355334472   Canadiana Yarn - Solids-Dark Green Tea, Pk 6, Patons                                                                1            2.94          2.94
800-1437   00057355334298   Canadiana Yarn - Solids-Winter White, Pk 6, Patons                                                                  10           2.94         29.39
800-1417   00093432356005   Candle Cup with Spike 2pk, Green                                                                                    3            1.73          5.18
800-2795   00023535680042   Candy Baking Flavoring .125oz 2/Pkg - Cheesecake                                                                    1            1.67          1.67
800-2796   00023535080040   Candy & Baking Flavoring .125oz 2/Pkg-Clove Oil(D0102HHJ1L2.)                                                       1            1.67          1.67
800-2986   00023535190046   Candy and Baking Flavoring, 0.125oz Bottle, 2/Pkg                                                                   2            1.67          3.34
800-2984   00023535180047   Candy and Baking Flavoring, 0.125oz Bottle, 2/Pkg                                                                   3            1.67          5.01
800-4046   00195166231075   Candy Land Grab and Go Game for Ages 3 and Up, Travel Game                                                          3            4.00         12.00
800-0453   03148950103307   Canson Artist Series Mix Media Pad, 5.5in x 8.5in 30 Sheets/Pad                                                     24           2.59         62.16
800-0815   03148955729045   Canson Artist Series Pro-Layout Marker Pad 9in x 12in 50 Sheets/Pad                                                 4            6.74         26.96
800-0456   03148955726730   Canson Foundation Tracing Paper Pad: 9 x 12 inches                                                                  9            2.30         20.70
800-0468   03148955711057   Canson Self-Adhesive Photo Corner Sheet, Black                                                                      25           3.73         93.25
800-0454   03148955723838   Canson Universal Heavy-Weight Sketch Pad, 100 Sheets/Pad, 5-1/2 x 8-1/2                                             5            4.06         20.30
800-0455   03148955723890   Canson Universal Heavy-Weight Sketch Pad, 11 x 14                                                                   6            8.84         53.04
800-0462   03148955725894   Canson XL Mix Media Artist Pad, 11' x 14', 60 Sheets                                                                4           10.83         43.32
800-0459   03148950099235   Canson XL Series Drawing Paper Pad, Side Wire Binding, (70lb/114g), 60 Sheet, 5.5 x 8.5                             3            3.22          9.66
800-0466   03148950112156   Canson XL Series Watercolor Paper Pad, Wire Binding, (140lb/300g), 30 Sheet, 9 x 12                                 2            7.61         15.22
800-0389   00026521826226   Caribbean Blue Curling Ribbon, 3/16x500 yards                                                                       10           1.24         12.40
800-0471   00035613975087   CARON SIMPLY SOFT HEATHERS YARN (141G/5OZ), CHARCOAL HEATHER                                                        6            3.00         18.01
800-0483   00035613977562   Caron Simply Soft Yarn,Case  24-11214-j11
                                                     Lavender Blue          Doc 1 Filed 11/13/24 Entered 11/13/24 14:38:12 Page 67 of 181       1            3.00          3.00
                                                                                Inventory on Walmart
  SKU         GTIN/UPC      Description                                                                                                        On Walmart   Cost Ea.   Total Cost
800-0840   00072879443240   Ceiling Pleater Hooks, 10pk, 4 Ends                                                                                    30           2.89         86.79
800-0503   00017158701222   Ceramcoat Protect Sparkle Glaze - 2oz                                                                                  3            1.56          4.69
800-2341   00775749049152   Chenille Stems 6mmX12 40/Pkg-Pastel Mix                                                                                2            0.98          1.96
800-0391   00026521691824   Chocolate Brown Curling Ribbon - 3/16in. x 500 Yards (c3ch)                                                            5            1.24          6.20
800-3895   00633356710745   Cinch Wires .75 2/Pkg-Rose                                                                                             7            1.74         12.21
800-0509   00051221356216   Clover Chibi Darning Needle Set-Size 13/20 3/Pkg                                                                       3            3.37         10.11
800-0513   00051221528033   Clover Fusible Web Tape, 40'                                                                                           2            2.18          4.37
800-0514   00051221403187   Clover Gold Eye Tapestry Needles-Size 18/22 6/Pkg                                                                      14           0.99         13.92
800-2920   00051221500138   Clover Needlecraft Hera Marker                                                                                         4            2.91         11.64
800-2931   00051221508615   Clover Ring Thimble-Adjustable                                                                                         4            1.58          6.30
800-2251   00051221251603   CLOVER Takumi Bamboo Circular 16-Inch Knitting Needles, Size 10                                                        1            4.24          4.24
800-0518                    Clover Thumb Tacks-.4375 50/Pkg                                                                                        5            1.92          9.58
800-2930   00051221523090   Clover Water-Soluble Pencil-Pink                                                                                       3            1.82          5.46
800-2545   00717968166517   Clubhouse Crafts Wood Pony Beads, 90 pack                                                                              5            1.65          8.23
800-1104   00630509858033   Clue Card Game for Kids Ages 8 and Up, 3-4 Players Strategy Game                                                       6            2.85         17.11
800-4085   00300263307916   Clue Family Card Game for ages 8 and Up, 3-4 Players Strategy Game                                                     3            2.85          8.55
800-0520   00630509277773   Clue Grab & Go Game - the compact mobile version from Hasbro Gaming                                                    67           4.00       268.00
800-3991   00195166230993   Clue Grab and Go Game, Portable Game for 3-6 Players, Travel Game for Kids                                             11           4.00         44.00
800-0944   00073650780271   Coats - Thread & Zippers S950-7450 Dual Duty XP Heavy Thread 125 Yards-Temple Gold                                     3            0.99          2.97
800-0577   00073650893902   Coats - Thread &amp; Zippers 32581 Sport Separating Zipper 26 in. -White                                               1            1.83          1.83
800-3807   00741498711862   Coats & Clark - Dual Duty XP Heavy Weight Thread 125yds 4-Color Pack (Black, White, Slate, Natural)                    9            3.96         35.60
800-3234   00656729985755   Coats & Clark All Purpose Thread 400 Yards White One Spool of Yarn 2 Pack                                              15           2.62         39.36
800-0882   00073650793097   Coats & Clark Dual Duty Heavy Cream Cotton/Polyester Thread, 125 Yards                                                 4            1.61          6.44
800-3245   00656729993286   COATS & CLARK Dual Duty Plus Denim Thread, 125-Yard, Denim Blue (3)                                                    7            2.84         19.91
800-0542   00073650792991   Coats & Clark Dual Duty Plus Hand Quilt Thread - 325 YDS, RIVER BLUE                                                   17           1.61         27.39
800-0890   00073650793080   Coats & Clark Dual Duty Plus Hand Quilting Thread, 325 Yards, 25 Weight, Natural                                       14           1.61         22.55
800-0551   00073650779695   Coats & Clark Dual Duty XP General Purpose Thread - 500 YDS, BLACK                                                     1            2.29          2.29
800-0554   00073650779688   Coats & Clark Dual Duty XP General Purpose Thread - 500 YDS, WINTER WHITE                                              1            2.29          2.29
800-3248   00617395445721   Coats & Clark Dual Duty XP General Purpose Thread, 400 Yards, Black, ONE spool of yarn 3 Pack                          29           3.94       114.14
800-0565   00073650825422   Coats & Clark Outdoor Black Polyester Thread, 200 Yards                                                                12           2.84         34.12
800-0566   00073650825507   Coats & Clark Outdoor Thread - 200 YDS, BUFF                                                                           1            2.84          2.84
800-0971   00073650797460   Coats & Clark Upholstery Thread - 150 YDS, CHONA BROWN                                                                 5            1.29          6.45
800-0523   00073650389863   Coats All-Purpose Plastic Zipper 12-Forest Green                                                                       3            0.86          2.58
800-0524   00073650826986   Coats All-Purpose Plastic Zipper 9-Sun Yellow                                                                          3            0.80          2.40
800-0112   00073650824111   Coats Black Cotton Polyester Blend Sewing Thread, 60 yd                                                                2            0.92          1.85
800-2550   00073650806452   Coats Cotton Covered Quilting & Piecing Thread 250yd-Ecru                                                              6            1.66          9.95
800-0525   00073650806360   Coats Cotton CoveredCase      24-11214-j11
                                                   Quilting & Piecing ThreadDoc  1 Filed
                                                                             250yd-Lime    11/13/24 Entered 11/13/24 14:38:12 Page 68 of 181
                                                                                        Green                                                      4            1.66          6.63
                                                                                  Inventory on Walmart
  SKU         GTIN/UPC      Description                                                                                                            On Walmart   Cost Ea.   Total Cost
800-0526   00073650806308   Coats Cotton Covered Quilting & Piecing Thread 250yd-Navy                                                                  4            1.66          6.63
800-0527   00073650806261   Coats Cotton Covered Quilting & Piecing Thread 250yd-Purple                                                                3            1.66          4.97
800-2903   00073650806223   Coats Cotton Covered Quilting & Piecing Thread 250yd-Red                                                                   2            1.66          3.32
800-0528   00073650806377   Coats Cotton Covered Quilting & Piecing Thread 250yd-Yellow                                                                3            1.66          4.97
800-0530   00073650138010   Coats Dual Duty All-Purpose Thread 400yd-Black                                                                             11           1.31         14.43
800-0007   00073650138003   Coats Dual Duty All-Purpose White Thread, 400 Yd.                                                                          39           1.31         51.17
800-0585   00073650792793   Coats Dual Duty Plus Button & Carpet Thread 50yd - Red                                                                     6            0.71          4.26
800-0578   00073650792854   Coats Dual Duty Plus Button & Carpet Thread 50yd-Chona Brown                                                               5            0.71          3.55
800-0580   00073650792830   Coats Dual Duty Plus Button & Carpet Thread 50yd-Cream                                                                     8            0.71          5.68
800-0581   00073650792847   Coats Dual Duty Plus Button & Carpet Thread 50yd-Dogwood                                                                   6            0.71          4.26
800-0582   00073650792816   Coats Dual Duty Plus Button & Carpet Thread 50yd-Forest Green                                                              7            0.71          4.97
800-0583   00073650792823   Coats Dual Duty Plus Button & Carpet Thread 50yd-Natural                                                                   1            0.71          0.71
800-0584   00073650792809   Coats Dual Duty Plus Button & Carpet Thread 50yd-Navy                                                                      3            0.71          2.13
800-0531   00073650792779   Coats Dual Duty Plus Button & Carpet Thread 50yd-Slate                                                                     11           0.71          7.81
800-0586   00073650792762   Coats Dual Duty Plus Button & Carpet Thread 50yd-White                                                                     9            0.71          6.39
800-0532   00073650797521   Coats Dual Duty Plus Denim Thread 125yd-Denim Blue                                                                         3            0.95          2.84
800-0533   00073650792892   Coats Dual Duty Plus Hand Quilting Thread 325yd-Almond Pink                                                                14           1.61         22.55
800-0534   00073650792885   Coats Dual Duty Plus Hand Quilting Thread 325yd-Black                                                                      24           1.61         38.66
800-0535   00073650792953   Coats Dual Duty Plus Hand Quilting Thread 325yd-Blue                                                                       2            1.61          3.22
800-0880   00073650793011   Coats Dual Duty Plus Hand Quilting Thread 325yd-Bronze Green                                                               10           1.61         16.11
800-0881   00073650793134   Coats Dual Duty Plus Hand Quilting Thread 325yd-Chona Brown                                                                3            1.61          4.83
800-0883   00073650793127   Coats Dual Duty Plus Hand Quilting Thread 325yd-Dogwood                                                                    12           1.61         19.33
800-0884   00073650793103   Coats Dual Duty Plus Hand Quilting Thread 325yd-Ecru                                                                       6            1.61          9.67
800-0885   00073650793028   Coats Dual Duty Plus Hand Quilting Thread 325yd-Field Green                                                                8            1.61         12.89
800-0887   00073650793110   Coats Dual Duty Plus Hand Quilting Thread 325yd-Golden Tan                                                                 11           1.61         17.72
800-0888   00073650793004   Coats Dual Duty Plus Hand Quilting Thread 325yd-Green Linen                                                                4            1.61          6.44
800-0537   00073650792915   Coats Dual Duty Plus Hand Quilting Thread 325yd-Hot Pink                                                                   2            1.61          3.22
800-0889   00073650793059   Coats Dual Duty Plus Hand Quilting Thread 325yd-Mine Gold                                                                  3            1.61          4.83
800-0538   00073650792977   Coats Dual Duty Plus Hand Quilting Thread 325yd-Miniature Blue                                                             5            1.61          8.06
800-0539   00073650792984   Coats Dual Duty Plus Hand Quilting Thread 325yd-Navy                                                                       23           1.61         37.05
800-0540   00073650792908   Coats Dual Duty Plus Hand Quilting Thread 325yd-Pink -S960-1210                                                            12           1.61         19.33
800-0541   00073650792922   Coats Dual Duty Plus Hand Quilting Thread 325yd-Red                                                                        6            1.61          9.67
800-0891   00073650793073   Coats Dual Duty Plus Hand Quilting Thread 325yd-Rum Raisin                                                                 8            1.61         12.89
800-0543   00073650792878   Coats Dual Duty Plus Hand Quilting Thread 325yd-Slate                                                                      2            1.61          3.22
800-0892   00073650793042   Coats Dual Duty Plus Hand Quilting Thread 325yd-Yellow                                                                     4            1.61          6.44
800-0546   00073650000874   Coats Dual Duty XP All Purpose Thread 250yd Spools-4/Pkg Dark Brown, Natural, Pearl & Tan                                  7            4.83         33.84
800-0548   00073650000867   Coats Dual Duty XP AllCase  24-11214-j11
                                                   Purpose                Doc 1 Filed
                                                           Thread 250yd Spools-4/Pkg     11/13/24
                                                                                     Winter          Entered
                                                                                            White, Navy,        11/13/24 14:38:12 Page 69 of 181
                                                                                                         Red & Nugrey                                  17           4.83         82.18
                                                                             Inventory on Walmart
  SKU         GTIN/UPC      Description                                                                                                 On Walmart   Cost Ea.   Total Cost
800-4110   00300263308166   Coats Dual Duty XP General Purpose Thread 125yd - Bright Red                                                    6            0.71          4.26
800-4111   00300263308173   Coats Dual Duty XP General Purpose Thread 125yd - Navy                                                          6            0.71          4.26
800-2902   00073650776366   Coats Dual Duty XP General Purpose Thread 125yd-Bright Red                                                      6            0.71          4.26
800-0893   00073650776151   Coats Dual Duty XP General Purpose Thread 125yd-Navy                                                            13           0.71          9.23
800-0587   00073650776489   Coats Dual Duty XP General Purpose Thread 125yd-Neon Orange                                                     3            0.71          2.13
800-0588   00073650776335   Coats Dual Duty XP General Purpose Thread 125yd-Neon Pink                                                       2            0.71          1.42
800-0589   00073650776434   Coats Dual Duty XP General Purpose Thread 125yd-Neon Yellow                                                     3            0.71          2.13
800-4102   00300263308098   Coats Dual Duty XP General Purpose Thread 250yd - Black                                                         6            1.35          8.12
800-4101   00300263308081   Coats Dual Duty XP General Purpose Thread 250yd - Celestial Black S910-0950                                     6            1.35          8.12
800-4104   00300263308111   Coats Dual Duty XP General Purpose Thread 250yd - Winter White                                                  4            1.35          5.42
800-2132   00073650776656   Coats Dual Duty XP General Purpose Thread 250yd-Arctic White                                                    3            1.35          4.06
800-0894   00073650777219   Coats Dual Duty XP General Purpose Thread 250yd-Bayberry Red                                                    6            1.35          8.12
800-0054   00073650776793   Coats Dual Duty XP General Purpose Thread 250yd-Black                                                           16           1.35         21.66
800-2551   00073650777844   Coats Dual Duty XP General Purpose Thread 250yd-Blue Jay                                                        9            1.35         12.19
800-0053   00073650779268   Coats Dual Duty XP General Purpose Thread 250yd-Buff                                                            6            1.35          8.12
800-0052   00073650776809   Coats Dual Duty XP General Purpose Thread 250yd-Celestial Black                                                 5            1.35          6.77
800-0895   00073650779503   Coats Dual Duty XP General Purpose Thread 250yd-Cocoon                                                          3            1.35          4.06
800-0896   00073650778667   Coats Dual Duty XP General Purpose Thread 250yd-Dark Forest                                                     7            1.35          9.48
800-0898   00073650778018   Coats Dual Duty XP General Purpose Thread 250yd-Dark Navy                                                       4            1.35          5.42
800-0051   00073650776717   Coats Dual Duty XP General Purpose Thread 250yd-Dark Silver                                                     6            1.35          8.12
800-0899   00073650827532   Coats Dual Duty XP General Purpose Thread 250yd-Dark Slate                                                      3            1.35          4.06
800-0900   00073650778575   Coats Dual Duty XP General Purpose Thread 250yd-Emerald                                                         6            1.35          8.12
800-0901   00073650778629   Coats Dual Duty XP General Purpose Thread 250yd-Field Green                                                     6            1.35          8.12
800-0902   00073650778650   Coats Dual Duty XP General Purpose Thread 250yd-Forest Green                                                    6            1.35          8.12
800-0065   00073650777981   Coats Dual Duty XP General Purpose Thread 250yd-Freedom Blue                                                    12           1.35         16.25
800-0903   00073650778421   Coats Dual Duty XP General Purpose Thread 250yd-Green Linen                                                     14           1.35         18.96
800-2552   00073650777134   Coats Dual Duty XP General Purpose Thread 250yd-Hero Red                                                        4            1.35          5.42
800-0064   00073650778643   Coats Dual Duty XP General Purpose Thread 250yd-Hunter Green                                                    7            1.35          9.48
800-0904   00073650776724   Coats Dual Duty XP General Purpose Thread 250yd-Light Slate                                                     12           1.35         16.25
800-0906   00073650778469   Coats Dual Duty XP General Purpose Thread 250yd-Light Tourmaline                                                10           1.35         13.54
800-0907   00073650827617   Coats Dual Duty XP General Purpose Thread 250yd-Light Vintage Purple                                            6            1.35          8.12
800-0908   00073650777431   Coats Dual Duty XP General Purpose Thread 250yd-Lilac                                                           10           1.35         13.54
800-0909   00073650827563   Coats Dual Duty XP General Purpose Thread 250yd-Medium Coral                                                    5            1.35          6.77
800-0910   00073650778223   Coats Dual Duty XP General Purpose Thread 250yd-Mist Aqua                                                       4            1.35          5.42
800-0911   00073650777707   Coats Dual Duty XP General Purpose Thread 250yd-Monaco Blue                                                     5            1.35          6.77
800-0912   00073650779473   Coats Dual Duty XP General Purpose Thread 250yd-Mushroom                                                        13           1.35         17.60
800-0913   00073650779220                       CasePurpose
                            Coats Dual Duty XP General  24-11214-j11    Doc 1 Filed 11/13/24 Entered 11/13/24 14:38:12 Page 70 of 181
                                                               Thread 250yd-Natural                                                         4            1.35          5.42
                                                                                 Inventory on Walmart
  SKU         GTIN/UPC      Description                                                                                                     On Walmart   Cost Ea.   Total Cost
800-0914   00073650777998   Coats Dual Duty XP General Purpose Thread 250yd-Navy                                                                3            1.35          4.06
800-0915   00073650778537   Coats Dual Duty XP General Purpose Thread 250yd-Nile Green                                                          3            1.35          4.06
800-0916   00073650776700   Coats Dual Duty XP General Purpose Thread 250yd-Nugrey                                                              4            1.35          5.42
800-0917   00073650779008   Coats Dual Duty XP General Purpose Thread 250yd-Orange                                                              12           1.35         16.25
800-0918   00073650827648   Coats Dual Duty XP General Purpose Thread 250yd-Pale Yellow                                                         9            1.35         12.19
800-0919   00073650777783   Coats Dual Duty XP General Purpose Thread 250yd-Pilot Blue                                                          4            1.35          5.42
800-2553   00073650776878   Coats Dual Duty XP General Purpose Thread 250yd-Pink                                                                7            1.35          9.48
800-0920   00073650777486   Coats Dual Duty XP General Purpose Thread 250yd-Purple                                                              2            1.35          2.71
800-0922   00073650827594   Coats Dual Duty XP General Purpose Thread 250yd-Seafoam                                                             10           1.35         13.54
800-0923   00073650776731   Coats Dual Duty XP General Purpose Thread 250yd-Slate                                                               2            1.35          2.71
800-0924   00073650777837   Coats Dual Duty XP General Purpose Thread 250yd-Soldier Blue                                                        4            1.35          5.42
800-0925   00073650776748   Coats Dual Duty XP General Purpose Thread 250yd-Stone                                                               4            1.35          5.42
800-0926   00073650779381   Coats Dual Duty XP General Purpose Thread 250yd-Summer Brown                                                        3            1.35          4.06
800-0927   00073650778810   Coats Dual Duty XP General Purpose Thread 250yd-Sun Yellow                                                          12           1.35         16.25
800-0928   00073650778063   Coats Dual Duty XP General Purpose Thread 250yd-Treasure Blue                                                       9            1.35         12.19
800-0929   00073650777653   Coats Dual Duty XP General Purpose Thread 250yd-True Blue                                                           11           1.35         14.89
800-2043   00073650776670   Coats Dual Duty XP General Purpose Thread 250yd-Winter White                                                        3            1.35          4.06
800-0930   00073650777806   Coats Dual Duty XP General Purpose Thread 250yd-Yale Blue                                                           3            1.35          4.06
800-0931   00073650780202   Coats Dual Duty XP Heavy Thread 125yd-Barberry Red                                                                  7            0.99          6.92
800-0932   00073650780332   Coats Dual Duty XP Heavy Thread 125yd-Chona Brown                                                                   3            0.99          2.97
800-0933   00073650780295   Coats Dual Duty XP Heavy Thread 125yd-Cream                                                                         10           0.99          9.89
800-0934   00073650780318   Coats Dual Duty XP Heavy Thread 125yd-Dark Khaki                                                                    8            0.99          7.91
800-0045   00073650780264   Coats Dual Duty XP Heavy Thread 125yd-Forest Green                                                                  17           0.99         16.81
800-0936   00073650780257   Coats Dual Duty XP Heavy Thread 125yd-Green Linen                                                                   11           0.99         10.88
800-0937   00073650780219   Coats Dual Duty XP Heavy Thread 125yd-Maroon                                                                        12           0.99         11.87
800-0938   00073650780226   Coats Dual Duty XP Heavy Thread 125yd-Monaco Blue                                                                   2            0.99          1.98
800-0940   00073650780240   Coats Dual Duty XP Heavy Thread 125yd-Navy                                                                          2            0.99          1.98
800-0941   00073650780196   Coats Dual Duty XP Heavy Thread 125yd-Red                                                                           15           0.99         14.84
800-4108   00300263308142   Coats Dual Duty XP Heavy Thread 125yds - Green Linen s950-6180                                                      8            0.99          7.91
800-0942   00073650780165   Coats Dual Duty XP Heavy Thread 125yd-Slate                                                                         12           0.99         11.87
800-0943   00073650780301   Coats Dual Duty XP Heavy Thread 125yd-Spice                                                                         10           0.99          9.89
800-0556   00073650780158   Coats Dual Duty XP Heavy Thread 125yd-White                                                                         3            0.99          2.97
800-0559   00073650022586   Coats Eloflex Stretch Thread 225yd-Black                                                                            10           1.61         16.11
800-0560   00073650022852   Coats Eloflex Stretch Thread 225yd-Dark Brown                                                                       3            1.61          4.83
800-0561   00073650022807   Coats Eloflex Stretch Thread 225yd-Natural                                                                          5            1.61          8.06
800-0562   00073650022555   Coats Eloflex Stretch Thread 225yd-White                                                                            6            1.61          9.67
800-0970   00073650797408                          Case 24-11214-j11
                            Coats Extra Strong Upholstery                 Doc 1 Filed 11/13/24
                                                          Thread 150yd-Black                     Entered 11/13/24 14:38:12 Page 71 of 181       3            1.29          3.87
                                                                               Inventory on Walmart
  SKU         GTIN/UPC      Description                                                                                                     On Walmart   Cost Ea.   Total Cost
800-0972   00073650797453   Coats Extra Strong Upholstery Thread 150yd-Driftwood                                                                4            1.29          5.16
800-0973   00073650797422   Coats Extra Strong Upholstery Thread 150yd-Green Linen                                                              9            1.29         11.61
800-0974   00073650797446   Coats Extra Strong Upholstery Thread 150yd-Hemp                                                                     7            1.29          9.03
800-0564   00073650794049   Coats Metallic Thread 125yd-Copper                                                                                  6            1.55          9.28
800-0563   00073650797439   Coats Natural Nylon Sewing Thread, 150 yd                                                                           17           1.29         21.93
800-0567   00073650825460   Coats Outdoor Living Thread 200yd-Caribbean Blue                                                                    8            2.84         22.74
800-0568   00073650825484   Coats Outdoor Living Thread 200yd-Chartreuse                                                                        3            2.84          8.53
800-0569   00073650825514   Coats Outdoor Living Thread 200yd-Dark Brown                                                                        1            2.84          2.84
800-0570   00073650825453   Coats Outdoor Living Thread 200yd-Monaco Blue                                                                       3            2.84          8.53
800-0571   00073650825446   Coats Outdoor Living Thread 200yd-Red Cherry                                                                        3            2.84          8.53
800-0572   00073650825477   Coats Outdoor Living Thread 200yd-Scots Green                                                                       7            2.84         19.90
800-0573   00073650825415   Coats Outdoor Living Thread 200yd-Steel                                                                             8            2.84         22.74
800-0574   00073650825491   Coats Outdoor Living Thread 200yd-Tangerine                                                                         4            2.84         11.37
800-4107   00300263308135   Coats S950-7450 Dual Duty XP Heavy Thread 125 yd - Temple Gold                                                      5            0.99          4.95
800-0558   00073650022623   Coats S992-2160 Eloflex Thread&#44; Atom Red                                                                        4            1.61          6.44
800-2919   00073650834363   Coats Sport Separating Zipper 14-Natural                                                                            15           1.52         22.76
800-0111   00073650792939   Coats: Thread & Zippers Barberry Red                                                                                13           1.61         20.94
800-0897   00073650778315   Coats: Thread & Zippers Dual Duty XP General Purpose Thread, 250-Yard, Dark Jade                                    3            1.35          4.06
800-0029   00078693069918   Coleman Cable 06991 8 Assorted Color Power Strip Extension Cord 3 Count                                             5            3.98         19.90
800-1899   00032886860485   Coleman Cable 095136208 12/2 Low Voltage Lighting Cable, 100-Feet                                                   6           29.95       179.70
800-0590   00032886997341   Coleman Cable 12/3 100' Sjtw (3 outlet) Yellow Jacket Lighted End Extension Cord (2820)                             4           54.50       218.00
800-0591   00032886997358   Coleman Cable 12/3 50' Sjtw (3 outlet) Yellow Jacket Lighted End Extension Cord (2827)                              2           31.50         63.00
800-1890   00029892023096   Coleman Cable 16/3 Vinyl Outdoor Extension Cord, Orange, 100-Feet                                                   2           23.50         47.00
800-3115   00029892825881   Coleman Cable 2588SW0002 50' Yellow Extension Cord                                                                  10          33.84       338.40
800-0594   00029892299019   Coleman Cable 9901 3-Prong To 2-Prong Adapter with Grounding Outlet Converter                                       8            1.24          9.92
800-0592   00029892035327   Coleman Cable General-Use Appliance Extension Cord, 14/3, 6-Foot                                                    3            3.50         10.50
800-2933   00091955191011   Colonial 2-in-1 Needle Threader-                                                                                    20           2.67         53.46
800-2611   00075353035122   Color Duck Tape Brand Duct Tape, 1.88 in. x 20 yd., Aqua                                                            20           2.97         59.40
800-2711   00075353037034   Color Duck Tape Brand Duct Tape, 1.88 in. x 20 yd., Blue                                                            5            2.97         14.85
800-2607   00075353035061   Color Duck Tape Brand Duct Tape, 1.88 in. x 20 yd., Red                                                             6            2.97         17.82
800-2606   00075353035078   Color Duck Tape Brand Duct Tape, 1.88 in. x 20 yd., White                                                           5            2.97         14.85
800-2609   00075353037010   Color Duck Tape Brand Duct Tape, 1.88 in. x 20 yd., Yellow                                                          4            2.97         11.88
800-2612   00075353035054   Color Duck Tape Brand Duct Tape, Black, 1.88 in. x 20 yd.                                                           1            2.97          2.97
800-0094   00765468593388   Colorbok Sew Cute Needlepoint Cat Kit                                                                               7            2.02         14.13
800-0095   00765468734286   Colorbok Sew Cute Needlepoint Paul Panda                                                                            12           2.53         30.30
800-3927   00765468619064   Colorbok Sew Cute Needlepoint Unicorn                                                                               5            2.53         12.63
800-0102   00765468746517                         Case
                            Colorbok Sew Cute! Felt      24-11214-j11
                                                     Backpack               Doc 1 Filed 11/13/24 Entered 11/13/24 14:38:12 Page 72 of 181
                                                              Clip Kit-Pandicorn                                                                11           2.02         22.21
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  SKU         GTIN/UPC      Description                                                                                                       On Walmart   Cost Ea.   Total Cost
800-2905   00072879276855   Colored Elastic, 1 X 3 Yds                                                                                            3            2.55          7.64
800-1615   05010993917631   coming soon                                                                                                           4            3.35         13.40
800-0604   00051131659889   Command Poster Strips, White, Small, 12 Strips/Pack                                                                   7            1.81         12.67
800-0608   00630509886081   Connect 4 4-In-A-Row Game Card Game for Kids and Family Ages 6 and Up, 2-4 Players                                    16           2.85         45.60
800-0066   00630509277797   Connect 4 Grab & Go Game                                                                                              7            4.00         28.00
800-3894   00195166231020   Connect 4 Grab and Go Game for Ages 6 and Up, Portable Game for 2 Players, Travel Game                                3            4.00         12.00
800-1131   00079946023602   Conte Conté Crayon Pack, Black, B                                                                                     13           2.25         29.25
800-2183   00499992478124   Cosmic Shimmer Glitter Kiss-Frosty Sparkle                                                                            8            4.84         38.70
800-0665   05055260903177   Cosmic Shimmer Glue 30ml-                                                                                             8            2.25         18.00
800-2769   00016321489837   Cousin Cord Basics Gossamer Stretch Cord .5mmX48'-Clear                                                               15           1.05         15.68
800-1931   00016321495111   Cousin Craft and Jewelry Mini Hammer, 6                                                                               6            2.36         14.14
800-1933   00016321528826   Cousin Craft and Jewelry Wire Looping Pliers, 5                                                                       1            2.10          2.10
800-2768   00016321082977   Cousin Fun Pack Acrylic Sports Beads, 1 oz, Assorted Balls                                                            4            1.57          6.28
800-1023   00016321083448   Cousin Fun Pack Plastic Lace, 80 Yards/pkg, Multicolor                                                                3            2.62          7.86
800-3051   00016321082922   CousinDIY Fun Pack Acrylic Pony Beads 250/Pkg-Yellow                                                                  1            1.05          1.05
800-0611   00191648095616   CousinDIY Plastic Canvas Shape 7 Count 9-Circle Clear                                                                 2            0.68          1.35
800-0673   00766218049346   Crafters Acrylics Value Pack 6/Pkg-Brights                                                                            11           4.50         49.46
800-1863   00090672115133   Crafter's Choice Embossing and Stylus, Set of 3                                                                       9            1.86         16.74
800-0996   00090672006202   Crafter's Choice Foam Brushes 3/Pkg-1- 2 & 3 Widths                                                                   7            0.47          3.30
800-0629   00090672061553   Crafter's Choice White Taklon Flat Brush Variety Set-7/Pkg                                                            5            3.41         17.05
800-0630   00071662993467   Crayola Alphabet and Numbers Pad, Learn Your ABC's and 123's, 30 Pages                                                4            1.77          7.06
800-2072   00071662000165   Crayola Classic Crayons, 16 Ct, Back to School Supplies for Kids, Art Supplies                                        3            1.24          3.72
800-0073   00071662040246   Crayola Colored Pencils, Assorted Colors, Pre-Sharpened, Adult Coloring, 24 Count                                     5            3.20         16.00
800-4033   00071662209384   Crayola Minions the Rise of Gru Color & Sticker Activity, Minions Color and Sticker Set, 32 Pages                     5            2.00         10.00
800-0654   00071662544348   Crayola Model Magic Modeling Dough, 4 Ounce, Yellow, Each                                                             7            2.52         17.61
800-0647   00071662544423   Crayola Model Magic Modeling Dough, Blue, Craft Supplies, Art Supplies, 4 Oz Each                                     3            2.65          7.95
800-0651   00071662544386   Crayola Model Magic Non-Toxic Mess-Free Modeling Dough, 4 oz, Red                                                     2            2.65          5.30
800-0650   00071662544362   Crayola Model Magic, Orange                                                                                           7            2.52         17.61
800-0655   00071662162054   Crayola Projects Paintbrush Pens, Assorted Colors, Child, 5 Count                                                     8            3.59         28.74
800-3217   00071662173128   Crayola Sprinkle Art Activity Kit-Unicreatures                                                                        3            3.54         10.61
800-3218   00071662073114   Crayola Sprinkle Art Activity Kit-Word Play                                                                           6            3.54         21.22
800-2208   00071662078522   Crayola Ultra Clean Classic Fine Line Marker, 10-Count                                                                2            3.20          6.41
800-2209   00071662078515   Crayola Ultra-Clean Washable Broad Line Markers, 10 Ct, School Supplies, Classroom Supplies for Teachers              4            3.20         12.82
800-0643   00071662032807   Crayola Washable Large Size Crayons, 8 Ct, Kindergarten School Supplies, Preschool Supplies, Ages 3+                  3            1.84          5.52
800-0659   00071662353001   Crayola Washable Neon Sidewalk Chalk                                                                                  4            2.71         10.82
800-3133   05055260919246   Creative Expressions Cosmic Shimmer Fluffy Stuff 30ml-White                                                           2            2.03          4.05
800-2184   05055305933831                          Case
                            Creative Expressions Craft    24-11214-j11
                                                        Dies                 DocExpressions-Congratulations
                                                              By Sue Wilson-Mini  1 Filed 11/13/24 Entered 11/13/24 14:38:12 Page 73 of 181       9            2.59         23.29
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  SKU         GTIN/UPC      Description                                                                                                          On Walmart   Cost Ea.   Total Cost
800-0667   00737092008132   Creative Paperclay - 4 oz                                                                                                37           1.80         66.60
800-0666   00737092008118   Creative Paperclay, Modeling Clay Compound, 16-Ounce, White                                                              4            6.68         26.72
800-0668   00737092008125   Creative Paperclay®, 8 oz.                                                                                               7            3.89         27.23
800-0816   00021196096608   Creativity Street Modeling Dough and Clay Body Parts, Assorted                                                           13           3.40         44.23
800-0245   08057252098899   Ctn Thread Mako 50wt 1300m Chalk                                                                                         6            7.37         44.19
800-3117   08000144007028   DAS Air Dry Modeling Clay, Stone, 2.2 Pounds                                                                             1            7.48          7.48
800-1832   00766218055880   Deco Art Empty Write Bottles with Caps, 3-Pack                                                                           29           1.98         57.30
800-0192   00016455177303   DecoArt a Acrylic Color, 2 oz., Desert Sand                                                                              4            1.12          4.46
800-0194   00016455111307   DecoArt Acrylic Color, 2 oz., Lemon Yellow                                                                               5            1.12          5.58
800-2996   00016455200308   Decoart Americana Acrylic 2oz Ultra Blue Deep                                                                            1            1.12          1.12
800-2994   00016455147306   DecoArt Americana Acrylic Color, 2 oz., Bluegrass Green                                                                  2            1.12          2.23
800-0189   00766218029263   DecoArt Americana Acrylic Color, 2 oz., Cocoa                                                                            6            1.12          6.70
800-0190   00766218051516   DecoArt Americana Acrylic Color, 2 oz., Coral Blush                                                                      6            1.12          6.70
800-2995   00016455187302   DecoArt Americana Acrylic Color, 2 oz., Indian Turquoise                                                                 4            1.12          4.46
800-0193   00016455167304   DecoArt Americana Acrylic Color, 2 oz., Lamp Black                                                                       1            1.09          1.09
800-2997   00016455274309   DecoArt Americana Acrylic Color, 2 oz., Milk Chocolate                                                                   3            1.12          3.35
800-0195   00016455267301   DecoArt Americana Acrylic Color, 2 oz., Payne's Gray                                                                     6            1.09          6.54
800-3001   00766218034250   DecoArt Americana Acrylic Color, 2 oz., Turquoise Blue                                                                   8            1.12          8.93
800-0199   00016455140307   DecoArt Americana Acrylic Color, 2 oz., Williamsburg Blue                                                                3            0.91          2.73
800-0187   00016455163306   DecoArt Americana Acrylic Paint 2 Ounces-Burnt Sienna/Opaque                                                             2            1.12          2.23
800-3000   00766218028976   DecoArt Americana Acrylic Paint, 2 oz., Bubblegum Pink                                                                   4            1.12          4.46
800-0687   00766218065148   DecoArt Americana Acrylic Paint, 2 oz., Peacock Pearl                                                                    4            1.18          4.72
800-0197                    DecoArt Americana Acrylic Paint, 2 oz., Snow White                                                                       1            1.12          1.12
800-2999   00766218011978   DecoArt Americana Acrylic Paint, 2 oz., Warm White                                                                       2            1.12          2.23
800-2901   00766218075741   DecoArt Americana Decou-Page Glue Widemouth Jar-8oz Napkin                                                               2            4.05          8.09
800-0613   00016455545768   Decoart Crafter's Acrylic Paint 2oz Black                                                                                3            0.66          1.99
800-3003   00766218024534   Decoart Crafter's Acrylic Paint 2oz Bright Blue                                                                          6            0.66          3.96
800-3007   00766218037329   Decoart Crafter's Acrylic Paint 2oz Cafe Mocha                                                                           3            0.65          1.95
800-0620   00766218037398   Decoart Crafter's Acrylic Paint 2oz Island Blue                                                                          2            0.66          1.32
800-3012   00766218047069   Decoart Crafter's Acrylic Paint 2oz Neon Orange                                                                          2            0.70          1.39
800-3011   00766218047502   Decoart Crafter's Acrylic Paint 2oz Neon Red                                                                             12           0.70          8.36
800-0623   00016455545379   Decoart Crafter's Acrylic Paint 2oz Pure Pumpkin                                                                         3            0.65          1.95
800-0628   00766218005991   Decoart Crafter's Acrylic Paint 2oz Spun Gold                                                                            2            0.70          1.39
800-0625   00016455545300   DecoArt Crafters Acrylic Paint, 2 Fl. Oz. Avanti Brand                                                                   4            0.65          2.60
800-0615   00016455545782   DecoArt Crafter's Acrylic Paint, 2 oz., Bright Yellow                                                                    3            0.66          1.98
800-3016   00016455545454   DecoArt Crafter's Acrylic Paint, 2 oz., Burnt Umber                                                                      6            0.65          3.90
800-3008   00766218037336                         Case
                            DecoArt Crafter's Acrylic     24-11214-j11
                                                      Paint, 2 oz., ButtercreamDoc 1 Filed 11/13/24   Entered 11/13/24 14:38:12 Page 74 of 181       5            0.66          3.30
                                                                                      Inventory on Walmart
  SKU         GTIN/UPC      Description                                                                                                           On Walmart   Cost Ea.   Total Cost
800-0616   00016455545539   DecoArt Crafter's Acrylic Paint, 2 oz., Cherry Blossom Pink                                                               2            0.66          1.32
800-0617   00016455545669   DecoArt Crafter's Acrylic Paint, 2 oz., Christmas Green                                                                   5            0.65          3.25
800-0621   00016455545386   DecoArt Crafter's Acrylic Paint, 2 oz., Flesh                                                                             3            0.66          1.99
800-3010   00766218037411   DecoArt Crafter's Acrylic Paint, 2 oz., Grasshopper Green                                                                 3            0.66          1.98
800-3004   00766218024428   DecoArt Crafter's Acrylic Paint, 2 oz., Holiday Green                                                                     9            0.65          5.85
800-3015   00766218047090   DecoArt Crafter's Acrylic Paint, 2 oz., Neon Blue                                                                         12           0.70          8.36
800-3014   00766218047083   DecoArt Crafter's Acrylic Paint, 2 oz., Neon Green                                                                        10           0.70          6.97
800-0626   00766218047045   DecoArt Crafter's Acrylic Paint, 2 oz., Neon Pink                                                                         2            0.70          1.39
800-3013   00766218047076   DecoArt Crafter's Acrylic Paint, 2 oz., Neon Yellow                                                                       8            0.70          5.58
800-0624                    DecoArt Crafter's Acrylic Paint, 2 oz., Purple Passion                                                                    4            0.66          2.65
800-3006   00766218032140   DecoArt Crafter's Acrylic Paint, 2 oz., Sun Yellow                                                                        6            0.66          3.96
800-3018   00766218005823   DecoArt Crafter's Acrylic Paint, 2 oz., Truly Blue                                                                        7            0.65          4.55
800-3009   00766218037367   DecoArt Crafter's Acrylic Paint, 2 oz., Tutti Fruitti                                                                     8            0.66          5.28
800-0618   00016455545492   DecoArt Crafter's Acrylic Paint, 2-Ounce, Christmas Red                                                                   12           0.65          7.80
800-3095   00766218049339   DecoArt Crafter's Acrylic Value Pack 6/Pkg-Primary                                                                        1            4.50          4.50
800-0682   00766218029546   DecoArt Dazzling Metallics 2-Ounce Festive Green Acrylic Paint                                                            9            1.26         11.34
800-0676   00766218074539   DecoArt Dazzling Metallics Acrylic Color, 2 oz., Berry                                                                    2            1.18          2.36
800-3023   00016455227305   DecoArt Dazzling Metallics Acrylic Color, 2 oz., Black Pearl                                                              4            1.26          5.04
800-0677   00766218090850   DecoArt Dazzling Metallics Acrylic Color, 2 oz., Bright Brass                                                             6            1.26          7.56
800-0681   00016455176306   DecoArt Dazzling Metallics Acrylic Color, 2 oz., Crystal Green                                                            7            1.26          8.82
800-0685   00766218060365   DecoArt Dazzling Metallics Acrylic Color, 2 oz., Mink Pearl                                                               3            1.18          3.54
800-0686   00766218000217   DecoArt Dazzling Metallics Acrylic Color, 2 oz., Oyster Pearl                                                             1            1.26          1.26
800-0688   00016455224304   DecoArt Dazzling Metallics Acrylic Color, 2 oz., Purple Pearl                                                             2            1.18          2.36
800-0693   00766218074553   DecoArt Dazzling Metallics Acrylic Color, 2 oz., Teal                                                                     1            1.26          1.26
800-3021   00016455172308   DecoArt Dazzling Metallics Acrylic Color, 2 oz., Venetian Gold                                                            10           1.26         12.60
800-0679   00766218000200   DecoArt Dazzling Metallics Acrylic Paint 2 oz Champagne Gold                                                              6            1.26          7.56
800-0683   00766218029553   DecoArt Dazzling Metallics Acrylic Paint 2 oz Festive Red                                                                 13           1.26         16.38
800-0690   00766218090836   DecoArt Dazzling Metallics Acrylic Paint 2 oz Rose Gold                                                                   4            1.18          4.72
800-3022   00016455174302   DecoArt Dazzling Metallics Acrylic Paint 2 oz Royal Ruby                                                                  1            1.18          1.18
800-0695   00766218090867   DecoArt Dazzling Metallics Acrylic Paint 2 oz Zinc                                                                        1            1.18          1.18
800-0689   00766218027740   DecoArt Dazzling Metallics Acrylic Paint 2oz-Rich Espresso                                                                3            1.26          3.78
800-0675   00766218074546   DecoArt Dazzling Metallics Acrylic Paint, 2 oz., Amethyst                                                                 1            1.26          1.26
800-0680   00766218000231   DecoArt Dazzling Metallics Acrylic Paint, 2 oz., Copper                                                                   3            1.26          3.78
800-3024   00016455248300   DecoArt Dazzling Metallics Acrylic Paint, 2 oz., Emperor's Gold                                                           3            1.26          3.78
800-0684   00016455175309   DecoArt Dazzling Metallics Acrylic Paint, 2 oz., Ice Blue                                                                 5            1.26          6.30
800-0694   00016455217306   DecoArt Dazzling Metallics Acrylic Paint, 2 oz., White Pearl                                                              9            1.26         11.34
800-2191   00766218097835   DecoArt Extreme Sheen Case    24-11214-j11
                                                     Acrylic                    Doc 1 Filed 11/13/24
                                                             Color, 2 oz., Amethyst                    Entered 11/13/24 14:38:12 Page 75 of 181       3            1.54          4.62
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  SKU         GTIN/UPC      Description                                                                                                       On Walmart   Cost Ea.   Total Cost
800-2189   00766218096937   DecoArt Extreme Sheen Acrylic Color, 2 oz., Antique Bronze                                                            1            1.54          1.54
800-0699   00766218097811   DecoArt Extreme Sheen Acrylic Color, 2 oz., Aquamarine                                                                5            1.58          7.90
800-2188   00766218096913   DecoArt Extreme Sheen Acrylic Color, 2 oz., Bronze                                                                    5            3.16         15.80
800-0700   00766218096876   DecoArt Extreme Sheen Acrylic Color, 2 oz., Champagne Gold                                                            5            1.58          7.90
800-0701   00766218096951   DecoArt Extreme Sheen Acrylic Color, 2 oz., Copper                                                                    5            1.58          7.90
800-2186   00766218096869   DecoArt Extreme Sheen Acrylic Color, 2 oz., Pearl                                                                     3            1.54          4.62
800-0703   00766218097804   DecoArt Extreme Sheen Acrylic Color, 2 oz., Pink Tourmaline                                                           2            1.54          3.08
800-0704   00766218096883   DecoArt Extreme Sheen Acrylic Color, 2 oz., Rose Gold                                                                 4            1.54          6.16
800-0706   00766218097828   DecoArt Extreme Sheen Acrylic Color, 2 oz., Sapphire                                                                  8            1.58         12.64
800-0707   00766218096920   DecoArt Extreme Sheen Acrylic Color, 2 oz., Sterling Silver                                                           5            1.58          7.90
800-0708   00766218096944   DecoArt Extreme Sheen Acrylic Color, 2 oz., Tin                                                                       6            1.54          9.24
800-2187   00766218096906   DecoArt Extreme Sheen Acrylic Color, 2 oz., Vintage Brass                                                             3            1.58          4.74
800-0702   00766218113306   DecoArt Extreme Sheen Paint 2oz-Emerald                                                                               8            1.54         12.32
800-3101   00766218111395   DecoArt Extreme Sheen Paint 2oz-Obsidian                                                                              8            1.54         12.32
800-3102   00766218113290   DecoArt Extreme Sheen Paint 2oz-Peridot                                                                               12           1.54         18.48
800-3103   00766218113313   DecoArt Extreme Sheen Paint 2oz-Rose Quartz                                                                           11           1.54         16.94
800-0705   00766218113283   DecoArt Extreme Sheen Paint 2oz-Ruby                                                                                  3            1.54          4.62
800-3104   00766218113337   DecoArt Extreme Sheen Paint 2oz-Sky Blue Topaz                                                                        5            1.54          7.70
800-2998   00766218011961   DecoArt na Acrylic Color, 2 oz., Canyon Orange                                                                        3            1.12          3.35
800-1818   00766218116703   DecoArt SoSoft Fabric Metallics Acrylic Paint 2oz-Silver Platinum                                                     2            2.07          4.13
800-0709   03760018725834   Decopatch Paper-Mache Figurine - 4.5-inch Cat                                                                         4            3.30         13.20
800-0710   00070896042279   Decorating Tip Set -#5 Round & #18 Star                                                                               1            1.58          1.58
800-0722   00079916201023   Deflecto UBGWL-A Universal Bird Guard                                                                                 3            3.44         10.32
800-3569   00300263304380   Deflecto Universal Bird Guard - 2-PACK -                                                                              5            6.88         34.40
800-0501   00017158049195   Delta Ceramcoat Acrylic 2oz Boysenberry                                                                               2            1.26          2.51
800-3158   00017158049133   Delta Ceramcoat Acrylic 2oz Candid Coral                                                                              6            1.26          7.54
800-2934   00017158020743   Delta Ceramcoat Acrylic 8oz Ocean Reef Blue                                                                           3            3.80         11.39
800-3028   00017158253028   Delta Ceramcoat Acrylic Paint 2oz-Caribbean Blue - Opaque                                                             11           1.26         13.89
800-3130   00017158048716   Delta Ceramcoat Acrylic Paint 2oz-Palmetto                                                                            5            1.26          6.32
800-2863   00017158027162   Delta Ceramcoat Acrylic Paint 2oz-Parsley                                                                             6            1.26          7.58
800-3129   00017158048723   Delta Ceramcoat Acrylic Paint 2oz-Surfboard                                                                           6            1.26          7.58
800-3026   00017158026981   Delta Ceramcoat Acrylic Pearl Paint 2oz-Christmas Green (026-98)                                                      3            1.45          4.34
800-2177   00762048100103   Designer Dries Clear Adhesive 2oz-                                                                                    2            2.83          5.65
800-3131   00088677916886   Dimensions 73-91688 Puppies -Pencil by Number - 9 x 12 in.                                                            4            4.39         17.58
800-0726   00088677733537   Dimensions Feltworks Wool 12 x 12 Flat Black Rolls, 1 Each                                                            3            2.57          7.71
800-0727   00088677733544   Dimensions Needlecrafts Feltworks Felt, Midnight Blue                                                                 3            2.57          7.71
800-0731   00088677731007                         Case
                            Dimensions Punch Needle      24-11214-j11
                                                       Tool  5-             Doc 1 Filed 11/13/24   Entered 11/13/24 14:38:12 Page 76 of 181       4            2.20          8.80
                                                                                Inventory on Walmart
  SKU         GTIN/UPC      Description                                                                                                        On Walmart   Cost Ea.   Total Cost
800-3155   00789541065920   Dina Wakley Media Chipboard Shapes - Botanicals                                                                        1            1.78          1.78
800-2820   00195166152066   Disney Princess Basic Rapunzel Doll                                                                                    2            5.80         11.60
800-2835   00630509799350   DIsney Princess Rapunzel Collectible Doll Figure, for Kids Ages 3 and up                                               5            4.25         21.25
800-1922   00789541039983   Distress Mini Ink Pad-Forest Moss, Pk 3, Tim Holtz/Ranger                                                              3            1.55          4.66
800-0809   00077540383566   DMC Diamant Metallic Thread 38.2yd-Light Gold                                                                          47           1.42         66.60
800-0806   00077540382569   DMC Embroidery Hand Needles-Size 3/9 16/Pkg                                                                            9            0.66          5.93
800-0807   00077540386154   DMC Floss Number Stickers-640 Labels                                                                                   28           0.90         25.09
800-0793   00077540050727   DMC Mouline 117-208 Six-Strand Embroidery Thread, Very Dark Lavender, 8.7-Yards                                        6            0.51          3.08
800-0043   00077540053131   DMC Mouline 117-938 Six-Strand Embroidery Thread, Ultra Dark Coffee Brown, 8.7-Yards                                   5            0.51          2.57
800-0810   00077540386147   DMC Plastic Floss Bobbins, 28 Count                                                                                    4            0.84          3.36
800-0772   00077540053438   DMC Six-Strand Embroidery Cotton Yarn, 8.7 Yd., 12 Count                                                               5            0.51          2.57
800-0811   00077540817221   DMC StitchBow Floss Holders, 10 Count                                                                                  9            0.84          7.55
800-0813   00630509607556   DohVinci Pastel 6-Pack of Drawing Compound by Play-Doh                                                                 63           0.65         40.95
800-0789   00077540051427   DOLLFUS-MIEG & Compagnie Green Embroidery Floss, 8.7 yd                                                                1            0.51          0.51
800-0763   00077540052226   DOLLFUS-MIEG & Compagnie Light Peach Embroidery Floss, 8.7 yd                                                          5            0.51          2.57
800-3034   00072879442281   Dritz 103422 Brass Upholstery Zipper 30 in. 1-Pkg-Beige                                                                3            2.62          7.85
800-0827   00072879276190   Dritz 2 Corsage and Boutonniere Pins, Black White, 40 pc                                                               4            2.02          8.08
800-0854   00072879100747   Dritz 45 Long Ball Point Pins 75 per Pack Size 24                                                                      3            1.89          5.66
800-0832   00072879101812   Dritz 5-Piece Doll Needles, Assorted Sizes                                                                             4            1.93          7.73
800-0819   00072879150858   Dritz Adult Knitted Cuffs 2/Pkg-Black                                                                                  13           2.37         30.84
800-0821   00072879100761   Dritz Ball Point Hand Needles 10/Pkg-Size 5/10                                                                         1            1.40          1.40
800-0824   00072879095319   Dritz Braided Elastic 3/8X6yd-White                                                                                    4            1.89          7.55
800-0825   00072879100396   Dritz Brass Dressmaker Pins 200/Pkg-Size 20                                                                            5            2.33         11.64
800-0826   00072879111484   Dritz Class 66 Bobbins 4/Pkg-Plastic                                                                                   5            0.74          3.72
800-3042   00072879116694   Dritz Cord Stops 1-1/4 2/Pkg-White                                                                                     4            1.36          5.44
800-3031                    Dritz Cover Button Kit - Size 24 - 5/8 - 6 Ct.+ Tools Multi-Colored                                                    98           1.89       185.02
800-0828   00072879260977   Dritz Covered Black Hooks & Eyes, 2 Set                                                                                2            1.49          2.98
800-0820   00072879101829   Dritz Craft Needle Compact 25pc                                                                                        3            1.54          4.61
800-0829   00072879100921   Dritz Crewel Hand Needles 12/Pkg-Size 2                                                                                2            1.36          2.72
800-0830   00072879110661   Dritz Deluxe Seam Ripper-                                                                                              5            1.84          9.22
800-0835   00072879110753   Dritz Dressmaker's Marking Pencil - White                                                                              16           1.40         22.46
800-3052   00072879104493   Dritz Glovers/Leather Hand Needles 3/Pkg-Size 3/7                                                                      5            1.27          6.36
800-2935   00072879104363   Dritz Grommets: Nickel Plated Brass, 9mm, 8 Pieces                                                                     4            2.72         10.90
800-0839   00072879113525   Dritz Half-Ball Cover Buttons-Size 60 1-1/2 2/Pkg                                                                      5            2.46         12.30
800-0857   00072879100891   Dritz Hand Needle Betweens Size 3/9                                                                                    9            1.14         10.26
800-3035   00072879442366   Dritz Home Nylon Upholstery Zipper 45 - Cream                                                                          2            2.25          4.50
800-0842   00072879443127   Dritz Home Wood Cord   Case
                                                     Pulls 24-11214-j11
                                                           2/Pkg-White         Doc 1 Filed 11/13/24 Entered 11/13/24 14:38:12 Page 77 of 181       10           1.27         12.72
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  SKU         GTIN/UPC      Description                                                                                                        On Walmart   Cost Ea.   Total Cost
800-0844   00749737202140   Dritz Iron-On Letters Soft Flock Block 1-White                                                                         5            2.22         11.11
800-0848   00072879150179   Dritz Iron-On Patches 2X3 8/Pkg-Light Twill Assortment                                                                 1            1.40          1.40
800-3038   00072879150421   Dritz Iron-On Patches 5X5 2/Pkg-Faded Blue                                                                             2            1.40          2.81
800-0849   00072879150506   Dritz Iron-On Patches 5X5 2/Pkg-Olive Twill                                                                            26           1.40         36.50
800-0850   00072879251951   Dritz Iron-On Patches 5X5 3/Pkg-Assorted Denim                                                                         3            2.24          6.72
800-0851   00072879251944   Dritz Iron-On Patches 5X5 4/Pkg-Light & Dark Denim                                                                     3            2.02          6.06
800-0855   00072879271621   Dritz Machine Needle Inserter and Threader                                                                             3            3.74         11.21
800-0856   00072879295061   Dritz Metal d Rings 1 4/Pkg-Antique Brass                                                                              5            1.18          5.92
800-3033   00072879104592   Dritz Pins Color Ball 1.06 Stainless 100pc                                                                             2            1.76          3.51
800-2096   00072879304947   Dritz Pre-Cut Braided Elastic 1/4X3yd-White                                                                            8            0.38          3.07
800-4019   00072879031539   Dritz Quilting Beeswax W/Holder-                                                                                       4            2.06          8.26
800-3039   00072879110456   Dritz Seam Ripper-Small                                                                                                13           1.32         17.11
800-3040   00072879101393   Dritz Sew-On Snaps 10/Pkg-Black Size 2/0                                                                               5            1.27          6.36
800-0859   00072879101447   Dritz Sew-On Snaps 4/Pkg-Black Size 4                                                                                  2            1.27          2.54
800-0863   00072879100198   Dritz Size 16 4-Part 7/16 11mm Silver Nickel Snap Fasteners Set of 7                                                   10           1.62         16.24
800-0866   00072879267167   Dritz Sweater Comb 1.625X3                                                                                             34           2.06         70.18
800-0867   00072879101089   Dritz Tapestry Needles - Size 18/22, Package of 6                                                                      2            1.14          2.28
800-0841   00072879440089   Dritz T-Pins, 100/Pkg                                                                                                  7            2.85         19.93
800-0852   00072879251913   Dritz Twill Iron On-Patches - 4ct Assorted Colors                                                                      7            1.84         12.91
800-2904   00072879093117   Dritz Underwear & Pajama Elastic 1X1-1/4yd-White                                                                       9            1.62         14.62
800-0869   00072879114126   Dritz Water-Soluble Marking Pencil-Light Blue                                                                          11           1.27         13.99
800-2042   00038805916127   Drybranch Inflating Pump with Pin and Raft Nozzle                                                                      3            2.33          6.99
800-0874   00038805161954   Drybranch Mini Pail & Shovel - Assorted Colors, 1 Set                                                                  7            0.86          6.02
800-0886   00073650793035   Dual Duty Plus Hand Quilting Thread 325yd-Forest Green                                                                 7            1.61         11.28
800-2649   00073650000850   Dual Duty XP All Purpose Thread 250yd Spools-Black 4/Pkg, Pk 3, Coats                                                  9            4.83         43.51
800-4008   00073650777110   Dual Duty XP General Purpose Thread 250yd-Atom Red                                                                     6            1.35          8.12
800-0921   00073650777141   Dual Duty XP General Purpose Thread 250yd-Red                                                                          13           1.35         17.60
800-0557   00073650831614   Dual Duty XP Paper Piecing Thread 225yd-Natural, Pk 6, Coats                                                           6            1.03          6.15
800-2712   00075353047965   Duck Brand 1.88 In. x 10 Yd. Gold Colored Duct Tape                                                                    3            2.97          8.91
800-0447   00075353035108   Duck Tape Solid Color Duck Tape, 1.88 x 15 yds., Neon Island Lime                                                      3            2.97          8.91
800-1812   00075691002183   Dyno Merchandise Singer Vinyl Tape Measure 60 1 ea                                                                     3            1.59          4.78
800-3961   00015586965865   Edge Punch-Scroll & Hearts, 2X1                                                                                        1            8.97          8.97
800-3898   00015586008227   EK Disney Flat Stickers 2/Sheets-Classic Pooh Scenes                                                                   25           2.11         52.68
800-3903   00015586999860   Ek Disney Frozen II Stickers 2/Sheets - Characters                                                                     9            1.45         13.05
800-3896   00015586008005   EK Disney Sticker Specialty Glitter Princess                                                                           5            2.40         11.98
800-3941   00015586950670   EK Paper Shapers Nesting Punch Scllp Circle 1 1/4                                                                      17           6.38       108.44
800-0116   00015586967616                           Case 24-11214-j11 Doc 1 Filed 11/13/24
                            EK Punch Classic Butterfly                                              Entered 11/13/24 14:38:12 Page 78 of 181       10           7.92         79.15
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  SKU         GTIN/UPC      Description                                                                                              On Walmart   Cost Ea.   Total Cost
800-3947   00015586965568   EK Punch Med Retro Flower                                                                                    7            5.28         36.93
800-2066   00015586972801   EK Sticko Sticker Alpha Futura Reg XL Ptn MultCool                                                           3            4.20         12.59
800-3967   00015586945812   EK Success Binding Edge Punch, White                                                                         3            8.97         26.91
800-3897   00015586007664   EK Success Disney Princess                                                                                   2            1.63          3.25
800-3964   00015586973259   EK Success E5420083 Medium Punch-Moon & Stars&#44; .8&apos;&apos;                                            4            5.28         21.10
800-3957   00015586945843   EK Success E5470026 Mini Corner Rounder Round Punches&#44; 0.5 in. & 1 in. - 2 per Pack                      4            5.28         21.10
800-3972   00015586786613   EK Success EKS5430328 Ek Punch Lg Confetti Hydrangea                                                         2            9.50         19.00
800-3948   00015586787795   EK Success Large Punch Elephant                                                                              2           12.39         24.79
800-3945   00015586943818   EK Success Paper Shapers Large Punch-Confetti Dots                                                           9            9.50         85.49
800-3960   00015586966985   Ek Success Powder Tool Applicator                                                                            19           3.69         70.13
800-0110   00015586532067   EK Success Tools Cutter Bee Precision Tip Scissors, 5 Inches                                                 3            6.24         18.71
800-3952   00015586951905   EK Tools 7 Bone Folder, 1 Each                                                                               10           3.16         31.63
800-3963   00015586950731   EK Tools Circle Round .375 Mini Shape Punch                                                                  16           3.16         50.61
800-3969   00015586945447   EK Tools Flourish Scroll Edger Punch, 1 Each                                                                 4            8.97         35.88
800-0113   00015586950540   EK Tools Medium Circle Hole Punch, 1.5-Inch Diameter                                                         5            7.92         39.58
800-0035   00015586950564   EK Tools Medium Circle Hole Punch, 2 inch Diameter                                                           5            9.50         47.50
800-3944   00015586965650   EK Tools Medium Flowers Hole Punch, 1-Inch Diameter                                                          6            9.50         56.99
800-3954   00015586965889   EK Tools PSN E Round Binding Edge                                                                            1            8.97          8.97
800-3953   00015586967968   Ek Tools Punch Heart Large                                                                                   2            9.50         19.00
800-3959   00015586951622   Ek Tools Punch Scallop Circle .5In                                                                           13           3.16         41.12
800-3950   00015586950687   Ek Tools Punch Scallop Circle 1.5In                                                                          5            7.92         39.58
800-3958   00015586964677   EK Tools Rotary Circle Cutter - 9 in x 3 in                                                                  7            9.60         67.17
800-0134   00015586978889   EK Tools Trimmer Replacement Mat-Fits Rotary Paper Trimmer E5400046                                          10           1.47         14.74
800-0088   00630509277810   Elefun & Friends Hungry Hungry Hippos Grab & Go Game                                                         10           4.00         40.00
800-2786   00855964004089   Elzbth Crft Adhesive Dbl Side 8.5x11 Transp 5pc                                                              6            4.50         26.97
800-0951   00632468008795   Endless Games - Jeopardy Card Game - Travel Sized Quiz Competition - Fast Paced Party Game                   12           3.70         44.40
800-0511   00051221523045   Eraser Pen                                                                                                   3            2.55          7.64
800-2285   00810787024201   Eyelet Outlet Adhesive Pearl Swirls 468/Pkg-Black                                                            4            1.31          5.23
800-0977   00810787024195   Eyelet Outlet Adhesive Pearl Swirls 468/Pkg-Silver                                                           10           1.31         13.07
800-0978   00810787024171   Eyelet Outlet Adhesive Pearl Swirls 468/Pkg-White                                                            5            1.31          6.54
800-3044   00070659477096   EZ Quilting Glass Head Pins-Size 20 150/Pkg                                                                  6            1.59          9.56
800-0982   04007817014721   Fimo Effect Polymer Clay 2oz-Black Pearl                                                                     5            1.37          6.86
800-0983   04007817802205   Fimo Effect Polymer Clay 2Oz-Blue Ice Quartz                                                                 12           1.37         16.46
800-0985   00816356003028   Fineline Applicators, Extra Fine, Fabric Dye                                                                 5            4.98         24.90
800-0994   00020335060180   Fiskars 194330-1007 Left-Handed Kids Scissors, 5 Inch, Blue Lightning                                        7            2.43         16.98
800-2664   00078484056066   Fiskars Dual Tip Embossing Stylus                                                                            9            2.10         18.90
800-0119   00082676159671                          Case 24-11214-j11 Doc 1 Filed 11/13/24 Entered 11/13/24 14:38:12 Page 79 of 181
                            Foam Sheet 9X12 2mm-Black                                                                                    23           0.28          6.44
                                                                                     Inventory on Walmart
  SKU         GTIN/UPC      Description                                                                                                          On Walmart   Cost Ea.   Total Cost
800-1004   00028995025792   FolkArt Acrylic Craft Paint, Matte Finish, Fresh Cut Grass, 2 fl oz                                                      4            1.16          4.63
800-4147   00028995009389   FolkArt Acrylic Craft Paint, Matte Finish, Licorice, 2 fl oz                                                             3            1.03          3.10
800-3156   00028995992575   FolkArt Acrylic Craft Paint, Matte Finish, Mystic Turquoise, 2 fl oz                                                     4            1.16          4.63
800-1006   00028995022258   FolkArt Acrylic Craft Paint, Matte Finish, Ocean Cruise, 2 fl oz                                                         2            1.16          2.32
800-2893   00028995025617   FolkArt Acrylic Craft Paint, Matte Finish, Steel Gray, 2 fl oz                                                           3            1.16          3.47
800-2343   00028995022418   FolkArt Acrylic Paint 2oz - Apple Orchard                                                                                3            1.16          3.47
800-0998   00028995025693   FolkArt Acrylic Paint 2oz-Ash, Pk 6, Plaid:Craft                                                                         6            1.16          6.95
800-0999   00028995004766   FolkArt Acrylic Paint 2oz-Asphaltum Artist Pigment, Pk 6, Plaid:Craft                                                    8            1.16          9.26
800-1000   00028995026393   FolkArt Acrylic Paint 2oz-Blue Echo                                                                                      4            1.16          4.63
800-1001   00028995027406   FolkArt Acrylic Paint 2oz-Fire Coral                                                                                     3            1.16          3.47
800-1003   00028995024368   FolkArt Acrylic Paint 2oz-French Lilac                                                                                   3            1.16          3.47
800-2892   00028995026218   FolkArt Acrylic Paint 2oz-Green Sea                                                                                      3            1.16          3.47
800-2891   00028995026232   FolkArt Acrylic Paint 2oz-Ink Spot                                                                                       5            1.16          5.79
800-1005   00028995024962   FolkArt Acrylic Paint 2oz-Midnight Garden                                                                                4            1.16          4.63
800-2890   00028995025532   FolkArt Craft Acrylic Paint, Matte Finish, Lime Green, 2 fl oz                                                           7            1.16          8.11
800-1010   00028995041334   FolkArt Enamel Acrylic Craft Paint, Gloss Finish, Lipstick Red, 2 fl oz                                                  2            1.78          3.56
800-1009   00028995040078   FolkArt Enamel Paint 2oz-Berry Wine                                                                                      3            1.78          5.34
800-1011   00028995992353   FolkArt Enamel Paint 2oz-Metallic Blue Cascade                                                                           3            1.78          5.34
800-3157   00028995992339   FolkArt Enamel Paint 2oz-Metallic Cherry Frost                                                                           4            1.78          7.12
800-1012   00028995028410   FolkArt Enamel Paint 2oz-True Blue                                                                                       6            1.78         10.67
800-1013   00028995063534   FolkArt Home Decor Chalk Paint 2oz-Glacier                                                                               11           1.36         14.91
800-1015   00028995059360   FolkArt Home Decor Chalk Paint 2oz-White Adirondack                                                                      4            1.36          5.42
800-2218   00028995169267   Folkart Marbling Paint 2Oz-Aqua                                                                                          3            1.65          4.95
800-1016   00028995992308   FolkArt Metallic Acrylic Paint 2oz-Turquoise Shimmer                                                                     3            1.64          4.93
800-1007   00028995025471   FolkArt Pink Melon Acrylic Paint, 2 Fl. Oz.                                                                              6            1.16          6.95
800-1020   00025725396382   Franklin Sports 6-Pack Badminton Replacement Shuttlecocks                                                                15           2.97         44.55
800-0394   00026521019956   Fun Express Gold Curling Ribbon                                                                                          7            1.24          8.68
800-0512   00051221505454   Fusible Bias Tape Maker 18mm (3/4)                                                                                       5            4.00         20.01
800-1136   00759191004228   Fusible Non-Woven Interfacing, 15 x 3 Yards                                                                              4            3.48         13.92
800-0500   00044974023337   General Pencil Cedar Pointe No. 2 Pencils                                                                                4            5.04         20.16
800-1028   00044974558020   General Pencil Charcoal White Pencil Set, 2-Pack                                                                         5            2.14         10.70
800-0817   00044974105576   General Pencil Drawing Pencil Kit No. 10                                                                                 4            6.96         27.84
800-1333   00044974000208   General Pencil Factis Extra-Soft Eraser                                                                                  8            0.63          5.04
800-0979   00044974213233   General Pencil Factis Pen Style Eraser Refills                                                                           35           2.14         74.90
800-0980   00044974213219   General Pencil Factis Pen-Style Mechanical Eraser                                                                        40           3.64       145.60
800-1164   00044974140010   General Pencil Jumbo Kneaded Eraser                                                                                      2            1.03          2.06
800-1027   00044974915250   General Pencil KimberlyCase   24-11214-j11
                                                      Drawing  Pencil, 9XXB Doc 1 Filed 11/13/24      Entered 11/13/24 14:38:12 Page 80 of 181       7            1.33          9.31
                                                                               Inventory on Walmart
  SKU         GTIN/UPC      Description                                                                                                      On Walmart   Cost Ea.   Total Cost
800-1029   00044974441421   General Pencil Multi-Pastel Chalk Pencil Set, 2-Pencils, White                                                       7            2.09         14.63
800-1759   00044974125628   General Pencil Scribe-All Pencils & Sharpener Set, 2 Pieces                                                          7            2.43         17.01
800-1813   00044974588027   General Pencil Sketch & Wash Pencil Kit, 2/Pkg.                                                                      8            1.91         15.28
800-1370   00044974940849   General's Compressed Sticks Grey Tones                                                                               7            2.50         17.50
800-1473   00044974563031   Generals Peel and Sketch Smooth Charcoal Pencils, Black, Set of 3                                                    2            2.89          5.78
800-2751   00044974000703   General's Watercolor Pencil Set: 11 pieces                                                                           5            7.07         35.35
800-1032   00000943180852   Gina K Designs Adhesive Dot Runner Refill 30ft 2/Pkg-Permanent                                                       2            4.37          8.73
800-1038   00029444916708   Glitter 4Oz Sky Blue - 12                                                                                            4            2.52         10.08
800-1043   00634524288455   Glue Dots Roll Lines 1In 200Ct Acid Free                                                                             8            3.39         27.14
800-2505   00057355325067   Grace Yarn-Orchid, Pk 6, Patons                                                                                      2            2.96          5.92
800-1046   00784923000056   Grandma's Secret Laundry Spray-16oz                                                                                  5            4.65         23.23
800-2858   00017754316653   Graphic 45 Double-Sided Paper Pad 8X8 24/Pkg-Penny's Paper Doll, 8 Designs/3 Each                                    10           6.48         64.75
800-0396   00026521019840   Green Curling Ribbon - Crimped - Forest Green - 3/16in. X 500 Yards (pm4435062)                                      14           1.24         17.36
800-1047   00195166172378   GUESS WHO GRAB AND GO                                                                                                25           4.00       100.00
800-1105   00630509858040   Guess Who? Card Game For 2 Players, Game For Kids Ages 5 and up, For 2 Players                                       28           2.85         79.80
800-1091   00077780001596   Gutermann 110 Yd Polyester Thread-Crystal Blue                                                                       2            0.92          1.83
800-1076   04008015605834   Gutermann 800 m Natural Cotton Flower Thread-Fuchsia                                                                 2            4.00          7.99
800-1049   00400801545616   Gutermann 800C-829 - Natural Cotton Thread Solids 876yd - Cream                                                      3            4.00         11.99
800-1064   04008015605599   Gutermann 876 Yd Natural Cotton Burlap Thread-Beige                                                                  3            4.00         11.99
800-1062   04008015195533   Gutermann 876 Yd Natural Cotton Thread-Black                                                                         3            4.00         11.99
800-1063   04008015456245   Gutermann 876 Yd Natural Cotton Thread-Burgundy                                                                      3            4.00         11.99
800-1048   04008015591991   Gutermann 876 Yd Natural Cotton Thread-Evening Blue                                                                  3            4.00         11.99
800-1066   04008015456160   Gutermann 876 Yd Natural Cotton Thread-Gold                                                                          8            4.00         31.98
800-1067   04008015553340   Gutermann 876 Yd Natural Cotton Thread-Gray                                                                          2            4.00          7.99
800-3224   04008015605735   Gutermann 876 Yd Natural Cotton Thread-Indigo Blue                                                                   15           4.00         59.96
800-4015   04008015592011   Gutermann 876 Yd Natural Cotton Thread-Iron Gray                                                                     3            4.00         11.99
800-4017   04008015456146   Gutermann 876 Yd Natural Cotton Thread-Oak Tan                                                                       3            4.00         11.99
800-1070   04008015605650   Gutermann 876 Yd Natural Cotton Thread-Sandy Gray                                                                    15           4.00         59.96
800-1071   04008015605674   Gutermann 876 Yd Natural Cotton Thread-Shamrock Green                                                                4            4.00         15.99
800-1072   04008015456184   Gutermann 876 Yd Natural Cotton Thread-Taupe                                                                         3            4.00         11.99
800-1073   04008015553302   Gutermann 876 Yd Natural Cotton Thread-Vanilla Cream                                                                 7            4.00         27.98
800-2907   04008015456207   Gutermann Cotton 50 Thread 800M Salmon                                                                               3            4.00         11.99
800-1089   00077780007598   Gutermann Hand Quilting Thread, 220 yd.                                                                              7            2.16         15.10
800-1060   04008015605711   Gutermann Natural Cotton Aqua Marine Thread, 876 Yd.                                                                 9            4.00         35.97
800-1065   04008015553326   Gutermann Natural Cotton Egg White Thread, 876 Yards, 1 Each                                                         4            4.00         15.99
800-4016   04008015605636   Gutermann Natural Cotton Mauve Thread, 876 Yd.                                                                       3            4.00         11.99
800-1087   04008015456269                          CaseNavy
                            Gutermann Natural Cotton     24-11214-j11
                                                              Thread, 876 Yd.Doc 1 Filed 11/13/24 Entered 11/13/24 14:38:12 Page 81 of 181       3            4.00         11.99
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  SKU         GTIN/UPC      Description                                                                                                     On Walmart   Cost Ea.   Total Cost
800-1088   04008015456283   Gutermann Natural Cotton Powder Blue Thread, 876 Yards, 1 Each                                                      4            4.00         15.99
800-1069   04008015456221   Gutermann Natural Cotton Red Thread, 876 Yd.                                                                        2            4.00          7.99
800-1085   04008015605773   Gutermann Natural Cotton Royal Blue Thread, 876 Yd.                                                                 5            4.00         19.99
800-3910   04008015678302   Gutermann Natural Cotton Thread Solids 3,281yd-Black                                                                3           10.76         32.28
800-3912   04008015678258   Gutermann Natural Cotton Thread Solids 3,281yd-Cream                                                                7           10.76         75.31
800-1053   04008015678265   Gutermann Natural Cotton Thread Solids 3,281yd-Egg White                                                            4           10.76         43.04
800-1055   04008015678319   Gutermann Natural Cotton Thread Solids 3,281yd-Navy                                                                 4           10.76         43.04
800-3911   04008015678289   Gutermann Natural Cotton Thread Solids 3,281yd-Red                                                                  3           10.76         32.28
800-3909   04008015678272   Gutermann Natural Cotton Thread Solids 3,281yd-Taupe                                                                3           10.76         32.28
800-1057   04008015678234   Gutermann Natural Cotton Thread, Solids, 3,281 Yds                                                                  2           10.76         21.52
800-1075   00999990271548   Gutermann Natural Cotton Thread, Solids, 876 Yds                                                                    1            4.00          4.00
800-1086   00999990271531   Gutermann Natural Cotton Thread, Solids, 876 Yds                                                                    5            4.00         19.99
800-4123   00300263308296   Gutermann Sew-All Polyester Black Thread, 547 yd                                                                    11           2.85         31.32
800-1092   00077780006287   Gutermann Sew-All Polyester Black Thread, 547 yd.                                                                   3            2.85          8.54
800-2530   00077780006317   Gutermann Sew-All Polyester Mist Grey Thread, 547 yd.                                                               4            2.85         11.39
800-4122   00300263308289   Gutermann Sew-All Polyester Nu-White Thread, 547 yd.                                                                3            2.85          8.54
800-1096   00077780006324   Gutermann Sew-All Polyester Slate Thread, 547 yd.                                                                   16           2.85         45.55
800-2821   00195166152080   Hasbro - Disney Princess Fashion Doll - Ariel                                                                       1            5.80          5.80
800-1114   05010993776856   Hasbro Play-Doh Sand 2-Pack Assortment - 1 tub Purple Sand and 1 tub Green Sand Ez Stretch                          6            1.75         10.50
800-1127   00000943078104   HeatnBond Ultrahold Iron-on Adhesive Tape, 7/8 inch x 10 Yards, White                                               10           1.20         11.95
800-1126   00000943038108   HeatnBond UltraHold Iron-On Adhesive, 3/8 Inch x 10 Yards                                                           4            1.20          4.78
800-2750   00091037029300   Hemptique Hemp Cord Spool, 20 lb., White                                                                            3            2.89          8.68
800-1132   00070616010434   Homeware 5-in-1 Mini Wood Chess Game                                                                                28           3.60       100.80
800-1936   00887961738322   Hot Wheels Disney Pixar Toy Story Bo Peep Character Car                                                             4            2.45          9.80
800-1937   00887961738254   Hot Wheels Disney Pixar Toy Story Ducky & Bunny Character Car                                                       12           2.45         29.40
800-1134   00887961738261   Hot Wheels Disney Pixar Toy Story Duke Caboom Character Car                                                         24           2.45         58.80
800-1939   00887961738285   Hot Wheels Disney Pixar Toy Story Forky Character Car                                                               38           2.45         93.10
800-2089   00079423435102   Hyde 2-1/2 in. W Yellow Plastic Painter's Pyramid Work Supports                                                     24           3.50         83.88
800-1363   00081187283851   Hygloss Acid-Free Highly Reflective Mirror Board, 8-1/2 X 11 in, 10 Sheets, Silver, Pack of 10                      1            6.25          6.25
800-0167   00017754321404   I Love To Create Aleenes Fabric Fusion Permanent Adhesive 3/Pkg-.66oz                                               18           1.87         33.66
800-1141   00000943541059   iCraft Deco Foil Specialty Transfer Sheets 6X12 5/Pkg-Enchanted Rose                                                3            2.91          8.73
800-1143   00000943041016   iCraft Super Tape-.25X6yd                                                                                           17           2.02         34.27
800-1144   00040861930290   Idea-Ology Adhesive Mirrored Sheets 6X9 2/Pkg- , Pk 3, Tim Holtz - Advantus                                         6            3.00         17.97
800-2176   00040861937060   Idea-Ology Collage Paper 6yds-Aviary                                                                                3            3.50         10.49
800-1145   00040861932003   Idea-Ology Metal Loop Pins 1 24/Pkg-Antique Nickel, Brass & Copper                                                  6            2.00         11.97
800-2937   00040861930603   Idea-Ology Ring Fasteners .25 9/Pkg-Antique Nickel, Brass & Copper                                                  1            2.00          2.00
800-1916   00789541019541                          Case
                            Ink Pad Distress Dye Black    24-11214-j11
                                                        Soot                Doc 1 Filed 11/13/24 Entered 11/13/24 14:38:12 Page 82 of 181
                                                             Tim Holtz By Ranger                                                                10           3.11         31.11
                                                                                Inventory on Walmart
  SKU         GTIN/UPC      Description                                                                                                       On Walmart   Cost Ea.   Total Cost
800-1172   00499995173507   Interchangeable Cords 8 (16 w/tips)-Yellow                                                                            3            1.54          4.62
800-0845   00072879150056   Iron - On Mending Fabric - Black 6 x 13                                                                               12           1.49         17.90
800-0515   00051221523120   Iron-on Transfer Pencil (Blue)                                                                                        4            1.82          7.28
800-2561   00743772155201   Jacquard Lumiere Acrylic Color, 2.25 oz., Bright Gold                                                                 3            2.88          8.64
800-2562   00743772155607   Jacquard Lumiere Acrylic Color, 2.25 oz., Halo Blue Gold                                                              3            2.88          8.64
800-2563   00743772156307   Jacquard Lumiere Acrylic Color, 2.25 oz., Metallic Silver                                                             2            2.88          5.76
800-2788   00743772154808   Jacquard Lumiere Acrylic Color, 2.25 oz., Old Brass                                                                   3            2.88          8.64
800-2564   00743772156901   Jacquard Lumiere Acrylic Color, 2.25 oz., Pearlescent Violet                                                          2            2.88          5.76
800-1150   00743772027850   Jacquard Textile Color, 2.25 oz., Neutral Gray                                                                        2            2.51          5.02
800-2878   00743772112709   Jacquard Textile Color, 2.25 oz., Russet                                                                              3            2.61          7.83
800-1152   00743772111108   Jacquard Textile Color, 2.25 oz., Sky Blue                                                                            2            2.51          5.02
800-1154   00743772110101   Jacquard Textile Color, 2.25 oz., Yellow, Fabric Dye                                                                  3            2.51          7.53
800-1155   00029064143324   Janlynn Mini Counted Cross Stitch Kit 2.5 Round-Skating Snowman (18 Count)                                            1            1.08          1.08
800-1156   00049489002952   Janlynn Mini Counted Cross Stitch Kit 2.75 Oval-Bluebird (18 Count)                                                   2            1.08          2.15
800-2375   00029064143386   Janlynn Mini Counted Cross Stitch Kit 2.75 Oval-Celestial Santa (18 Count)                                            3            1.08          3.23
800-2656   00049489002914   Janlynn Mini Counted Cross Stitch Kit 2.75 Oval-Gnome (18 Count)                                                      3            1.08          3.23
800-2565   00015586847796   Jolee's Boutique Dimensional Stickers-Cooking                                                                         3            2.11          6.32
800-3904   00015586925999   Jolees Boutique Sticker 3D Mickey Family                                                                              13           3.16         41.12
800-1162   00760164001304   Judikins Diamond Glaze Dimensional Adhesive 2oz-Precision Tip                                                         3            3.89         11.66
800-0024   00046838074882   JVC In-Ear Headphones, Black, HAEC10B                                                                                 9            5.09         45.81
800-2932   00014137787215   Kid's Scented Shimmer Paint Markers 1.4oz 6/Pkg-Assorted Scents & Colors                                              3            6.70         20.09
800-1170   08904086268854   Knitter's Pride Knit Blocking & Pins Kit                                                                              3           15.08         45.25
800-3230   08904086282546   Knitter'S Pride-Interchangeable Cords 11 (20 W/Tips)-Blue                                                             7            1.54         10.78
800-3229   08907628001148   Knitter's Pride-Needle & Crochet View Sizer W/Yarn Cutter-Lilac                                                       6            1.85         11.09
800-2546   08904086293016   Knitter's Pride-Wool Needles Set Of 3-                                                                                3            1.49          4.46
800-0438   00740482001699   Kreinik Easter Blending Filament                                                                                      3            1.27          3.82
800-1181   00740482030552   Kreinik Very Fine Metallic Braid #4 12yd-Fluorescent Tangerine                                                        10           1.96         19.57
800-2321   00740482030903   Kreinik Very Fine Metallic Braid #4 12yd-Hi Lustre Garnet                                                             6            1.96         11.74
800-1184   00740482030859   Kreinik Very Fine Metallic Braid #4 12yd-Hi Lustre Gun Metal                                                          6            1.75         10.50
800-1199   00740482030347   Kreinik White                                                                                                         3            1.96          5.87
800-1452   00057355316096   Kroy Socks FX Yarn-Cadet, Pk 6, Patons                                                                                4            3.78         15.12
800-3971   00015586954166   Large Edge Punch-Diamond Flowers, 1.25X2.5                                                                            14          10.56       147.77
800-3943   00015586945577   Large Punch-Butterfly, 1.75                                                                                           4            9.50         38.00
800-2323   00084417134756   Lee 3-Line Removable Wide Highlighter Note Tape, 1/2 X 393 in, Yellow                                                 3            2.28          6.83
800-1207   00084417134800   Lee Removable Highlighter Tape Refill, 1/2 X 393 in, Purple                                                           4            2.28          9.10
800-1318   00057355082908   Lily Sugar 'N Cream The Original Solid Yarn, 2.5oz, Medium 4 Gauge, 100% Cotton - White - Machine Wash & Dry          2            1.47          2.94
800-1316   00057355413641   Lily Sugar N' Cream YarnCase
                                                      - 2.524-11214-j11
                                                            oz, 4-Ply, Teal   Doc 1 Filed 11/13/24 Entered 11/13/24 14:38:12 Page 83 of 181       5            1.47          7.36
                                                                              Inventory on Walmart
  SKU         GTIN/UPC    Description                                                                                                     On Walmart   Cost Ea.   Total Cost
800-1240   00057355103283 Lily Sugar?N Cream Ombres Yarn (57G/2Oz), Denim Blue Prints                                                         5            1.47          7.36
800-1244   00057355364134 Lily Sugar?N Cream Ombres Yarn (57G/2Oz), Fruit Punch Ombre                                                         5            1.47          7.36
800-2413   00057355300941 Lily Sugar?N Cream Ombres Yarn (57G/2Oz), Guacamole                                                                 11           1.47         16.19
800-1248   00057355283893 Lily Sugar?N Cream Ombres Yarn (57G/2Oz), Key Lime Pie Ombre                                                        14           1.47         20.61
800-2414   00057355324541 Lily Sugar?N Cream Ombres Yarn (57G/2Oz), Mod Ombre                                                                 19           1.47         27.97
800-1260   00057355293700 Lily Sugar?N Cream Ombres Yarn (57G/2Oz), Summer Prints                                                             13           1.47         19.14
800-1261   00057355402799 LILY SUGAR’N CREAM OMBRES YARN (57G/2OZ), SUNRISE OMBRE                                                             2            1.47          2.94
800-1262   00057355283916 Lily Sugar’N Cream Ombres Yarn (57G/2Oz), Swimming Pool Ombre                                                       6            1.47          8.83
800-1233   00057355390058 Lily Sugar’n Cream Ombres Yarn, (57g/2oz), Ahoy Ombre                                                               3            1.47          4.42
800-2406   00057355268746 LILY SUGAR’N CREAM THE ORIGINAL YARN (71G/2.5OZ), HOT ORANGE                                                        2            1.47          2.94
800-2438   00057355329089 Lily Sugar'n Cream Cone 4 Medium Cotton Yarn, Potpourri 14oz/400g, 706 Yards                                        1            8.15          8.15
800-1276   00057355384170 Lily Sugar'n Cream Medium 100% Cotton Bright Navy Yarn, 200 yd                                                      4            2.26          9.04
800-1312   00057355256651 Lily Sugar'n Cream Medium 100% Cotton Soft Ecru Yarn, 120 yd                                                        3            1.47          4.42
800-2426   00057355284104 Lily Sugar'n Cream Super Size Yarn                                                                                  12           2.26         27.12
800-1285   00057355370555 Lily Sugar'n Cream Super Size Yarn                                                                                  52           2.26       117.52
800-1280   00057355277984 Lily Sugar'n Cream Super Size Yarn                                                                                  2            2.26          4.52
800-1221   00057355253728 Lily Sugar'n Cream Super Size Yarn                                                                                  5            2.26         11.30
800-1282   00057355370524 Lily Sugar'N Cream Super Size Yarn (113G/4Oz), Hot Pink                                                             34           2.26         76.84
800-1288   00057355253575 Lily Sugar'n Cream Super Size Yarn Available In Multiple Sizes And Colors                                           13           2.26         29.38
800-1290   00057355324589 Lily Sugar'n Cream The Original Medium 100% Cotton Blue Yarn, 95 yd                                                 9            1.47         13.25
800-1236   00057355402775 Lily Sugar'n Cream The Original Ombre 4 Medium Cotton Yarn, Capri 2oz/57g, 95 Yards                                 10           1.47         14.72
800-1247   00057355121461 Lily Sugar'n Cream The Original Ombre 4 Medium Cotton Yarn, Jewels 2oz/57g, 95 Yards                                6            1.47          8.83
800-2418   00057355341357 Lily Sugar'n Cream The Original Ombre 4 Medium Cotton Yarn, Psychedelic 2oz/57g, 95 Yards                           6            1.47          8.83
800-1239   00057355413665 Lily Sugar'n Cream Yarn - Ombres-Coral Seas                                                                         1            1.47          1.47
800-1264   00057355461956 Lily Sugar'n Cream Yarn - Ombres-Waterfront Ombre                                                                   14           1.47         20.61
800-1271   00057355440449 Lily Sugar'n Cream Yarn - Scrub Off-Linen                                                                           3            2.26          6.77
800-1237   00057355300934 Lily Sugar'n Cream Yarn, 2 Oz, Chocolate Ombre                                                                      23           1.47         33.86
800-1225   00057355253711 Lily Sugar'n Cream® Super Size Ombre #4 Medium Cotton Yarn, Potpourri 3oz/85g, 150 Yards                            2            2.26          4.52
800-1249   00057355341364 Lily Sugar'n Cream® The Original Ombre #4 Medium Cotton Yarn, Love 2oz/57g, 95 Yards                                3            1.47          4.42
800-3053   00023535810555 Liquid Food Color 1oz-Black                                                                                         3            1.24          3.71
800-1326   00789541046820 Liquid Pearls Dimensional Pearlescent Paint .5oz-Rose Gold                                                          4            1.36          5.44
800-1327   00789541002062 Liquid Pearls Dimensional Pearlescent Paint .5oz-White Opal                                                         3            1.36          4.08
800-1330   00089516109001 LoRan Needle Threader-                                                                                              1            1.24          1.24
800-2789   00023535590044 LorAnn Candy & Baking Flavoring .125oz 2/Pkg-Marshmallow                                                            1            1.67          1.67
800-2172                  LorAnn Cherry Super Strength Flavor, Blistered Twin Pack                                                            3            1.67          5.01
800-3054   00023535811057 LorAnn Liquid Food Coloring 1oz-Red                                                                                 1            1.24          1.24
800-2521                                        Case
           00023535301046 LorAnn Oils Pure Vanilla     24-11214-j11
                                                   Extract, 2 fl oz       Doc 1 Filed 11/13/24 Entered 11/13/24 14:38:12 Page 84 of 181       3            5.98         17.95
                                                                                       Inventory on Walmart
  SKU        GTIN/UPC       Description                                                                                                                       On Walmart   Cost Ea.   Total Cost
800-2171                    LorAnn Watermelon Candy and Baking Flavoring                                                                                          1            1.67          1.67
800-4040   00300263307534   Marvel 6-Inch-Scale Action Figure - Black Panther (Erik Killmonger)                                                                   5            2.90         14.50
800-1147   05010993656424   Marvel Avengers Iron Man Action Figure                                                                                                24           1.88         45.12
800-1100   05010993656431   Marvel Avengers Thor Action Figure                                                                                                    15           1.88         28.20
800-1399   05010993948383   Marvel Captain America Toy Marvel Super Hero Action Figure Inspired by the Marvel Comics                                              6            2.90         17.40
800-1400   05010993948369   Marvel Hulk Toy Marvel Super Hero Action Figure Inspired by the Marvel Comics                                                         3            2.90          8.70
800-1401   05010993948376   Marvel Iron Man Toy Marvel Super Hero Action Figure Inspired by the Marvel Comics                                                     6            2.90         17.40
800-3225   00746775222536   Mattel Games - Uno Deluxe Card Game Tin                                                                                               8            6.00         48.00
800-3862   00194735167227   Mattel MTTHPT45 UNO Ultimate Marvel Refresh Card Game                                                                                 6            6.00         36.00
800-2917   00070659724268   Medium Rickrack 1/2X2-1/2yd - Berry Sorbet                                                                                            1            1.25          1.25
800-1343   00887961771503   MEGA Call of Duty Diego                                                                                                               5            5.00         25.00
800-1344   00887961771497   MEGA Call of Duty General Davis                                                                                                       8            5.00         40.00
800-2107   00000772037891   Melissa & Doug Deluxe Wooden Magnetic Responsibility Chart With 90 Magnets                                                            5           18.26         91.32
800-0032   00000772007757   Melissa & Doug Farm Wooden Cube Puzzle With Storage Tray - 6 Puzzles in 1 (16 pcs) - FSC Certified                                    1           10.47         10.47
800-1408   00000772053778   Melissa & Doug On the Go Color by Numbers Kids' Design Board - Unicorns, Ballet, Kittens, and More                                    17           5.29         89.98
800-1409   00000772091367   Melissa & Doug On the Go Magicolor Coloring Pad - Princess (18 Pages) - FSC Certified                                                 9            5.27         47.46
800-2327   00000772053754   Melissa & Doug On the Go Water Wow! Reusable Water-Reveal Activity Pad - Vehicles - FSC Certified                                     3            5.29         15.88
800-2676   00712353239005   Memento Ink Refill Tuxedo Black                                                                                                       2            3.41          6.81
800-1554   00048533429691   MERMAID -PERLER 8500BEAD BCKT                                                                                                         27          10.49       283.20
800-1041   00634524337948   Mini Glue Dots - Basic Supplies - 1 Piece                                                                                             1            3.00          3.00
800-4089   00300263307961   Mini Glue Dots Clear Dot Roll - .1875 300/Pkg                                                                                         2            3.00          6.00
800-1360   00048533140961   Mini Perler Beads 2000/Pkg-Light Pink                                                                                                 6            1.37          8.24
800-0725   00887961852578   Minions The Rise of Gru Splat'Ems Mystery Pack 1                                                                                      3            2.74          8.22
800-1364   00028995113055   Mod Podge Sealer, Glue, and Finish, Matte Finish, Clear, 4 fl oz                                                                      5            2.48         12.40
800-1365   00028995113017   Mod Podge WMCS11301CA Sealer, Glue, and Finish, Matte Finish, Clear, 8 fl oz                                                          4            3.47         13.88
800-4082   00300263307886   Monopoly Deal Card Game, for Kids, Ages 8 and Up                                                                                      6            2.80         16.80
800-1366   00630509277827   Monopoly Grab & Go Game For 2 To 4 Players, Ages 8 And Up                                                                             10           4.00         40.00
800-3093   00718813467667   Moxy Super Chunky Glitter 1.5Oz - Rose Gold                                                                                           3            2.27          6.82
800-1367   00071641149403   Mr. Sketch Scented Markers, Chisel Tip, Assorted Colors, 22 Count                                                                     4           12.51         50.04
800-3906   00756995961832   My Little Pony Izzy Moonbow Mini Figure                                                                                               9            2.00         18.00
800-1377   00630509911011   My Little Pony Magical Potion Surprise Batch 1                                                                                        87           0.85         73.95
800-2758   05010993661206   My Little Pony Potion Nova Potion Pony, Comb & 4 Surprise Accessories                                                                 2            3.90          7.80
800-2757   05010993737604   My Little Pony Potion Pony Rarity Figure                                                                                              3            3.90         11.70
800-1376   00630509610181   My Little Pony Twilight Sparkle Loves to Study Play Set for Children                                                                  3            2.72          8.16
800-2816   00195166173221   My Little Pony: A New Generation Crystal Hitch Trailblazer - 2-Inch Translucent Yellow Pony Figure, Toy for Kids Ages 3               9            0.80          7.20
800-1148   00195166173214   My Little Pony: A New Generation Crystal Izzy Moonbow - 2-Inch Translucent Purple Pony Figure, Toy for Kids Ages 3 and                31           0.80         24.80
800-1642   00195166173252   My Little Pony: A NewCase    24-11214-j11
                                                   Generation                Doc
                                                                Crystal Princess   1 -Filed
                                                                                 Petals 2-Inch11/13/24
                                                                                               Translucent Entered
                                                                                                           Pink Pony11/13/24
                                                                                                                    Figure, Toy14:38:12    Page
                                                                                                                                for Kids Ages     85 of 181
                                                                                                                                              3 and               15           0.80         12.00
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  SKU         GTIN/UPC      Description                                                                                                              On Walmart   Cost Ea.   Total Cost
800-1872   00195166173207   My Little Pony: A New Generation Crystal Sunny Starscout - 2-Inch Translucent Orange Pony Figure, Toy for Kids Ages 3        30           0.80         24.00
800-3893   00195166173191   My Little Pony: A New Generation Crystal Zipp Storm - 2-Inch Translucent White Pony Figure, Toy for Kids Ages 3 and Up       1            0.80          0.80
800-1382   00630509877379   Nerf Alpha Strike 11-Piece Stinger SD-1 Targeting Set, Great for Stealth Battles                                             31           3.25       100.75
800-1381   00195166110103   Nerf Alpha Strike Claw Dual QS-4 Blaster 10X Elite Foam Darts Hasbro                                                         6            5.08         30.48
800-1383   00195166162072   Nerf Elite 2.0 Ace SD-1 Blaster and 2 Official Nerf Elite Darts, Stealth-Sized                                               7            1.90         13.30
800-1386   00630509780624   Nerf MicroShots DoubleStrike Zombie Strike Kids Toy Blaster with 2 Darts                                                     2            5.50         11.00
800-1385   00630509780600   Nerf MicroShots Zombie Strike Flipfury Blaster, Ages 8 and Up                                                                6            4.40         26.40
800-1387   00630509359271   Nerf N-Strike Elite Jolt Blaster, Includes 2 Official Darts Kids Toys for Outdoor Summer Games Ages 8 and Up                 9            2.85         25.65
800-1388   00630509603435   Nerf N-Strike NanoFire (blue)                                                                                                35           3.10       108.50
800-1389   00630509603442   Nerf N-Strike NanoFire (green)                                                                                               8            3.10         24.80
800-0011   00630509494620   Nerf Sports Pocket Vortex Aero Howler                                                                                        8            4.15         33.20
800-1108   00630509732838   Nerf Super Soaker Piranha Kids Toy Water Blaster                                                                             24           3.55         85.20
800-1395   05010993682898   NERF SUPER SOAKER SCATTER BLAST                                                                                              8            5.80         46.40
800-2819   00630509619818   Nerf Super Soaker Scatterblast Blaster                                                                                       5            6.95         34.75
800-1397   00195166122717   NERF Vortex Aero Howler Foam Football - Pool + Beach Football - Kids Aero Howler Foam Ball - Red                             3            7.20         21.60
800-0120   00015586782042   Nesting Paper Punch-Circle 1                                                                                                 8            5.28         42.20
800-1895   00032886263040   Nmbwg Building Wire 14/2 100 Ft.                                                                                             4           46.58       186.32
800-0424   00026521028408   Offray Curling Ribbon Keg 3/16x40' Red                                                                                       8            0.26          2.04
800-0144   00079636676859   Offray Double Face Satin Craft Ribbon, 1-1/2-Inch Wide by 10-Yard Spool, Diamond Blue                                        17           3.01         51.17
800-2923   00091511500424   Olfa Rotary Cutter Blade, 45mm                                                                                               26           4.24       110.24
800-1780   00715891111659   Original Sculpey Oven-Bake Clay, 1 lb., Terra-Cotta                                                                          3            5.67         17.00
800-0575   00073650825408   Outdoor Thread - 200 YDS, WHITE                                                                                              1            2.84          2.84
800-1034   00029444916500   Pacon Spectra Glitter Sparkling Crystals, 4 oz., Blue                                                                        4            2.52         10.08
800-1035   00029444916609   Pacon Spectra Glitter Sparkling Crystals, 4 oz., Green                                                                       5            2.52         12.60
800-1037   00029444916401   Pacon Spectra Glitter Sparkling Crystals, 4 oz., Red                                                                         7            2.52         17.64
800-1413   00084001030129   Pacon Tru-Ray Construction Paper, 9 x 12- Pink                                                                               2            2.08          4.16
800-0025   00633356601500   Page Protector 12X12 10Pk                                                                                                    6            3.80         22.81
800-1415   00766218055859   Paint Pots 18/Pkg-.125oz                                                                                                     2            1.96          3.92
800-2484   00057355413948   Patons Alpaca Blend Yarn - (5) Bulky Gauge - 3.5oz - Smoke - Machine Washable For Crochet, Knitting & Crafting               2            4.35          8.70
800-1421   00057355296039   Patons Beehive Baby Sport Yarn - Solids-Angel White                                                                          9            2.71         24.40
800-2503   00057355339576   Patons Beehive Baby Sport Yarn - Solids-Baby Grey                                                                            6            2.71         16.27
800-2023   00057355334465   Patons Canadiana Yarn - Solids - Medium Green Tea                                                                            19           2.94         55.84
800-2502   00057355334588   Patons Canadiana Yarn - Solids-Burgundy                                                                                      3            2.94          8.82
800-2021   00057355334458   Patons Canadiana Yarn - Solids-Cherished Green                                                                               4            2.94         11.76
800-1427   00057355334571   Patons Canadiana Yarn - Solids-Cherished Pink                                                                                6            2.94         17.63
800-1428   00057355334731   Patons Canadiana Yarn - Solids-Clearwater Blue                                                                               5            2.94         14.70
800-2025   00057355334397   Patons Canadiana YarnCase       24-11214-j11 Doc 1 Filed 11/13/24 Entered 11/13/24 14:38:12 Page 86 of 181
                                                      - Solids-Navy                                                                                      23           2.94         67.60
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  SKU         GTIN/UPC      Description                                                                                                           On Walmart   Cost Ea.   Total Cost
800-1431   00057355334755   Patons Canadiana Yarn - Solids-Pale Teal                                                                                  2            2.94          5.88
800-1432   00057355334564   Patons Canadiana Yarn - Solids-Raspberry                                                                                  5            2.94         14.70
800-1433   00057355389434   Patons Canadiana Yarn - Solids-Stone                                                                                      7            2.94         20.57
800-2497   00057355334328   Patons Canadiana Yarn - Solids-Toasty Grey                                                                                4            2.94         11.76
800-1435   00057355334663   Patons Canadiana Yarn - Solids-Tweet Yellow                                                                               4            2.94         11.76
800-1436   00057355334281   Patons Canadiana Yarn - Solids-White                                                                                      9            2.94         26.45
800-2498   00057355334342   Patons Canadiana Yarn, Oatmeal                                                                                            5            2.94         14.70
800-1443   00057355311558   Patons Grace Yarn, 1.75 oz, Blush, 1 Ball                                                                                 10           2.96         29.58
800-1442   00057355325043   Patons Grace Yarn-Aquifer                                                                                                 8            2.96         23.66
800-1445   00057355389458   Patons Grace Yarn-Citadel                                                                                                 2            2.96          5.92
800-2507   00057355364097   Patons Grace Yarn-Fiesta                                                                                                  5            2.96         14.79
800-1447   00057355311473   Patons Grace Yarn-Ginger                                                                                                  6            2.96         17.75
800-2506   00057355325081   Patons Grace Yarn-Lotus                                                                                                   5            2.96         14.79
800-1448   00057355311428   Patons Grace Yarn-Natural                                                                                                 7            2.96         20.71
800-1449   00057355364066   Patons Grace Yarn-Navy                                                                                                    5            2.96         14.79
800-1450   00057355311480   Patons Grace Yarn-Night                                                                                                   17           2.96         50.29
800-2485   00057355306806   Patons Kroy Sock Yarn                                                                                                     6            3.78         22.68
800-2494   00057355316133   Patons Kroy Sock Yarn                                                                                                     9            3.78         34.02
800-2491   00057355414334   Patons Kroy Sock Yarn                                                                                                     10           3.78         37.80
800-1463   00057355391536   Patons Kroy Sock Yarn                                                                                                     19           3.78         71.82
800-1459   00057355306837   Patons Kroy Sock Yarn                                                                                                     10           3.78         37.80
800-1456   00057355414327   Patons Kroy Socks Yarn-Amethyst Stripes                                                                                   2            3.78          7.56
800-2032   00057355414303   Patons Kroy Socks Yarn-Blue Raspberry                                                                                     4            3.78         15.12
800-2492   00057355414341   Patons Kroy Socks Yarn-Coastal Stripes                                                                                    19           3.78         71.82
800-1462   00057355306844   Patons Kroy Socks Yarn-Gentry Grey                                                                                        4            3.78         15.12
800-1465   00057355391512   Patons Kroy Socks Yarn-Purple Haze Stripes                                                                                4            3.78         15.12
800-1466   00057355391543   Patons Kroy Socks Yarn-Route 66 Jacquard                                                                                  8            3.78         30.24
800-1468   00057355317918   Patons Kroy Socks Yarn-Slate Jacquard                                                                                     7            3.78         26.46
800-1471   00057355414310   Patons Kroy Socks Yarn-Turquoise Stripes                                                                                  3            3.78         11.34
800-2871   00725879101381   Pepperell Polyester Loops for Crafts 8oz -Assorted, Unisex                                                                5            3.20         15.98
800-1712   00725879401214   Pepperell RBS5011 Tie Dye Rexlace Plastic Lacing, 0.938 by 33 yd, Red                                                     3            1.35          4.04
800-1861   00725879210168   Pepperell Stretch Band EZ Looper Bracelet Maker                                                                           4            0.80          3.18
800-2577   00789541030683   Perfect Pearls Pigment Powder 1oz-Biscotti, Pk 3, Ranger                                                                  3            2.27          6.81
800-0405   00026521127248   Periwinkle Curling Ribbon                                                                                                 4            1.24          4.96
800-2726   00048533190089   Perler                                                                                                                    7            1.96         13.69
800-2115   00048533543953   Perler 3D Christmas Tree Fused Bead Kit , Ages 6 and up, 2004 Pieces                                                      7            7.57         53.02
800-3194   00048533111480                         Case
                            Perler 80-11148 Solid-Top Cap24-11214-j11       Doc Bus
                                                           Fuse Beads, 3505pcs,  1 Pattern
                                                                                      Filed 11/13/24
                                                                                             Kit       Entered 11/13/24 14:38:12 Page 87 of 181       4            8.40         33.58
                                                                           Inventory on Walmart
  SKU         GTIN/UPC      Description                                                                                            On Walmart   Cost Ea.   Total Cost
800-3067   00048533630561   Perler 80-63056 Fuse Bead Activity Kit - Forest Friends Arch                                               8            5.83         46.60
800-3069   00048533630592   Perler 80-63059 Superman Chibi Fuse Bead Activity Kit                                                      7            5.30         37.10
800-1541   00048533190935   Perler Beads 1,000/Pkg-Blueberry Creme                                                                     4            1.96          7.82
800-1479   00048533190638   Perler Beads 1,000/Pkg-Blush                                                                               7            1.96         13.69
800-2989   00048533190577   Perler Beads 1,000/Pkg-Cheddar                                                                             1            1.96          1.96
800-2212   00048533152001   Perler Beads 1,000/Pkg-Cobalt                                                                              5            1.96          9.78
800-1486   00048533190027   Perler Beads 1,000/Pkg-Creme                                                                               9            1.96         17.60
800-1488   00048533190102   Perler Beads 1,000/Pkg-Dark Green                                                                          18           1.96         35.21
800-1492   00048533190393   Perler Beads 1,000/Pkg-Glitter Mix -PBB80-19-19039                                                         3            1.96          5.87
800-1494   00048533190676   Perler Beads 1,000/Pkg-Glow Mix                                                                            5            1.96          9.78
800-2229   00048533190171   Perler Beads 1,000/Pkg-Gray                                                                                2            1.96          3.91
800-2723   00048533190591   Perler Beads 1,000/Pkg-Hot Coral                                                                           4            1.96          7.82
800-3160   00048533152452   Perler Beads 1,000/Pkg-Iris                                                                                8            1.96         15.65
800-1495   00048533190614   Perler Beads 1,000/Pkg-Kiwi Lime -PBB80-19-19061                                                           2            1.96          3.91
800-1496   00048533152179   Perler Beads 1,000/Pkg-Lagoon                                                                              6            1.96         11.74
800-1501   00048533190799   Perler Beads 1,000/Pkg-Light Pink                                                                          10           1.96         19.56
800-1505   00048533152407   Perler Beads 1,000/Pkg-Mint                                                                                5            1.96          9.78
800-1509   00048533152100   Perler Beads 1,000/Pkg-Orchid                                                                              2            1.96          3.91
800-1510   00048533190522   Perler Beads 1,000/Pkg-Pastel Blue                                                                         1            1.96          1.96
800-1515   00048533190072   Perler Beads 1,000/Pkg-Purple                                                                              3            1.96          5.87
800-2991   00048533190881   Perler Beads 1,000/Pkg-Raspberry                                                                           6            1.96         11.74
800-1517   00048533152025   Perler Beads 1,000/Pkg-Robins Egg                                                                          2            1.96          3.91
800-1518   00048533152445   Perler Beads 1,000/Pkg-Rose                                                                                6            1.96         11.74
800-2213   00048533152049   Perler Beads 1,000/Pkg-Salmon                                                                              5            1.96          9.78
800-1521   00048533151998   Perler Beads 1,000/Pkg-Shamrock                                                                            4            1.96          7.82
800-1523   00048533152162   Perler Beads 1,000/Pkg-Sky                                                                                 1            1.96          1.96
800-1525   00048533152186   Perler Beads 1,000/Pkg-Teal                                                                                6            1.96         11.74
800-3163   00048533152117   Perler Beads 1,000/Pkg-Tomato                                                                              2            1.96          3.91
800-1527   00048533190621   Perler Beads 1,000/Pkg-Turquoise                                                                           12           1.96         23.47
800-1529   00048533190034   Perler Beads 1,000/Pkg-Yellow                                                                              4            1.96          7.82
800-2215   00048533152070   Perler Beads 1;000/Pkg-Charcoal                                                                            4            1.96          7.82
800-2689   00048533110865   Perler Beads 6,000/Pkg-Dark Green                                                                          1            6.99          6.99
800-2733   00048533559756   Perler Beads Fun Fusion Kit: Cupcakes, Butterflies & Hearts, 2000 Pieces and 3 Pegboards                   9            5.83         52.43
800-2630   00048533559640   Perler Beads Funfusion Pet Fancy Activity Kit                                                              3            5.83         17.48
800-1519   00048533190201   Perler Beads Fuse Beads for Crafts, 1000 pcs, Rust                                                         5            1.96          9.78
800-1564   00048533228522   Perler Beads Harry Potter Instruction Pad, 53 Patterns, Multicolor Unique                                  7            4.18         29.27
800-2228   00048533190850   Perler Beads, 1000pk Case 24-11214-j11 Doc 1 Filed 11/13/24 Entered 11/13/24 14:38:12 Page 88 of 181       6            1.96         11.74
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  SKU         GTIN/UPC      Description                                                                                                                    On Walmart   Cost Ea.   Total Cost
800-3198   00048533111442   perler Caps Fuse Beads and Pattern Kit - flower, Ages 12 and Up, 3503 Pcs                                                          7            8.40         58.77
800-3170   00048533546558   Perler Caps Kit - Food                                                                                                             12           4.55         54.60
800-3207   00048533543458   Perler Deluxe Kit Harry Potter                                                                                                     3           11.66         34.97
800-2117   00048533544004   Perler Everyday Heroes Deluxe Box Fused Bead Kit, 4006 Pieces                                                                      3           10.49         31.47
800-3165   00048533111176   Perler Floral Fox Pattern and Fuse Bead Kit, 10 x 11, 3503pc                                                                       3            4.92         14.77
800-0124   00048533227631   Perler Fun Fusion Fuse Bead Activity Kit, Classic                                                                                  2            4.63          9.26
800-2527   00048533427895   Perler Fuse Bead Activity Craft Kit (5506 Pieces)                                                                                  5            7.31         36.55
800-1563   00048533170142   Perler Fuse Beads Bucket 18,000/Pkg, Multicolor                                                                                    3           17.49         52.46
800-1550   00048533429639   Perler Fused Bead Bucket Kit-Believe In Magic                                                                                      3           10.49         31.47
800-2200   00048533429448   Perler Fused Bead Bucket Kit-Dinosaur                                                                                              5            7.31         36.55
800-2232   00048533629961   Perler Fused Bead Kit - Emoji                                                                                                      8            4.08         32.61
800-3168   00048533111251   Perler Fused Bead Kit 3500pc Zelda Hylian Shield                                                                                   6            5.83         34.95
800-1570   00048533111046   Perler Fused Bead Kit Batman 3500pc                                                                                                5            5.83         29.13
800-2685   00048533629879   Perler Fused Bead Kit Glow In The Dark                                                                                             10           5.83         58.25
800-1557   00048533629893   Perler Fused Bead Kit Jungle Animals                                                                                               3            5.83         17.48
800-2925   00048533559718   Perler Fused Bead Kit Ocean Buddies                                                                                                3            5.83         17.48
800-2926   00048533559954   Perler Fused Bead Kit Rainbow Ponies Kit, Mulitcolor                                                                               2            5.83         11.65
800-1547   00048533630530   Perler Fused Bead Kit Super Mario 3 2004pc                                                                                         11           6.99         76.90
800-3062   00048533111053   Perler Fused Bead Kit Wonder Woman 3500pc                                                                                          8            5.83         46.60
800-1558   00048533542444   Perler Fused Bead Kit-Legend Of Zelda                                                                                              1            5.98          5.98
800-2204   00048533630288   Perler Fused Bead Kit-Mermaid                                                                                                      1            5.83          5.83
800-2727   00048533559817   Perler Fused Bead Kit-Race Car                                                                                                     11           5.83         64.08
800-1573   00048533227853   Perler Fused Bead Pattern Pad Volume 2, 110 Patterns                                                                               12           4.92         59.09
800-3208   00048533228515   Perler Fused Bead Pattern Pad-Marvel Avengers                                                                                      13           4.18         54.37
800-3211   00048533534579   Perler Fused Bead Trial Kit-Star Wars The Child                                                                                    9            1.90         17.13
800-1362   00048533228010   Perler Fused Mini Bead Tweezers, 1 Piece                                                                                           6            1.80         10.78
800-3167   00048533111381   Perler Harry Potter Fused Bead and Pattern Kit, 3503 Pieces                                                                        8            5.83         46.60
800-1356   00048533140695   Perler Mini Beads 2000/Pkg-Black                                                                                                   5            1.37          6.87
800-3199   00048533141166   Perler Mini Beads 2000/Pkg-Gray                                                                                                    5            1.37          6.87
800-2217   00048533175376   Perler Mini Large Tray-                                                                                                            2            8.48         16.95
800-3063   00048533111060   Perler Pattern Bag-Unicorn                                                                                                         12           4.92         59.09
800-1575   00048533227976   Perler Pattern PadStriped Beads                                                                                                    4            4.92         19.70
800-1502   00048533190386   Perler PBB80-19-19038 Beads - Magenta&#44; 1000 per Pack                                                                           10           1.96         19.56
800-1511   00048533190539   Perler PBB80-19-19053 Beads - Pastel Green&#44; 1000 per Pack                                                                      1            1.96          1.96
800-1504   00048533152018   Perler PBB80-19-201 Midnight Perler Bead Bag&#44; Pack of 1000                                                                     5            1.96          9.78
800-1578   00048533151059   Perler Pearl Beads 1000/Pkg-Silver                                                                                                 9            1.96         17.60
800-2101   00048533543472                          Case
                            Perler Smithsonian Crafts     24-11214-j11
                                                       Dinosaurs  Fused BeadDoc     1 Filed
                                                                              Kit, Ages       11/13/24
                                                                                        6 and up,          Entered
                                                                                                  2003 Pieces         11/13/24
                                                                                                              Plastic Melty Beads14:38:12 Page 89 of 181       3            7.31         21.93
                                                                                Inventory on Walmart
  SKU         GTIN/UPC      Description                                                                                                        On Walmart   Cost Ea.   Total Cost
800-1582   00048533228690   Perler Star Wars Beads Pattern Pad, 49 Designs                                                                         5            4.18         20.91
800-1555   00048533429677   Perler Star Wars Fused Bead Bucket, Ages 6 and up, 8505 Pieces                                                         3           11.66         34.97
800-3166   00048533111497   Perler Star Wars The Mandalorian Fused Bead and Pattern Bag, The Child, Ages 12 and up, 3503 Pieces                    7            5.83         40.78
800-2198   00048533159611   Perler Striped Beads 1,000/Pkg - Cherry                                                                                2            1.96          3.91
800-2854   00048533176045   Perler Stripes 'N Pearls Fused Bead Tray, Ages 6 and up, 4000 Pieces                                                   3            7.84         23.52
800-3210   00048533543762   Perler Summer Fun Deluxe Box Fused Bead Kit, Ages 6 and up, 4005 Pieces                                                1           10.49         10.49
800-2201   00048533429479   Perler Super Mario Bros. 3 Fused Bead Bucket, Ages 6 and up, 5003 Pieces                                               3            8.79         26.38
800-2231   00048533228416   Perler Super Mario Bros. 3 Fused Bead Pattern Pad-Super Mario Bros. 3, 60 Projects                                     19           4.18         79.46
800-2100   00048533429653   Perler Tie Dye Fused Bead Bucket Craft Kit (5004 Pieces)                                                               1            7.31          7.31
800-2113   00048533111114   Perler® Beads Mermaid Pattern Bag Beading Kit                                                                          2            4.55          9.11
800-0273   00023602620759   Pioneer Photo Albums Auto Mounts Mounting Squares Roller for Photos, Scrapbooks, and Paper Crafts, 350 Permanent       3            2.47          7.40
800-3059   00028995024351   Plaid-Craft FA-2435 Gentle Violet - FolkArt Acrylic Paint&#44; 2 oz                                                    5            1.16          5.79
800-3060   00028995026362   Plaid-Craft FA-2636 Villa Green - FolkArt Acrylic Paint&#44; 2 oz                                                      3            1.16          3.47
800-1406   00630509642144   Play-Doh Animal Shapes                                                                                                 14           1.10         15.40
800-1592   05010993655250   Play-Doh Brand Slime 3-Pack - Blue, Metallic Orange, & Metallic Pink                                                   1            2.70          2.70
800-1594   00630509851096   Play-Doh Confetti Compound 4-Color Assortment                                                                          15           2.76         41.40
800-1597   00630509641772   Play-Doh Fruit Shapes (Play-Doh Night Sky Shapes)                                                                      16           1.10         17.60
800-1112   05010993646388   Play-Doh Fundamentals Shapes Tool Set with 6, 1-Ounce Cans                                                             3            3.65         10.95
800-1604   00195166165769   PLAY-DOH SAND GREEN                                                                                                    15           3.15         47.25
800-1608   00195166165745   PLAY-DOH SAND TAN                                                                                                      1            3.15          3.15
800-1605   00195166165776   PLAY-DOH SAND VIOLET                                                                                                   11           3.15         34.65
800-1606   00195166165752   Play-Doh Scoopable Sand - 6oz Can Plus Mini Shovel - Pink                                                              6            3.15         18.90
800-1609   00195166165721   Play-Doh Scoopable Sand - 6oz Can Plus Mini Shovel - Teal                                                              5            3.15         15.75
800-1616   00630509642151   Play-Doh Sweet Shapes                                                                                                  31           1.10         34.10
800-2130   00630509578894   Playskool Friends Sesame Street Cookie Monster Mini Plush, Ages 12 Months and Up                                       1            6.40          6.40
800-1786   00715891600504   Polyform Sculpey Souffle Clay 1.7oz Cornflower                                                                         23           1.69         38.96
800-0067   00630509277834   Pop-O-Matic Trouble Grab & Go Game                                                                                     20           4.00         80.00
800-0030                    Premo! Sculpey Modeling Clay, 1 lb., White                                                                             10          12.96       129.55
800-1628   00024904006623   Pres-On Mounting Board 11X14-                                                                                          12           2.76         33.06
800-1632   00024904006029   Pres-On Mounting Board 9X12-                                                                                           13           2.02         26.25
800-1630   00024904006012   Pres-on, Self-Stick Mounting Board for Art Needlework, 5X7- White                                                      25           1.28         32.08
800-2052   00021853030105   Pressman Charades for Kids Game - Travel Version - 'No Reading Required' Family Game                                   3            4.00         12.00
800-0504   08720077191952   Pressman Charades for Kids Snap Box                                                                                    1            3.92          3.92
800-0087   00021853015218   Pressman Dominoes: Double Six Wooden Dominoes                                                                          16           2.80         44.80
800-1633   00021853020144   Pressman Toys - Backgammon Game With Fold Up Board                                                                     4            3.80         15.20
800-4069   00300263307756   Pro Kadima Beach Paddles - Artifact Prints #2                                                                          10           4.50         45.00
800-4070   00300263307763                          Case- Artifact
                            Pro Kadima Beach Paddles      24-11214-j11
                                                                  Prints #3 Doc 1 Filed 11/13/24 Entered 11/13/24 14:38:12 Page 90 of 181          10           4.50         45.00
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  SKU         GTIN/UPC      Description                                                                                                              On Walmart   Cost Ea.   Total Cost
800-0873   00038805230100   Pro Kadima Replacement Balls                                                                                                 13           1.21         15.73
800-0846   00072879251876   Prym Primary Assortment 3X8 3/Pkg                                                                                            4            1.49          5.97
800-2662   00789541041054   Ranger Embossing Powder Green Tinsel                                                                                         14           2.73         38.16
800-1646   00789541036630   Ranger Embossing Powder Red                                                                                                  17           2.73         46.34
800-1645   00789541037378   Ranger Embossing Powder-Copper                                                                                               3            2.73          8.18
800-2653   00789541000709   Ranger Embossing Powder-Holographic                                                                                          13           2.73         35.44
800-1647   00789541037408   Ranger Embossing Powder-Super Fine Gold                                                                                      25           2.73         68.15
800-1648   00789541037415   Ranger Embossing Powder-Super Fine Silver                                                                                    27           2.73         73.60
800-1355   00789541040972   Ranger IBT40972 Mini Ink Blending Replacement Foams 1 in. Round 20-Pkg-For IBT40965                                          9            3.15         28.31
800-2576   00789541017042   Ranger Inkssentials Glossy Accents Clear 3-Dimensional Gloss Medium, 2fl oz                                                  4            2.73         10.90
800-1354   00789541077176   Ranger Mini Domed Ink Blending Foams 10/Pkg-For IBT40965                                                                     6            3.11         18.67
800-1649   00789541041511   Ranger Multi Medium .5oz-Matte                                                                                               4            1.36          5.44
800-2670   00789541017875   Ranger Perfect Pearls Pigment Powder .25oz-Forever Red                                                                       13           2.27         29.52
800-2345   00789541053699   Ranger Stickles Glitter Glue .5oz-Confetti                                                                                   3            1.13          3.40
800-1839   00789541065692   Ranger Stickles Glitter Glue .5oz-Grapefruit                                                                                 6            1.13          6.80
800-1841   00789541001942   Ranger Stickles Glitter Glue .5oz-Yellow                                                                                     1            1.13          1.13
800-2673   00789541020233   Ranger THoltz Distress Ink Pad Peeled Paint                                                                                  8            3.11         24.89
800-2867   00789541040033   Ranger Tim Holtz Distress Ink Pads, Mini, Mowed Lawn                                                                         3            1.55          4.66
800-1133   00070616015408   Real Wood Games 48 Piece Large Wood Tower Game                                                                               5            3.10         15.50
800-1691   00073650851728   Red Heart Super Saver Size 4 Acrylic Lavender Yarn, 364 yd                                                                   1            3.74          3.74
800-2252   00073650810367   Red Heart® Classic White Cotton Yarn, 1000 Yds Size 10                                                                       3            4.13         12.38
800-1710   00725879200015   Rex Lace White 100Yds                                                                                                        5            1.50          7.48
800-1716   00885967884104   Rit, All Purpose Liquid Dye, Hyacinth, 8 fl. oz.                                                                             12           2.75         32.94
800-1718   00885967883206   Rit, All Purpose Liquid Dye, Kelly Green, 8 fl. oz.                                                                          4            2.75         10.98
800-1116   00630509278022   Rook: Brain-Teasing Family Card Game for Ages 8 and up                                                                       20           2.85         57.00
800-0392   00026521019871   Rose Curling Ribbon, 3/16x500 yards                                                                                          10           1.24         12.40
800-0715   00070896042019   Round Decorating Tip No. 2 by Wilton (418/2)                                                                                 6            0.91          5.47
800-2364   00090672014573   Royal & Langnickel - Majestic 5pc Short Handle Artist Paint Brush Set - Watercolor                                           5           11.10         55.50
800-2361   00090672011299   Royal & Langnickel Big Kid's Choice Brushes, Angular Type, Short Handle, Assorted Sizes, Set of 5                            2            2.85          5.70
800-2979   00090672419033   Royal & Langnickel Colour Pencil by Numbers?, Jungle Animals                                                                 1            2.11          2.11
800-0599   00090672057099   Royal & Langnickel Colour Pencil by Numbers?, Wash Day Fun                                                                   8            2.11         16.87
800-0957   00090672063625   Royal & Langnickel Essentials 120ml Acrylic Paint Tube - Aqua                                                                3            1.68          5.04
800-0960   00090672304391   Royal & Langnickel Essentials 120ml Acrylic Paint Tube - Cadmium Orange                                                      1            1.68          1.68
800-2350   00090672304407   Royal & Langnickel Essentials 120ml Acrylic Paint Tube - Cadmium Red                                                         7            1.68         11.76
800-2348   00090672304360   Royal & Langnickel Essentials 120ml Acrylic Paint Tube - Lemon Yellow                                                        3            1.68          5.04
800-2160   00090672304438   Royal & Langnickel Essentials 120ml Acrylic Paint Tube - Primary Cyan                                                        2            1.68          3.36
800-2351   00090672304421                          Case 24-11214-j11
                            Royal & Langnickel Essentials  120ml Acrylic PaintDoc  1 - Pthalocyanine
                                                                                Tube    Filed 11/13/24
                                                                                                     Blue Entered 11/13/24 14:38:12 Page 91 of 181       5            1.68          8.40
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  SKU         GTIN/UPC      Description                                                                                                 On Walmart   Cost Ea.   Total Cost
800-2581   00090672276346   Royal & Langnickel Keep N' Carry Acrylic Painting Set, 11-Pieces                                                17           3.75         63.75
800-1167   00090672276339   Royal & Langnickel Keep N' Carry Watercolor Painting Set                                                        2            3.75          7.50
800-0031   00090672240187   Royal & Langnickel Sketch & Draw Beginners Art Set, 32pc                                                        4           11.25         45.00
800-1817   00090672028419   Royal & Langnickel Soft Grip Round Golden Taklon Fiber Paint Brush Set, Assorted Size, Set of 5                 3            4.34         13.02
800-0961   00090672063557   Royal Brush Artist Acrylic Paint, 120ml, Cerulean Blue                                                          2            1.68          3.36
800-2347   00090672304339   Royal Brush Artist Acrylic Paint, 120ml, Cobalt Blue                                                            4            1.68          6.72
800-0963   00090672304483   Royal Brush Artist Acrylic Paint, 120ml, Naples Yellow                                                          5            1.68          8.40
800-0964   00090672304469   Royal Brush Artist Acrylic Paint, 120ml, Pthalocaynine Emerald Green                                            2            1.68          3.36
800-0967   00090672304322   Royal Brush Artist Acrylic Paint, 120ml, Yellow Ochre                                                           3            1.68          5.04
800-1904   00090672021175   Royal Brush Artist's Sponge, Synthetic, 3/Pkg.                                                                  3            0.48          1.44
800-0435   00090672061010   Royal Brush Big Kids Choice Chubby Arts and Crafts Brush Set, 5pc                                               6            2.43         14.60
800-2157   00090672062659   Royal Brush Charcoal Art Mini Tin Set                                                                           9            1.80         16.20
800-0600   00090672062581   Royal Brush Color Stick Drawing Mini Tin Set                                                                    7            1.80         12.60
800-0997   00090672000453   Royal Brush Engraving Tool Set                                                                                  9            1.86         16.74
800-1165   00090672226969   Royal Brush Keep N' Carry Drawing Set                                                                           21           3.75         78.75
800-1724   00090672385154   Royal Brush Multi-Purpose Golden Taklon Paint Brush Set, Assorted Size, Set of 3                                8            1.35         10.80
800-2980   00090672062611   Royal Brush Sketching & Charcoal Mini Tin Set                                                                   4            1.80          7.20
800-1166   00090672226952   Royal Ess Artist Set Sketching                                                                                  28           3.75       105.00
800-1740   00036346918334   SCH MCH NEEDLE 80 12                                                                                            6            4.03         24.20
800-1737   00036346317328   Schmetz Needle Microtex Sharp Size 60/8 (Pack Of 5)                                                             1            2.72          2.72
800-1739   00036346317939   Schmetz Topstitch Machine Needle                                                                                6            3.48         20.86
800-1329   00011169412160   School Specialty Cotton Washable Weaving Loop, Assorted Color, 1 lb Bag                                         3            7.93         23.78
800-1742   00718122660612   Scor-Pal SP202 Scor-Tape, 0.25 by 27-Yard                                                                       3            2.55          7.64
800-1743   00718122660711   Scor-Pal SP202 Scor-Tape, 0.25 by 27-Yard                                                                       4            3.82         15.29
800-1748   00093616016114   Scrapbook Adhesives 3D Self-Adhesive Foam Squares 126/Pkg-Black, .5X.5                                          1            1.87          1.87
800-1749   00093616016138   Scrapbook Adhesives 3D Self-Adhesive Foam Squares 308/Pkg-Black, .25X.25                                        6            1.87         11.19
800-2544   00093616016251   Scrapbook Adhesives Paper Photo Corners Self-Adhesive 108/Pk-.5 Gold                                            2            1.87          3.73
800-1750   00093616016275   Scrapbook Adhesives Paper Photo Corners Self-Adhesive 108/Pk-Silver                                             1            1.87          1.87
800-1752   00017754543059   Scribbles 3D Fabric Paint 1oz - Glittering - Silver                                                             2            1.19          2.39
800-1757   00017754541390   Scribbles 3D Fabric Paint 1oz - Shiny - Black                                                                   2            1.19          2.39
800-0132   00017754147110   Scribbles 3D Fabric Paint 1oz-Glow - Green                                                                      7            0.80          5.61
800-2946   00017754542236   Scribbles 3D Fabric Paint 1oz-Iridescent - Charcoal Grey                                                        3            1.19          3.58
800-1756   00017754541123   Scribbles 3D Fabric Paint 1oz-Shiny - Bright Yellow                                                             3            1.19          3.58
800-2944   00017754541284   Scribbles 3D Fabric Paint 1oz-Shiny - Medium Blue                                                               10           1.19         11.93
800-1758   00017754541109   Scribbles 3D Fabric Paint 1oz-Shiny - White                                                                     1            1.19          1.19
800-1753   00017754542243   Scribbles Fabric Paint 1oz Iridescent Gold                                                                      4            1.19          4.77
800-2620   00715891110867   Sculpey III Oven-Bake Case     24-11214-j11 Doc 1 Filed 11/13/24 Entered 11/13/24 14:38:12 Page 92 of 181
                                                   Clay 2oz-Gold                                                                            1            1.47          1.47
                                                                                      Inventory on Walmart
  SKU         GTIN/UPC      Description                                                                                                           On Walmart   Cost Ea.   Total Cost
800-1773   00715891115831   Sculpey III Oven-Bake Clay 2oz-Red Hot Red                                                                                20           1.47         29.30
800-1766   00715891110539   Sculpey III Polymer Clay 2oz-Chocolate                                                                                    22           1.47         32.23
800-1762   00715891116128   Sculpey III Set, 10-Colors, 1oz., Multi-Pak Brights                                                                       6           13.50         81.00
800-2720   00715891116173   Sculpey III Set, 10-Colors, 1oz., Multi-Pak Intermediate                                                                  6           12.00         72.00
800-1763   00715891110935   Sculpey III, 2 oz., Beige                                                                                                 6            1.47          8.79
800-1764   00715891110423   Sculpey III, 2 oz., Black                                                                                                 7            1.47         10.26
800-1765   00715891111420   Sculpey III, 2 oz., Candy Pink                                                                                            4            1.47          5.86
800-2574   00715891111406   Sculpey III, 2 oz., Deep Red Pearl                                                                                        5            1.47          7.33
800-1767   00715891113233   Sculpey III, 2 oz., Emerald                                                                                               11           1.47         16.12
800-1769   00715891162927   Sculpey III, 2 oz., Granny Smith                                                                                          19           1.47         27.84
800-1770   00715891165720   Sculpey III, 2 oz., Hazelnut                                                                                              14           1.47         20.51
800-1772   00715891115138   Sculpey III, 2 oz., Purple                                                                                                30           1.47         43.95
800-1774   00715891111444   Sculpey III, 2 oz., Sky Blue                                                                                              12           1.47         17.58
800-1775   00715891111093   Sculpey III, 2 oz., Suede Brown                                                                                           1            1.47          1.47
800-1776   00715891113011   Sculpey III, 2 oz., Tan                                                                                                   14           1.47         20.51
800-1768   00715891111130   Sculpey Polymer Clay Glow in the Dark                                                                                     6            1.47          8.79
800-2573   00715891111505   Sculpey Polymer Clay Lemonade                                                                                             5            1.47          7.33
800-1777   00715891110010   Sculpey Polymer Clay White                                                                                                67           1.47         98.16
800-1778   00715891110720   Sculpey Polymer Clay Yellow                                                                                               4            1.47          5.86
800-0022   00715891112328   Sculpey Polymer Modeling Compound Clay, 1.75 lb, White                                                                    5            8.50         42.50
800-1785   00715891510964   Sculpey Premo Premium Oven-Bake Clay 2oz-Opal                                                                             5            1.65          8.25
800-1787   00715891604281   Sculpey Souffle Clay 1.7oz-Poppy Seed                                                                                     7            1.69         11.86
800-1789   00715891650523   Sculpey Souffle Clay 1.7oz-Sea Glass                                                                                      15           1.69         25.41
800-1790   00715891600177   Sculpey Souffle Clay 7oz-Igloo                                                                                            2            6.80         13.60
800-1793   00715891200193   Sculpey UltraLight Polymer Clay 8oz-White                                                                                 3            6.50         19.50
800-3899   00765468739762   Sew Cute Felt Pillow Donut                                                                                                4            6.57         26.29
800-0101   00765468744032   Sew Cute Mini Donut                                                                                                       11           2.02         22.21
800-0103   00765468742090   Sew Cute Mini Pizza                                                                                                       14           1.84         25.69
800-3905   00765468741956   Sew Cute! Latch Hook Kit-Unicorn                                                                                          2            9.78         19.56
800-1727   00725879239046   Sgetti String Plastic Lacing 50 Yard Spool-Kelly Green                                                                    8            1.70         13.56
800-2884   00712353800106   Sheer Shimmer Spritz Spray 2oz-Gold                                                                                       4            3.15         12.58
800-1881   00077216007062   Silvalume Aluminum Crochet Hook 5.5-Size G6/4mm                                                                           18           1.09         19.57
800-1882   00077216007086   Silvalume Aluminum Crochet Hook 5.5-Size H8/5mm                                                                           1            1.09          1.09
800-2244   00077216000360   Silvalume Soft Handle Aluminum Crochet Hook 5.5-Size 7/4.5mm                                                              34           1.50         50.90
800-1886   00077216000292   Silvalume Soft Handle Aluminum Crochet Hook 5.5-Size G6/4mm                                                               12           1.50         17.96
800-2246   00077216000315   Silvalume Soft Handle Aluminum Crochet Hook 5.5-Size I9/5.5mm                                                             3            1.50          4.49
800-2247   00077216000322   Silvalume Soft Handle Case     24-11214-j11
                                                     Aluminum                 Doc 1 J10/6mm
                                                               Crochet Hook 5.5-Size  Filed 11/13/24   Entered 11/13/24 14:38:12 Page 93 of 181       1            1.50          1.50
                                                                                   Inventory on Walmart
  SKU         GTIN/UPC      Description                                                                                                             On Walmart   Cost Ea.   Total Cost
800-2248   00077216000339   Silvalume Soft Handle Aluminum Crochet Hook 5.5-Size K10.5/6.5mm                                                            3            1.50          4.49
800-1797   00075691602567   Singer All-Purpose Polyester Thread 150yd-Natural                                                                           3            1.29          3.86
800-1798   00075691600136   Singer All-Purpose Polyester Thread 150yd-Navy                                                                              9            1.29         11.59
800-1796   00075691601102   SINGER All-Purpose Polyester Thread, Black, 150 Yards                                                                       9            1.29         11.59
800-1805   00075691020569   SINGER Angled-Edge Lint Brush for Sewing Machines, White, 1 Ct.                                                             3            1.48          4.43
800-1803   00075691001315   SINGER Iron-On Patches 3.75X5 4/Pkg-Rose Gold & Black                                                                       6            2.12         12.74
800-1804   00075691004866   Singer Mini Glue Sticks-5/16X4 20/Pkg                                                                                       2            1.29          2.58
800-1810   00075691047238   SINGER Size 90/14 Universal Regular Point Sewing Machine Needles (4 Pack)                                                   4            1.71          6.82
800-1806   00075691002602   Singer Thread Nylon 135yd Clear                                                                                             34           1.10         37.33
800-4096   00300263308036   Slimline 16/3 White - 8' Extension Cord (2241)                                                                              69           3.32       229.08
800-4095   00300263308029   SlimLine 2235 16/2 White - 3' Slimline Extension Cord                                                                       12           1.20         14.40
800-4093   00300263308005   SlimLine 2236 Flat Plug Extension Cord, 2-Wire, 7-Foot, White                                                               8            1.72         13.76
800-4094   00300263308012   SlimLine 2237 Flat Plug Extension Cord, 2-Wire, 13-Foot, White                                                              4            3.02         12.08
800-1815   00078693022371   SlimLine 2237 Flat Plug Extension Cord, 2-Wire, White, 13-Foot                                                              8            3.02         24.16
800-2601   00078693022395   SlimLine 2239 Flat Plug Extension Cord, 2-Wire, Beige, 7-Foot                                                               7            2.85         19.95
800-3773   00078693022401   SlimLine 2240 Flat Plug Extension Cord, 2-Wire, 13-Foot, Beige                                                              8            2.80         22.40
800-1816   00078693022432   SlimLine 2243 Flat Plug 8' Extension Cord, 3-Wire, Black                                                                    9            3.14         28.26
800-2004   00078693022548   SlimLine 2254 Flat Plug Extension Cord, 3-Wire, 8-Foot, Beige                                                               3            3.96         11.88
800-3884   00078693022555   SlimLine 2255 Flat Plug Extension Cord, 3-Wire, 13-Foot, Beige                                                              9            4.46         40.14
800-1549   00048533543182   Smithsonian Crafts Space Shuttle Fuse Bead Kit by Perler, 2002 Pieces Melty Plastic Beads                                   4            7.31         29.25
800-0427   00026521387406   Solid Curling Ribbon (each) - Party Supplies                                                                                22           0.26          5.61
800-2983   00029064210422   Some Bunny Loves You Mini Counted Cross Stitch Kit - 2.5 Round 18 Count                                                     3            1.08          3.23
800-2839   00630509858279   Sorry! Grab & Go Game, for Kids Ages 6 and Up, for 2-4 Players                                                              16           4.00         64.00
800-1934   00085407209898   Southwire 12 V Terminal Washer                                                                                              8            0.20          1.60
800-1900   00024098902145   Southwire 12/3 Gauge 3-Outlet Tri-Cord set, 2 ft, 15-Amp, Yellow 3 Prong                                                    5           21.42       107.10
800-1896   00032886263088   Southwire 28828222 12/2 50' with Ground Romex Brand SIMpull Residential Indoor Electrical Wire Type NM-B Yellow             4           34.51       138.04
800-3116   00032886263132   Southwire 28829022 50' 10/2 with ground Romex brand SIMpull residential indoor electrical wire type NM-B Orange             7           52.22       365.54
800-1903   00078693029912   Southwire 50 Ft 20 Amp Weather Resistant Electrical Extension Cord, Yellow                                                  1           48.75         48.75
800-3779   00300263306407   Southwire 50-Foot Contractor Grade 12/3 with Lighted End American Made Extension Cord (02548-USA1)                          8           26.66       213.28
800-1898   00032886860478   Southwire 55213243 14/2 Low Voltage Outdoor Landscape Lighting Cable, 100-Feet, 100 ft N                                    3           27.32         81.96
800-1822   00879216008915   Spellbinders Glimmer Foil-Fuchsia Flower                                                                                    11           2.50         27.45
800-1824   00879216008960   Spellbinders Glimmer Foil-Polished Brass                                                                                    4            2.50          9.98
800-3128   00879216008908   Spellbinders Glimmer Foil-Tangerine                                                                                         3            2.50          7.49
800-3148   00057355448018   Spinrite 161016-16008 Bernat Crushed Velvet Yarn&#44; Taupe                                                                 2            7.09         14.18
800-0305   00057355448056   Spinrite 161016-16012 Bernat Crushed Velvet Yarn&#44; Magenta                                                               3            7.09         21.27
800-3139   00057355450882   Spinrite 244077-77775 Patons Classic Wool Yarn&#44; Misty Thistle                                                           4            4.72         18.86
800-3138   00057355450899   Spinrite 244077-77776Case
                                                    Patons24-11214-j11      Doc 1 Softened
                                                            Classic Wool Yarn&#44;    Filed 11/13/24
                                                                                            Pansy        Entered 11/13/24 14:38:12 Page 94 of 181       7            4.72         33.01
                                                                                    Inventory on Walmart
  SKU         GTIN/UPC    Description                                                                                                                On Walmart   Cost Ea.   Total Cost
800-1440   00057355450905 Spinrite 244077-77777 Patons Classic Wool Yarn&#44; Pansy                                                                      2            4.72          9.43
800-1441   00057355450929 Spinrite 244077-77779 Patons Classic Wool Yarn&#44; Soft Orchid                                                                7            4.72         33.01
800-3135   00057355450967 Spinrite 244077-77783 Patons Classic Wool Yarn&#44; Rich Raspberry                                                             7            4.72         33.01
800-3134   00057355452886 Spinrite 244077-77791 Patons Classic Wool Yarn&#44; Cool Gray                                                                  18           4.72         84.89
800-3242   00726465267337 Spinrite Bernat Handicrafter Cotton Yarn 340g - Mod Ombre, 1 Pack of 2 Skein                                                   8           14.97       119.78
800-1464   00057355414358 Spinrite Kroy Socks Yarn-Woodsie                                                                                               11           3.78         41.58
800-1224   00057355428058 Spinrite Medium 100% Cotton Pebble Beach Yarn, 150 yd                                                                          3            2.26          6.78
800-3529   00300263303994 Spinrite Patons Kroy Socks Yarn-Route 66 Jacquard, 1 Pack of 2 Skein                                                           6            7.56         45.36
800-3889   00300263306735 Splendorette Crimped Curling Ribbon - 6-Pack, 3/16 x 500yds, Assorted Colors                                                   2            7.44         14.88
800-0386   00026521027456 Splendorette Crimped Curling Ribbon .1875X500Yd-Beauty                                                                         14           1.24         17.36
800-0387   00026521019826 Splendorette Crimped Curling Ribbon .1875X500Yd-Black                                                                          16           1.24         19.84
800-0393   00026521019789 Splendorette Crimped Curling Ribbon .1875X500yd-Emerald                                                                        17           1.24         21.08
800-0398   00026521019888 Splendorette Crimped Curling Ribbon .1875X500yd-Light Blue                                                                     8            1.24          9.92
800-0408   00026521019857 Splendorette Crimped Curling Ribbon .1875X500yd-Royal Blue                                                                     12           1.24         14.88
800-1828   00026521019796 Splendorette Crimped Curling Ribbon .1875X500Yd-Silver                                                                         11           1.24         13.64
800-0395   00026521962221 Splendorette Crimped Curling Ribbon 3/16 x 500yd-Hot Red                                                                       43           1.24         53.32
800-0406   00026521019994 Splendorette Crimped Curling Ribbon, .1875 x 500yd                                                                             13           1.24         16.12
800-0414   00026521019925 Splendorette Crimped Curling Ribbon, .1875 x 500yd                                                                             19           1.24         23.56
800-0409   00026521784502 Splendorette Crimped Curling Ribbon, .1875 x 500yd - Sunshine                                                                  16           1.24         19.84
800-0875   00038805181365 Sport Design Replacement Beach Balls for Beachball Smashball Kadima Watercolors (Set of three balls in Assorted colors )       7            1.85         12.95
800-0984   04007817009550 Staedtler Fimo Professional Polymer Clay - Leaf Green, 2 oz                                                                    8            1.52         12.13
800-0439   05010993986446 Star Wars Bo-Katan Toy 6-inch Scale Figure The Mandalorian Action Figure, for Ages 4 and Up                                    58           3.50       203.00
800-1101   05010993986415 Star Wars Grogu and Hover Pram Toy 6-inch-Scale The Mandalorian Action Figure, Toys for Kids Ages 4 and Up                     55           3.50       192.50
800-1331   05010993986439 Star Wars Luke Skywalker Toy 6-inch Scale Figure Star Wars: Return of the Jedi Action Figure, for Kids Ages 4 and Up           30           3.50       105.00
800-1836   00195166119137 Star Wars The Child Toy 6-inch-Scale The Mandalorian Action Figure for Kids Ages 4 and Up                                      7            3.50         24.50
800-1335   05010993986408 Star Wars The Mandalorian Toy 6-inch-Scale The Mandalorian Action Figure, Toys for Kids Ages 4 and Up                          18           3.50         63.00
800-1909   00630509993024 Star Wars: The Mandalorian Toy Action Figure Set for Boys and Girls, 2 Pieces                                                  12           3.50         42.00
800-1838   00789541038443 Stickles Glitter Glue .5oz-Cranberry                                                                                           4            1.13          4.53
800-1840   00789541038467 Stickles Glitter Glue .5oz-Mercury Glass                                                                                       5            1.13          5.67
800-1849   00012017366116 Strathmore 300 Series Smooth Bristol Pad, 11 x 14 Inches, 100 lb, 20 Sheets                                                    13           6.18         80.34
800-1844   00012017494116 Strathmore Calligraphy Paper Pad, 400 Series, 8.5 x 11- 50 Sheets                                                              10           3.27         32.70
800-1850   00012017440113 Strathmore Medium Drawing Spiral Paper Pad 11X14-24 Sheets                                                                     8            5.09         40.72
800-2371   00012017571350 Strathmore Watercolor Paper 500 Series Hot-Press, 8 x 10- 10 Sheets                                                            3            5.72         17.16
800-2875   00727072751080 Sulky Tear Easy Stabilizer Roll 8x11yd White                                                                                   1            6.62          6.62
800-2782   00717968508621 Sulyn 2-ounce 24 Karat Extra Fine Glitter                                                                                      23           2.15         49.34
800-1033                  Sulyn 4-ounce Crystal Diamond Glitter                                                                                          2            1.65          3.29
800-2781                                          Case 24-11214-j11 Doc 1 Filed 11/13/24 Entered 11/13/24 14:38:12 Page 95 of 181
           00717968511249 Sulyn 4-ounce Red Glitter                                                                                                      2            1.65          3.29
                                                                               Inventory on Walmart
  SKU         GTIN/UPC      Description                                                                                                     On Walmart   Cost Ea.   Total Cost
800-1039   00040595194920   Super Colorful Celestial Stars Glow in the Dark Wall Decoration Kit                                                 1            7.29          7.29
800-1876   00715891114384   Super Sculpey Polymer Clay 8lb-Beige                                                                                5           63.00       315.00
800-2808   00630509611232   Supersoaker Splash Mouth Outdoor Blaster                                                                            3            7.54         22.62
800-1887   00077216000308   Susan Bates Silvalume Soft Handle Aluminum Crochet Hook 5.5-Size H8/5mm                                             20           1.50         29.94
800-1888   00077216040854   Susan Bates Steel Weaving Needle-5 1/Pkg                                                                            2            0.74          1.48
800-1889   00077216040809   Susan Bates Yarn Needles Steel 2.75 in.                                                                             2            0.74          1.48
800-1837   00679924431216   Tattoo King King Stickers-Cheetahs, Multi                                                                           3            0.95          2.84
800-1905   00966152214156   Taylor Seville Thread Magic Combo-Round & Cube                                                                      5            7.00         34.98
800-1906   00966152214033   Taylor Seville Thread Magic Thread Conditioner Rnd                                                                  8            5.50         43.96
800-2771   00045155906678   The Beadery Pony Beads 6x9mm, 415-Pack                                                                              5            2.50         12.48
800-1621   00045155906654   The Beadery Pony Beads 6x9mm, 415-Pack                                                                              7            2.50         17.47
800-1622   00045155906647   The Beadery Pony Beads 6x9mm, 415-Pack                                                                              11           2.50         27.45
800-1911   00000943040514   Thermoweb Sticky Dot Die-Cut Adhesive Sheets-4.25X5.5 12/Pkg                                                        6            2.25         13.51
800-3863   00194735004768   Thomas & Friends Neon Thomas Metal Engine                                                                           51           1.80         91.80
800-3881   00194735004683   Thomas & Friends Salty Metal Engine                                                                                 9            1.80         16.20
800-3152   00789541073031   Tim Holtz Distress Collage Medium-2oz                                                                               4            2.67         10.66
800-3153   00789541071327   Tim Holtz Distress Embossing Pen-2/Pkg                                                                              1            2.67          2.67
800-2579   00789541027119   Tim Holtz Distress Ink Pad - Chipped Sapphire - 2 x 2 inches                                                        15           3.11         46.67
800-2672   00789541020219   Tim Holtz Distress Ink Pad Milled Lavender                                                                          3            3.11          9.33
800-2674   00789541021490   Tim Holtz Distress Ink Pad Shabby Shutters                                                                          18           3.11         56.00
800-2870   00789541039839   Tim Holtz Distress Mini Ink Pad-Aged Mahogany                                                                       3            1.55          4.66
800-1918   00789541039846   Tim Holtz Distress Mini Ink Pad-Antique Linen                                                                       6            1.55          9.32
800-1920   00789541039877   Tim Holtz Distress Mini Ink Pad-Broken China                                                                        3            1.55          4.66
800-2868   00789541039938   Tim Holtz Distress Mini Ink Pad-Dusty Concord                                                                       4            1.55          6.21
800-1921   00789541039952   Tim Holtz Distress Mini Ink Pad-Faded Jeans                                                                         3            1.55          4.66
800-1923   00789541040040   Tim Holtz Distress Mini Ink Pad-Mustard Seed                                                                        2            1.55          3.11
800-1924   00789541056164   Tim Holtz Distress Oxides Ink Pad-Rusty Hinge                                                                       1            3.11          3.11
800-1925   00789541056249   Tim Holtz Distress Oxides Ink Pad-Squeezed Lemonade                                                                 2            3.11          6.22
800-1653   00789541021575   Tim Holtz Distress Pad Reinker-Faded Jeans                                                                          8            2.67         21.33
800-3154   00789541071297   Tim Holtz Distress Texture Paste 3oz-Opaque                                                                         2            3.11          6.22
800-2237   00653341053213   Tim Holtz Layered Stencil 4.125X8.5-Concerto                                                                        6            3.96         23.76
800-1927   00653341455611   Tim Holtz Layered Stencil 4.125X8.5-Floral                                                                          4            3.96         15.84
800-1928   00653341052810   Tim Holtz Layered Stencil 4.125X8.5-Woodland                                                                        7            3.96         27.72
800-1929   00789541042013   Tim Holtz Mini Distress Ink Storage Tin-Holds 12                                                                    11           4.45         48.91
800-1930   00836445003722   Tim Holtz Retractable Craft Pick                                                                                    2            4.03          8.07
800-4018   04901991052879   Tombow Fudenosuke Broad Tip Brush Pen Black                                                                         6            1.53          9.18
800-2851   00630509778164   Transformers Megatron  Case   24-11214-j11
                                                      Action Figure         Doc 1 Filed 11/13/24 Entered 11/13/24 14:38:12 Page 96 of 181       6            7.25         43.50
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  SKU         GTIN/UPC      Description                                                                                                          On Walmart   Cost Ea.   Total Cost
800-1792   00715891140758   Translucent Liquid Sculpey, 2 oz.                                                                                        3            4.00         12.00
800-4007   00195166231013   Trouble Grab and Go Game for Ages 5 and Up, Portable Game for 2-4 Players, Travel Game                                   16           4.00         64.00
800-1626   00063562529990   Trudeau Pot Drainer 12-Red                                                                                               7            2.42         16.94
800-1944   00084001029420   Tru-Ray Sulphite Construction Paper, 9 x 12 Inches, Assorted Cool Color, 50 Sheets                                       4            2.85         11.40
800-2085   00084001034318   Tru-Ray Sulphite Construction Paper, 9 x 12 Inches, Festive Red, 50 Sheets                                               3            2.30          6.90
800-0076   00712353400542   Tsukineko Versafine Ink Pad - Vintage Sepia / Small                                                                      5            1.47          7.33
800-1969   00017754207388   Tulip 4 Fl. Oz. Sour Apple Sparkles Dimensional Fabric Paint                                                             3            2.25          6.76
800-2690   00846550012366   Tulip Company Tulip Etimo Crochet Hook, 10-1/2-Inch                                                                      3            6.95         20.84
800-2947   00017754153999   Tulip Dimensional Fabric Paint 1.25oz-Glow In The Dark - Yellow                                                          1            1.45          1.45
800-1947   00035862651015   Tulip Dimensional Fabric Paint 1.25oz-Puffy - White                                                                      4            1.42          5.68
800-1948   00035862419042   Tulip Dimensional Fabric Paint 4oz-Glitter - Crystal Sparkle                                                             5            2.25         11.25
800-2950   00017754173645   Tulip Dimensional Fabric Paint 4oz-Metallics - White                                                                     3            2.25          6.76
800-1960   00017754265265   Tulip Dimensional Fabric Paint 4oz-Slick - Blazin' Blue                                                                  3            2.25          6.75
800-2954   00017754265234   Tulip Dimensional Fabric Paint 4oz-Slick - Lectric Lime                                                                  3            2.25          6.75
800-1967   00017754207449   Tulip Dimensional Fabric Paint 4oz-Sparkles - Blueberry                                                                  6            2.25         13.52
800-2915   00017754290250   Tulip Dimensional Fabric Paints 1.25oz 6/Pkg-Glow                                                                        1            7.22          7.22
800-2512   00846550011857   Tulip Etimo Crochet Hook -Size I9/5.5mm                                                                                  2            6.43         12.86
800-2514   00846550012281   Tulip Etimo Rose Crochet Hook-Size 4/2.5mm                                                                               14           7.09         99.20
800-1953   00846550012335   Tulip Etimo Rose Crochet Hook-Size 8/5mm                                                                                 7            7.09         49.60
800-2513   00846550013882   Tulip Needle Company Tulip Etimo Rose Crochet Hook, 10.5/6.5mm                                                           4            7.61         30.45
800-1954   00846550011680   Tulip Needle TP1168 Etimo Steel Crochet Hook Set                                                                         23          55.05     1,266.10
800-2859   00017754316684   Tulip One Step Tie Dye Kit 3 Color Classic                                                                               3            6.48         19.43
800-2860   00017754316707   Tulip One Step Tie Dye Kit 3 Color Vibrant                                                                               5            6.48         32.38
800-1956   00017754325549   Tulip One-Step Mini Tie-Dye Kit-Neon                                                                                     8            2.28         18.27
800-1958   00017754325532   Tulip One-Step Mini Tie-Dye Kit-Princess                                                                                 7            2.28         15.99
800-2743   00017754444967   Tulip One-Step Tie-Dye Kit - Wildflower, Kit of 3 Colors                                                                 6            6.48         38.85
800-2948   00017754160652   Tulip Puff Fabric Paint Glitter 4 fl oz Diamond Liquid Gel                                                               5            2.25         11.25
800-1949   00035862413019   Tulip Puff Fabric Paint Glitter Gold Glitter 4 fl oz, Liquid Gel                                                         1            2.25          2.25
800-2951   00017754173737   Tulip Puff Fabric Paint, Metallic Black, 4 fl oz Liquid Gel                                                              4            2.25          9.02
800-1955   00017754173713   Tulip Puff Fabric Paint, Metallic Silver, 4 fl oz Liquid Gel                                                             7            2.25         15.78
800-1951   00035862414016   Tulip Puff Fabric Paint, Shiny Black, 4 fl oz Liquid Gel                                                                 4            2.25          9.00
800-1952   00035862414078   Tulip Puff Fabric Paint, Shiny Leaf Green, 4 fl oz Liquid Gel                                                            4            2.25          9.00
800-2956   00035862414054   Tulip Puff Fabric Paint, Shiny Purple, 4 fl oz Liquid Gel                                                                6            2.25         13.50
800-2952   00035862414139   Tulip Puff Fabric Paint, Shiny Royal Blue, 4 fl oz Liquid Gel                                                            2            2.25          4.50
800-2958   00035862414085   Tulip Puff Fabric Paint, Shiny Yellow, 4 fl oz Liquid Gel                                                                1            2.25          2.25
800-2953   00035862414023   Tulip Puff Fabric Paint, Shiny, Deep Red, 4 fl oz Liquid Gel                                                             8            2.25         18.00
800-1961   00035862414221                          Case 24-11214-j11
                            Tulip Slick Brown Dimensional                        Doc 1 Filed 11/13/24 Entered 11/13/24 14:38:12 Page 97 of 181
                                                             Fabric Paint, 4 fl oz                                                                   3            2.25          6.75
                                                                               Inventory on Walmart
  SKU         GTIN/UPC      Description                                                                                                      On Walmart   Cost Ea.   Total Cost
800-1962   00035862414092   Tulip Slick Dimensional Fabric Paint, 4 oz                                                                           5            2.25         11.25
800-1963   00017754290984   Tulip Soft Fabric Paint 4oz-Glow - Natural                                                                           3            4.12         12.35
800-2913   00017754204042   Tulip Soft Fabric Paint 4oz-Matte - Ebony, Pk 3, Tulip                                                               2            4.12          8.23
800-1966   00017754204066   Tulip Soft Fabric Paint 4oz-Matte - Sunshine Yellow                                                                  1            4.12          4.12
800-1968   00017754207401   Tulip Sparkles Dimensional Fabric Paint 4oz-Cotton Candy                                                             8            2.25         18.03
800-2959   00017754207418   Tulip Sparkles Dimensional Fabric Paint 4oz-Hawaiian Fizz                                                            8            2.25         18.03
800-1970   00017754320353   Tulip Writer Fabric Markers 2/Pkg-Black                                                                              11           1.51         16.64
800-0412   00026521019901   Turquoise Curling Ribbon                                                                                             12           1.24         14.88
800-1118   00630509877324   Ugly Dolls Blind Bag MultiPack                                                                                       19           1.05         19.95
800-0016   00194735081776   UNO Disney Pixar Lightyear Card Game in Storage Tin, Movie-Themed Deck                                               34           2.75         93.50
800-1973   00074427858346   UV ONE-TOUCH Magnetic Holder (Multiple Options)                                                                      22           2.31         50.82
800-0413   00026521019772   Vanilla Curling Ribbon, 3/16x500 yards                                                                               6            1.24          7.44
800-1341   00030674170839   Watercolor Paper Pad, 30-Sheet, 9-Inch by 12-Inch, X-Large                                                           17           5.04         85.68
800-3231   00617395445691   White 2-Pack - Coats & Clark - Dual Duty XP General Purpose Thread, 500-Yards Each, White                            1            4.57          4.57
800-1829   00026521019758   White Curling Ribbon                                                                                                 31           1.24         38.44
800-3775   00300263306353   Wiffle Ball Softball King sized-Boxed                                                                                9            1.45         13.05
800-1982   00072133063931   Wiffle Original Brand Baseballs Regulation Baseball Size                                                             65           1.30         84.50
800-1983   00732204008031   Wikki Stix Primary Pack                                                                                              18           4.92         88.51
800-2197   00734343397502   Wilson Basswood Round Thick (Medium (7-9 inch Wide x 1 5/8 inch Thick))                                              3            6.50         19.49
800-0717   00070896082305   Wilton #230 Bismark Tip for Filling Cupcakes, Pastries and More, 1-Piece                                             3            2.30          6.91
800-0670   00070896393562   Wilton Bunny Ears Cupcake Toppers, 24-Count Easter Decorations                                                       1            1.53          1.53
800-1138   00070896066985   Wilton Burgundy Gel Food Coloring, 1 oz.                                                                             7            1.77         12.40
800-1139   00070896612168   Wilton Buttercup Yellow Gel Food Coloring, 1 oz.                                                                     3            1.77          5.31
800-0716   00070896042101   Wilton Cake Decorating Tip Pkg Open Star #21                                                                         3            0.91          2.74
800-0610   00070896193186   Wilton Cookie Sticks 20/Pkg-8                                                                                        6            2.72         16.31
800-0714   00070896042224   Wilton Decorating Tip - 103 Petal                                                                                    6            0.91          5.47
800-0711   00070896042002   Wilton Decorating Tip-#1 Round                                                                                       14           0.91         12.77
800-2534   00070896096166   Wilton Decorating Tip-Grass                                                                                          2            2.30          4.60
800-2702   00070896612342   Wilton Juniper Green Gel Food Coloring, 1 oz., Liquid Gel                                                            3            1.77          5.31
800-3057   00070896042316   Wilton Leaf Cake Decorating Tip #352, 1-Piece                                                                        5            1.22          6.10
800-1349   00070896383006   Wilton Metal Cookie Cutter 3-Star                                                                                    4            0.71          2.82
800-1353   00070896521231   Wilton Mini Cupcake Liners, Pastel, 100 ct.                                                                          4            1.42          5.66
800-0981   00070896514424   Wilton Petal Cupcake Liners, 24-Count, Violet and Green                                                              8            2.90         23.17
800-1989   00070896513755   Wilton Pink Petal Cupcake Liners, 24-Count                                                                           2            2.90          5.79
800-2701   00070896717726   Wilton Rainbow Nonpareils, 3 oz.                                                                                     3            1.65          4.96
800-2982   00070896741110   Wilton Sparkle Gel, Green                                                                                            3            2.13          6.38
800-0721   00070896042194   Wilton Standard 81 PetalCase   24-11214-j11
                                                        Piping Tip           Doc 1 Filed 11/13/24 Entered 11/13/24 14:38:12 Page 98 of 181       5            0.91          4.56
                                                                                   Inventory on Walmart



  SKU         GTIN/UPC      Description                                                                                                      On Walmart   Cost Ea.   Total Cost
800-2398   00057355369900   Wonderart Latch Hook Kit 12X12-Chocolate Dog                                                                         3            6.13         18.38
800-2376   00057355367876   WonderArt® 12 x 12 Latch Hook Kit, Hoot Hoot, Acrylic Yarn Cotton Canvas                                             3            6.13         18.38
800-2385   00057355369757   WonderArt® 15 x 20 Latch Hook Kit, Sailors Beacon, Acrylic Yarn Cotton Canvas                                        5            9.78         48.92
800-2381   00057355369375   WonderArt® 15 x 20 Latch Hook Kit, Swingin, Acrylic Yarn Cotton Canvas                                               1            9.78          9.78
800-0593   00078693016004   Woods 0600W 16/2 6' White Cube Extension Cord with Power Tap                                                         5            1.21          6.05
800-0155   00078693016028   Woods 0602W 3-Outlet 16/2 Cube Extension Cord w/ Power Tap, 12-Feet, White                                           2            1.77          3.54
800-2001   00078693132704   Woods 13270 Green Weatherproof 3-Outlet Adapter Suitable for Outdoor or Indoor Use                                   12           2.17         26.04
800-1411   00078693020018   Woods 2001WD Outdoor 24 Hour Dusk until Dawn Outlet w/Photocell Light Sensor                                         6            6.00         36.00
800-1901   00078693002601   Woods 260 General Purpose Garage and Workshop Extension Cord, 16/3 SJTW Medium Duty, Black 8'                        9            3.13         28.17
800-2002   00078693075636   Woods 277563 Outdoor Extension Cord with Power Block, 8-Foot, White                                                  2            3.04          6.08
800-2592   00078693500121   Woods 50012WD Outdoor 24-Hour Heavy Duty Mechanical Plug-In Timer, 2 Grounded Outlets                                3            9.05         27.15
800-2595   00078693590078   Woods 59007WD In-Wall 5-10-15-30-Minute Decora Digital Countdown Timer                                               3            6.58         19.74
800-2590   00078693597817   Woods 59781 Indoor Wireless Remote Control with Countdown, White                                                     4            8.30         33.20
800-0156   00078693016011   Woods 6' 16/2 White Cube Tap Cord                                                                                    9            1.45         13.05
800-0157   00078693002618   Woods 990261 16/3 15' Black SJTW General Purpose Extension Cord                                                      5            4.50         22.50
800-2003   00078693022357   Woods Slimline 16/2 Extension Cord                                                                                   4            1.20          4.80
800-2006   05060210520120   WOW! Embossing Powder 15ml-Gold Rich                                                                                 7            2.35         16.46
800-2016   00070659539411   Wrights 1/2 Hot Pink Medium Rick Rack, 2.5 yd Sewing Trim                                                            2            1.25          2.51
800-2008   00070659894817   Wrights Double Fold Bias Tape .25X4yd-Red                                                                            10           1.25         12.54
800-2010   00070659924897   Wrights Double Fold Bias Tape .5X3yd-Aquamarine II                                                                   6            1.64          9.85
800-2009   00070659894848   Wrights Double Fold Bias Tape 1/2X3yd-Yellow                                                                         16           1.64         26.26
800-2012   00070659895128   Wrights Double Fold Quilt Binding .875X3yd-Kiwi                                                                      9            2.17         19.57
800-2013   00070659924750   Wrights Double Fold Quilt Binding .875X3yd-Radiant Orchid                                                            3            2.17          6.52
800-2015   00070659505737   Wrights Iron-On Appliques 3/Pkg-Silver Metallic Stars, Pk 3, Wrights                                                 12           0.87         10.40
800-0028   00630509257287   Yahtzee to Go Travel Game                                                                                            64           4.60       294.40
800-1902   00078693173219   Yard Master 17321 6' Green 3-Outlet Power Stake with Light Sensor and Built-In Timer                                 7           11.69         81.83
800-0012   00032886997365   Yellow Jacket 2882 Extension Cord, 15 Amp, 2', Each                                                                  7            4.94         34.58
800-1891   00029892011840   Yellow Jacket 2885 12/3 100' Yellow SJTW Heavy-Duty Extension Cord                                                   1           48.10         48.10
800-2597   00078693028861   Yellow Jacket 2886 14/3 25' Yellow SJTW Premium Extension Cord                                                       5           10.44         52.20

                                                                                                                                                                      46,756.97


                                               Case 24-11214-j11       Doc 1    Filed 11/13/24    Entered 11/13/24 14:38:12 Page 99 of 181
 Fill in this information to identify the case:

     Debtor name     ADB Enterprises LLC, a New Mexico Limited Liability Company

     United States Bankruptcy Court for the: District of       New Mexico
                                                            (State)
     Case number (if known):                                                                                                                         ❑ Check if this is an
                                                                                                                                                         amended filing

Official Form 206D

Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15

Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor’s property?
       ❑ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
      Part 1:       List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more than one                  Column A                       Column B
        secured claim, list the creditor separately for each claim.                                                        Amount of claim                Value of collateral
                                                                                                                           Do not deduct the value        that supports this
                                                                                                                           of collateral.                 claim

 2.1 Creditor’s name                                         Describe debtor’s property that is subject to a lien
         Amazon Capital Services                             Various Inventory in Amazon's Possession - See                           $288,219.72                  $8,776.24
                                                             Attached
        Creditor’s mailing address
                                                             Describe the lien
         410 Terry Ave N
                                                              Lien on Inventory Held in Amazon's
         Seattle, WA 98109-5210                               Possession

        Creditor’s email address, if known                   Is the creditor an insider or related party?
                                                             ✔ No
                                                             ❑
                                                             ❑ Yes
        Date debt was incurred              2018
                                                             Is anyone else liable on this claim?
        Last 4 digits of account       9    8   0       7    ✔ No
                                                             ❑
        number
                                                             ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        Do multiple creditors have an interest in
        the same property?                                   As of the petition filing date, the claim is:

        ✔ No
                                                             Check all that apply.
        ❑
                                                             ❑ Contingent
        ❑ Yes. Specify each creditor, including this
                 creditor, and its relative priority.        ❑ Unliquidated
                                                             ❑ Disputed




 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                $1,044,989.28
        Page, if any.


Official Form 206D                                      Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 6




           Case 24-11214-j11                      Doc 1          Filed 11/13/24               Entered 11/13/24 14:38:12 Page 100 of 181
Debtor       ADB Enterprises LLC, a New Mexico Limited Liability Company                              Case number (if known)
          Name




   Part 1:        Additional Page                                                                                      Column A                  Column B
                                                                                                                       Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                       Do not deduct the value   that supports this
 previous page.                                                                                                        of collateral.            claim

2.2 Creditor’s name                                      Describe debtor’s property that is subject to a lien
      EIDL                                                                                                                        $518,019.56             unknown

     Creditor’s mailing address
      409 3rd St
      Washington, DC 20416-0001                          Describe the lien
                                                         UCC Lien - Inventory All Including
     Creditor’s email address, if known
                                                         Proceeds and Products; Equipment All
                                                         Including Proceeds and Products;
     Date debt was incurred
                                                         Negotiable Instruments All Including
                                      05/25/2020
                                                         Proceeds and Products; Chattel Paper All
     Last 4 digits of account       9      8   0     7   Including Proceeds and Products;
     number                                              Accounts All Including Proceeds and
                                                         Products; General Intangibles All
     Do multiple creditors have an interest in
     the same property?                                  Including Proceeds and Products;
     ✔ No
     ❑                                                   Computer Equipment All Including
     ❑ Yes. Have you already specified the               Proceeds and Products
               relative priority?
                                                         Is the creditor an insider or related party?
         ❑ No. Specify each creditor, including          ✔ No
                                                         ❑
                   this creditor, and its relative
                   priority.                             ❑ Yes
                                                         Is anyone else liable on this claim?
                                                         ✔ No
                                                         ❑
         ❑ Yes. The relative priority of creditors       ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   is specified on lines
                                                         As of the petition filing date, the claim is:
                                                         Check all that apply.

                                                         ❑ Contingent
                                                         ❑ Unliquidated
                                                         ❑ Disputed




Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 2 of 6




         Case 24-11214-j11                     Doc 1        Filed 11/13/24                Entered 11/13/24 14:38:12 Page 101 of 181
Debtor       ADB Enterprises LLC, a New Mexico Limited Liability Company                              Case number (if known)
          Name




   Part 1:        Additional Page                                                                                      Column A                  Column B
                                                                                                                       Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                       Do not deduct the value   that supports this
 previous page.                                                                                                        of collateral.            claim

2.3 Creditor’s name                                      Describe debtor’s property that is subject to a lien
      Innovation Refunds                                                                                                            $48,750.00            unknown

     Creditor’s mailing address
      4350 Westown Pkwy
      Wdm, IA 50266-1052                                 Describe the lien
                                                         UCC Lien - Right Title and Interest and
     Creditor’s email address, if known
                                                         Proceeds

                                                         Is the creditor an insider or related party?
     Date debt was incurred           12/22/2023         ✔ No
                                                         ❑
     Last 4 digits of account       9      8   0     7   ❑ Yes
     number                                              Is anyone else liable on this claim?
     Do multiple creditors have an interest in           ✔ No
                                                         ❑
     the same property?                                  ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     ✔ No
     ❑
                                                         As of the petition filing date, the claim is:
     ❑ Yes. Have you already specified the               Check all that apply.
               relative priority?
                                                         ❑ Contingent
         ❑ No. Specify each creditor, including
                   this creditor, and its relative       ❑ Unliquidated
                   priority.                             ❑ Disputed


         ❑ Yes. The relative priority of creditors
                   is specified on lines




Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 3 of 6




         Case 24-11214-j11                     Doc 1        Filed 11/13/24                Entered 11/13/24 14:38:12 Page 102 of 181
Debtor       ADB Enterprises LLC, a New Mexico Limited Liability Company                              Case number (if known)
          Name




   Part 1:        Additional Page                                                                                      Column A                  Column B
                                                                                                                       Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                       Do not deduct the value   that supports this
 previous page.                                                                                                        of collateral.            claim

2.4 Creditor’s name                                      Describe debtor’s property that is subject to a lien
      NORTHEAST BANK AMZ                                                                                                            $90,000.00            unknown

     Creditor’s mailing address
      250 W 55th St Ste 1502
      New York, NY 10019-9710                            Describe the lien
                                                         UCC Lien - Fixtures Including Proceeds
     Creditor’s email address, if known
                                                         and Products; Equipment Including
                                                         Proceeds and Products; Machinery
     Date debt was incurred
                                                         Including Proceeds and Products;
                                      01/07/2019
                                                         Computer Equipment Including Proceeds
     Last 4 digits of account       9      8   0     7   and Products; Vehicles Including
     number                                              Proceeds and Products; Inventory
                                                         Including Proceeds and Products;
     Do multiple creditors have an interest in
     the same property?                                  Accounts Including Proceeds and
     ✔ No
     ❑                                                   Products; Accounts Receivables Including
     ❑ Yes. Have you already specified the               Proceeds and Products; Negotiable
               relative priority?                        Instruments Including Proceeds and
         ❑ No. Specify each creditor, including          Products; Contract Rights Including
                   this creditor, and its relative       Proceeds and Products; Chattel Paper
                   priority.                             Including Proceeds and Products

                                                         Is the creditor an insider or related party?
                                                         ✔ No
                                                         ❑
         ❑ Yes. The relative priority of creditors
                   is specified on lines                 ❑ Yes
                                                         Is anyone else liable on this claim?
                                                         ✔ No
                                                         ❑
                                                         ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                         As of the petition filing date, the claim is:
                                                         Check all that apply.

                                                         ❑ Contingent
                                                         ❑ Unliquidated
                                                         ❑ Disputed




Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 4 of 6

         Case 24-11214-j11                     Doc 1        Filed 11/13/24                Entered 11/13/24 14:38:12 Page 103 of 181
Debtor       ADB Enterprises LLC, a New Mexico Limited Liability Company                              Case number (if known)
          Name




   Part 1:        Additional Page                                                                                      Column A                  Column B
                                                                                                                       Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                       Do not deduct the value   that supports this
 previous page.                                                                                                        of collateral.            claim

2.5 Creditor’s name                                      Describe debtor’s property that is subject to a lien
      Secured Lender Solutions                                                                                                    $100,000.00             unknown

     Creditor’s mailing address
      Po Box 2576
      Springfield, IL 62708-2576                         Describe the lien
                                                         UCC Lien - Accounts All and Proceeds;
     Creditor’s email address, if known
                                                         Chattel Paper All and Proceeds; All Assets
                                                         and Proceeds; Fixtures All and Proceeds;
     Date debt was incurred
                                                         General Intangibles All and Proceeds;
                                      04/07/2023
                                                         Equipment All and Proceeds; Inventory All
     Last 4 digits of account       9      8   0     7   and Proceeds
     number
                                                         Is the creditor an insider or related party?
     Do multiple creditors have an interest in           ✔ No
                                                         ❑
     the same property?
     ✔ No                                                ❑ Yes
     ❑
     ❑ Yes. Have you already specified the               Is anyone else liable on this claim?
               relative priority?                        ✔ No
                                                         ❑
         ❑ No. Specify each creditor, including          ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   this creditor, and its relative
                   priority.                             As of the petition filing date, the claim is:
                                                         Check all that apply.

                                                         ❑ Contingent
         ❑ Yes. The relative priority of creditors       ❑ Unliquidated
                   is specified on lines                 ❑ Disputed




Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 5 of 6


         Case 24-11214-j11                     Doc 1        Filed 11/13/24                Entered 11/13/24 14:38:12 Page 104 of 181
Debtor      ADB Enterprises LLC, a New Mexico Limited Liability Company                      Case number (if known)
          Name




  Part 2:        List Others to Be Notified for a Debt Already Listed in Part 1

 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
 agencies, assignees of claims listed above, and attorneys for secured creditors.

 If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.


 Name and address                                                                                           On which line in Part 1     Last 4 digits of
                                                                                                            did you enter the           account number
                                                                                                            related creditor?           for this entity

 U.S. Small Business Administration
 10737 Gateway Blvd W Ste 300                                                                               Line 2. 2
 El Paso, TX 79935-4910

 Independence Bank
 1370 S County Trl                                                                                          Line 2. 4
 E Greenwich, RI 02818-1625



                                                                                                            Line 2.




                                                                                                            Line 2.




                                                                                                            Line 2.




                                                                                                            Line 2.




                                                                                                            Line 2.




                                                                                                            Line 2.




                                                                                                            Line 2.




                                                                                                            Line 2.




Form 206D                             Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                            page 6 of 6
         Case 24-11214-j11                Doc 1        Filed 11/13/24            Entered 11/13/24 14:38:12 Page 105 of 181
 Fill in this information to identify the case:

                  ADB Enterprises LLC, a New Mexico Limited Liability
 Debtor name                          Company

 United States Bankruptcy Court for the:
                               District of New Mexico

 Case number (if known):                                                                                                           ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets
- Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries
in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ✔ No. Go to Part 2.
        ❑
        ❑ Yes. Go to line 2.
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
       with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                              Total claim                  Priority amount

       Priority creditor’s name and mailing address        As of the petition filing date, the claim is:
2.1                                                        Check all that apply.
                                                           ❑ Contingent
                                                           ❑ Unliquidated
                                                           ❑ Disputed
       Date or dates debt was incurred                     Basis for the claim:



       Last 4 digits of account                            Is the claim subject to offset?

       number                                              ❑ No
       Specify Code subsection of PRIORITY unsecured
                                                           ❑ Yes
       claim: 11 U.S.C. § 507(a)
       Priority creditor’s name and mailing address        As of the petition filing date, the claim is:
2.2                                                        Check all that apply.
                                                           ❑ Contingent
                                                           ❑ Unliquidated
                                                           ❑ Disputed
       Date or dates debt was incurred                     Basis for the claim:



       Last 4 digits of account                            Is the claim subject to offset?

       number                                              ❑ No
       Specify Code subsection of PRIORITY unsecured
                                                           ❑ Yes
       claim: 11 U.S.C. § 507(a)




              Case 24-11214-j11
Official Form 206E/F
                                                  Doc 1 Schedule
                                                          Filed E/F:
                                                                 11/13/24       Entered 11/13/24 14:38:12 Page 106 of 181page 1 of 4
                                                                     Creditors Who Have Unsecured Claims
Debtor        ADB Enterprises LLC, a New Mexico Limited Liability Company                                     Case number (if known)
             Name

Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
         claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                       Amount of claim

3.1 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $155,728.69
                                                                            Check all that apply.
                                                                            ❑ Contingent
       BAYFIRST

       16002 N Dale Mabry Hwy                                               ❑ Unliquidated
       Tampa, FL 33618-1330
                                                                            ❑ Disputed
                                                                                                 Working capital,
                                                                                                 inventory purchases,
       Date or dates debt was incurred
                                                                            Basis for the claim: supplies and payroll
       Last 4 digits of account number                                      Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
3.2 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $30,495.89
                                                                            Check all that apply.
                                                                            ❑ Contingent
       CAPITAL ONE SPARK VISA

       PO Box 71083                                                         ❑ Unliquidated
       Charlotte, NC 28272
                                                                            ❑ Disputed
                                                                                                  Business expenses
                                                                            Basis for the claim: and products
       Date or dates debt was incurred
                                                                            Is the claim subject to offset?
       Last 4 digits of account number         0   7   7   3                ✔ No
                                                                            ❑
                                                                            ❑ Yes
3.4 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $170,000.00
                                                                            Check all that apply.
                                                                            ❑ Contingent
       KAPITUS

       120 W 45th street                                                    ❑ Unliquidated
       New York, NY 10036
                                                                            ❑ Disputed
                                                                                                 Working capital,
                                                                                                 inventory purchases,
       Date or dates debt was incurred
                                                                            Basis for the claim: supplies and payroll
       Last 4 digits of account number                                      Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $204,427.63
3.5                                                                         Check all that apply.
                                                                            ❑ Contingent
       MARCUS - Goldman Sachs

       Po Box 70321                                                         ❑ Unliquidated
       Philadelphia, PA 19176-0321
                                                                            ❑ Disputed
                                                                                                 Working capital,
                                                                                                 inventory purchases,
       Date or dates debt was incurred
                                                                            Basis for the claim: supplies and payroll
       Last 4 digits of account number                                      Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes




Official Form Case
              206E/F 24-11214-j11               Doc 1 Schedule
                                                        Filed E/F:
                                                               11/13/24       Entered
                                                                   Creditors Who         11/13/24
                                                                                 Have Unsecured Claims14:38:12 Page 107 of 181page 2 of 4
Debtor     ADB Enterprises LLC, a New Mexico Limited Liability Company                           Case number (if known)
          Name




Part 2: Additional Page

3.6 Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $10,362.13
                                                               Check all that apply.
                                                               ❑ Contingent
     WELLS FARGO MC

     Po Box 6995                                               ❑ Unliquidated
     Portland, OR 97228-6995
                                                               ❑ Disputed
                                                                                     Business expenses
                                                               Basis for the claim: and products
     Date or dates debt was incurred
                                                               Is the claim subject to offset?
     Last 4 digits of account number     2   8   0    5        ✔ No
                                                               ❑
                                                               ❑ Yes
3.7 Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $9,426.73
                                                               Check all that apply.
                                                               ❑ Contingent
     WELLS FARGO MC

     Po Box 6995                                               ❑ Unliquidated
     Portland, OR 97228-6995
                                                               ❑ Disputed
                                                                                     Business expenses
                                                               Basis for the claim: and products
     Date or dates debt was incurred
                                                               Is the claim subject to offset?
     Last 4 digits of account number     0   7   5    4        ✔ No
                                                               ❑
                                                               ❑ Yes
3.8 Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $9,736.89
                                                               Check all that apply.
                                                               ❑ Contingent
     WELLS FARGO VISA

     Po Box 51963                                              ❑ Unliquidated
     Los Angeles, CA 90051-6263
                                                               ❑ Disputed
                                                                                     Business expenses
                                                               Basis for the claim: and products
     Date or dates debt was incurred
                                                               Is the claim subject to offset?
     Last 4 digits of account number     6   6   0    2        ✔ No
                                                               ❑
                                                               ❑ Yes




Official Form Case
              206E/F 24-11214-j11         Doc 1 Schedule
                                                  Filed E/F:
                                                         11/13/24       Entered
                                                             Creditors Who         11/13/24
                                                                           Have Unsecured Claims14:38:12 Page 108 of 181page 3 of 4
Debtor       ADB Enterprises LLC, a New Mexico Limited Liability Company                  Case number (if known)
            Name

Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                           Total of claim amounts



  5a. Total claims from Part 1                                               5a.            $0.00



  5b. Total claims from Part 2                                               5b.
                                                                                    +       $590,177.96



  5c. Total of Parts 1 and 2                                                 5c.            $590,177.96
      Lines 5a + 5b = 5c.




Official Form Case
              206E/F 24-11214-j11           Doc 1 Schedule
                                                    Filed E/F:
                                                           11/13/24       Entered
                                                               Creditors Who         11/13/24
                                                                             Have Unsecured Claims14:38:12 Page 109 of 181page 4 of 4
 Fill in this information to identify the case:

                  ADB Enterprises LLC, a New Mexico Limited Liability
 Debtor name                          Company

 United States Bankruptcy Court for the:
                               District of New Mexico

 Case number (if known):                                     Chapter    11                                                        ❑ Check if this is an
                                                                                                                                     amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                         12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
1.     Does the debtor have any executory contracts or unexpired leases?
       ❑ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form
       ❑
       206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom the
                                                                                          debtor has an executory contract or unexpired lease

       State what the contract or
                                             Commercial Warehouse Space                   Harrison Properties
2.1    lease is for and the nature
       of the debtor’s interest                                                           6703 Academy Rd. NE
                                             Contract to be REJECTED
                                                                                          Albuquerque, NM 87109
       State the term remaining              5 months

       List the contract number of
       any government contract

       State what the contract or
                                             Commercial Warehouse Space                   JS Harvey Trust
2.2    lease is for and the nature
       of the debtor’s interest                                                           dba Osuna Commercial Center
                                             Contract to be ASSUMED
                                                                                          4333 Pan American Fwy Ne Ste A
       State the term remaining              24 months
                                                                                          Albuquerque, NM 87107-6833
       List the contract number of
       any government contract

       State what the contract or
2.3    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract



       State what the contract or
2.4    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract




Official Form Case
              206G 24-11214-j11                   Doc 1   Filed
                                                      Schedule    11/13/24
                                                               G: Executory      Entered
                                                                            Contracts        11/13/24
                                                                                      and Unexpired Leases14:38:12 Page 110 of 181page 1 of 1
 Fill in this information to identify the case:

  Debtor name          ADB Enterprises LLC, a New Mexico Limited Liability Company

  United States Bankruptcy Court for the: District of      New Mexico
                                                        (State)
  Case number (If known):                                                                                                            ❑ Check if this is an
                                                                                                                                          amended filing


Official Form 206H

Schedule H: Codebtors                                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.


  1.    Does the debtor have any codebtors?
        ✔ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ❑
        ❑ Yes
  2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
        Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
        creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                            Column 2: Creditor

                                                                                                                                      Check all schedules
         Name                               Mailing address                                            Name
                                                                                                                                      that apply:

 2.1                                                                                                                                  ❑D
                                            Street                                                                                    ❑ E/F
                                                                                                                                      ❑G

                                            City                  State             ZIP Code

 2.2                                                                                                                                  ❑D
                                            Street                                                                                    ❑ E/F
                                                                                                                                      ❑G

                                            City                  State             ZIP Code

 2.3                                                                                                                                  ❑D
                                            Street                                                                                    ❑ E/F
                                                                                                                                      ❑G

                                            City                  State             ZIP Code

 2.4                                                                                                                                  ❑D
                                            Street                                                                                    ❑ E/F
                                                                                                                                      ❑G

                                            City                  State             ZIP Code




Official Form 206H                                                 Schedule H: Codebtors                                                       page 1 of    2




         Case 24-11214-j11                        Doc 1      Filed 11/13/24       Entered 11/13/24 14:38:12 Page 111 of 181
Debtor       ADB Enterprises LLC, a New Mexico Limited Liability Company                  Case number (if known)
            Name


                 Additional Page if Debtor Has More Codebtors

                Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                             Check all schedules
         Name                         Mailing address                                           Name
                                                                                                                             that apply:

 2.5                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code

 2.6                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code




Official Form 206H                                             Schedule H: Codebtors                                             page   2   of     2




         Case 24-11214-j11               Doc 1       Filed 11/13/24          Entered 11/13/24 14:38:12 Page 112 of 181
 Fill in this information to identify the case:

                        ADB Enterprises LLC, a New Mexico Limited Liability
 Debtor name                                Company

 United States Bankruptcy Court for the:
                                          District of New Mexico

 Case number (if known):                                                                 Chapter           11                                                                                     ❑ Check if this is an
                                                                                                                                                                                                      amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                        12/15

 Part 1: Summary of Assets



 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
           Copy line 88 from Schedule A/B........................................................................................................................................                                           $0.00

    1b. Total personal property:
           Copy line 91A from Schedule A/B......................................................................................................................................                                        $62,178.98
    1c. Total of all property:
           Copy line 92 from Schedule A/B.........................................................................................................................................
                                                                                                                                                                                                                        $62,178.98




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                  $1,044,989.28


 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                               $0.00

    3b. Total amount of claims of non-priority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                           +           $590,177.96




 4. Total liabilities..............................................................................................................................................................................               $1,635,167.24
    Lines 2 + 3a + 3b




                  Case 24-11214-j11
Official Form 206Sum                                                Doc 1              Filed 11/13/24
                                                                                           Summary             Entered
                                                                                                   of Assets and Liabilities for11/13/24      14:38:12 Page 113 of 181
                                                                                                                                 Non-Individuals                                                                              page 1
 Fill in this information to identify the case:

                   ADB Enterprises LLC, a New Mexico Limited Liability
 Debtor name                           Company

 United States Bankruptcy Court for the:
                                  District of New Mexico

 Case number (if known):                                                                                                       ❑ Check if this is an
                                                                                                                                   amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s
name and case number (if known).



 Part 1: Income


 1.     Gross revenue from business

         ❑ None
        Identify the beginning and ending dates of the debtor’s fiscal year, which       Sources of revenue                   Gross revenue
        may be a calendar year                                                           Check all that apply                 (before deductions and
                                                                                                                              exclusions)

       From the beginning of the                                                         ✔ Operating a business
                                                                                         ❑                                                    (85,975.89)
                                        From 01/01/2024
                                                                                         ❑ Other
       fiscal year to filing date:                                to    Filing date
                                                                                                                                                    $0.00
                                                  MM/ DD/ YYYY


       For prior year:                  From 01/01/2023           to    12/31/2023       ✔ Operating a business
                                                                                         ❑                                                     $65,123.00
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other

       For the year before that:        From 01/01/2022           to    12/31/2022       ✔ Operating a business
                                                                                         ❑                                                    $346,709.00
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other


 2.     Non-business revenue
         Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
         royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         ✔ None
         ❑
                                                                                         Description of sources of revenue    Gross revenue from each
                                                                                                                              source
                                                                                                                              (before deductions and
                                                                                                                              exclusions)

      From the beginning of the
      fiscal year to filing date:      From 01/01/2024           to    Filing date
                                                  MM/ DD/ YYYY


      For prior year:                  From 01/01/2023           to    12/31/2023
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY


      For the year before that:        From 01/01/2022           to    12/31/2022
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY



Official Form Case
              207  24-11214-j11                    Doc 1 ofFiled
                                                   Statement        11/13/24
                                                             Financial                Entered 11/13/24
                                                                       Affairs for Non-Individuals               14:38:12 Page 114 of 181
                                                                                                   Filing for Bankruptcy                                  page 1
Debtor           ADB Enterprises LLC, a New Mexico Limited Liability Company                                     Case number (if known)
                 Name

 Part 2: List Certain Transfers Made Before Filing for Bankruptcy
 3.     Certain payments or transfers to creditors within 90 days before filing this case
        List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing
        this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
        years after that with respect to cases filed on or after the date of adjustment.)

        ✔ None
        ❑
         Creditor’s name and address                        Dates              Total amount or value           Reasons for payment or transfer
                                                                                                               Check all that apply

 3.1.                                                                                                          ❑ Secured debt
        Creditor's name                                                                                        ❑ Unsecured loan repayments
                                                                                                               ❑ Suppliers or vendors
        Street                                                                                                 ❑ Services
                                                                                                               ❑ Other

        City                        State    ZIP Code



 4.     Payments or other transfers of property made within 1 year before filing this case that benefited any insider
        List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
        co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
        adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
        Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
        relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
        ✔ None
        ❑
         Insider’s name and address                         Dates              Total amount or value           Reasons for payment or transfer


 4.1.
        Creditor's name


        Street




        City                        State    ZIP Code

         Relationship to debtor




 5.     Repossessions, foreclosures, and returns
        List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
        foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the property                               Date                    Value of property




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                           page 2




                 Case 24-11214-j11               Doc 1        Filed 11/13/24            Entered 11/13/24 14:38:12 Page 115 of 181
Debtor           ADB Enterprises LLC, a New Mexico Limited Liability Company                                      Case number (if known)
                 Name

 5.1.
        Creditor's name


        Street




        City                        State     ZIP Code



 6.     Setoffs
        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
        debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the action creditor took                    Date action was         Amount
                                                                                                                       taken

 6.1.
        Creditor's name
                                                             XXXX–
        Street




        City                        State     ZIP Code




 Part 3: Legal Actions or Assignments
 7.     Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
        List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
        capacity—within 1 year before filing this case.
        ✔ None
        ❑
 7.1.    Case title                              Nature of case                          Court or agency's name and address                    Status of case

                                                                                                                                              ❑ Pending
                                                                                        Name
                                                                                                                                              ❑ On appeal
         Case number                                                                                                                          ❑ Concluded
                                                                                        Street




                                                                                        City                         State     ZIP Code



 8.     Assignments and receivership
        List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
        receiver, custodian, or other court-appointed officer within 1 year before filing this case.
        ✔ None
        ❑




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                             page 3
                 Case 24-11214-j11               Doc 1        Filed 11/13/24             Entered 11/13/24 14:38:12 Page 116 of 181
Debtor            ADB Enterprises LLC, a New Mexico Limited Liability Company                                    Case number (if known)
                  Name
 8.1.     Custodian’s name and address                     Description of the property                          Value


         Custodian’s name
                                                           Case title                                           Court name and address
         Street
                                                                                                               Name

                                                           Case number
                                                                                                               Street
         City                        State     ZIP Code



                                                           Date of order or assignment                         City                          State   ZIP Code




 Part 4: Certain Gifts and Charitable Contributions
 9.      List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts
         to that recipient is less than $1,000
         ✔ None
         ❑
 9.1.     Recipient’s name and address                      Description of the gifts or contributions                   Dates given          Value


         Recipient’s name


         Street




         City                        State     ZIP Code


          Recipient’s relationship to debtor




 Part 5: Certain Losses
 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
         ✔ None
         ❑
           Description of the property lost and how the         Amount of payments received for the loss                      Date of loss      Value of property
           loss occurred                                        If you have received payments to cover the loss, for                            lost
                                                                example, from insurance, government compensation,
                                                                or tort liability, list the total received.
                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).


 10.1.




 Part 6: Certain Payments or Transfers
 11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
         case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a
         bankruptcy case.
         ❑ None


Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                           page 4
                  Case 24-11214-j11              Doc 1        Filed 11/13/24             Entered 11/13/24 14:38:12 Page 117 of 181
Debtor            ADB Enterprises LLC, a New Mexico Limited Liability Company                                   Case number (if known)
                  Name

 11.1.    Who was paid or who received the transfer?            If not money, describe any property transferred           Dates              Total amount or
                                                                                                                                             value

         Jason Cline, LLC                                      Attorney's Fees & Costs                                  2024                        $15,000.00

          Address

         2601 Wyoming Blvd Ne Ste 108
         Street



         Albuquerque, NM 87112-1000
         City                        State    ZIP Code


          Email or website address



          Who made the payment, if not debtor?




 12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
         self-settled trust or similar device.
         Do not include transfers already listed on this statement.
         ✔ None
         ❑
 12.1.     Name of trust or device                            Describe any property transferred                        Dates transfers       Total amount or
                                                                                                                       were made             value




           Trustee




 13. Transfers not already listed on this statement
         List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2
         years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
         outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
         ✔ None
         ❑




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 5
                  Case 24-11214-j11              Doc 1        Filed 11/13/24           Entered 11/13/24 14:38:12 Page 118 of 181
Debtor          ADB Enterprises LLC, a New Mexico Limited Liability Company                                        Case number (if known)
                Name

 13.1.    Who received the transfer?                             Description of property transferred or payments           Date transfer      Total amount or
                                                                 received or debts paid in exchange                        was made           value




          Address


         Street




         City                        State       ZIP Code


          Relationship to debtor




 Part 7: Previous Locations
 14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         ❑ Does not apply
          Address                                                                                              Dates of occupancy

 14.1. 2705 Pan American Fwy NE Ste. C & E                                                                    From    11/2017          To 05/2024
         Street



         Albuquerque, NM 87107
         City                        State       ZIP Code




 Part 8: Health Care Bankruptcies
 15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          —diagnosing or treating injury, deformity, or disease, or
          —providing any surgical, psychiatric, drug treatment, or obstetric care?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
          Facility name and address                         Nature of the business operation, including type of services the       If debtor provides meals
                                                            debtor provides                                                        and housing, number of
                                                                                                                                   patients in debtor’s care

 15.1.
         Facility name


         Street                                             Location where patient records are maintained(if different from        How are records kept?
                                                            facility address). If electronic, identify any service provider.
         City                   State    ZIP Code                                                                                 Check all that apply:
                                                                                                                                  ❑ Electronically
                                                                                                                                  ❑ Paper



Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 6
                  Case 24-11214-j11                Doc 1          Filed 11/13/24           Entered 11/13/24 14:38:12 Page 119 of 181
Debtor           ADB Enterprises LLC, a New Mexico Limited Liability Company                                    Case number (if known)
                 Name
 Part 9: Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
        ✔ No.
        ❑
        ❑ Yes. State the nature of the information collected and retained.
                   Does the debtor have a privacy policy about that information?
                   ❑ No
                   ❑ Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-
     sharing plan made available by the debtor as an employee benefit?
        ✔ No. Go to Part 10.
        ❑
        ❑ Yes. Does the debtor serve as plan administrator?
               ❑ No. Go to Part 10.
               ❑ Yes. Fill in below:
                        Name of plan                                                                 Employer identification number of the plan

                                                                                                    EIN:        –

                         Has the plan been terminated?
                         ❑ No
                         ❑ Yes


 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts
        Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved,
        or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
        cooperatives, associations, and other financial institutions.
        ❑ None
         Financial institution name and address           Last 4 digits of account      Type of account             Date account was          Last balance
                                                          number                                                    closed, sold, moved,      before closing
                                                                                                                    or transferred            or transfer

 18.1   PNC BANK, N.A.                                    XXXX–                        ✔ Checking
                                                                                       ❑                            02/2024                  $0.00
        Name
                                                                                       ❑ Savings
                                                                                       ❑ Money market
        1 FINANCIAL PKWY
        Street
                                                                                       ❑ Brokerage
        KALAMAZOO, MI 49009
                                                                                       ❑ Other
        City                       State   ZIP Code

 18.2   WELLS FARGO BANK                                  XXXX–                        ✔ Checking
                                                                                       ❑                            04/2024                  $0.00
        Name
                                                                                       ❑ Savings
                                                                                       ❑ Money market
        PO BOX 71092
        Street
                                                                                       ❑ Brokerage
        CHARLOTTE, NC 28272
                                                                                       ❑ Other
        City                       State   ZIP Code
 19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
        ✔ None
        ❑




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 7
                 Case 24-11214-j11               Doc 1        Filed 11/13/24           Entered 11/13/24 14:38:12 Page 120 of 181
Debtor            ADB Enterprises LLC, a New Mexico Limited Liability Company                                      Case number (if known)
                  Name

 19.1     Depository institution name and address          Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                   still have it?

                                                                                                                                                  ❑ No
                                                                                                                                                  ❑ Yes
         Name


         Street

                                                           Address

         City                      State     ZIP Code


 20. Off-premises storage
         List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the
         debtor does business.
         ✔ None
         ❑
 20.1     Facility name and address                        Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                   still have it?

                                                                                                                                                  ❑ No
                                                                                                                                                  ❑ Yes
         Name


         Street

                                                           Address

         City                      State     ZIP Code




 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own
 21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
         leased or rented property.
         ✔ None
         ❑
          Owner’s name and address                                Location of the property                     Description of the property                 Value



         Name


         Street




         City                        State     ZIP Code




 Part 12: Details About Environmental Information


 For the purpose of Part 12, the following definitions apply:
        Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
        medium affected (air, land, water, or any other medium).
        Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
        owned, operated, or utilized.
        Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
        harmful substance.



Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                            page 8

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Debtor         ADB Enterprises LLC, a New Mexico Limited Liability Company                                  Case number (if known)
               Name
 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Case title                               Court or agency name and address                     Nature of the case                         Status of case

                                                                                                                                                 ❑ Pending
         Case number
                                                 Name
                                                                                                                                                 ❑ On appeal
                                                                                                                                                 ❑ Concluded
                                                 Street




                                                 City                        State   ZIP Code

 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Site name and address                    Governmental unit name and address                   Environmental law, if known                Date of notice



      Name                                       Name


      Street                                     Street




      City                 State   ZIP Code      City                        State   ZIP Code

 24. Has the debtor notified any governmental unit of any release of hazardous material?
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Site name and address                    Governmental unit name and address                   Environmental law, if known                Date of notice



      Name                                       Name


      Street                                     Street




      City                 State   ZIP Code      City                        State   ZIP Code




 Part 13: Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
      List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this
      information even if already listed in the Schedules.
      ✔ None
      ❑




Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 9
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Debtor            ADB Enterprises LLC, a New Mexico Limited Liability Company                                Case number (if known)
                  Name

           Business name and address                 Describe the nature of the business                       Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.
 25.1.
                                                                                                              EIN:          –
          Name
                                                                                                               Dates business existed

          Street
                                                                                                              From                 To



          City                State   ZIP Code


 26. Books, records, and financial statements
 26a.      List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
           ❑None
            Name and address                                                                                    Dates of service

 26a.1. Clifton Larson Allen                                                                                   From 2016              To Present
           Name
           6501 Americas Pkwy Ne Ste 500
           Street



           Albuquerque, NM 87110-5311
           City                                          State                  ZIP Code


 26b.      List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
           statement within 2 years before filing this case.
           ✔None
           ❑
            Name and address                                                                                    Dates of service

 26b.1.
                                                                                                               From                   To
           Name


           Street




           City                                          State                  ZIP Code


 26c.      List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
           ✔None
           ❑
            Name and address                                                                                    If any books of account and records are
                                                                                                                unavailable, explain why
 26c.1.


           Name


           Street




           City                                          State                  ZIP Code

 26d.    List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.
         ✔None
         ❑


Official Form 207
                    Case 24-11214-j11            Doc 1       Filed 11/13/24           Entered 11/13/24 14:38:12 Page 123 of 181
                                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 10
Debtor          ADB Enterprises LLC, a New Mexico Limited Liability Company                                      Case number (if known)
                Name

          Name and address

26d.1.

         Name


         Street




         City                                              State                  ZIP Code


27. Inventories
        Have any inventories of the debtor’s property been taken within 2 years before filing this case?
        ✔ No
        ❑
        ❑ Yes. Give the details about the two most recent inventories.
         Name of the person who supervised the taking of the inventory                           Date of             The dollar amount and basis (cost, market, or
                                                                                                 inventory           other basis) of each inventory




         Name and address of the person who has possession of inventory records

27.1.

        Name


        Street




        City                                       State               ZIP Code

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
    control of the debtor at the time of the filing of this case.
         Name                            Address                                                          Position and nature of any              % of interest, if any
                                                                                                          interest

        Aaron Boyd                      617 Delamar Ave Nw Albuquerque, NM                               Managing Member,                                     50.00%
                                        87107-5117
        Daris Boyd                      617 Delmar Ave NW Albuquerque, NM                                Managing Member,                                     50.00%
                                        87107

29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of
    the debtor, or shareholders in control of the debtor who no longer hold these positions?
        ✔ No
        ❑
        ❑ Yes. Identify below.
         Name                            Address                                                       Position and nature of any         Period during which
                                                                                                       interest                           position or interest was
                                                                                                                                          held

                                                                                                   ,                                       From
                                                                                                                                           To

30. Payments, distributions, or withdrawals credited or given to insiders
        Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
        credits on loans, stock redemptions, and options exercised?
        ✔ No
        ❑
        ❑ Yes. Identify below.



Official Form Case
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                                               Statement        11/13/24
                                                         Financial                Entered 11/13/24
                                                                   Affairs for Non-Individuals               14:38:12 Page 124 of 181
                                                                                               Filing for Bankruptcy                                              page 11
Debtor         ADB Enterprises LLC, a New Mexico Limited Liability Company                                     Case number (if known)
               Name

         Name and address of recipient                                             Amount of money or description       Dates               Reason for providing
                                                                                   and value of property                                    the value


30.1.
        Name


        Street




        City                                          State         ZIP Code


         Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
        ✔ No
        ❑
        ❑ Yes. Identify below.
               Name of the parent corporation                                                        Employer Identification number of the parent corporation

                                                                                                    EIN:       –


32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
        ✔ No
        ❑
        ❑ Yes. Identify below.
               Name of the pension fund                                                              Employer Identification number of the pension fund

                                                                                                    EIN:       –



Part 14: Signature and Declaration


   WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
   bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


   I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
   correct.


   I declare under penalty of perjury that the foregoing is true and correct.


   Executed on            11/13/2024
                       MM/ DD/ YYYY




   ✘ /s/ Aaron Boyd                                                        Printed name                    Aaron Boyd
          Signature of individual signing on behalf of the debtor



        Position or relationship to debtor   Owner / Managing Member



   Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   ✔ No
   ❑
   ❑ Yes



Official Form Case
              207  24-11214-j11                      Doc 1 ofFiled
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                                                               Financial                Entered 11/13/24
                                                                         Affairs for Non-Individuals               14:38:12 Page 125 of 181
                                                                                                     Filing for Bankruptcy                                  page 12
 Fill in this information to identify the case:

                  ADB Enterprises LLC, a New Mexico Limited Liability
 Debtor name                          Company

 United States Bankruptcy Court for the:
                               District of New Mexico

 Case number (if known):                                                                                                        ❑ Check if this is an
                                                                                                                                   amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete             Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
    mailing address, including zip code       and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only
                                              creditor contact          debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
                                                                        professional          unliquidated,   secured, fill in total claim amount and deduction
                                                                        services, and         or disputed     for value of collateral or setoff to calculate
                                                                        government                            unsecured claim.
                                                                        contracts)                            Total claim, if   Deduction for       Unsecured
                                                                                                              partially         value of            claim
                                                                                                              secured           collateral or
                                                                                                                                setoff
1     EIDL                                                              UCC Lien -                                                                      $518,019.56
      409 3rd St                                                        Inventory All
      Washington, DC 20416-0001                                         Including Proceeds
                                                                        and Products;
                                                                        Equipment All
                                                                        Including Proceeds
                                                                        and Products;
                                                                        Negotiable
                                                                        Instruments All
                                                                        Including Proceeds
                                                                        and Products;
                                                                        Chattel Paper All
                                                                        Including Proceeds
                                                                        and Products;
                                                                        Accounts All
                                                                        Including Proceeds
                                                                        and Products;
                                                                        General Intangibles
                                                                        All Including
                                                                        Proceeds and
                                                                        Products;
                                                                        Computer
                                                                        Equipment All
                                                                        Including Proceeds
                                                                        and Products
2     Amazon Capital Services                                           Lien on Inventory                       $288,219.72           $8,776.24         $279,443.48
      410 Terry Ave N                                                   Held in Amazon's
      Seattle, WA 98109-5210                                            Possession



3     MARCUS - Goldman Sachs                                            Working capital,                                                                $204,427.63
      Po Box 70321                                                      inventory
      Philadelphia, PA 19176-0321                                       purchases,
                                                                        supplies and
                                                                        payroll
4     KAPITUS                                                           Working capital,                                                                $170,000.00
      120 W 45th street                                                 inventory
      New York, NY 10036                                                purchases,
                                                                        supplies and
                                                                        payroll
5     BAYFIRST                                                      Working capital,                                        $155,728.69
      16002 N Dale Mabry Hwy                                        inventory
      Tampa,
Official
               Case
               FL
         Form 204
                       24-11214-j11Chapter
                  33618-1330          Doc     1 Filed 11/13/24      purchases,Entered 11/13/24 14:38:12 Page 126 of 181
                                           11 or Chapter 9 Cases: List of Creditors
                                                                    supplies   and Who Have the 20 Largest Unsecured Claims      page 1
                                                                    payroll
6    Secured Lender Solutions                                 UCC Lien -                                                                               $100,000.00
     Po Box 2576                                              Accounts All and
     Springfield, IL 62708-2576                               Proceeds; Chattel
                                                              Paper All and
                                                              Proceeds; All
Debtor      ADB Enterprises LLC, a New Mexico Limited Liability    Company
                                                              Assets  and                                Case number (if known)
           Name                                               Proceeds; Fixtures
                                                              All and Proceeds;
  Name of creditor and complete       Name, telephone number, GeneralofIntangibles
                                                              Nature     the claim           Indicate if      Amount of unsecured claim
  mailing address, including zip code and email address of    All
                                                              (forand Proceeds;
                                                                   example,   trade          claim is         If the claim is fully unsecured, fill in only
                                      creditor contact        Equipment
                                                              debts, bankAll   and
                                                                            loans,           contingent,      unsecured claim amount. If claim is partially
                                                              Proceeds;
                                                              professional                   unliquidated,    secured, fill in total claim amount and deduction
                                                              Inventory and
                                                              services,  All and             or disputed      for value of collateral or setoff to calculate
                                                              Proceeds
                                                              government                                      unsecured claim.
                                                              contracts)
7 NORTHEAST BANK AMZ                                          UCC Lien -                                      Total claim, if      Deduction for           $90,000.00
                                                                                                                                                       Unsecured
    250 W 55th St Ste 1502                                    Fixtures Including                              partially            value of            claim
    New York, NY 10019-9710                                   Proceeds and                                    secured              collateral or
                                                              Products;                                                            setoff
                                                              Equipment
9 CAPITAL ONE SPARK VISA                                      Business expenses
                                                              Including Proceeds
                                                                                                                                                        $30,495.89
    PO Box 71083                                              and products
                                                              and Products;
    Charlotte, NC 28272                                       Machinery
                                                              Including Proceeds
                                                              and Products;
10 WELLS FARGO MC                                             Computerexpenses
                                                              Business                                                                                  $10,362.13
                                                              Equipment
                                                              and  products
    Po Box 6995
                                                              Including Proceeds
    Portland, OR 97228-6995
                                                              and Products;
                                                              Vehicles Including
                                                              Proceeds and
11  WELLS   FARGO    VISA                                     Business expenses                                                                           $9,736.89
                                                              Products; Inventory
    Po Box 51963                                              and products
                                                              Including Proceeds
    Los Angeles, CA 90051-6263                                and Products;
                                                              Accounts Including
                                                              Proceeds and
12 WELLS FARGO MC                                             Products; expenses
                                                              Business   Accounts                                                                         $9,426.73
                                                              Receivables
                                                              and  products
    Po Box 6995
                                                              Including Proceeds
    Portland, OR 97228-6995
                                                              and Products;
                                                              Negotiable
                                                              Instruments
13                                                            Including Proceeds
                                                              and Products;
                                                              Contract Rights
                                                              Including Proceeds
                                                              and Products;
14                                                            Chattel Paper
                                                              Including Proceeds
                                                              and Products
8    Innovation Refunds                                              UCC Lien - Right                                                                   $48,750.00
   4350 Westown Pkwy                                                 Title and Interest
15                                                                   and Proceeds
   Wdm, IA 50266-1052




16




17




18




19




20




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Official Form 204                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                               page 2
                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF NEW MEXICO
                                          ALBUQUERQUE DIVISION

IN RE:                                                                             CHAPTER 11
ADB Enterprises LLC, a New Mexico Limited Liability Company

DEBTOR(S)                                                                          CASE NO


                                            LIST OF EQUITY SECURITY HOLDERS


Registered Name of Holder of Security               Class of Security         Number Registered        Kind of Interest
Last Known Address or Place of Business                                                                Registered



                                  DECLARATION UNDER PENALTY OF PERJURY
                                ON BEHALF OF A CORPORATION OR PARTNERSHIP

  I, the                 Owner / Managing Member            of the                    Nonpublic Corporation
named as the debtor in this case, declare under penalty of perjury that I have read the foregoing list and that it is true
and correct to the best of my information and belief.



Date: 11/13/2024                                     Signature: /s/ Aaron Boyd
                                                                 Aaron Boyd, Owner / Managing Member




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                                                   United States Bankruptcy Court
                                                            District of New Mexico

In re   ADB Enterprises LLC, a New Mexico Limited Liability Company                                 Case No.
                                                                Debtor(s)                           Chapter                     11



                                     CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or recusal, the
undersigned counsel for ADB Enterprises LLC, a New Mexico Limited Liability Company in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of the
corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:




✔ None [Check if applicable]
❑


             11/13/2024                                              /s/ Jason M Cline
Date                                              Jason M Cline
                                                  Signature of Attorney or Litigant
                                                  Counsel for ADB Enterprises LLC, a New Mexico Limited Liability Company
                                                  Bar Number: 149941
                                                  Jason Cline, LLC
                                                  2601 Wyoming Blvd. NE 108
                                                  Albuquerque, NM 87112
                                                  Phone: (505) 595-0110
                                                  Email: jason@attorneyjasoncline.com




                                                                          1




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                                                 ADB ENTERPRISES LLC

                                             1065 INCOME TAX RETURN

                                     FOR YEAR ENDED DECEMBER 31, 2023




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            ADB Enterprises LLC
            2705 Pan American Freeway NE, Ste C
            Albuquerque, NM 87107


            ADB Enterprises LLC:

            We have prepared and enclosed your 2023 Limited Liability Company returns for the year ended
            December 31, 2023.

            Federal Income Tax Return:
            This return has qualified for electronic filing. After you have reviewed your return for completeness and
            accuracy, please sign, date, and return Form 8879-PE to our office as soon as possible, but no later than
            by September 16, 2024.

            No payment is required with this return when filed.

            New Mexico Income Tax Return:

            The New Mexico Form PTE return has qualified for electronic filing. Please review your return for
            completeness and accuracy. We will then transmit your return electronically to the NM TRD. Do not mail
            the paper copy of the return to the NM TRD. Please return federal Form 8879-PE to us as soon as
            possible, but no later than by September 16, 2024 the filing deadline.

            No payment is required with this return when filed.

            Schedules K-1:
            Attached are Schedules K-1 and Schedule K-3, if applicable for each member indicating their share of
            income, deductions and credits to be reported on their respective tax returns. These schedules should be
            provided to each member.

            If you choose to provide these schedules electronically, you are obligated to follow the specific
            requirements contained in IRS Revenue Procedure 2012-17. The recipient must have affirmatively
            consented to receive the Schedule K-1 in an electronic format. Please contact our office if you need
            assistance regarding these requirements.

            A few final reminders relating to your tax return filings:
                    There are substantial penalties for failure to properly disclose and report foreign financial
                     accounts and foreign activity. Please make sure you have informed us of any foreign financial
                     accounts or foreign activity so that we have the necessary information to complete any required
                     disclosures or filings.
                    If you have paper filed returns, please mail your returns certified mail with return receipt for proof
                     of timely filing. By doing so, you will have the appropriate documentation to avoid the
                     assessment of late filing penalties.
                    We encourage you to pay taxes due electronically, if applicable. Visit the Tax Payment Website
                     List on CLAConnect.com for a list of federal and state electronic payment options:
                     https://www.claconnect.com/resources/tools/tax-payment-sites
                    Be sure to review the returns prior to signing as you have final responsibility for all information
                     included in the returns. Please contact us if you have any questions or concerns.



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                    We recommend you keep a paper or electronic copy of your tax returns permanently. Supporting
                     documentation should be kept for a minimum of seven years based on IRS guidance.

            CLA exists to create opportunities – for our clients, our people, and our communities. We value our
            relationship with you and thank you for your trust and confidence in allowing us to serve you. If we can
            assist you in making strategic, informed decisions in areas of tax or beyond, please contact us as
            questions arise throughout the year.

            Sincerely,

            CliftonLarsonAllen LLP




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                   CLIFTONLARSONALLEN LLP
                   6501 AMERICAS PARKWAY NE, SUITE 500
                   ALBUQUERQUE, NM 87110




                                    ADB ENTERPRISES LLC
                                    2705 PAN AMERICAN FREEWAY NE, STE C
                                    ALBUQUERQUE, NM 87107

                                    !871077!




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                                                                                    SUMMARY OF SCHEDULE K-1

   Entity Name:                                                  Number                 Number                 Number           Number   Number   Number   Number
                                                                         1                      2
     ADB ENTERPRISES LLC                                         Name:                  Name:                  Name:            Name:    Name:    Name:    Name:

   Schedule K-1 Line/Item Description                        AARON BOYD             DARRIS BOYD            K-1 TOTALS
     1       - ORDINARY BUSINESS INCOME (LOSS)                     -295,650.              -295,650.              -591,300.
     5       - INTEREST                                                       1.                                          1.
   13(A) - CASH CONTRIBUTIONS (60%)                                          180.                   180.                360.
   14(A) - NET EARNINGS(LOSS) FROM SELF-EMPLOYMENT                 -295,650.              -295,650.              -591,300.
   14(C) - GROSS NONFARM INCOME                                      32,562.                32,561.                65,123.
   17(A) - AMT - POST-1986 DEPRECIATION ADJUSTMENT                        -163.                 -163.                   -326.
   18(C) - NONDEDUCTIBLE EXPENSES                                     5,673.                 5,672.                11,345.
   19(A) - DISTRIBUTIONS - CASH/MARKETABLE SECUR.                    45,811.                42,627.                88,438.


              CAPITAL ACCOUNTS


              BEGINNING OF YEAR                                    -339,113.              -346,068.              -685,181.
              CONTRIBUTIONS                                                                                               0.
              CURRENT YEAR INCREASES (DECREASES)                   -301,502.              -301,502.              -603,004.
              WITHDRAWALS & DISTRIBUTIONS                            45,811.                42,627.                88,438.
              END OF YEAR                                          -686,426.              -690,197.            -1,376,623.


              BEGINNING LIABILITIES - NONRECOURSE                    33,617.                33,616.                67,233.
              BEGINNING LIABILITIES - RECOURSE                       666,166.              666,165.             1,332,331.
              ENDING LIABILITIES - NONRECOURSE                       130,238.              130,237.               260,475.
              ENDING LIABILITIES - RECOURSE                          748,039.              748,039.             1,496,078.




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                                       Two-Year Comparison - Partnership                                            2023
    Name of partnership                                                                             Employer identification number

    ADB ENTERPRISES LLC                                                                                  XX-XXXXXXX


                                                                                                                Increase
                             Description                           Prior Year        Current Year              (Decrease)

    NUMBER OF PARTNERS                                                          2.                  2.                         0.

    TRADE OR BUSINESS INCOME OR LOSS:


    INCOME:

    GROSS RECEIPTS OR SALES                                       4,715,164.         3,313,246.            -1,401,918.
    COST OF GOODS SOLD:
      INVENTORY AT BEGINNING OF YEAR                                571,632.           538,602.               -33,030.
      PURCHASES LESS ITEMS WITHDRAWN                              4,103,045.         2,840,185.            -1,262,860.
      OTHER COSTS                                                   256,360.           164,430.               -91,930.
      TOTAL                                                       4,931,037.         3,543,217.            -1,387,820.
      INVENTORY AT END OF YEAR                                      538,602.           287,162.              -251,440.
    COST OF GOODS SOLD                                            4,392,435.         3,256,055.            -1,136,380.
    GROSS PROFIT                                                    322,729.            57,191.              -265,538.
    OTHER INCOME (LOSS)                                              23,980.             7,932.               -16,048.

    TOTAL INCOME (LOSS)                                             346,709.             65,123.               -281,586.

    DEDUCTIONS:

    SALARIES AND WAGES                                              302,578.            231,499.                  -71,079.
    RENT                                                             63,749.             61,219.                   -2,530.
    TAXES AND LICENSES                                               20,864.             26,433.                    5,569.
    INTEREST                                                         32,201.            182,829.                  150,628.
    DEPRECIATION                                                        874.                874.                        0.
    EMPLOYEE BENEFIT PROGRAMS                                         8,264.                403.                   -7,861.
    OTHER DEDUCTIONS                                                149,494.            153,166.                    3,672.

    TOTAL DEDUCTIONS                                                578,024.            656,423.                    78,399.

    ORDINARY INCOME (LOSS)                                         -231,315.          -591,300.                -359,985.


    SCHEDULE K:


    INCOME (LOSS):

    ORDINARY TRADE/BUSINESS INCOME/LOSS                            -231,315.          -591,300.                -359,985.
    INTEREST INCOME                                                       0.                 1.                       1.
    CHARITABLE CONTRIBUTIONS                                              0.               360.                     360.
    INVESTMENT INCOME                                                     0.                 1.                       1.

    SELF-EMPLOYMENT:




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                                       Two-Year Comparison - Partnership                                           2023
    Name of partnership                                                                            Employer identification number

    ADB ENTERPRISES LLC                                                                                 XX-XXXXXXX


                                                                                                               Increase
                             Description                           Prior Year       Current Year              (Decrease)

    EARNINGS/LOSS FROM SELF-EMPLOYMENT                             -231,315.         -591,300.                -359,985.
    GROSS NONFARM INCOME                                            346,709.           65,123.                -281,586.

    ADJUSTMENTS AND TAX PREFERENCES:

    DEPRECIATION ADJUSTMENT                                                 326.            -326.                      -652.

    OTHER:

    NONDEDUCTIBLE EXPENSES                                            9,475.            11,345.                    1,870.
    DISTRIBUTIONS OF MONEY                                          153,770.            88,438.                  -65,332.
    OTHER ITEMS AND AMOUNTS                                         113,257.           554,367.                  441,110.


    SCHEDULE M-1:


    NET INCOME (LOSS) PER BOOKS                                    -237,945.         -637,720.                -399,775.
    INCOME ON SCHEDULE K NOT ON BOOKS                                     0.           34,716.                  34,716.
    TRAVEL AND ENTERTAINMENT                                          6,617.            7,523.                     906.
    OTHER BOOK EXPENSES NOT ON SCH K                                  2,858.            3,822.                     964.

    TOTAL- NET BOOK INC THROUGH EXPENSE                            -228,470.         -591,659.                -363,189.

    OTHER SCH K DED NOT ON BOOKS                                        2,845.                     0.              -2,845.

    TOTAL- BOOK INC THROUGH SCH K DED                                   2,845.                     0.              -2,845.

    INCOME (LOSS)                                                  -231,315.         -591,659.                -360,344.


    SCHEDULE M-2:


    CAPITAL AT BEGINNING OF YEAR                                   -290,621.         -685,181.                -394,560.
    NET INCOME (LOSS) PER BOOKS                                    -231,315.         -591,659.                -360,344.

    TOTAL- BEGINNING CAP THROUGH INCR                              -521,936.       -1,276,840.                -754,904.

    CASH DISTRIBUTIONS                                              153,770.            88,438.                  -65,332.
    OTHER DECREASES                                                   9,475.            11,345.                    1,870.

    TOTAL- CASH CONT THROUGH OTHER DECR                             163,245.            99,783.                  -63,462.

    CAPITAL BALANCE AT END OF YEAR                                 -685,181.       -1,376,623.                -691,442.




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    Form
            7004
    (Rev. December 2018)
                                                Application for Automatic Extension of Time To File Certain
                                                  Business Income Tax, Information, and Other Returns                                                              OMB No. 1545-0233
    Department of the Treasury                               | File a separate application for each return.
    Internal Revenue Service                    | Go to www.irs.gov/Form7004 for instructions and the latest information.




                                 FOR YOUR RECORDS
                      Name                                                                                                                                 Identifying number


    Print             ADB ENTERPRISES LLC                                                                                                                     XX-XXXXXXX
                      Number, street, and room or suite no. (If P.O. box, see instructions.)
    or
                      2705 PAN AMERICAN FREEWAY NE, STE C


                                    DO NOT FILE
    Type
                      City, town, state, and ZIP code (If a foreign address, enter city, province or state, and country (follow the country's practice for entering postal code).)


                      ALBUQUERQUE, NM                         87107
    Note: File request for extension by the due date of the return. See instructions before completing this form.
     Part I Automatic Extension for Certain Business Income Tax, Information, and Other Returns. See instructions.
    1  Enter the form code for the return listed below that this application is for  09
    Application                                                                      Form         Application                                                                   Form
    Is For:                                                                          Code         Is For:                                                                       Code
    Form 706-GS(D)                                                                     01         Form 1120-ND (section 4951 taxes)                                                  20
    Form 706-GS(T)                                                                     02         Form 1120-PC                                                                       21
    Form 1041 (bankruptcy estate only)                                                 03         Form 1120-POL                                                                      22
    Form 1041 (estate other than a bankruptcy estate)                                  04         Form 1120-REIT                                                                     23
    Form 1041 (trust)                                                                  05         Form 1120-RIC                                                                      24
    Form 1041-N                                                                        06         Form 1120S                                                                         25
    Form 1041-QFT                                                                      07         Form 1120-SF                                                                       26
    Form 1042                                                                          08         Form 3520-A                                                                        27
    Form 1065                                                                          09         Form 8612                                                                          28
    Form 1066                                                                          11         Form 8613                                                                          29
    Form 1120                                                                          12         Form 8725                                                                          30
    Form 1120-C                                                                        34         Form 8804                                                                          31
    Form 1120-F                                                                        15         Form 8831                                                                          32
    Form 1120-FSC                                                                      16         Form 8876                                                                          33
    Form 1120-H                                                                        17         Form 8924                                                                          35
    Form 1120-L                                                                        18         Form 8928                                                                          36
    Form 1120-ND                                                                       19
     Part II       All Filers Must Complete This Part
    2      If the organization is a foreign corporation that does not have an office or place of business in the United States,
           check here ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            |




                                 FOR YOUR RECORDS
    3      If the organization is a corporation and is the common parent of a group that intends to file a consolidated return,
           check here ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            |
           If checked, attach a statement listing the name, address, and employer identification number (EIN) for each member
           covered by this application.




                                    DO NOT FILE
    4      If the organization is a corporation or partnership that qualifies under Regulations section 1.6081-5, check here                      ~~~~~~~~~~~~ |
    5 a The application is for calendar year 2023 , or tax year beginning                                                          , and ending
      b Short tax year. If this tax year is less than 12 months, check the reason:                         Initial return               Final return
                 Change in accounting period                Consolidated return to be filed                Other (See instructions - attach explanation.)


    6      Tentative total tax    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                       6                                  0.

    7      Total payments and credits. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              7


    8 Balance due. Subtract line 7 from line 6. See instructions                                                            8
    LHA For Privacy Act and Paperwork Reduction Act Notice, see separate instructions.                                                                        Form 7004 (Rev. 12-2018)

                                                       DEPARTMENT OF THE TREASURY
                                                       INTERNAL REVENUE SERVICE CENTER
                                                       OGDEN, UT 84201-0045




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                                                                                  EXTENSION GRANTED TO 09/16/24
    Form
                                                     1065                                               U.S. Return of Partnership Income                                                                                           OMB No. 1545-0123


    Department of the Treasury
    Internal Revenue Service
                                                                                  For calendar year 2023, or tax year beginning                             ,
                                                                                                  Go to www.irs.gov/Form1065 for instructions and the latest information.
                                                                                                                                                                            , ending                         ,              .
                                                                                                                                                                                                                                       2023
    A                                               Principal business activity                   Name of partnership                                                                                                           D Employer identification
                                                                                                                                                                                                                                    number
    INTERNET
    RESELLING                                                                                   ADB ENTERPRISES LLC                                                                                                              XX-XXXXXXX
                                                                                         Type Number, street, and room or suite no. If a P.O. box, see instructions.
    B                                       Principal product or service                  or                                                                                                                                    E Date business started
    VARIOUS                                                                              Print 2705 PAN AMERICAN FREEWAY NE,                                                           STE C                                     01/22/2015
    MERCHAND                                                                                     City or town, state or province, country, and ZIP or foreign postal code
                                                                                                                                                                                                                                F   Total assets
                                                                                                                                                                                                                                    (see instr.)
    C                                       Business code number
    459510                                                                                      ALBUQUERQUE                                                                                NM 87107                             $         327,365.
    G                                               Check applicable boxes:   (1)       Initial return  (2)       Final return     (3)        Name change (4)                                          Address change (5)                 Amended return
    H                                               Check accounting method: (1) X Cash                 (2)       Accrual          (3)        Other (specify)
    I                                               Number of Schedules K-1. Attach one for each person who was a partner at any time during the tax year                                                        2
    J                                               Check if Schedules C and M-3 are attached 
    K                                               Check if partnership:          (1)          Aggregated activities for section 465 at-risk purposes                 (2)             Grouped activities for section 469 passive activity purposes
      Caution: Include only trade or business income and expenses on lines 1a through 23 below. See instructions for more information.
                                                      1 a Gross receipts or sales 3,313,246.      b Less returns and allowances c Balance                                                                             1c            3,313,246.
                                                      2 Cost of goods sold (attach Form 1125-A) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                     2             3,256,055.
                                                      3     Gross profit. Subtract line 2 from line 1c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             3                57,191.
       Income




                                                      4     Ordinary income (loss) from other partnerships, estates, and trusts (attach statement)                                     ~~~~~~~~~~~                    4
                                                      5     Net farm profit (loss) (attach Schedule F (Form 1040)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                        5
                                                      6     Net gain (loss) from Form 4797, Part II, line 17 (attach Form 4797) ~~~~~~~~~~~~~~~~~~~~~                                                                 6
                                                      7     Other income (loss) (attach statement)                     SEE STATEMENT 1
                                                                                                   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 7                     7,932.
                                                      8     Total income (loss). Combine lines 3 through 7                                                                              8                    65,123.
                                                      9     Salaries and wages (other than to partners) (less employment credits) ~~~~~~~~~~~~~~~~~~~                                                                 9                   231,499.
    Deductions (see instructions for limitations)




                                                    10      Guaranteed payments to partners                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                     10
                                                    11      Repairs and maintenance ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                         11
                                                    12      Bad debts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                12
                                                    13      Rent ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                  13                   61,219.
                                                    14                                                   SEE STATEMENT 2
                                                            Taxes and licenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                           14                   26,433.
                                                    15      Interest (see instructions)                                                                                      15                  182,829.
                                                    16 a Depreciation (if required, attach Form 4562) ~~~~~~~~~~~~~~~~~ 16a         874.
                                                       b Less depreciation reported on Form 1125-A and elsewhere on return ~~~~ 16b      16c                                                                                                       874.
                                                    17 Depletion (Do not deduct oil and gas depletion.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~    17
                                                    18      Retirement plans, etc. ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                        18
                                                    19      Employee benefit programs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                        19                           403.
                                                    20      Energy efficient commercial buildings deduction (attach Form 7205) ~~~~~~~~~~~~~~~~~~~~                                                                   20
                                                    21      Other deductions (attach statement)~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ SEE STATEMENT 3                                                                    21                153,166.
                                                    22      Total deductions. Add the amounts shown in the far right column for lines 9 through 21                                                          22                656,423.
                                                    23      Ordinary business income (loss). Subtract line 22 from line 8                                                                      23               -591,300.
                                                    24      Interest due under the look-back method-completed long-term contracts (attach Form 8697) ~~~~~~~~                                                         24
                                                    25      Interest due under the look-back method-income forecast method (attach Form 8866) ~~~~~~~~~~~                                                             25
                                                    26      BBA AAR imputed underpayment (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                              26
       Tax and Payment




                                                    27      Other taxes (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                    27
                                                    28      Total balance due. Add lines 24 through 27 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                               28
                                                    29      Elective payment election amount from Form 3800 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                              29
                                                    30      Payment (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                       30
                                                    31      Amount owed. If the sum of line 29 and line 30 is smaller than line 28, enter amount owed ~~~~~~~~~                                                       31
                                                    32      Overpayment. If the sum of line 29 and line 30 is larger than line 28, enter overpayment                                                        32
                                                                Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge
                                                                and belief, it is true,correct, and complete. Declaration of preparer (other than partner or limited liability company member) is based on all information of
    Sign                                                        which preparer has any knowledge.
                                                                                                                                                                                                                     May the IRS discuss this return with
    Here                                                                                                                                                                                                             the preparer shown below?
                                                                  Signature of partner or limited liability company member                                                      Date                                 See instr.
                                                                                                                                                                                                                                       X Yes              No
                                                                Print/Type preparer's name                                   Preparer's signature                                  Date                 Check          if       PTIN
                                                               JESSICA LOCKER, CPA                                      JESSICA LOCKER, CPA 08/12/24 self-employed                                                               P01367046
    Paid                                                         Firm's name

    Preparer                                                      CLIFTONLARSONALLEN LLP                                                                                                               Firm's EIN      XX-XXXXXXX
    Use Only                                                             6501 AMERICAS PARKWAY NE, SUITE 500
                                                                 Firm's address
                                                                  ALBUQUERQUE, NM 87110                                                                                                                Phone no.     505-842-8290
                                                          Case 24-11214-j11
    For Paperwork Reduction Act Notice, see separate instructions.                                   Doc 1            Filed 11/13/24 LHA
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                                                                                                                                                                            Form 1065 (2023)
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    Form 1065 (2023)        ADB ENTERPRISES LLC                                                                                                  XX-XXXXXXX              Page 2
      Schedule B            Other Information
     1        What type of entity is filing this return? Check the applicable box:                                                                                Yes         No
          a       Domestic general partnership                                 b         Domestic limited partnership
          c   X Domestic limited liability company                             d         Domestic limited liability partnership
          e       Foreign partnership                                          f         Other
     2        At the end of the tax year:
          a   Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-
              exempt organization, or any foreign government own, directly or indirectly, an interest of 50% or more in the profit,
              loss, or capital of the partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule
              B-1, Information on Partners Owning 50% or More of the Partnership                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 X
          b   Did any individual or estate own, directly or indirectly, an interest of 50% or more in the profit, loss, or capital of
              the partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule B-1, Information
              on Partners Owning 50% or More of the Partnership                                                               X
     3        At the end of the tax year, did the partnership:
          a   Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of
              stock entitled to vote of any foreign or domestic corporation? For rules of constructive ownership, see instructions.
              If "Yes," complete (i) through (iv) below                 X
                                (i) Name of Corporation                 (ii) Employer
                                                                                      (iii) Country of (iv) Percentage
                                                                                                    Identification                                              Owned in
                                                                                                   Number (if any)                    Incorporation            Voting Stock




          b   Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss,
              or capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial
              interest of a trust? For rules of constructive ownership, see instructions. If "Yes," complete (i) through (v) below             X
                        (i) Name of Entity                         (ii) Employer      (iii) Type of Entity              (iv) Country of     (v) Maximum
                                                                     Identification Number                                                                  Percentage Owned in
                                                                              (if any)                                                Organization          Profit, Loss, or Capital




      4       Does the partnership satisfy all four of the following conditions?                                                                                   Yes        No
          a   The partnership's total receipts for the tax year were less than $250,000.
          b   The partnership's total assets at the end of the tax year were less than $ 1 million.
          c   Schedules K-1 are filed with the return and furnished to the partners on or before the due date (including
              extensions) for the partnership return.
          d   The partnership is not filing and is not required to file Schedule M-3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 X
              If "Yes," the partnership is not required to complete Schedules L, M-1, and M-2; item F on page 1 of Form 1065;
              or item L on Schedule K-1.
      5       Is this partnership a publicly traded partnership, as defined in section 469(k)(2)?                                                      X
      6       During the tax year, did the partnership have any debt that was canceled, was forgiven, or had the terms modified
              so as to reduce the principal amount of the debt?                                                                         X
      7       Has this partnership filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
              information on any reportable transaction?                                                                             X
      8       At any time during calendar year 2023, did the partnership have an interest in or a signature or other authority over
              a financial account in a foreign country (such as a bank account, securities account, or other financial account)?
              See instructions for exceptions and filing requirements for FinCEN Form 114, Report of Foreign Bank and
              Financial Accounts (FBAR). If "Yes," enter the name of the foreign country                                                                                       X
      9       At any time during the tax year, did the partnership receive a distribution from, or was it the grantor of, or
              transferor to, a foreign trust? If "Yes," the partnership may have to file Form 3520, Annual Return To Report
              Transactions With Foreign Trusts and Receipt of Certain Foreign Gifts. See instructions                                                      X
    10 a      Is the partnership making, or had it previously made (and not revoked), a section 754 election? If "Yes," enter the
              effective date of the election. See instructions for details regarding a section 754 election             ~~~~~                                                  X
          b   For this tax year, did the partnership make an optional basis adjustment under section 743(b)? If "Yes," enter the total
              aggregate net positive amount $                                      and the total aggregate net negative amoun t $ (                     )
              of such section 743(b) adjustments for all partners made in the tax year. The partnership must also attach a statement
              showing the computation and allocation of each basis adjustment. See instructions                                                     X
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    311011 12-18-23
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                                                                                                                      Form 1065 (2023)
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Docusign Envelope ID: 4A9DAF3C-983A-4FD8-AAF7-738D2BE16BE2


    Form 1065 (2023)        ADB ENTERPRISES LLC                                                                                               XX-XXXXXXX       Page 3
      Schedule B            Other Information (continued)                                                                                                  Yes   No
         c   For this tax year, did the partnership make an optional basis adjustment under section 734(b)? If "Yes," enter the total
             aggregate net positive amount $                                    and the total aggregate net negative amount $ (                        )
             of such section 734(b) adjustments for all partnership property made in the tax year. The partnership must also attach
             a statement showing the computation and allocation of each basis adjustment. See instructions ~~~~~~~~~~~~~~~~~~~~~~                                 X
         d   For this tax year, is the partnership required to adjust the basis of partnership property under section 743(b) or 734(b)
             because of a substantial built-in loss (as defined under section 743(d)) or substantial basis reduction (as defined under
             section 734(d))? If "Yes," enter the total aggregate amount of such section 743(b) adjustments and/or section 734(b)
             adjustments for all partners and/or partnership property made in the tax year $                                 . The partnership must
             also attach a statement showing the computation and allocation of the basis adjustment. See instructions                            X
    11       Check this box if, during the current or prior tax year, the partnership distributed any property received in a
             like-kind exchange or contributed such property to another entity (other than disregarded entities wholly
             owned by the partnership throughout the tax year)            
    12       At any time during the tax year, did the partnership distribute to any partner a tenancy-in-common or other
             undivided interest in partnership property?                                                                X
    13       If the partnership is required to file Form 8858, Information Return of U.S. Persons With Respect to Foreign
             Disregarded Entities (FDEs) and Foreign Branches (FBs), enter the number of Forms 8858 attached. See
             instructions     
    14       Does the partnership have any foreign partners? If "Yes," enter the number of Forms 8805, Foreign Partner's
             Information Statement of Section 1446 Withholding Tax, filed for this partnership                                                             X
    15       Enter the number of Forms 8865, Return of U.S. Persons With Respect to Certain Foreign Partnerships, attached
             to this return 
    16 a     Did you make any payments in 2023 that would require you to file Form(s) 1099? See instructions ~~~~~~~~~~~~~~~                                      X
         b   If "Yes," did you or will you file required Form(s) 1099?        
    17       Enter the number of Forms 5471, Information Return of U.S. Persons With Respect to Certain Foreign
             Corporations, attached to this return 
    18       Enter the number of partners that are foreign governments under section 892 
    19       During the partnership's tax year, did the partnership make any payments that would require it to file Form 1042
             and 1042-S under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474)?                                      X
    20       Was the partnership a specified domestic entity required to file Form 8938 for the tax year? See the Instructions
             for Form 8938                                                                                X
    21       Is the partnership a section 721(c) partnership, as defined in Regulations section 1.721(c)-1(b)(14)?                                  X
    22       During the tax year, did the partnership pay or accrue any interest or royalty for which one or more partners are
             not allowed a deduction under section 267A? See instructions               ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          X
             If "Yes," enter the total amount of the disallowed deductions                                    $
    23       Did the partnership have an election under section 163(j) for any real property trade or business or any farming
             business in effect during the tax year? See instructions                                                         X
    24       Does the partnership satisfy one or more of the following? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~                                               X
         a   The partnership owns a pass-through entity with current, or prior year carryover, excess business interest expense.
         b   The partnership's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
             preceding the current tax year are more than $29 million and the partnership has business interest expense.
         c   The partnership is a tax shelter (see instructions) and the partnership has business interest expense.
             If "Yes" to any, complete and attach Form 8990.
    25       Is the partnership attaching Form 8996 to certify as a Qualified Opportunity Fund?                ~~~~~~~~~~~~~~~~~~~~~~                             X
             If "Yes," enter the amount from Form 8996, line 15                                           $
    26       Enter the number of foreign partners subject to section 864(c)(8) as a result of transferring all or a portion of an
             interest in the partnership or of receiving a distribution from the partnership 
             Complete Schedule K-3 (Form 1065), Part XIII, for each foreign partner subject to section 864(c)(8) on a transfer or distribution.
    27       At any time during the tax year, were there any transfers between the partnership and its partners subject to the
             disclosure requirements of Regulations section 1.707-8?                                                           X
    28       Since December 22, 2017, did a foreign corporation directly or indirectly acquire substantially all of the properties
             constituting a trade or business of your partnership, and was the ownership percentage (by vote or value) for
             purposes of section 7874 greater than 50% (for example, the partners held more than 50% of the stock of
             the foreign corporation)? If "Yes," list the ownership percentage by vote and by value. See instructions.
             Percentage:                                                         By vote                                 By value                                 X
    29       Is the partnership required to file Form 7208 relating to the excise tax on repurchase of corporate stock (see
             instructions):
         a   Under the applicable foreign corporation rules?                                                              X
    311021 12-18-23                                                                                                                                   Form 1065 (2023)

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    Form 1065 (2023)                                                                                                                               Page 4
      Schedule B            Other Information (continued)                                                                                     Yes    No
         b   Under the covered surrogate foreign corporation rules? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             X
             If "Yes" to either (a) or (b), complete Form 7208, Excise Tax on Repurchase of Corporate Stock. See the
             Instructions for Form 7208.
    30       At any time during this tax year, did the partnership (a) receive (as a reward, award, or payment for property or
             services); or (b) sell, exchange, or otherwise dispose of a digital asset (or financial interest in a digital asset)? See
             instructions                                                                   X
    31       Is the partnership electing out of the centralized partnership audit regime under section 6221(b)? See instructions               X
             If "Yes," the partnership must complete Schedule B-2 (Form 1065). Enter the total from Schedule B-2, Part III,
             line 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                      2
            If "No," complete Designation of Partnership Representative below.
    Designation of Partnership Representative (see instructions)
    Enter below the information for the partnership representative (PR) for the tax year covered by this return.
    Name of PR
                                                                                                       U.S. phone
    U.S. address of PR
                                                                                                       number of PR

    If the PR is an entity, name of the designated individual for the PR
                                                                                                       U.S. phone
    U.S. address of                                                                                    number of
    designated                                                                                         designated
    individual                                                                                         individual

                                                                                                                                         Form 1065 (2023)




    311041 12-18-23


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    Form 1065 (2023)                      ADB ENTERPRISES LLC                                                                              XX-XXXXXXX            Page 5
       Schedule K                         Partners' Distributive Share Items                                                                      Total amount
                            1     Ordinary business income (loss) (page 1, line 23)    ~~~~~~~~~~~~~~~~~~~~~~~~~~                          1        -591,300.
                            2     Net rental real estate income (loss) (attach Form 8825)                           2
                            3 a Other gross rental income (loss) ~~~~~~~~~~~~~~~~~~~                   3a
                              b Expenses from other rental activities (attach statement) ~~~~~~~               3b
                                c Other net rental income (loss). Subtract line 3b from line 3a                      3c
                                  Guaranteed
                            4     payments:      a Services   4a                                 b Capital 4b
                                  c Total. Add lines 4a and 4b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       4c
       Income (Loss)




                            5                                               SEE STATEMENT 4
                                  Interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              5                       1.
                            6     Dividends and dividend equivalents:     a Ordinary dividends                        6a
                                  b Qualified dividends 6b       c Dividend equivalents 6c
                            7     Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 7
                            8     Net short-term capital gain (loss) (attach Schedule D (Form 1065)) ~~~~~~~~~~~~~~~~~~                    8
                            9 a Net long-term capital gain (loss) (attach Schedule D (Form 1065))                       9a
                              b Collectibles (28%) gain (loss) ~~~~~~~~~~~~~~~~~~~~                   9b
                              c Unrecaptured section 1250 gain (attach statement) ~~~~~~~~~           9c
                           10     Net section 1231 gain (loss) (attach Form 4797) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             10
                           11     Other income (loss) (see instructions) Type:                                                            11
                           12     Section 179 deduction (attach Form 4562)       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                            12
                                                                            SEE STATEMENT 5
                           13 a Cash contributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              13a                360.
       Deductions




                              b Noncash contributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             13b
                                c Investment interest expense ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        13c
                                d Section 59(e)(2) expenditures: (1) Type:                  (2) Amount                                   13d(2)
                                e Other deductions (see instructions) Type:                                                               13e
                                                                                                                                                    -591,300.
     Employ-




                           14 a Net earnings (loss) from self-employment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   14a
      ment
      Self-




                              b Gross farming or fishing income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       14b
                              c Gross nonfarm income                                               14c          65,123.
                           15 a Low-income housing credit (section 42(j)(5)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                15a
                                b Low-income housing credit (other) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    15b
       Credits




                                c Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable) ~~~~~~~    15c
                                d Other rental real estate credits (see instructions) Type:                                               15d
                                e Other rental credits (see instructions)             Type:                                               15e
                             f Other credits (see instructions)               Type:                                                       15f
                           16 Attach Schedule K-2 (Form 1065), Partners' Distributive Share Items-International, and check
       national
        Inter-




                                  this box to indicate that you are reporting items of international tax relevance   ~~~~~~~~


                           17a Post-1986 depreciation adjustment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        17a              -326.
    Minimum Tax
    (AMT) Items




                             b Adjusted gain or loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             17b
    Alternative




                                c Depletion (other than oil and gas) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   17c
                                d Oil, gas, and geothermal properties - gross income ~~~~~~~~~~~~~~~~~~~~~~~~~                            17d
                                e Oil, gas, and geothermal properties - deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~                             17e
                                f Other AMT items (attach statement)                                     17f
                           18 a Tax-exempt interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          18a
                              b Other tax-exempt income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            18b
       Other Information




                                                                                          SEE STATEMENT 6
                              c Nondeductible expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             18c          11,345.
                           19 a Distributions of cash and marketable securities ~~~~~~~~~~~~~~~~~~~~~~~~~~~                               19a          88,438.
                              b Distributions of other property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      19b
                           20 a Investment income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               20a                      1.
                             b Investment expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               20b
                             c Other items and amounts (attach statement)                  STMT 7
                           21 Total foreign taxes paid or accrued                                        21
    311042 12-18-23                                                                                                                                  Form 1065 (2023)




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    Form 1065 (2023) ADB ENTERPRISES LLC                                                                                                                      XX-XXXXXXX            Page 6
    Analysis of Net Income (Loss) per Return
    1 Net income (loss). Combine Schedule K, lines 1 through 11. From the result, subtract the sum of Schedule K, lines 12 through 13e, and 21         1              -591,659.
    2 Analysis by                 (i) Corporate                (ii) Individual                (iii) Individual             (iv) Partnership         (v) Exempt                  (vi)
        partner type:                                              (active)                       (passive)                                        Organization            Nominee/Other

      a General partners
      b Limited partners                                        -591,659.

      Schedule L               Balance Sheets per Books
                                                                                       Beginning of tax year                                             End of tax year
                              Assets
                                                                                 (a)                                (b)                           (c)                         (d)
      1 Cash ~~~~~~~~~~~~~~~~                                                                                     152,631.                                                    36,826.
      2a Trade notes and accounts receivable ~
       b Less allowance for bad debts ~~~~
      3 Inventories ~~~~~~~~~~~~~                                                                                 538,602.                                                   287,162.
      4 U.S. Government obligations ~~~~~
      5 Tax-exempt securities ~~~~~~~~
      6 Other current assets (attach statement) ~
      7a Loans to partners (or persons related to partners) ~
       b Mortgage and real estate loans ~~~
      8 Other investments (attach statement) ~
      9a Buildings and other depreciable assets                                     9,793.                                                          9,793.
       b Less accumulated depreciation ~~~                                          7,608.                             2,185.                       8,482.                      1,311.
    10a Depletable assets ~~~~~~~~~~
      b Less accumulated depletion ~~~~~
    11 Land (net of any amortization) ~~~~
    12a Intangible assets (amortizable only) ~~
      b Less accumulated amortization ~~~
    13 Other assets (attach statement) ~~~                        STATEMENT 8                                       3,116.                                                     2,066.
    14 Total assets ~~~~~~~~~~~~~                                                                                 696,534.                                                   327,365.
            Liabilities and Capital
    15 Accounts payable ~~~~~~~~~~                                                                                 17,848.                                                    52,564.
    16    Mortgages, notes, bonds payable in less than 1 year                                                     552,829.                                                   749,165.
    17 Other current liabilities (attach statement) ~             STATEMENT 9                                      49,385.                                                   207,911.
    18 All nonrecourse loans ~~~~~~~~
    19a Loans from partners (or persons related to partners)
      b Mortgages, notes, bonds payable in 1 year or more                                                         779,501.                                                   746,912.
    20 Other liabilities (attach statement) ~~
    21 Partners' capital accounts ~~~~~~                                     -703,029.                            -1,429,187.
    22 Total liabilities and capital                                    696,534.                                327,365.
      Schedule M-1                 Reconciliation of Income (Loss) per Books With Analysis of Net Income (Loss) per Return
                                   Note: The partnership may be required to file Schedule M-3. See instructions.
     1    Net income (loss) per books ~~~~~~~                                    -637,720. 6 Income recorded on books this year not included
     2    Income included on Schedule K, lines 1, 2, 3c,                                                       on Schedule K, lines 1 through 11 (itemize):
          5, 6a, 7, 8, 9a, 10, and 11, not recorded on books                                                 a Tax-exempt interest $
          this year (itemize):          STMT 11                                        34,716.
     3 Guaranteed payments (other than health                                                              7 Deductions included on Schedule K, lines 1
       insurance) ~~~~~~~~~~~~~~~~                                                                           through 13e, and 21, not charged against
     4   Expenses recorded on books this year not included on                                                  book income this year (itemize):
         Schedule K, lines 1 through 13e, and 21 (itemize):                                                  a Depreciation $
          STMT 12                                      3,822.
      a Depreciation $                                                                                     8 Add lines 6 and 7 ~~~~~~~~~~~~
      b Travel and entertainment $ 7,523.         11,345. 9 Income (loss) (Analysis of Net Income (Loss),
     5 Add lines 1 through 4       -591,659.     line 1). Subtract line 8 from line 5                                                                     -591,659.
      Schedule M-2 Analysis of Partners' Capital Accounts
     1 Balance at beginning of year ~~~~~~~   -685,181. 6 Distributions: a Cash ~~~~~~~~~                                                                                     88,438.
     2 Capital contributed: a Cash ~~~~~~~                                                                                    b Property ~~~~~~~~
                            b Property ~~~~~~                                                              7 Other decreases (itemize):
     3 Net income (loss) (see instructions) ~~~~                                 -591,659.                         STMT 13                                              11,345.
     4 Other increases (itemize):                                                                          8 Add lines 6 and 7 ~~~~~~~~~~~~                             99,783.
     5 Add lines 1 through 4                                    -1,276,840. 9 Balance at end of year. Subtract line 8 from line 5                      -1,376,623.
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    Form          1125-A                                            Cost of Goods Sold
    (Rev. November 2018)                                | Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.                                OMB No. 1545-0123
    Department of the Treasury                        | Go to www.irs.gov/Form1125A for the latest information.
    Internal Revenue Service
    Name                                                                                                                             Employer Identification number

             ADB ENTERPRISES LLC                                                                                                        XX-XXXXXXX
    1     Inventory at beginning of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1              538,602.
    2     Purchases       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   2            2,840,185.
    3     Cost of labor     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  3
    4     Additional section 263A costs (attach schedule)   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 4
    5     Other costs (attach schedule)                       SEE STATEMENT 15
                                          ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           5                  164,430.
    6     Total. Add lines 1 through 5 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              6                3,543,217.
    7     Inventory at end of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               7                  287,162.
    8     Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
          appropriate line of your tax return. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              8                3,256,055.
    9 a Check all methods used for valuing closing inventory:
          (i)      X Cost
          (ii)        Lower of cost or market
          (iii)       Other (Specify method used and attach explanation) |


        b Check if there was a writedown of subnormal goods ~~~~~~~~~~~~~~~~~~~~~~~                                                     |
        c Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970) ~~~~~~~~~~~~~~~~~~~~ |
        d If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
          under LIFO ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               9d
        e If property is produced or acquired for resale, do the rules of Section 263A apply to the entity? See instructions ~~~~~~~~~~~~~~             Yes X No
        f Was there any change in determining quantities, cost, or valuations between opening and closing inventory? ~~~~~~~~~~~~~~~                    Yes X No
          If "Yes," attach explanation.


    For Paperwork Reduction Act Notice, see separate instructions.                                                                   Form 1125-A (Rev. 11-2018)




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    04-01-23        LHA
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    SCHEDULE B-1                                      Information on Partners Owning 50% or
    (Form 1065)                                              More of the Partnership
    (Rev. August 2019)                                                                                                                          OMB No. 1545-0123
    Department of the Treasury
                                                                          J Attach to Form 1065.
    Internal Revenue Service                              J Go to www.irs.gov/Form1065 for the latest information.
    Name of partnership                                                                                                                   Employer identification number



       ADB ENTERPRISES LLC                                                                       XX-XXXXXXX
      Part I Entities Owning 50% or More of the Partnership (Form 1065, Schedule B, Question 2a (Question 3a for
             2009 through 2017))
    Complete columns (i) through (v) below for any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust,
    tax-exempt organization, or any foreign government that owns, directly or indirectly, an interest of 50% or more in the profit, loss, or capital of the
    partnership (see instructions).
                                 (i) Name of Entity                         (ii) Employer            (iii)                    (iv)              (v) Maximum
                                                                           Identification       Type of Entity      Country of Organization Percentage Owned
                                                                          Number (if any)                                                    in Profit, Loss, or
                                                                                                                                                    Capital




      Part II         Individuals or Estates Owning 50% or More of the Partnership (Form 1065, Schedule B, Question 2b
                      (Question 3b for 2009 through 2017))
    Complete columns (i) through (iv) below for any individual or estate that owns, directly or indirectly, an interest of 50% or more in the profit, loss, or
    capital of the partnership (see instructions).


                       (i) Name of Individual or Estate                    (ii) Identifying   (iii) Country of Citizenship (see instructions)        (iv) Maximum
                                                                          Number (if any)                                                         Percentage Owned
                                                                                                                                                    in Profit, Loss,
                                                                                                                                                        or Capital

    AARON BOYD                                                         ***-**-4804 UNITED STATES                                                          100.00

    DARRIS BOYD                                                        ***-**-2950 UNITED STATES                                                          100.00




    LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                        Schedule B-1 (Form 1065) (Rev. 8-2019)




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    SCHEDULE B-2                                      Election Out of the Centralized
    (Form 1065)
    (December 2018)
                                                        Partnership Audit Regime                                                             OMB No. 1545-0123
    Department of the Treasury                             | Attach to Form 1065 or Form 1066.
    Internal Revenue Service              | Go to www.irs.gov/Form1065 for instructions and the latest information.
    Name of Partnership                                                                                               Employer Identification Number (EIN)
                                 ADB ENTERPRISES LLC                                                                          XX-XXXXXXX
    Certain partnerships with 100 or fewer partners can elect out of the centralized partnership audit regime if each partner is an individual,
    a C corporation, a foreign entity that would be treated as a C corporation were it domestic, an S corporation, or an estate of a deceased
    partner. For purposes of determining whether the partnership has 100 or fewer partners, the partnership must include all shareholders of
    any S corporation that is a partner. By completing Part I, you are making an affirmative statement that all of the partners in the
    partnership are eligible partners under section 6221(b)(1)(C) and you have provided all of the information on this schedule. See the
    instructions, including the instructions for the treatment of real estate mortgage investment conduits (REMICs), for more details.

     Part I       List of Eligible Partners
                  Use the following codes under Type of Eligible Partner:
                  I - Individual C - Corporation E - Estate of Deceased Partner F - Eligible Foreign Entity S - S corporation
                                                                                                                                                  Type of Eligible
                                                Name of Partner                                           Taxpayer Identification Number (TIN)    Partner (Code)

       1 AARON BOYD                                                                                           ***-**-4804                             I
       2 DARRIS BOYD                                                                                          ***-**-2950                             I
       3
       4
       5
       6
       7
       8
       9
     10
     11
     12
     13
     14
     15
    Continued on Part IV
     Part II       List of S Corporation Shareholders (For each S corporation partner, complete a separate Part II and
                   separate Part V, if needed.)
                   Use the following codes under Type of Person:
                   I - Individual E - Estate of Deceased Shareholder T - Trust O - Other
    Name of
    S Corporation Partner |                                                                                           TIN of Partner|
                                                                                                                                                  Type of Person
                                             Name of Shareholder                                                    Shareholder TIN                   (Code)

       1
       2
       3
       4
       5
       6
       7
       8
       9
     10
     11
     12
    Continued on Part V

     Part III        Total Number of Schedules K-1 Required To Be Issued. See instructions.
       1      Total of Part I and all Parts IV Schedules K-1 required to be issued by the partnership   ~~~~~~~~~~~~                  1                      2.
       2      Total of Part II and all Parts V Schedules K-1 required to be issued by any S corporation partners   ~~~~~~             2
      3      Total. Add line 1 and line 2 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    3                      2.
    Note: If line 3 is more than 100, the partnership cannot make the election under section 6221(b).
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10140813 131839 A161168                                                     2023.04010 ADB ENTERPRISES LLC                                                A1611681
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                                        Worksheet for Figuring Net Earnings (Loss) From Self-Employment

    Name of partnership                                                                                                         Employer identification number


        ADB ENTERPRISES LLC                                                                                                        XX-XXXXXXX
    1 a Ordinary income (loss) (Schedule K, line 1) ~~~~~~~~~~~~~~~~~~~~                                  1a   -591,300.
      b Net income (loss) from CERTAIN rental real estate activities ~~~~~~~~~~~~~                        1b
      c Net income (loss) from other rental activities (Schedule K, line 3c) ~~~~~~~~~~                   1c
      d Net loss from Form 4797, Part II, line 17, included on line 1a above. Enter as a positive
        amount ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       1d
      e Other additions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  1e
      f Combine lines 1a through 1e ~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1f   -591,300.
    2 a Net gain from Form 4797, Part II, line 17, included on line 1a above ~~~~~~~~~~                   2a
      b Other subtractions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                2b
      c Add lines 2a and 2b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               2c
    3 a Subtract line 2c from line 1f. If line 1f is a loss, increase the loss on line 1f by the amount
        on line 2c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    3a   -591,300.
      b Part of line 3a allocated to limited partners, estates, trusts, corporations, exempt
        organizations, and IRAs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             3b
      c Subtract line 3b from line 3a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           3c            -591,300.
    4 a Guaranteed payments to partners (Schedule K, line 4a) derived from a trade or business
        as defined in section 1402(c)     ~~~~~~~~~~~~~~~~~~~~~~~~~~                                      4a
      b Part of line 4a allocated to individual limited partners for other than services and to
        estates, trusts, corporations, exempt organizations, and IRAs ~~~~~~~~~~~~                        4b
     c Subtract line 4b from line 4a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           4c
    5 Net earnings (loss) from self-employment. Combine lines 3c and 4c. Enter here and on Schedule K, line 14a     5             -591,300.




    312161
    04-01-23
               Case 24-11214-j11                   Doc 1          Filed 11/13/24 10Entered 11/13/24 14:38:12 Page 150 of 181
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             Section 1.263(a)-1(f) De Minimis Safe Harbor Election




             ADB Enterprises LLC
             2705 Pan American Freeway NE, Ste C
             Albuquerque, NM 87107


             Employer Identification Number:                 XX-XXXXXXX


             For the Year Ending December 31, 2023


             ADB Enterprises LLC is making the de minimis safe harbor election
             under Reg. Sec. 1.263(a)-1(f).




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   ADB ENTERPRISES LLC                                                 XX-XXXXXXX
   }}}}}}}}}}}}}}}}}}}                                                 }}}}}}}}}}
   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   FORM 1065                        OTHER INCOME                    STATEMENT 1
   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

   DESCRIPTION                                                                                AMOUNT
   }}}}}}}}}}}                                                                            }}}}}}}}}}}}}}
   CREDIT CARD REWARDS                                                                            6,875.
   MISCELLANEOUS INCOME                                                                           1,057.
                                                                                          }}}}}}}}}}}}}}
   TOTAL TO FORM 1065, LINE 7                                                                     7,932.
                                                                                          ~~~~~~~~~~~~~~

   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   FORM 1065                        TAX EXPENSE                     STATEMENT 2
   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

   DESCRIPTION                                                                                AMOUNT
   }}}}}}}}}}}                                                                            }}}}}}}}}}}}}}
   TAXES - OTHER                                                                                 26,433.
                                                                                          }}}}}}}}}}}}}}
   TOTAL TO FORM 1065, LINE 14                                                                   26,433.
                                                                                          ~~~~~~~~~~~~~~


   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   FORM 1065                      OTHER DEDUCTIONS                  STATEMENT 3
   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

   DESCRIPTION                                                                                AMOUNT
   }}}}}}}}}}}                                                                            }}}}}}}}}}}}}}
   ADVERTISING                                                                                    7,032.
   AUTO EXPENSES                                                                                  4,485.
   BANK AND CC FEES                                                                               2,072.
   COMPUTER EXPENSES                                                                              1,567.
   EQUIPMENT RENTAL                                                                                  205.
   INSURANCE                                                                                      9,464.
   MEALS                                                                                          7,524.
   OFFICE EXPENSES                                                                               35,934.
   PROFESSIONAL FEES                                                                             59,501.
   SUPPLIES                                                                                          678.
   TRAVEL EXPENSES                                                                                    29.
   UTILITIES                                                                                     24,675.
                                                                                          }}}}}}}}}}}}}}
   TOTAL TO FORM 1065, LINE 21                                                                  153,166.
                                                                                          ~~~~~~~~~~~~~~




   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   SCHEDULE K                     INTEREST INCOME                   STATEMENT 4
   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

   DESCRIPTION                                                             U.S. BONDS         OTHER
   }}}}}}}}}}}                                                           }}}}}}}}}}}}}}   }}}}}}}}}}}}}}
   INTEREST INCOME                                                                                    1.
                                                                         }}}}}}}}}}}}}}   }}}}}}}}}}}}}}
   TOTAL TO SCHEDULE K, LINE 5                                                                        1.
                                                                         ~~~~~~~~~~~~~~   ~~~~~~~~~~~~~~

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   ADB ENTERPRISES LLC                                                 XX-XXXXXXX
   }}}}}}}}}}}}}}}}}}}                                                 }}}}}}}}}}
   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   SCHEDULE K                 CHARITABLE CONTRIBUTIONS              STATEMENT 5
   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

   DESCRIPTION                                                              TYPE              AMOUNT
   }}}}}}}}}}}                                                     }}}}}}}}}}}}}}}}}}}}}}} }}}}}}}}}}}}
   CONTRIBUTIONS                                                   CASH (60%)                      360.
                                                                                           }}}}}}}}}}}}
   TOTALS TO SCHEDULE K, LINE 13A                                                                  360.
                                                                                           ~~~~~~~~~~~~


   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   SCHEDULE K                  NONDEDUCTIBLE EXPENSE                STATEMENT 6
   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

   DESCRIPTION                                                                                AMOUNT
   }}}}}}}}}}}                                                                            }}}}}}}}}}}}}}
   EXCLUDED MEALS AND ENTERTAINMENT EXPENSES                                                      7,523.
   NONDEDUCTIBLE EXPENSES                                                                         3,822.
                                                                                          }}}}}}}}}}}}}}
   TOTAL TO SCHEDULE K, LINE 18C                                                                 11,345.
                                                                                          ~~~~~~~~~~~~~~


   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   SCHEDULE K                       OTHER ITEMS                     STATEMENT 7
   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

   DESCRIPTION                                                                                AMOUNT
   }}}}}}}}}}}                                                                            }}}}}}}}}}}}}}
   AGGREGATE BUSINESS ACTIVITY GROSS INCOME OR GAIN                                              65,123.
   AGGREGATE BUSINESS ACTIVITY DEDUCTIONS                                                       656,423.
   SECTION 199A - ORDINARY INCOME (LOSS)                                                       -591,300.
   SECTION 199A W-2 WAGES                                                                       231,499.
   SECTION 199A UNADJUSTED BASIS OF ASSETS                                                        9,793.
   BUSINESS INTEREST EXPENSE                                                                    182,829.




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   SCHEDULE L                      OTHER ASSETS                     STATEMENT 8
   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                                           BEGINNING OF    END OF TAX
   DESCRIPTION                                                               TAX YEAR         YEAR
   }}}}}}}}}}}                                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
   OTHER ASSETS                                                                   3,116.         2,066.
                                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
   TOTAL TO SCHEDULE L, LINE 13                                                   3,116.         2,066.
                                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




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   ADB ENTERPRISES LLC                                                 XX-XXXXXXX
   }}}}}}}}}}}}}}}}}}}                                                 }}}}}}}}}}
   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   SCHEDULE L                OTHER CURRENT LIABILITIES              STATEMENT 9
   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                                           BEGINNING OF    END OF TAX
   DESCRIPTION                                                               TAX YEAR         YEAR
   }}}}}}}}}}}                                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
   CREDIT CARDS PAYABLE                                                          44,281.       196,743.
   PAYROLL TAXES PAYABLE                                                          5,104.        11,168.
                                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
   TOTAL TO SCHEDULE L, LINE 17                                                  49,385.       207,911.
                                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




           Case 24-11214-j11         Doc 1     Filed 11/13/24 14Entered 11/13/24 14:38:12 PageSTATEMENT(S)
                                                                                               154 of 181  9
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   ADB ENTERPRISES LLC                                                 XX-XXXXXXX
   }}}}}}}}}}}}}}}}}}}                                                 }}}}}}}}}}
   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   FORM 1065             PARTNERS' CAPITAL ACCOUNT SUMMARY          STATEMENT 10
   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

   PARTNER          BEGINNING              CAPITAL             SCHEDULE M-2      WITH-          ENDING
   NUMBER            CAPITAL             CONTRIBUTED           LNS 3, 4 & 7     DRAWALS         CAPITAL
   }}}}}}}         }}}}}}}}}}}}          }}}}}}}}}}}}          }}}}}}}}}}}}   }}}}}}}}}}}}    }}}}}}}}}}}}

            1           -339,113.                                 -301,502.        45,811.       -686,426.


            2           -346,068.                                 -301,502.        42,627.       -690,197.


                   }}}}}}}}}}}}          }}}}}}}}}}}}          }}}}}}}}}}}}   }}}}}}}}}}}}    }}}}}}}}}}}}
   TOTAL              -685,181.                                   -603,004.        88,438.     -1,376,623.
                   ~~~~~~~~~~~~          ~~~~~~~~~~~~          ~~~~~~~~~~~~   ~~~~~~~~~~~~    ~~~~~~~~~~~~




           Case 24-11214-j11         Doc 1                                                   STATEMENT(S)
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   ADB ENTERPRISES LLC                                                 XX-XXXXXXX
   }}}}}}}}}}}}}}}}}}}                                                 }}}}}}}}}}
   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   SCHEDULE M-1        INCOME NOT RECORDED ON BOOKS THIS YEAR       STATEMENT 11
   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

   DESCRIPTION                                                                                  AMOUNT
   }}}}}}}}}}}                                                                              }}}}}}}}}}}}}}
   ACCRUAL TO CASH                                                                                 34,716.
                                                                                            }}}}}}}}}}}}}}
   TOTAL TO SCHEDULE M-1, LINE 2                                                                   34,716.
                                                                                            ~~~~~~~~~~~~~~

   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   SCHEDULE M-1 EXPENSES RECORDED ON BOOKS NOT DEDUCTED IN RETURN   STATEMENT 12
   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

   DESCRIPTION                                                                                  AMOUNT
   }}}}}}}}}}}                                                                              }}}}}}}}}}}}}}
   NONDEDUCTIBLE EXPENSES                                                                           3,822.
                                                                                            }}}}}}}}}}}}}}
   TOTAL TO SCHEDULE M-1, LINE 4                                                                    3,822.
                                                                                            ~~~~~~~~~~~~~~


   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   SCHEDULE M-2                   OTHER DECREASES                   STATEMENT 13
   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

   DESCRIPTION                                                                                  AMOUNT
   }}}}}}}}}}}                                                                              }}}}}}}}}}}}}}
   NONDEDUCTIBLE EXPENSES                                                                          11,345.
                                                                                            }}}}}}}}}}}}}}
   TOTAL TO SCHEDULE M-2, LINE 7                                                                   11,345.
                                                                                            ~~~~~~~~~~~~~~


   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   SCHEDULES M-2/L RECONCILIATION OF SCHEDULE M-2 AND SCHEDULE L    STATEMENT 14

   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
                                                     BALANCE AT
                                                     BEGINNING      BALANCE AT
   DESCRIPTION                                       OF THE YEAR    END OF YEAR
   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
   SCHEDULE M-2 BALANCES                                 -685,181.     -1,376,623.
   ADJUSTMENTS FOR ACCRUAL TO CASH                        -17,848.       -52,564.

                                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
   TOTAL RECONCILED SCHEDULE M-2 BALANCES                                      -703,029.    -1,429,187.
                                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~
   SCHEDULE L, LINE 21, PARTNERS' CAPITAL ACCOUNTS                             -703,029.    -1,429,187.
                                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




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   ADB ENTERPRISES LLC                                                 XX-XXXXXXX
   }}}}}}}}}}}}}}}}}}}                                                 }}}}}}}}}}
   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   FORM 1125-A                      OTHER COSTS                     STATEMENT 15
   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

   DESCRIPTION                                                                                AMOUNT
   }}}}}}}}}}}                                                                            }}}}}}}}}}}}}}
   FREIGHT AND SHIPPING                                                                         164,430.
                                                                                          }}}}}}}}}}}}}}
   TOTAL TO LINE 5                                                                              164,430.
                                                                                          ~~~~~~~~~~~~~~




           Case 24-11214-j11         Doc 1                                                   STATEMENT(S)
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            1

                                                                                                                                                                                                   651123

    Schedule K-1
    (Form 1065)
    Department of the Treasury
                                                                                          2023
                                                                              For calendar year 2023, or tax year
                                                                                                                                       Final K-1                Amended K-1
                                                                                                                                   Part III Partner's Share of Current Year Income,
                                                                                                                                                                                           OMB No. 1545-0123

    Internal Revenue Service                                                                                                                Deductions, Credits, and Other Items
                                 beginning                                    ending                                    1 Ordinary business income (loss)              14 Self-employment earnings (loss)
    Partner's Share of Income, Deductions,                                                                                              -295,650. A                                       -295,650.
    Credits, etc.                          See separate instructions.                                                   2 Net rental real estate income (loss) C                            32,562.
      Part I Information About the Partnership                                                                                                                         15 Credits
     A     Partnership's employer identification number                                                                 3 Other net rental income (loss)
      XX-XXXXXXX
     B     Partnership's name, address, city, state, and ZIP code                                                   4a Guaranteed payments for services                16 Schedule K-3 is attached if
                                                                                                                                                                          checked 
      ADB ENTERPRISES LLC                                                                                           4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
      2705 PAN AMERICAN FREEWAY NE, STE C                                                                                                                              A                           -163.
      ALBUQUERQUE, NM 87107                                                                                         4c Total guaranteed payments
     C     IRS center where partnership filed return:
      E-FILE                                                                                                            5 Interest income                              18 Tax-exempt income and
     D              Check if this is a publicly traded partnership (PTP)                                                                                       1.          nondeductible expenses
          Part II       Information About the Partner                                                               6a Ordinary dividends                              C*                           STMT
     E     Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)
      ***-**-4804                                                                                                   6b Qualified dividends
     F     Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                        19 Distributions
                                                                                                                    6c Dividend equivalents                            A                    45,811.
      AARON BOYD
      617 DELAMAR AVE NW                                                                                                7 Royalties                                    20 Other information
      ALBUQUERQUE, NM 87107                                                                                                                                            A                           1.
     G   X General partner or LLC                                             Limited partner or other LLC              8 Net short-term capital gain (loss)           N *                    91,415.
                      member-manager                                          member                                                                                   Z *                       STMT
     H1          X Domestic partner                                           Foreign partner                       9a Net long-term capital gain (loss)               AJ *                      STMT
     H2               If the partner is a disregarded entity (DE), enter the partner's:
           TIN                               Name                                                                   9b Collectibles (28%) gain (loss)
     I1    What type of entity is this partner?       INDIVIDUAL
     I2    If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                               9c Unrecaptured section 1250 gain
     J     Partner's share of profit, loss, and capital:
                            Beginning                                              Ending                           10 Net section 1231 gain (loss)
           Profit              50.0000000 %                                        50.0000000 %
           Loss                50.0000000 %                                        50.0000000 % 11 Other income (loss)
           Capital             50.0000000 %                                        50.0000000 %
        Check if decrease is due to:
             Sale or           Exchange of partnership interest. See instructions.
     K1 Partner's share of liabilities:   Beginning                           Ending                                12 Section 179 deduction                           21 Foreign taxes paid or accrued
           Nonrecourse  $                          33,617. $                            130,238.
           Qualified nonrecourse                                                                                    13 Other deductions
           financing  $                                               $                                         A                                        180
           Recourse  $                          666,166. $                             748,039.
     K2    Check this box if Item K-1 includes liability amounts from lower-tier partnerships     
     K3    Check if any of the above liability is subject to guarantees or other payment obligations by
           the partner. See instructions     ~~~~~~~~~~~~~~~~~~~~~~~                                                22                     More than one activity for at-risk purposes*
     L                       Partner's Capital Account Analysis                                                     23                     More than one activity for passive activity purposes*
           Beginning capital account ~~~~~~~~~ $                                        -339,113.                                  *See attached statement for additional information.
           Capital contributed during the year ~~~~~~ $
           Current year net income (loss) ~~~~~~~~ $                                    -301,502.
           Other increase (decrease) (attach explanation) ~ $
                                                                                                                    For IRS Use Only




           Withdrawals and distributions ~~~~~~~~ $ (                                     45,811.)
           Ending capital account        ~~~~~~~~~~ $                                   -686,426.
     M     Did the partner contribute property with a built-in gain (loss)?
                 Yes        X No If "Yes," attach statement. See instructions.
     N      Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
           Beginning ~~~~~~~~~~~~~~~~ $
           Ending  $
          Case
    LHA For       24-11214-j11
            Paperwork                       Doc
                      Reduction Act Notice, see the 1     Filedfor11/13/24
                                                    Instructions  Form 1065.                                  Entered 11/13/24     14:38:12 Page
                                                                                                                         www.irs.gov/Form1065
                                                                                                            311261 12-09-23                        158
                                                                                                                                              Schedule K-1 of  181
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                                                                                                                                                                                                          1
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   ADB ENTERPRISES LLC                                                 XX-XXXXXXX
   }}}}}}}}}}}}}}}}}}}                                                 }}}}}}}}}}
   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

   DESCRIPTION                                        PARTNER FILING INSTRUCTIONS              AMOUNT
   }}}}}}}}}}}                                        }}}}}}}}}}}}}}}}}}}}}}}}}}}          }}}}}}}}}}}}}}
   EXCLUDED MEALS AND                                 NONDEDUCTIBLE PORTION
   ENTERTAINMENT EXPENSES                                                                          3,762.
   NONDEDUCTIBLE EXPENSES                                                                          1,911.
                                                                                           }}}}}}}}}}}}}}
   TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                           5,673.
                                                                                           ~~~~~~~~~~~~~~

   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

   DESCRIPTION                                        PARTNER FILING INSTRUCTIONS              AMOUNT
   }}}}}}}}}}}                                        }}}}}}}}}}}}}}}}}}}}}}}}}}}          }}}}}}}}}}}}}}
   BUSINESS INTEREST EXPENSE                          SEE PARTNERS INSTRUCTIONS
   (INCLUDED IN ORDINARY BUSINESS
   INCOME (LOSS))                                                                                 91,415.
                                                                                           }}}}}}}}}}}}}}
   TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                          91,415.
                                                                                           ~~~~~~~~~~~~~~


   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   SCHEDULE K-1          EXCESS BUSINESS LOSS LIMITATION
                                 BOX 20, CODE AJ
   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

   DESCRIPTION                                        PARTNER FILING INSTRUCTIONS              AMOUNT
   }}}}}}}}}}}                                        }}}}}}}}}}}}}}}}}}}}}}}}}}}          }}}}}}}}}}}}}}
   AGGREGATE BUSINESS ACTIVITY                        SEE IRS SCH. K-1 INSTRUCTIONS
   GROSS INCOME OR GAIN                                                                             32,562.
   AGGREGATE BUSINESS ACTIVITY                        SEE IRS SCH. K-1 INSTRUCTIONS
   DEDUCTION                                                                                      328,212.



   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

   DESCRIPTION                                                                                 AMOUNT
   }}}}}}}}}}}                                                                             }}}}}}}}}}}}}}

   TRADE OR BUSINESS -

       ORDINARY INCOME (LOSS)                                                                    -295,650.
       SELF-EMPLOYMENT EARNINGS(LOSS)                                                            -295,650.
       W-2 WAGES                                                                                  115,750.
       UNADJUSTED BASIS OF ASSETS                                                                   4,897.




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   ADB ENTERPRISES LLC                                                 XX-XXXXXXX
   }}}}}}}}}}}}}}}}}}}                                                 }}}}}}}}}}
   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   SCHEDULE K-1        SECTION 199A ADDITIONAL INFORMATION
   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
    THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
    INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
    Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
    BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
    THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
    STATEMENT.



   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                            OTHER INCREASES(DECREASES)
   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

   DESCRIPTION                                                                AMOUNT         TOTALS
   }}}}}}}}}}}                                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
   ORDINARY INCOME (LOSS)                                                      -295,650.
   INTEREST INCOME                                                                    1.
                                                                          }}}}}}}}}}}}}}
           SCHEDULE K-1 INCOME SUBTOTAL                                                       -295,649.

   CHARITABLE CONTRIBUTIONS                                                        -180.
   NONDEDUCTIBLE EXPENSES                                                        -5,673.
                                                                          }}}}}}}}}}}}}}
           SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                       -5,853.
                                                                                           }}}}}}}}}}}}}}
   NET INCOME (LOSS) PER SCHEDULE K-1                                                           -301,502.
                                                                                           ~~~~~~~~~~~~~~




   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   SCHEDULE K-1            SCHEDULE K-3 NOTIFICATION
   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
    THE SCHEDULE K-3 HAS NOT BEEN PREPARED FOR YOU. YOU WILL NOT RECEIVE A COPY OF
    THE SCHEDULE UNLESS YOU REQUEST ONE.




   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   SCHEDULE K-1       ELECTION UNDER SECTION 1101(G)(4) OF BBA
   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
    ADB ENTERPRISES LLC HAS MADE THE ELECTION OUT OF THE CENTRALIZED PARTNERSHIP
    AUDIT REGIME UNDER SECTION 6221(B) FOR THE YEAR ENDING DECEMBER 31, 2023.




           Case 24-11214-j11         Doc 1                                                  PARTNER
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          1


    List of Codes and References Used in Schedule K-1 (Form 1065)
     Box Number / Item                                                                 Where to report or where to find further reporting information.
                                                                                       Page numbers refer to these instructions.
      1. Ordinary business income (loss). Determine whether the income (loss) is
      passive or nonpassive and enter on your return as follows.
                 Passive loss                                                           See page 15
                 Passive income                                                         Schedule E (Form 1040), line 28, column (h)
                 Nonpassive loss                                                        See page 15
                 Nonpassive income                                                      Schedule E (Form 1040), line 28, column (k)
      2. Net rental real estate income (loss)                                           See page 15
      3. Other net rental income (loss)
                 Net income                                                            Schedule E (Form 1040), line 28, column (h)
                 Net loss                                                              See Instructions for Form 8582
      4a. Guaranteed payment services                                                  See Instructions for Schedule E (Form 1040)
      4b. Guaranteed payment capital                                                   See Instructions for Schedule E (Form 1040)
      4c. Guaranteed payment total                                                     See page 16
      5. Interest income                                                               Form 1040 or 1040-SR, line 2b
      6a. Ordinary dividends                                                           Form 1040 or 1040-SR, line 3b
      6b. Qualified dividends                                                          Form 1040 or 1040-SR, line 3a
      6c. Dividend equivalents                                                         See page 16
      7. Royalties                                                                     Schedule E (Form 1040), line 4
      8. Net short-term capital gain (loss)                                            Schedule D (Form 1040), line 5
      9a. Net long-term capital gain (loss)                                            Schedule D (Form 1040), line 12
      9b. Collectibles (28%) gain (loss)                                               28% Rate Gain Worksheet, line 4 (Schedule D inst)
      9c. Unrecaptured section 1250 gain                                               See page 16
      10. Net section 1231 gain (loss)                                                 See page 17
      11. Other income (loss)
                 Code A. Other portfolio income (loss)                                  See page 17
                 Code B. Involuntary conversions                                        See page 17
                 Code C. Section 1256 contracts & straddles                             Form 6781, line 1
                 Code D. Mining exploration costs recapture                             See 2022 Pub. 535
                 Code E. Cancellation of debt                                           See page 17
                 Code F. Section 743(b) positive adjustments                            See page 17
                 Code G. Reserved for future use
                 Code H. Section 951(a) income inclusions                               See page 17
                 Code I. Gain (loss) from disposition of oil, gas, geothermal, or
                 mineral properties (section 59(e))                                     See page 18
                 Code J. Recoveries of tax benefit items                                See page 18
                 Code K. Gambling gains and losses                                      See page 18
                 Code L. Any income, gain, or loss to the partnership from a
                 distribution under section 751(b) (certain distributions treated as
                 sales or exchanges)                                                    See page 18
                 Code M. Gain eligible for section 1045 rollover (replacement stock
                 purchased by partnership)                                              See page 18
                 Code N. Gain eligible for section 1045 rollover (replacement stock
                 not purchased by the partnership)                                      See page 18
                 Code O. Sale or exchange of QSB stock with section 1202 exclusion      See page 19
                 Code P. Gain or loss on disposition of farm recapture property and
                 other items to which section 1252 applies                              See page 19
                 Code Q. Gain or loss on Fannie Mae or Freddie Mac qualified
                 preferred stock                                                        See page 19
                 Code R. Specially allocated ordinary gain (loss)                       See page 19
                 Code S. Non-portfolio capital gain (loss)                              See page 19
                 Codes T through X. Reserved for future use
                 Code ZZ. Other                                                         See page 19
      12. Section 179 deduction                                                         See page 19
      13. Other deductions
                 Code A. Cash contributions (60%)                                       See page 19
                 Code B. Cash contributions (30%)                                       See page 19
                 Code C. Noncash contributions (50%)                                    See page 20




    311226 02-21-24                                                         -32-                   Partner's Inst. for Sch. K-1 (Form 1065) (2023)
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     Box Number / Item                                                                        Where to report or where to find further reporting information.
                                                                                              Page numbers refer to these instructions.
                Code D. Noncash contributions (30%)                                           See page 20
                Code E. Capital gain property to a 50% organization (30%)                     See page 20
                Code F. Capital gain property (20%)                                           See page 20
                Code G. Contributions (100%)                                                  See page 20
                Code H. Investment interest expense                                           Form 4952, line 1
                Code I. Deductions-royalty income                                             Schedule E (Form 1040), line 19
                Code J. Section 59(e)(2) expenditures                                         See page 20
                Code K. Excess business interest expense                                      See page 21
                Code L. Deductions-portfolio income (other)                                   Schedule A (Form 1040), line 16
                Code M. Amounts paid for medical insurance                                    Sch A (Form 1040), line 1; or Sch 1 (Form 1040), line 17
                Code N. Educational assistance benefits                                       See page 21
                Code O. Dependent care benefits                                               Form 2441, line 12
                Code P. Preproductive period expenses                                         See page 21
                Code Q. Reserved for future use
                Code R. Pensions and IRAs                                                        See page 21
                Code S. Reforestation expense deduction                                          See page 21
                Codes T through U. Reserved for future use
                Code V. Section 743(b) negative adjustments                                      See page 21
                Code W. Soil and water conservation                                              See page 21
                Code X. Film, television, and theatrical production expenditures                 See page 21
                Code Y. Expenditures for removal of barriers                                     See page 22
                Code Z. Itemized deductions                                                      See page 22
                Code AA. Contributions to a capital construction fund (CCF)                      See page 22
                Code AB. Penalty on early withdrawal of savings                                  See page 22
                Code AC. Interest expense allocated to debt-financed distributions               See page 22
                Code AD. Interest expense on working interest in oil or gas                      See page 22
                Code AE. Deductions-portfolio income                                             See page 22
                Codes AF through AJ. Reserved for future use
                Code ZZ. Other                                                                   See page 22
      14. Self-employment earnings (loss)
                 Note. If you have a section 179 deduction or any partner-level deductions, see page 22 before completing Schedule SE (Form 1040).
                 Code A. Net earnings (loss) from self-employment                               Schedule SE (Form 1040)
                 Code B. Gross farming or fishing income                                        See page 22
                 Code C. Gross nonfarm income                                                   See page 22
      15. Credits
                 Code A. Zero-emission nuclear power production                                  See page 23
                 Code B. Production from advanced nuclear power facilities credit                See page 23
                 Code C. Low-income housing credit (section 42(j)(5)) from
                 post-2007 buildings                                                             See page 23
                 Code D. Low-income housing credit (other) from post-2007 buildings              See page 23
                 Code E. Qualified rehabilitation expenditures (rental real estate)              See page 23
                 Code F. Other rental real estate credits                                        See page 23
                 Code G. Other rental credits                                                    See page 23
                 Code H. Undistributed capital gains credit                                      Schedule 3 (Form 1040), line 13a
                 Code I. Biofuel producer credit                                                 See page 23
                 Code J. Work opportunity credit                                                 See page 23
                 Code K. Disabled access credit                                                  See page 23
                 Code L. Empowerment zone employment credit                                      See page 23
                 Code M. Credit for increasing research activities                               See page 23
                 Code N. Credit for employer social security and Medicare taxes                  See page 23
                 Code O. Backup withholding                                                      See page 23
                 Code P. Unused investment credit from the qualifying advanced coal
                 project credit or qualifying gasification project credit allocated from
                 cooperatives                                                                    See page 23
                 Code Q. Unused investment credit from the qualifying advanced
                 energy project credit allocated from cooperatives                               See page 23
                 Code R. Unused investment credit from the advanced
                 manufacturing investment credit allocated from cooperatives                     See page 23
                 Code S. Reserved for future use




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     Box Number / Item                                                                 Where to report or where to find further reporting information.
                                                                                       Page numbers refer to these instructions.
                 Code T. Unused investment credit from the energy credit allocated
                 from cooperatives                                                     See page 23
                 Code U. Unused investment credit from the rehabilitation credit
                 allocated from cooperatives                                           See page 24
                 Code V. Advanced manufacturing production credit                      See page 24
                 Codes W and X. Reserved for future use
                 Code Y. Clean hydrogen production credit                              See page 24
                 Code Z. Orphan drug credit                                            See page 24
                 Code AA. Enhanced oil recovery credit                                 See page 24
                 Code AB. Renewable electricity production credit                      See page 24
                 Code AC. Biodiesel, renewable diesel, or sustainable aviation fuels
                 credit                                                                See page 24
                 Code AD. New markets credit                                           See page 24
                 Code AE. Credit for small employer pension plan startup costs         See page 24
                 Code AF. Credit for small employer auto-enrollment                    See page 24
                 Code AG. Credit for small employer military spouse retirement plan
                 eligibility                                                           See page 24
                 Code AH. Credit for employer-provided childcare facilities and
                 services                                                              See page 24
                 Code AI. Low sulfur diesel fuel production credit                     See page 24
                 Code AJ. Qualified railroad track maintenance credit                  See page 24
                 Code AK. Credit for oil and gas production from marginal wells        See page 24
                 Code AL. Distilled spirits credit                                     See page 24
                 Code AM. Energy efficient home credit                                 See page 24
                 Code AN. Alternative motor vehicle credit                             See page 24
                 Code AO. Alternative fuel vehicle refueling property credit           See page 24
                 Code AP. Clean renewable energy bond credit                           See page 24
                 Code AQ. New clean renewable energy bond credit                       See page 24
                 Code AR. Qualified energy conservation bond credit                    See page 24
                 Code AS. Qualified zone academy bond credit                           See page 24
                 Code AT. Qualified school construction bond credit                    See page 24
                 Code AU. Build America bond credit                                    See page 24
                 Code AV. Credit for employer differential wage payments               See page 24
                 Code AW. Carbon oxide sequestration credit                            See page 24
                 Code AX. Carbon oxide sequestration credit recapture                  See page 24
                 Code AY. New clean vehicles credit                                    See page 24
                 Code AZ. Qualified commercial clean vehicle credit                    See page 24
                 Code BA. Credit for small employer health insurance premiums          See page 24
                 Code BB. Employer credit for paid family and medical leave            See page 24
                 Code BC. Eligible credits from transferor(s) under section 6418       See page 24
                 Codes BD through BG. Reserved for future use
                 Code ZZ. Other                                                        See page 24
      17. Alternative minimum tax (AMT) items
                 Code A. Post-1986 depreciation adjustment                             See Instructions for Form 6251
                 Code B. Adjusted gain or loss                                         See Instructions for Form 6251
                 Code C. Depletion (other than oil & gas)                              See Instructions for Form 6251
                 Code D. Oil, gas, and geothermal-gross income                         See Instructions for Form 6251
                 Code E. Oil, gas, and geothermal-deductions                           See Instructions for Form 6251
                 Code F. Other AMT items                                               See Instructions for Form 6251
      18. Tax-exempt income and nondeductible expenses
                 Code A. Tax-exempt interest income                                    Form 1040 or 1040-SR, line 2a
                 Code B. Other tax-exempt income                                       See page 25
                 Code C. Nondeductible expenses                                        See page 25
      19. Distributions
                 Code A. Cash and marketable securities                                See page 25
                 Code B. Distribution subject to section 737                           See page 25
                 Code C. Other property                                                See page 26
      20. Other information
                 Code A. Investment income                                             Form 4952, line 4a
                 Code B. Investment expenses                                           Form 4952, line 5




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     Box Number / Item                                                                          Where to report or where to find further reporting information.
                                                                                                Page numbers refer to these instructions.
                Code C. Fuel tax credit information                                             Form 4136
                Code D. Qualified rehabilitation expenditures (other than rental real estate)   See page 26
                Code E. Basis of energy property                                                See page 26
                Code F. Recapture of low-income housing credit for section 42(j)(5)
                partnerships                                                                    See page 26
                Code G. Recapture of low-income housing credit for other
                partnerships                                                                    See page 26
                Code H. Recapture of investment credit                                          See Form 4255
                Code I. Recapture of other credits                                              See page 27
                Code J. Look-back interest-completed long-term contracts                        See Form 8697
                Code K. Look-back interest-income forecast method                               See Form 8866
                Code L. Dispositions of property with section 179 deductions                    See page 27
                Code M. Recapture of section 179 deduction                                      See page 27
                Code N. Business interest expense (information item)                            See page 27
                Code O. Section 453(l)(3) information                                           Schedule 2 (Form 1040), line 14
                Code P. Section 453A(c) information                                             Schedule 2 (Form 1040), line 15
                Code Q. Section 1260(b) information                                             Schedule 2 (Form 1040), line 17z
                Code R. Interest allocable to production expenditures                           See Regulations sections 1.263A-8 through -15
                Code S. Capital construction fund (CCF) nonqualified withdrawals                Schedule 2 (Form 1040), line 17z
                Code T. Depletion deduction                                                     See 2022 Pub. 535
                Code U. Section 743(b) basis adjustment                                         See page 28
                Code V. Unrelated business taxable income                                       See page 28
                Code W. Precontribution gain (loss)                                             Form 8949 and/or Schedule D (Form 1040); or Form 4797
                Code X. Payment obligations including guarantees and deficit
                obligations (DROs)                                                              See page 28
                Code Y. Net investment income                                                   See Instructions for Form 8960
                Code Z. Section 199A information                                                Form 8995 or Form 8995-A
                Code AA. Section 704(c) information                                             See page 29
                Code AB. Section 751 gain (loss)                                                See page 29
                Code AC. Section 1(h)(5) gain (loss)                                            See page 29
                Code AD. Deemed section 1250 unrecaptured gain                                  See page 29
                Code AE. Excess taxable income                                                  See Instructions for Form 8990
                Code AF. Excess business interest income                                        See page 30
                Code AG. Gross receipts for section 448(c)                                      See page 30
                Code AH. Noncash charitable contributions                                       See page 30
                Code AI. Interest and tax on deferred compensation to partners                  See page 30
                Code AJ. Excess business loss limitation                                        See page 30
                Code AK. Gain from mark-to-market election                                      See page 30
                Code AL. Section 721(c) partnership                                             See page 30
                Code AM. Section 1061 information                                               See page 30
                Code AN. Farming and fishing business                                           See page 30
                Code AO. PTP information                                                        See page 30
                Code AP. Inversion gain                                                         See page 30
                Code AQ. Conservation reserve program payments                                  See page 31
                Code AR. IRA disclosure                                                         See page 31
                Code AS. Qualifying advanced coal project property and qualifying
                gasification project property                                                   See page 31
                Code AT. Qualifying advanced energy project property                            See page 31
                Code AU. Advanced manufacturing investment property                             See page 31
                Code AV. Reserved for future use
                Code AW. Reportable transactions                                                See page 31
                Code AX. Reserved for future use
                Code AY. Foreign partners, Form 8990, Schedule A                                See page 31
                Codes AZ through BD. Reserved for future use
                Code ZZ. Other                                                                  See page 31
     21. Foreign taxes paid or accrued                                                          See page 31




    311229 01-23-24                                                            -35-                         Partner's Inst. for Sch. K-1 (Form 1065) (2023)
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                                                                      Partner Basis Worksheet
      Partner Number:               1                                                                               Partner ID Number:
      Partner Name:                                                                                                 Ownership Percentage:        50.0000%
                              AARON BOYD
      Partnership Name:                                                                                                                  XX-XXXXXXX
                                                                                                                    Partnership ID Number:
                              ADB ENTERPRISES LLC                                                                   Year Ended: DECEMBER 31, 2023
      Increases:
      1. Adjusted basis at the end of the prior year (not less than zero) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      1.      360,672.
      2.      Money and your adjusted basis in property contributed to the partnership
              less the associated liabilities (not less than zero) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       2.
      3.      Partner's share of partnership liabilities (current year Item K, Schedule K-1 and increased share) ~~~~~~~~~~~~~              3.      878,277.
              a. Less: Liabilities included in line 1 above (prior year Item K) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                             3a.        699,783.
      4.      Items of income or gain this year including tax-exempt income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~
              a. Ordinary business income        ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 a.
              b. Net rental real estate income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    b.
              c. Other net rental income      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   c.
              d. Interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            d.              1.
              e. Ordinary dividends ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          e.
              f. Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               f.
              g. Net short-term capital gain ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     g.
              h. Net long-term capital gain      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 h.
              i. Net gain under Section 1231 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      i.
              j. Other income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              j.
              k. Tax-exempt income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            k.
              l. Other increases: ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           l.
              Total income and gain (Add 4(a) through 4(l) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             4.              1.
      5.      Gain (if any) recognized this year on contribution of property to partnership
              (other than gain from transfer of liabilities) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          5.
      6.      Depletion (other than oil and gas) in excess of basis ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       6.
      Total increases (Add lines 2 through 6) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              178,495.
      Decreases:
      7. Withdrawals and distributions during the year         ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          7.       45,811.
      8.      Partner's share of partnership liabilities (current year Item K, Sch K-1 and decreased share)   ~~~~~~~~~~~~~~~               8.
              a. Less: Liabilities included in line 1 above (prior year Item K) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                             8a.
      9.      Nondeductible expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          9.        5,673.
      10. Partnership losses and deductions:
              a. Ordinary business (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       a.      295,650.
              b. Net rental real estate (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   b.
              c. Other net rental (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       c.
              d. Net short-term capital (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   d.
              e. Net long-term capital (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    e.
              f. Net loss under Section 1231      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 f.
              g. Other deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            g.
              h. Charitable contributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       h.          180.
              i. Section 179 deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         i.
              j. Foreign taxes paid or accrued ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    j.
              k. Other decreases: ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           k.
              l. Disallowed prior year's losses and deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           l.
      11. Oil and gas depletion (not to exceed your allocable share of the adjusted basis of the property) ~~~~~~~~~~~~~~                11.
              Total decreases (Add 10(a) through 10(k) and line 11)     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             295,830.
      12. Adjusted Basis of partnership interest (If less than zero, enter zero) ~~~~~~~~~~~~~~~~~~~~~~~~~~                              12.        191,853.
      Gain on Distributions:
      13. a. Cash distributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              a.       45,811.
              b. Less: basis before distributions and allocable loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       b.      539,167.
              c. Gain on distribution ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         c.            0.
      Carryover:
      14. a. Prior year loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               a.
              b. Add: Losses and deductions this year     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             b.      301,503.
              c. Less: Applied this year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       c.      493,356.
   04-01-23
   311081




              d. End of year (not less than 0)    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 d.            0.
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    Schedule K-1
    (Form 1065)
    Department of the Treasury
                                                                                          2023
                                                                              For calendar year 2023, or tax year
                                                                                                                                       Final K-1                Amended K-1
                                                                                                                                   Part III Partner's Share of Current Year Income,
                                                                                                                                                                                           OMB No. 1545-0123

    Internal Revenue Service                                                                                                                Deductions, Credits, and Other Items
                                 beginning                                    ending                                    1 Ordinary business income (loss)              14 Self-employment earnings (loss)
    Partner's Share of Income, Deductions,                                                                                              -295,650. A                                       -295,650.
    Credits, etc.                          See separate instructions.                                                   2 Net rental real estate income (loss) C                            32,561.
      Part I Information About the Partnership                                                                                                                         15 Credits
     A     Partnership's employer identification number                                                                 3 Other net rental income (loss)
      XX-XXXXXXX
     B     Partnership's name, address, city, state, and ZIP code                                                   4a Guaranteed payments for services                16 Schedule K-3 is attached if
                                                                                                                                                                          checked 
      ADB ENTERPRISES LLC                                                                                           4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
      2705 PAN AMERICAN FREEWAY NE, STE C                                                                                                                              A                           -163.
      ALBUQUERQUE, NM 87107                                                                                         4c Total guaranteed payments
     C     IRS center where partnership filed return:
      E-FILE                                                                                                            5 Interest income                              18 Tax-exempt income and
     D              Check if this is a publicly traded partnership (PTP)                                                                                                   nondeductible expenses
          Part II       Information About the Partner                                                               6a Ordinary dividends                              C*                           STMT
     E     Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)
      ***-**-2950                                                                                                   6b Qualified dividends
     F     Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                        19 Distributions
                                                                                                                    6c Dividend equivalents                            A                    42,627.
      DARRIS BOYD
      617 DELAMAR AVE NW                                                                                                7 Royalties                                    20 Other information
      ALBUQUERQUE, NM 87107                                                                                                                                            N *                    91,415.
     G   X General partner or LLC                                             Limited partner or other LLC              8 Net short-term capital gain (loss)           Z *                       STMT
                      member-manager                                          member                                                                                   AJ *                      STMT
     H1          X Domestic partner                                           Foreign partner                       9a Net long-term capital gain (loss)
     H2               If the partner is a disregarded entity (DE), enter the partner's:
           TIN                               Name                                                                   9b Collectibles (28%) gain (loss)
     I1    What type of entity is this partner?       INDIVIDUAL
     I2    If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                               9c Unrecaptured section 1250 gain
     J     Partner's share of profit, loss, and capital:
                            Beginning                                              Ending                           10 Net section 1231 gain (loss)
           Profit              50.0000000 %                                        50.0000000 %
           Loss                50.0000000 %                                        50.0000000 % 11 Other income (loss)
           Capital             50.0000000 %                                        50.0000000 %
        Check if decrease is due to:
             Sale or           Exchange of partnership interest. See instructions.
     K1 Partner's share of liabilities:   Beginning                           Ending                                12 Section 179 deduction                           21 Foreign taxes paid or accrued
           Nonrecourse  $                          33,616. $                            130,237.
           Qualified nonrecourse                                                                                    13 Other deductions
           financing  $                                               $                                         A                                        180
           Recourse  $                          666,165. $                             748,039.
     K2    Check this box if Item K-1 includes liability amounts from lower-tier partnerships     
     K3    Check if any of the above liability is subject to guarantees or other payment obligations by
           the partner. See instructions     ~~~~~~~~~~~~~~~~~~~~~~~                                                22                     More than one activity for at-risk purposes*
     L                       Partner's Capital Account Analysis                                                     23                     More than one activity for passive activity purposes*
           Beginning capital account ~~~~~~~~~ $                                        -346,068.                                  *See attached statement for additional information.
           Capital contributed during the year ~~~~~~ $
           Current year net income (loss) ~~~~~~~~ $                                    -301,502.
           Other increase (decrease) (attach explanation) ~ $
                                                                                                                    For IRS Use Only




           Withdrawals and distributions ~~~~~~~~ $ (                                     42,627.)
           Ending capital account        ~~~~~~~~~~ $                                   -690,197.
     M     Did the partner contribute property with a built-in gain (loss)?
                 Yes        X No If "Yes," attach statement. See instructions.
     N      Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
           Beginning ~~~~~~~~~~~~~~~~ $
           Ending  $
          Case
    LHA For       24-11214-j11
            Paperwork                       Doc
                      Reduction Act Notice, see the 1     Filedfor11/13/24
                                                    Instructions  Form 1065.                                  Entered 11/13/24     14:38:12 Page
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                                                                                                            311261 12-09-23                        166
                                                                                                                                              Schedule K-1 of  181
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   ADB ENTERPRISES LLC                                                 XX-XXXXXXX
   }}}}}}}}}}}}}}}}}}}                                                 }}}}}}}}}}
   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

   DESCRIPTION                                        PARTNER FILING INSTRUCTIONS              AMOUNT
   }}}}}}}}}}}                                        }}}}}}}}}}}}}}}}}}}}}}}}}}}          }}}}}}}}}}}}}}
   EXCLUDED MEALS AND                                 NONDEDUCTIBLE PORTION
   ENTERTAINMENT EXPENSES                                                                          3,761.
   NONDEDUCTIBLE EXPENSES                                                                          1,911.
                                                                                           }}}}}}}}}}}}}}
   TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                           5,672.
                                                                                           ~~~~~~~~~~~~~~

   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   SCHEDULE K-1        BUSINESS INTEREST EXPENSE, BOX 20, CODE N
   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

   DESCRIPTION                                        PARTNER FILING INSTRUCTIONS              AMOUNT
   }}}}}}}}}}}                                        }}}}}}}}}}}}}}}}}}}}}}}}}}}          }}}}}}}}}}}}}}
   BUSINESS INTEREST EXPENSE                          SEE PARTNERS INSTRUCTIONS
   (INCLUDED IN ORDINARY BUSINESS
   INCOME (LOSS))                                                                                 91,415.
                                                                                           }}}}}}}}}}}}}}
   TOTAL TO SCHEDULE K-1, BOX 20, CODE N                                                          91,415.
                                                                                           ~~~~~~~~~~~~~~


   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   SCHEDULE K-1          EXCESS BUSINESS LOSS LIMITATION
                                 BOX 20, CODE AJ
   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

   DESCRIPTION                                        PARTNER FILING INSTRUCTIONS              AMOUNT
   }}}}}}}}}}}                                        }}}}}}}}}}}}}}}}}}}}}}}}}}}          }}}}}}}}}}}}}}
   AGGREGATE BUSINESS ACTIVITY                        SEE IRS SCH. K-1 INSTRUCTIONS
   GROSS INCOME OR GAIN                                                                             32,561.
   AGGREGATE BUSINESS ACTIVITY                        SEE IRS SCH. K-1 INSTRUCTIONS
   DEDUCTION                                                                                      328,211.



   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

   DESCRIPTION                                                                                 AMOUNT
   }}}}}}}}}}}                                                                             }}}}}}}}}}}}}}

   TRADE OR BUSINESS -

       ORDINARY INCOME (LOSS)                                                                    -295,650.
       SELF-EMPLOYMENT EARNINGS(LOSS)                                                            -295,650.
       W-2 WAGES                                                                                  115,750.
       UNADJUSTED BASIS OF ASSETS                                                                   4,896.




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   ADB ENTERPRISES LLC                                                 XX-XXXXXXX
   }}}}}}}}}}}}}}}}}}}                                                 }}}}}}}}}}
   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   SCHEDULE K-1        SECTION 199A ADDITIONAL INFORMATION
   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
    THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED BUSINESS
    INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20, UNDER CODE
    Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF THE QUALIFIED
    BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS AND LIMITATIONS
    THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE
    STATEMENT.



   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                            OTHER INCREASES(DECREASES)
   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

   DESCRIPTION                                                                AMOUNT         TOTALS
   }}}}}}}}}}}                                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
   ORDINARY INCOME (LOSS)                                                      -295,650.
                                                                          }}}}}}}}}}}}}}
           SCHEDULE K-1 INCOME SUBTOTAL                                                       -295,650.

   CHARITABLE CONTRIBUTIONS                                                        -180.
   NONDEDUCTIBLE EXPENSES                                                        -5,672.
                                                                          }}}}}}}}}}}}}}
           SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                       -5,852.
                                                                                           }}}}}}}}}}}}}}
   NET INCOME (LOSS) PER SCHEDULE K-1                                                           -301,502.
                                                                                           ~~~~~~~~~~~~~~




   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   SCHEDULE K-1            SCHEDULE K-3 NOTIFICATION
   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
    THE SCHEDULE K-3 HAS NOT BEEN PREPARED FOR YOU. YOU WILL NOT RECEIVE A COPY OF
    THE SCHEDULE UNLESS YOU REQUEST ONE.




   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   SCHEDULE K-1       ELECTION UNDER SECTION 1101(G)(4) OF BBA
   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
    ADB ENTERPRISES LLC HAS MADE THE ELECTION OUT OF THE CENTRALIZED PARTNERSHIP
    AUDIT REGIME UNDER SECTION 6221(B) FOR THE YEAR ENDING DECEMBER 31, 2023.




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    List of Codes and References Used in Schedule K-1 (Form 1065)
     Box Number / Item                                                                 Where to report or where to find further reporting information.
                                                                                       Page numbers refer to these instructions.
      1. Ordinary business income (loss). Determine whether the income (loss) is
      passive or nonpassive and enter on your return as follows.
                 Passive loss                                                           See page 15
                 Passive income                                                         Schedule E (Form 1040), line 28, column (h)
                 Nonpassive loss                                                        See page 15
                 Nonpassive income                                                      Schedule E (Form 1040), line 28, column (k)
      2. Net rental real estate income (loss)                                           See page 15
      3. Other net rental income (loss)
                 Net income                                                            Schedule E (Form 1040), line 28, column (h)
                 Net loss                                                              See Instructions for Form 8582
      4a. Guaranteed payment services                                                  See Instructions for Schedule E (Form 1040)
      4b. Guaranteed payment capital                                                   See Instructions for Schedule E (Form 1040)
      4c. Guaranteed payment total                                                     See page 16
      5. Interest income                                                               Form 1040 or 1040-SR, line 2b
      6a. Ordinary dividends                                                           Form 1040 or 1040-SR, line 3b
      6b. Qualified dividends                                                          Form 1040 or 1040-SR, line 3a
      6c. Dividend equivalents                                                         See page 16
      7. Royalties                                                                     Schedule E (Form 1040), line 4
      8. Net short-term capital gain (loss)                                            Schedule D (Form 1040), line 5
      9a. Net long-term capital gain (loss)                                            Schedule D (Form 1040), line 12
      9b. Collectibles (28%) gain (loss)                                               28% Rate Gain Worksheet, line 4 (Schedule D inst)
      9c. Unrecaptured section 1250 gain                                               See page 16
      10. Net section 1231 gain (loss)                                                 See page 17
      11. Other income (loss)
                 Code A. Other portfolio income (loss)                                  See page 17
                 Code B. Involuntary conversions                                        See page 17
                 Code C. Section 1256 contracts & straddles                             Form 6781, line 1
                 Code D. Mining exploration costs recapture                             See 2022 Pub. 535
                 Code E. Cancellation of debt                                           See page 17
                 Code F. Section 743(b) positive adjustments                            See page 17
                 Code G. Reserved for future use
                 Code H. Section 951(a) income inclusions                               See page 17
                 Code I. Gain (loss) from disposition of oil, gas, geothermal, or
                 mineral properties (section 59(e))                                     See page 18
                 Code J. Recoveries of tax benefit items                                See page 18
                 Code K. Gambling gains and losses                                      See page 18
                 Code L. Any income, gain, or loss to the partnership from a
                 distribution under section 751(b) (certain distributions treated as
                 sales or exchanges)                                                    See page 18
                 Code M. Gain eligible for section 1045 rollover (replacement stock
                 purchased by partnership)                                              See page 18
                 Code N. Gain eligible for section 1045 rollover (replacement stock
                 not purchased by the partnership)                                      See page 18
                 Code O. Sale or exchange of QSB stock with section 1202 exclusion      See page 19
                 Code P. Gain or loss on disposition of farm recapture property and
                 other items to which section 1252 applies                              See page 19
                 Code Q. Gain or loss on Fannie Mae or Freddie Mac qualified
                 preferred stock                                                        See page 19
                 Code R. Specially allocated ordinary gain (loss)                       See page 19
                 Code S. Non-portfolio capital gain (loss)                              See page 19
                 Codes T through X. Reserved for future use
                 Code ZZ. Other                                                         See page 19
      12. Section 179 deduction                                                         See page 19
      13. Other deductions
                 Code A. Cash contributions (60%)                                       See page 19
                 Code B. Cash contributions (30%)                                       See page 19
                 Code C. Noncash contributions (50%)                                    See page 20




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     Box Number / Item                                                                        Where to report or where to find further reporting information.
                                                                                              Page numbers refer to these instructions.
                Code D. Noncash contributions (30%)                                           See page 20
                Code E. Capital gain property to a 50% organization (30%)                     See page 20
                Code F. Capital gain property (20%)                                           See page 20
                Code G. Contributions (100%)                                                  See page 20
                Code H. Investment interest expense                                           Form 4952, line 1
                Code I. Deductions-royalty income                                             Schedule E (Form 1040), line 19
                Code J. Section 59(e)(2) expenditures                                         See page 20
                Code K. Excess business interest expense                                      See page 21
                Code L. Deductions-portfolio income (other)                                   Schedule A (Form 1040), line 16
                Code M. Amounts paid for medical insurance                                    Sch A (Form 1040), line 1; or Sch 1 (Form 1040), line 17
                Code N. Educational assistance benefits                                       See page 21
                Code O. Dependent care benefits                                               Form 2441, line 12
                Code P. Preproductive period expenses                                         See page 21
                Code Q. Reserved for future use
                Code R. Pensions and IRAs                                                        See page 21
                Code S. Reforestation expense deduction                                          See page 21
                Codes T through U. Reserved for future use
                Code V. Section 743(b) negative adjustments                                      See page 21
                Code W. Soil and water conservation                                              See page 21
                Code X. Film, television, and theatrical production expenditures                 See page 21
                Code Y. Expenditures for removal of barriers                                     See page 22
                Code Z. Itemized deductions                                                      See page 22
                Code AA. Contributions to a capital construction fund (CCF)                      See page 22
                Code AB. Penalty on early withdrawal of savings                                  See page 22
                Code AC. Interest expense allocated to debt-financed distributions               See page 22
                Code AD. Interest expense on working interest in oil or gas                      See page 22
                Code AE. Deductions-portfolio income                                             See page 22
                Codes AF through AJ. Reserved for future use
                Code ZZ. Other                                                                   See page 22
      14. Self-employment earnings (loss)
                 Note. If you have a section 179 deduction or any partner-level deductions, see page 22 before completing Schedule SE (Form 1040).
                 Code A. Net earnings (loss) from self-employment                               Schedule SE (Form 1040)
                 Code B. Gross farming or fishing income                                        See page 22
                 Code C. Gross nonfarm income                                                   See page 22
      15. Credits
                 Code A. Zero-emission nuclear power production                                  See page 23
                 Code B. Production from advanced nuclear power facilities credit                See page 23
                 Code C. Low-income housing credit (section 42(j)(5)) from
                 post-2007 buildings                                                             See page 23
                 Code D. Low-income housing credit (other) from post-2007 buildings              See page 23
                 Code E. Qualified rehabilitation expenditures (rental real estate)              See page 23
                 Code F. Other rental real estate credits                                        See page 23
                 Code G. Other rental credits                                                    See page 23
                 Code H. Undistributed capital gains credit                                      Schedule 3 (Form 1040), line 13a
                 Code I. Biofuel producer credit                                                 See page 23
                 Code J. Work opportunity credit                                                 See page 23
                 Code K. Disabled access credit                                                  See page 23
                 Code L. Empowerment zone employment credit                                      See page 23
                 Code M. Credit for increasing research activities                               See page 23
                 Code N. Credit for employer social security and Medicare taxes                  See page 23
                 Code O. Backup withholding                                                      See page 23
                 Code P. Unused investment credit from the qualifying advanced coal
                 project credit or qualifying gasification project credit allocated from
                 cooperatives                                                                    See page 23
                 Code Q. Unused investment credit from the qualifying advanced
                 energy project credit allocated from cooperatives                               See page 23
                 Code R. Unused investment credit from the advanced
                 manufacturing investment credit allocated from cooperatives                     See page 23
                 Code S. Reserved for future use




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     Box Number / Item                                                                 Where to report or where to find further reporting information.
                                                                                       Page numbers refer to these instructions.
                 Code T. Unused investment credit from the energy credit allocated
                 from cooperatives                                                     See page 23
                 Code U. Unused investment credit from the rehabilitation credit
                 allocated from cooperatives                                           See page 24
                 Code V. Advanced manufacturing production credit                      See page 24
                 Codes W and X. Reserved for future use
                 Code Y. Clean hydrogen production credit                              See page 24
                 Code Z. Orphan drug credit                                            See page 24
                 Code AA. Enhanced oil recovery credit                                 See page 24
                 Code AB. Renewable electricity production credit                      See page 24
                 Code AC. Biodiesel, renewable diesel, or sustainable aviation fuels
                 credit                                                                See page 24
                 Code AD. New markets credit                                           See page 24
                 Code AE. Credit for small employer pension plan startup costs         See page 24
                 Code AF. Credit for small employer auto-enrollment                    See page 24
                 Code AG. Credit for small employer military spouse retirement plan
                 eligibility                                                           See page 24
                 Code AH. Credit for employer-provided childcare facilities and
                 services                                                              See page 24
                 Code AI. Low sulfur diesel fuel production credit                     See page 24
                 Code AJ. Qualified railroad track maintenance credit                  See page 24
                 Code AK. Credit for oil and gas production from marginal wells        See page 24
                 Code AL. Distilled spirits credit                                     See page 24
                 Code AM. Energy efficient home credit                                 See page 24
                 Code AN. Alternative motor vehicle credit                             See page 24
                 Code AO. Alternative fuel vehicle refueling property credit           See page 24
                 Code AP. Clean renewable energy bond credit                           See page 24
                 Code AQ. New clean renewable energy bond credit                       See page 24
                 Code AR. Qualified energy conservation bond credit                    See page 24
                 Code AS. Qualified zone academy bond credit                           See page 24
                 Code AT. Qualified school construction bond credit                    See page 24
                 Code AU. Build America bond credit                                    See page 24
                 Code AV. Credit for employer differential wage payments               See page 24
                 Code AW. Carbon oxide sequestration credit                            See page 24
                 Code AX. Carbon oxide sequestration credit recapture                  See page 24
                 Code AY. New clean vehicles credit                                    See page 24
                 Code AZ. Qualified commercial clean vehicle credit                    See page 24
                 Code BA. Credit for small employer health insurance premiums          See page 24
                 Code BB. Employer credit for paid family and medical leave            See page 24
                 Code BC. Eligible credits from transferor(s) under section 6418       See page 24
                 Codes BD through BG. Reserved for future use
                 Code ZZ. Other                                                        See page 24
      17. Alternative minimum tax (AMT) items
                 Code A. Post-1986 depreciation adjustment                             See Instructions for Form 6251
                 Code B. Adjusted gain or loss                                         See Instructions for Form 6251
                 Code C. Depletion (other than oil & gas)                              See Instructions for Form 6251
                 Code D. Oil, gas, and geothermal-gross income                         See Instructions for Form 6251
                 Code E. Oil, gas, and geothermal-deductions                           See Instructions for Form 6251
                 Code F. Other AMT items                                               See Instructions for Form 6251
      18. Tax-exempt income and nondeductible expenses
                 Code A. Tax-exempt interest income                                    Form 1040 or 1040-SR, line 2a
                 Code B. Other tax-exempt income                                       See page 25
                 Code C. Nondeductible expenses                                        See page 25
      19. Distributions
                 Code A. Cash and marketable securities                                See page 25
                 Code B. Distribution subject to section 737                           See page 25
                 Code C. Other property                                                See page 26
      20. Other information
                 Code A. Investment income                                             Form 4952, line 4a
                 Code B. Investment expenses                                           Form 4952, line 5




    311228 01-23-24                                                           -34-                 Partner's Inst. for Sch. K-1 (Form 1065) (2023)
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     Box Number / Item                                                                          Where to report or where to find further reporting information.
                                                                                                Page numbers refer to these instructions.
                Code C. Fuel tax credit information                                             Form 4136
                Code D. Qualified rehabilitation expenditures (other than rental real estate)   See page 26
                Code E. Basis of energy property                                                See page 26
                Code F. Recapture of low-income housing credit for section 42(j)(5)
                partnerships                                                                    See page 26
                Code G. Recapture of low-income housing credit for other
                partnerships                                                                    See page 26
                Code H. Recapture of investment credit                                          See Form 4255
                Code I. Recapture of other credits                                              See page 27
                Code J. Look-back interest-completed long-term contracts                        See Form 8697
                Code K. Look-back interest-income forecast method                               See Form 8866
                Code L. Dispositions of property with section 179 deductions                    See page 27
                Code M. Recapture of section 179 deduction                                      See page 27
                Code N. Business interest expense (information item)                            See page 27
                Code O. Section 453(l)(3) information                                           Schedule 2 (Form 1040), line 14
                Code P. Section 453A(c) information                                             Schedule 2 (Form 1040), line 15
                Code Q. Section 1260(b) information                                             Schedule 2 (Form 1040), line 17z
                Code R. Interest allocable to production expenditures                           See Regulations sections 1.263A-8 through -15
                Code S. Capital construction fund (CCF) nonqualified withdrawals                Schedule 2 (Form 1040), line 17z
                Code T. Depletion deduction                                                     See 2022 Pub. 535
                Code U. Section 743(b) basis adjustment                                         See page 28
                Code V. Unrelated business taxable income                                       See page 28
                Code W. Precontribution gain (loss)                                             Form 8949 and/or Schedule D (Form 1040); or Form 4797
                Code X. Payment obligations including guarantees and deficit
                obligations (DROs)                                                              See page 28
                Code Y. Net investment income                                                   See Instructions for Form 8960
                Code Z. Section 199A information                                                Form 8995 or Form 8995-A
                Code AA. Section 704(c) information                                             See page 29
                Code AB. Section 751 gain (loss)                                                See page 29
                Code AC. Section 1(h)(5) gain (loss)                                            See page 29
                Code AD. Deemed section 1250 unrecaptured gain                                  See page 29
                Code AE. Excess taxable income                                                  See Instructions for Form 8990
                Code AF. Excess business interest income                                        See page 30
                Code AG. Gross receipts for section 448(c)                                      See page 30
                Code AH. Noncash charitable contributions                                       See page 30
                Code AI. Interest and tax on deferred compensation to partners                  See page 30
                Code AJ. Excess business loss limitation                                        See page 30
                Code AK. Gain from mark-to-market election                                      See page 30
                Code AL. Section 721(c) partnership                                             See page 30
                Code AM. Section 1061 information                                               See page 30
                Code AN. Farming and fishing business                                           See page 30
                Code AO. PTP information                                                        See page 30
                Code AP. Inversion gain                                                         See page 30
                Code AQ. Conservation reserve program payments                                  See page 31
                Code AR. IRA disclosure                                                         See page 31
                Code AS. Qualifying advanced coal project property and qualifying
                gasification project property                                                   See page 31
                Code AT. Qualifying advanced energy project property                            See page 31
                Code AU. Advanced manufacturing investment property                             See page 31
                Code AV. Reserved for future use
                Code AW. Reportable transactions                                                See page 31
                Code AX. Reserved for future use
                Code AY. Foreign partners, Form 8990, Schedule A                                See page 31
                Codes AZ through BD. Reserved for future use
                Code ZZ. Other                                                                  See page 31
     21. Foreign taxes paid or accrued                                                          See page 31




    311229 01-23-24                                                            -35-                         Partner's Inst. for Sch. K-1 (Form 1065) (2023)
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                                                                      Partner Basis Worksheet
      Partner Number:               2                                                                               Partner ID Number:
      Partner Name:                                                                                                 Ownership Percentage:        50.0000%
                              DARRIS BOYD
      Partnership Name:                                                                                                                  XX-XXXXXXX
                                                                                                                    Partnership ID Number:
                              ADB ENTERPRISES LLC                                                                   Year Ended: DECEMBER 31, 2023
      Increases:
      1. Adjusted basis at the end of the prior year (not less than zero) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      1.      353,711.
      2.      Money and your adjusted basis in property contributed to the partnership
              less the associated liabilities (not less than zero) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       2.
      3.      Partner's share of partnership liabilities (current year Item K, Schedule K-1 and increased share) ~~~~~~~~~~~~~              3.      878,276.
              a. Less: Liabilities included in line 1 above (prior year Item K) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                             3a.        699,781.
      4.      Items of income or gain this year including tax-exempt income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~
              a. Ordinary business income        ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 a.
              b. Net rental real estate income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    b.
              c. Other net rental income      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   c.
              d. Interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            d.
              e. Ordinary dividends ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          e.
              f. Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               f.
              g. Net short-term capital gain ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     g.
              h. Net long-term capital gain      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 h.
              i. Net gain under Section 1231 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      i.
              j. Other income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              j.
              k. Tax-exempt income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            k.
              l. Other increases: ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           l.
              Total income and gain (Add 4(a) through 4(l) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             4.
      5.      Gain (if any) recognized this year on contribution of property to partnership
              (other than gain from transfer of liabilities) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          5.
      6.      Depletion (other than oil and gas) in excess of basis ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       6.
      Total increases (Add lines 2 through 6) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              178,495.
      Decreases:
      7. Withdrawals and distributions during the year         ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          7.       42,627.
      8.      Partner's share of partnership liabilities (current year Item K, Sch K-1 and decreased share)   ~~~~~~~~~~~~~~~               8.
              a. Less: Liabilities included in line 1 above (prior year Item K) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                             8a.
      9.      Nondeductible expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          9.        5,672.
      10. Partnership losses and deductions:
              a. Ordinary business (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       a.      295,650.
              b. Net rental real estate (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   b.
              c. Other net rental (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       c.
              d. Net short-term capital (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   d.
              e. Net long-term capital (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    e.
              f. Net loss under Section 1231      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 f.
              g. Other deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            g.
              h. Charitable contributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       h.          180.
              i. Section 179 deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         i.
              j. Foreign taxes paid or accrued ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    j.
              k. Other decreases: ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           k.
              l. Disallowed prior year's losses and deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           l.
      11. Oil and gas depletion (not to exceed your allocable share of the adjusted basis of the property) ~~~~~~~~~~~~~~                11.
              Total decreases (Add 10(a) through 10(k) and line 11)     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             295,830.
      12. Adjusted Basis of partnership interest (If less than zero, enter zero) ~~~~~~~~~~~~~~~~~~~~~~~~~~                              12.        188,077.
      Gain on Distributions:
      13. a. Cash distributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              a.       42,627.
              b. Less: basis before distributions and allocable loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       b.      532,206.
              c. Gain on distribution ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         c.            0.
      Carryover:
      14. a. Prior year loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               a.
              b. Add: Losses and deductions this year     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             b.      301,502.
              c. Less: Applied this year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       c.      489,579.
   04-01-23
   311081




              d. End of year (not less than 0)    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 d.            0.
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    Form
            7004
    (Rev. December 2018)
                                                Application for Automatic Extension of Time To File Certain
                                                  Business Income Tax, Information, and Other Returns                                                              OMB No. 1545-0233
    Department of the Treasury                               | File a separate application for each return.
    Internal Revenue Service                    | Go to www.irs.gov/Form7004 for instructions and the latest information.




                                 FOR YOUR RECORDS
                      Name                                                                                                                                 Identifying number


    Print             ADB ENTERPRISES LLC                                                                                                                     XX-XXXXXXX
                      Number, street, and room or suite no. (If P.O. box, see instructions.)
    or
                      2705 PAN AMERICAN FREEWAY NE, STE C


                                    DO NOT FILE
    Type
                      City, town, state, and ZIP code (If a foreign address, enter city, province or state, and country (follow the country's practice for entering postal code).)


                      ALBUQUERQUE, NM                         87107
    Note: File request for extension by the due date of the return. See instructions before completing this form.
     Part I Automatic Extension for Certain Business Income Tax, Information, and Other Returns. See instructions.
    1  Enter the form code for the return listed below that this application is for  09
    Application                                                                      Form         Application                                                                   Form
    Is For:                                                                          Code         Is For:                                                                       Code
    Form 706-GS(D)                                                                     01         Form 1120-ND (section 4951 taxes)                                                  20
    Form 706-GS(T)                                                                     02         Form 1120-PC                                                                       21
    Form 1041 (bankruptcy estate only)                                                 03         Form 1120-POL                                                                      22
    Form 1041 (estate other than a bankruptcy estate)                                  04         Form 1120-REIT                                                                     23
    Form 1041 (trust)                                                                  05         Form 1120-RIC                                                                      24
    Form 1041-N                                                                        06         Form 1120S                                                                         25
    Form 1041-QFT                                                                      07         Form 1120-SF                                                                       26
    Form 1042                                                                          08         Form 3520-A                                                                        27
    Form 1065                                                                          09         Form 8612                                                                          28
    Form 1066                                                                          11         Form 8613                                                                          29
    Form 1120                                                                          12         Form 8725                                                                          30
    Form 1120-C                                                                        34         Form 8804                                                                          31
    Form 1120-F                                                                        15         Form 8831                                                                          32
    Form 1120-FSC                                                                      16         Form 8876                                                                          33
    Form 1120-H                                                                        17         Form 8924                                                                          35
    Form 1120-L                                                                        18         Form 8928                                                                          36
    Form 1120-ND                                                                       19
     Part II       All Filers Must Complete This Part
    2      If the organization is a foreign corporation that does not have an office or place of business in the United States,
           check here ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            |




                                 FOR YOUR RECORDS
    3      If the organization is a corporation and is the common parent of a group that intends to file a consolidated return,
           check here ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            |
           If checked, attach a statement listing the name, address, and employer identification number (EIN) for each member
           covered by this application.




                                    DO NOT FILE
    4      If the organization is a corporation or partnership that qualifies under Regulations section 1.6081-5, check here                      ~~~~~~~~~~~~ |
    5 a The application is for calendar year 2023 , or tax year beginning                                                          , and ending
      b Short tax year. If this tax year is less than 12 months, check the reason:                         Initial return               Final return
                 Change in accounting period                Consolidated return to be filed                Other (See instructions - attach explanation.)


    6      Tentative total tax    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                       6                                  0.

    7      Total payments and credits. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              7


    8 Balance due. Subtract line 7 from line 6. See instructions                                                            8
    LHA For Privacy Act and Paperwork Reduction Act Notice, see separate instructions.                                                                        Form 7004 (Rev. 12-2018)

                                                       DEPARTMENT OF THE TREASURY
                                                       INTERNAL REVENUE SERVICE CENTER
                                                       OGDEN, UT 84201-0045




    319741 04-01-23
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10140813 131839 A161168                                                                2023.04010 ADB ENTERPRISES LLC                                                           A1611681
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    2023 PTE
    New Mexico Pass-Through Entities Tax Return
         1019 01                1



     Name of Pass-Through Entity                                                                                                      CHECK ONE (Required):
         ADB ENTERPRISES LLC
     FEIN                                                 NMBTIN                                        NAICS                         A. X Original Return
            XX-XXXXXXX                                             03-311973-002                         459510                       B.         Amended Return
     Address (Number and street)                                                                                                           B (i) Type:
         2705 PAN AMERICAN FREEWAY NE, STE C                                                                                               B (ii) Date:
     Address (continued)                 City                                                         State   Postal/ZIP code            B (iii) 7-1-13 (G) Payment Election
                                         ALBUQUERQUE                                                  NM 87107                        C. Mark the legal entity type that applies to you
     If foreign address, enter country                                Foreign province and/or state                                        X LLC
                                                                                                                                                 Partnership
     Beginning of Tax Year               Last Day of Tax Year        Federal Due Date                 Extended Due (MDDCCYY)
                                                                     03/15/2024                        09/16/2024                     D. Mark if electing to file entity-level tax
     State where organized               Date of Organization        Date business began in NM        Date terminated in New Mexico
                                         01/22/2015                  01/22/2015




    Section 1. Computation of net income for withholding tax and composite income
    tax of electing owners. If electing only to file entity-level tax, only lines 1-13 may need
    to be completed. See instructions.

    1.      Ordinary business income (loss) from federal Form 1065, Schedule K                         ~~~~~~~~~~~~~~~                      1.                       -591,300
    2.      Other income (loss) from federal Form 1065, Schedule K                      ~~~~~~~~~~~~~~~~~~~~~                               2.                              1
    3.      Interest income from municipal bonds, excluding New Mexico bonds                           ~~~~~~~~~~~~~~~                      3.


    4.      Subtotal of lines 1, 2, and 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              4.                       -591,299
    5.      Interest from U.S. government obligations or federally-taxed New Mexico bonds ~~~~~~~~~~                                        5.
    6.      Allowable deductions from Schedule K ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             6.                                   360
    7.      Deduction for certain expenses related to a New Mexico licensed cannabis
            business ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          7.
    8.      Total allocated income (from PTE-B, line 8, column 1) ~~~~~~~~~~~~~~~~~~~~~~~                                                   8.                                 -359

    9.      Apportionable income. Add lines 5, 6, 7 and 8, then subtract from line 4 ~~~~~~~~~~~~~~                                         9.                       -591,300
    10.     Average New Mexico percentage (from PTE-A, line 5) ~~~~~~~~~~~~~~~~~~~~~~~                                                     10.                       100.0000 %
    11.     New Mexico apportionable income. Multiply line 9 by line 10 ~~~~~~~~~~~~~~~~~~~~                                               11.                       -591,300

    12.     New Mexico allocated income (from PTE-B, line 9, column 2)                       ~~~~~~~~~~~~~~~~~~~                           12.                           -359
    13.     Add lines 11 and 12. New Mexico net income ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          13.                       -591,659
    14.     Amount of net income from line 13 that is subject to PTE withholding tax                          ~~~~~~~~~~~~~                14.

    15.     Withholding tax rate ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   15.                                       5.9%

    16.     Multiply line 14 by line 15. Amount of withholding tax on net income ~~~~~~~~~~~~~~~~                                          16.
    17.     Total withholding tax passed directly to owners (see instructions) ~~~~~~~~~~~~~~~~~                                           17.
    18.     Subtract line 17 from line 16. Total withholding tax ~~~~~~~~~~~~~~~~~~~~~~~~                                                  18.
    19.     Amount of net income from line 13 subject to composite income tax for electing
            owners ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          19.

    20.     Composite income tax rate ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                 20.                                       5.9%

    21.     Multiply line 19 by line 20. Total composite income tax ~~~~~~~~~~~~~~~~~~~~~~                                                 21.


     367501 12-12-23


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    2023 PTE
    New Mexico Pass-Through Entities Tax Return
    (Page 2)

     FEIN     XX-XXXXXXX

    Section 2. Computation of entity-level tax. Complete lines 22 through line 29 if electing
    to file and pay entity-level tax.

    22.        New Mexico net income from line 13 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   22.
    23.        Guaranteed payments required to be reported by partnerships. (see instructions) ~~~~~~~~~                                           23.


    24.        Subtotal. Add lines 22 and 23 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                    24.
    25.        New Mexico net capital gains deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                25.
    26.        Distributions not subject to entity-level tax ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          26.


    27.        Distributed net income subject to entity-level tax. Add lines 25 and 26, then
               subtract from line 24 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                       27.
    28.        Entity-level tax rate      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  28.                              5.9%
    29.        Multiply line 27 by line 28. Total entity-level tax ~~~~~~~~~~~~~~~~~~~~~~~~~                                                       29.

     Section 3. Payments and Credits.
    30.       Tax withheld from distributions of oil and gas proceeds made to this PTE. (attach
              1099-Misc or Form RPD-41285)               ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         30.


    31.       Tax withheld from distributions of a pass-through entity made to this PTE. (attach
              1099-Misc or Form RPD-41359) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                      31.
    32.       Estimated payments and extension payments                     ~~~~~~~~~~~~~~~~~~~~~~~~~~                                             32.
    33.       Approved Film Production Tax Credit (attach RPD-41228) ~~~~~~~~~~~~~~~~~~~~~                                                         33.
    34.       Approved New Film Production Tax Credit (attach RPD-41228)                          ~~~~~~~~~~~~~~~~~~                               34.


    35.       Approved New Mexico Film Partner New Film Production Credit (attach RPD-
              41228) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                35.
    36.       Total payments and credits. Add lines 30 through 35                      ~~~~~~~~~~~~~~~~~~~~~~                                      36.

    Section 4. Tax due or overpayment.

    37.       Total withholding, composite, and entity-level tax. Add lines 18, 21, and 29                   ~~~~~~~~~~~~                          37.
    38.       Amended returns only. Enter 2023 refunds received and overpayments applied
              to 2024 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                               38.
    39.       Subtotal of tax. Add line 37 and 38 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                 39.
    40.       Tax due. If line 39 is greater than line 36, subtract 36 from 39 ~~~~~~~~~~~~~~~~~~~                                                 40.
    41.       Penalty. (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                    41.
    42.       Interest. (see instructions)       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              42.
    43.       Total amount due. Add lines 40, 41, and 42                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              43.


    44.       Overpayment. If line 36 is greater than 39, subtract 39 from 36. (to claim a
              refund or apply overpayment to next year, attach RPD-41373) ~~~~~~~~~~~~~~~~~~~                                                      44.

     367502 12-12-23

      I declare that I have examined this return, including accompanying schedules and statements,    Paid preparer's use only:
      and to the best of my knowledge and belief, it is true, correct, and complete. Declaration of
      preparer (other than taxpayer or an employee of the taxpayer) is based on all information of
                                                                                                       JESSICA LOCKER, CPA                                                08/12/24
      which preparer has any knowledge.                                                                    Signature of preparer if other than employee of the taxpayer      Date

                                                                                                      P1     JESSICA LOCKER, CPA
                                                                                                           Print preparer's name
      Signature of officer, member, or partner                                 Date
                                                                                                      P2 NMBTIN                    03-234530005
                                                                                                      P3 FEIN      XX-XXXXXXX
      Title                                                         Contact phone number
                                                                                                      P4 Preparer's PTIN      P01367046
      Taxpayer's
      email address              AARON@ADB-ENTERPRISES.COM                                            P5 Preparer's phone number 505-842-8290
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    2023 PTE-D
    Detail of Owner Withholding, Composite Tax
    and Entity-Level Tax
     FEIN
      XX-XXXXXXX
    You can e-file and e-pay the PTE return using the Department's Taxpayer Access Point (TAP) website at https://tap.state.nm.us.


            1a. Owner SSN/ITIN/FEIN                                     1b. ID Provided           3a. Owner Address (Number Street)
            ***-**-4804                                                 X SSN/ITIN                  617 DELAMAR AVE NW
                                                                             FEIN
                                                                                                                                                                                 3e. Mark if outside of
            2 Owner Name (First, Middle, Last)                                                    3b. City                                 3c. State       3d. ZIP/Postal        the US/Country Code
            AARON BOYD                                                                              ALBUQUERQUE                                 NM            87107
      1
            4. Residency Status       5. Withholding required           6. Reason Code            7. Owner share of allocable net income   8. Owner share of withholding         9. Owner Percentage
                            R                                                01                                     -295,829                                                     50.0000 %

            10. Amount of owner composite tax            11. Owner share of allocable net income subject to entity-level tax               12. Owner share of entity-level tax




            1a. Owner SSN/ITIN/FEIN                                     1b. ID Provided           3a. Owner Address (Number Street)
            ***-**-2950                                                 X SSN/ITIN                  617 DELAMAR AVE NW
                                                                             FEIN
                                                                                                                                                                                 3e. Mark if outside of
            2 Owner Name (First, Middle, Last)                                                    3b. City                                 3c. State       3d. ZIP/Postal        the US/Country Code
            DARRIS BOYD                                                                             ALBUQUERQUE                                 NM            87107
      2
            4. Residency Status       5. Withholding required           6. Reason Code            7. Owner share of allocable net income   8. Owner share of withholding         9. Owner Percentage
                            R                                                01                                     -295,830                                                     50.0000 %

            10. Amount of owner composite tax          11. Owner share of allocable net income subject to entity-level tax                 12. Owner share of entity-level tax




            1a. Owner SSN/ITIN/FEIN                                     1b. ID Provided           3a. Owner Address (Number Street)

                                                                             SSN/ITIN
                                                                             FEIN
                                                                                                                                                                                 3e. Mark if outside of
            2 Owner Name (First, Middle, Last)                                                    3b. City                                 3c. State       3d. ZIP/Postal        the US/Country Code


      3
            4. Residency Status       5. Withholding required           6. Reason Code            7. Owner share of allocable net income   8. Owner share of withholding         9. Owner Percentage

                                                                                                                                                                                                      %

            10. Amount of owner composite tax          11. Owner share of allocable net income subject to entity-level tax                 12. Owner share of entity-level tax




            1a. Owner SSN/ITIN/FEIN                                     1b. ID Provided           3a. Owner Address (Number Street)

                                                                             SSN/ITIN
                                                                             FEIN
                                                                                                                                                                                 3e. Mark if outside of
            2 Owner Name (First, Middle, Last)                                                    3b. City                                 3c. State       3d. ZIP/Postal        the US/Country Code


      4
            4. Residency Status       5. Withholding required           6. Reason Code            7. Owner share of allocable net income   8. Owner share of withholding         9. Owner Percentage

                                                                                                                                                                                                      %

            10. Amount of owner composite tax          11. Owner share of allocable net income subject to entity-level tax                 12. Owner share of entity-level tax




    If you need more space, print this Schedule PTE-D directly from
                                                                                                                      Page:
    the website and attach the additional PTE-D Supplemental forms
    as needed after the first page of this form.                                                                          1 of        1

    Reproducing from a photocopy reduces the readability of the
    barcode on scanning equipment and can cause processing
    delays.


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    367531 01-08-24                                       Doc 1            Filed 11/13/24 4 Entered 11/13/24 14:38:12 Page 177 of 181
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     2023 PTE-A
     New Mexico Apportionment Factors
                      1
    (Page 3)

     FEIN    XX-XXXXXXX

                                                                                    Column 1                             Column 2                          Percent
                                                                                 Total Everywhere                   Inside New Mexico                Inside New Mexico
     PROPERTY FACTOR
        1a. Average annual value of inventory ~~~~~~
            1b. Average annual value of real property       ~~~~
            1c. Average annual value of personal property ~~
            1d. Rented property. Multiply annual rental value
            by 8 ~~~~~~~~~~~~~~~~~~~~~~~
            1e. Total property ~~~~~~~~~~~~~~~~~
      1. Property factor. Divide Total property Column 2 by Column 1 and then multiply by 100                     ~~~~~~~~~~~~~~                 1                   %
     PAYROLL FACTOR
        Total compensation of employees              ~~~~~~~


      2. Payroll factor. Divide Column 2 by Column 1 and then multiply by 100 ~~~~~~~~~~~~~~~~~~~~~~~                                            2                   %


     SALES FACTOR
         Gross receipts ~~~~~~~~~~~~~~~~~
      3. Sales factor. Divide Column 2 by Column 1 and then multiply by 100                  ~~~~~~~~~~~~~~~~~~~~~~                              3                   %
      4. TOTAL of lines 1, 2, and 3                                                                   4                   %
             Count of factors ~~~~~~~~~~~~~~~~~                            4a
      5. Average New Mexico Percentage. Divide line 4 by the number of factors entered in line 4a. Enter here and
             on the PTE, line 10 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                 5     100.0000 %

            A. This entity submitted written notification of its election to use one of the special methods of apportionment of business income
            for tax year ending    (h.)                          . The effective date of the election is   (i.)                      . See instructions.


            B. Mark the box indicating the special method elected.                           Manufacturers              Headquarters Operation




     2023 PTE-B
     Allocated Non-Business Income Taxable to Owners


                                                                                                               Column 1                           Column 2
                                                                                                       Total Income Everywhere                New Mexico Income
      1. Net non-business dividends ~~~~~~~~~~~~~~~~~~~~                                      1.
      2. Net non-business interest ~~~~~~~~~~~~~~~~~~~~~                                      2.                                 1                                  1

      3. Net non-business rents (loss) ~~~~~~~~~~~~~~~~~~~                                    3.
      4. Net non-business royalties ~~~~~~~~~~~~~~~~~~~~                                      4.
      5. Net non-business profit sale of assets (loss) ~~~~~~~~~~~~                           5.


      6. Net non-business partnership income (loss) ~~~~~~~~~~~~                              6.
                                               SEE STATEMENT 1 7.
      7. Other net non-business income (loss) ~~~~~~~~~~~~~~~                                                             -360                                 -360
      8. Total allocated income. Add lines 1 through 7. Enter here and
             on the PTE, line 8    ~~~~~~~~~~~~~~~~~~~~~~~~                                   8.                          -359
      9. Total New Mexico allocated income. Add lines 1 through 7.
             Enter here and on the PTE, line 12 ~~~~~~~~~~~~~~~~                              9.                                                               -359




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   ADB ENTERPRISES LLC                                                 XX-XXXXXXX
   }}}}}}}}}}}}}}}}}}}                                                 }}}}}}}}}}
   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   NM PTE-B              OTHER NET NONBUSINESS INCOME (LOSS)        STATEMENT 1
   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                                              TOTAL        NEW MEXICO
   DESCRIPTION                                                                AMOUNT         AMOUNT
   }}}}}}}}}}}                                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
   50% CHARITABLE CONTRIBUTIONS                                                     -360.         -360.
                                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
   TOTAL TO FORM PTE-B, LINE 7                                                      -360.         -360.
                                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




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      NEW MEXICO                                       Partner's New Mexico Information
                                                           For Calendar Year 2023 or Fiscal Year
     SCHEDULE K-1                                                                                                                      2023
      EQUIVALENT                           Beginning                  , 2022; and Ending                ,             .


    Partner's Name, Address and ZIP Code                                                   Partner Number                       1
                                                                                           Partner's Identifying Number
    AARON BOYD                                                                             ***-**-4804
    617 DELAMAR AVE NW
    ALBUQUERQUE, NM 87107                                                                  Resident                       X     Nonresident
                                                                                           Amended Schedule K-1                 Final Schedule K-1


    Partnership's Name, Address and ZIP Code                                               Partnership's Identifying Number
                                                                                           XX-XXXXXXX
    ADB ENTERPRISES LLC                                                                    CRS Identification No.
    2705 PAN AMERICAN FREEWAY NE, STE C                                                    03-311973-002
    ALBUQUERQUE                      NM 87107                                              Partner's Percentage of Profit:    50.0000000
                                                                                           Apportionment factor:               100.0000 %
                                                        Distributive Share Items                                                       Amount

      1. Total income (loss) from federal ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  -295,829
      2. Total New Mexico income (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    -295,829
      3. Interest on U.S. government obligations ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      4. Total state and local bond interest from non-New Mexico municipal bonds ~~~~~~~~~~~~~~~~~~~~~~~~~
      5. State and local bond interest issued by New Mexico sources ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      6. Licensed cannabis business expense deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      7. Entity level and composite tax paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      8. Withholding tax paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      9. Guaranteed payments ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     10. New Mexico net capital gains deduction 




                                                             Other Credits




        THERE ARE NO ADJUSTMENTS OR CREDITS FOR THIS PARTNER




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      NEW MEXICO                                       Partner's New Mexico Information
                                                           For Calendar Year 2023 or Fiscal Year
     SCHEDULE K-1                                                                                                                      2023
      EQUIVALENT                           Beginning                  , 2022; and Ending                ,             .


    Partner's Name, Address and ZIP Code                                                   Partner Number                       2
                                                                                           Partner's Identifying Number
    DARRIS BOYD                                                                            ***-**-2950
    617 DELAMAR AVE NW
    ALBUQUERQUE, NM 87107                                                                  Resident                       X     Nonresident
                                                                                           Amended Schedule K-1                 Final Schedule K-1


    Partnership's Name, Address and ZIP Code                                               Partnership's Identifying Number
                                                                                           XX-XXXXXXX
    ADB ENTERPRISES LLC                                                                    CRS Identification No.
    2705 PAN AMERICAN FREEWAY NE, STE C                                                    03-311973-002
    ALBUQUERQUE                      NM 87107                                              Partner's Percentage of Profit:    50.0000000
                                                                                           Apportionment factor:               100.0000 %
                                                        Distributive Share Items                                                       Amount

      1. Total income (loss) from federal ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  -295,830
      2. Total New Mexico income (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    -295,830
      3. Interest on U.S. government obligations ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      4. Total state and local bond interest from non-New Mexico municipal bonds ~~~~~~~~~~~~~~~~~~~~~~~~~
      5. State and local bond interest issued by New Mexico sources ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      6. Licensed cannabis business expense deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      7. Entity level and composite tax paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      8. Withholding tax paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      9. Guaranteed payments ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     10. New Mexico net capital gains deduction 




                                                             Other Credits




        THERE ARE NO ADJUSTMENTS OR CREDITS FOR THIS PARTNER




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